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ANTHONY L. RAMPTON (2681)
HARRY H. SOUVALL (4919)
Assistant Attorneys General
MARK SHURTLEFF (4666)
UTAH ATTORNEY GENERAL
5110 State Office Building
Post Office Box 142477
Salt Lake City, UT 84114-2477
arampton@utah.gov
hsouvall@utah.gov
Telephone: (801) 537-9819
Facsimile: (801) 538-9727

Brock R. Belnap #6179
Washington County Attorney
Rachelle Shumway Ehlert #8177
Eric Clarke #13177
Deputy Washington County Attorneys
178 North 200 East
St. George, Utah 84770
Telephone: (801) 634-5723
Rachelle.Shumway@wcattorney.com
Eric.Clarke@wcattorney.com

  Attorneys for Plaintiffs

                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 WASHINGTON COUNTY, UTAH, a
 political subdivision, and STATE OF
 UTAH,
                                                     COMPLAINT
         Plaintiffs,                                TO QUIET TITLE
 vs.

 UNITED STATES OF AMERICA,                      Case No. 2:12-cv-00472-BSJ
 UNITED STATES DEPARTMENT OF
 THE INTERIOR, NATIONAL PARK                    Judge: Honorable Bruce S. Jenkins
 SERVICE, and BUREAU OF LAND
 MANAGEMENT,

         Defendants.
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       Washington County, Utah (“Washington County” or “County”), a Utah political

subdivision, and the State of Utah (“State”) (collectively referred to as “Plaintiffs”) as their

Complaint against the United States of America (“United States”), the United States Department

of the Interior (“DOI”), National Park Service (“NPS”) and the Bureau of Land Management

(“BLM”) (collectively referred to as “Defendants”) allege as follows:

                                        INTRODUCTION

       This is an action to quiet title to certain described rights-of-way for highways, including

the scope thereof, under the grant of Section 8 of the Mining Act of 1866, 14 Stat. 251, 253, later

codified as Revised Statutes 2477 and as 43 U.S.C. § 932 (repealed October 21, 1976, with

savings provisions recognizing validity of rights-of-way already established) (hereinafter “R.S.

2477”). For judicial convenience and ease of reference, the rights-of-way at issue herein have

been divided into 10 geographic areas, each with approximately 40-60 roads. Each geographic

area has been pleaded as a separate cause of action.

                                 JURISDICTION AND VENUE

       1.       The claims asserted herein arise under the Quiet Title Act (“QTA”). 28 U.S.C. §

2409a (2006).

       2.       This Court has subject matter jurisdiction under 28 U.S.C. § 2409a (quiet title)

and 28 U.S.C. § 1346(f) (quiet title), as this case involves Plaintiffs’ claims to ownership of

public highway rights-of-way crossing lands of the United States.




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       3.        Plaintiffs claim title to the public highway rights-of-way crossing lands of the

United States at issue in this case as joint undivided owners. See UTAH CODE ANN. §§ 72-5-

302(2) (Supp. 2011) and -103(2)(b) (2004).

       4.        On or about December 9, 2011, the State filed a Notice of Intention to File Suit to

Quiet Title to Certain Rights-of-Way in Washington County, Utah, with the Secretary of Interior

over the R.S. 2477 rights-of-way that are the subject of this action. A copy of this letter is

attached as Exhibit 1. This 2011 Notice of Intent supplemented the State’s prior Notice of Intent

regarding R.S. 2477 sent in June 2000. A copy of this letter is attached as Exhibit 1A. Thus, the

State has complied with the requirement to provide notice to the head of the federal agency with

jurisdiction over the lands in question 180 days prior to filing this action. 28 U.S.C. § 2409a(m).

       5.        Venue is proper under 28 U.S.C. § 1391(e) inasmuch as the lands at issue are

located within the state of Utah.

                                              PARTIES

       6.        Utah is one of the fifty sovereign states forming the United States of America,

having been admitted to the Union on January 4, 1896, on an equal footing with the original

states. Executive power for the State is vested in the Governor, who is responsible for seeing

that the laws of Utah are faithfully executed. UTAH CONST. art. VII, § 5; UTAH CODE ANN. § 67-

1-1 (2008).

       7.        Washington County is a political subdivision of the state of Utah, located in the

southwest area of the state, and is authorized to maintain this action. UTAH CODE ANN. § 17-50-

302(2) (2009).

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          8.    Pursuant to the Utah Constitution, the State owns all property interests acquired

from the United States at or after the time of statehood. UTAH CONST. art. XX. The State and

the County are joint owners of R.S. 2477 rights-of-way within Washington County, Utah. UTAH

CODE ANN. §§ 72-5-302(2) (Supp. 2011) and -103(2)(b) (2004); id. §§ 72-3-103(3) (2004) and -

105(3). As an undivided joint owner of the public highway rights-of-way claimed herein, the

State is duly authorized to maintain this action. See UTAH CONST. art. VII, § 1; see also

generally UTAH CODE ANN. §§ 72-5-103 through -105, and 72-5-302 (Supp. 2011).

          9.    In this action, Plaintiffs seek to quiet title in those rights-of-way located within

Washington County, Utah.

          10.   Defendant United States is the owner of the lands traversed and bordered by the

roads and rights-of-way claimed in this action.

          11.   Defendants DOI, BLM, and NPS are tasked with managing and protecting federal

interests in the lands traversed and bordered by the roads and rights-of-way claimed in this

action.

           THE CONGRESSIONAL GRANT OF RIGHTS-OF-WAY FOR PUBLIC
                     HIGHWAYS CROSSING PUBLIC LAND

          12.   R.S. 2477 provides as follows: “And be it further enacted, That the right of way

for the construction of highways over public lands, not reserved for public uses, is hereby

granted.” Act of July 26, 1866, ch. 262, § 8, 14 Stat. 251, 253, codified at 43 U.S.C. § 932,

repealed by Federal Land Policy Management Act of 1976 (FLPMA), Pub.L. No. 94-579 §

706(a), 90 Stat. 2743.



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        13.        R.S. 2477 was an open congressional grant in praesenti of public highway rights-

of-way for the benefit of miners, ranchers, homesteaders, and all other members of the public

who had need to travel across public lands.

        14.        Acceptance and vesting of R.S. 2477 rights-of-way required no administrative

formalities: no entry, no application, no license, no patent, and no deed on the federal side; no

formal act of public acceptance on the part of the states or localities in whom the right was

vested. See Southern Utah Wilderness Alliance v. Bureau of Land Mgmt., 425 F.3d 735, 741

(10th Cir. 2005) (hereinafter “SUWA v. BLM”). R.S. 2477 operated as a standing offer of a right-

of-way over the public domain, and the grant may be accepted without formal action by public

authorities. Id.

                        LONG-STANDING DEPARTMENT OF INTERIOR
                              INTERPRETATION OF R.S. 2477

        15.        Prior to its recent adverse actions, the DOI historically recognized and agreed that

state law is borrowed so as to govern the acceptance, scope, and regulatory jurisdiction of R.S.

2477 public highways.

        16.        Over the years, the DOI adopted numerous regulations and policies interpreting

the congressional grant of R.S. 2477 rights-of-way. These regulations and policies served to

ensure the DOI’s compliance with its statutory duty to manage the public lands subject to valid

existing rights.

        17.        As of and following 1939, R.S. 2477 interpretive regulations found at 43 C.F.R. §

244.55 (1939) stated:



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              [R.S. 2477] becomes effective upon the construction or
              establishing of highways, in accordance with the State laws, over
              public lands not reserved for public uses. No application should be
              filed under said R.S. 2477 as no action on the part of the Federal
              Government is necessary.

       18.    As of and following 1963, R.S. 2477 interpretive regulations found at 43 C.F.R. §

244.58 (1963) stated:

              Grants of [R.S. 2477 rights-of-way] become effective upon the
              construction or establishment of highways, in accordance with the
              State laws, over public lands, not reserved for public uses. No
              application should be filed under R.S. 2477, as no action on the
              part of the Government is necessary.

       19.    As of and following 1974, R.S. 2477 interpretive regulations found at 43 C.F.R.

§§ 2822.1-2 & 2822.2-1 (1974) stated:

              No application should be filed under R.S. 2477, as no action on the
              part of the Government is necessary. … Grants of [R.S. 2477
              rights-of-way] become effective upon the construction or
              establishment of highways, in accordance with the State laws, over
              public lands, not reserved for public uses.

       20.    As of and following 1986, R.S. 2477 interpretive policies stated in the Bureau of

Land Management Manual, R.2-229 stated:

              When public funds have been spent on the road it shall be
              considered a public road. When the history of the road is unknown
              or questionable, its existence in a condition suitable for public use
              is evidence that construction sufficient to cause a grant under R.S.
              2477 has taken place.

       21.    As a matter of federal law, R.S. 2477 borrows from State law relating to

acceptance (validity) and scope of such rights-of-way. See SUWA v. BLM, 425 F.3d 735 (10th

Cir. 2005).


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          22.   R.S. 2477 rights-of-way vested by acts of governmental entities or the public

evidencing the acceptance of the right-of-way during operation of the grant.

          23.   R.S. 2477 rights-of-way were accepted by various acts of the local government

highway authority or the public, including, but not limited to, (1) designating the road as a

general public highway; (2) expending State or County funds to construct or maintain the road

for general highway purposes prior to October 21, 1976; and/or (3) continually using the road as

a public thoroughfare, as often as the need arose, for a continuous period of 10 years prior to

October 21, 1976, or such earlier date as may be applicable to a prior federal reservation. See,

e.g., UTAH CODE ANN. § 72-5-104 (Supp. 2011).

          24.   Congressionally granted R.S. 2477 public highway rights-of-way are property

interests, sometimes considered a species of easement. As a congressional grant of property for

public purposes, the grant includes the right of use and enjoyment, and the implied or actual right

to cross public land to access and use the property interest granted.

          25.   The scope of an R.S. 2477 right-of-way is not restricted to the beaten path of the

road, which DOI now characterizes as the “disturbed width.” The scope of an R.S. 2477 right-

of-way includes the physical features of the right-of-way as accepted and used, and that which is

reasonable and necessary to accommodate the exigencies of increasing travel. See id. § 72-5-

104(3).

          26.   R.S. 2477 case law, long-standing DOI interpretation, and historical practice

establish the scope of the rights-of-way claimed herein to include that which is reasonable and

necessary to ensure safe travel and passage of vehicles on a two-lane road according to sound

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engineering practices that protect the safety of the traveling public, the features of the road, and

improvements that prevent undue degradation or impairment of adjacent lands and resources.

       27.     Such areas along the roadway beyond the actual beaten path as are reasonable and

necessary to provide safe travel on the road, including lands on which attendant accoutrements

such as drainage ditches and culverts existed as of the date of the reservation of the subject lands

adjacent to the road, or are reasonably and necessarily added after that date to accommodate

increased travel for pre-existing uses, are part of the reasonable and necessary use of the

roadway, and are therefore within the scope of each highway right-of-way. See Sierra Club v.

Hodel, 848 F.2d 1068, 1083-84 (10th Cir. 1988).

       28.     Applicable law, historical practice, and sound engineering confirm that an R.S.

2477 right-of-way, as distinguished from the disturbed width of the road, includes a minimum

width of 66 feet and any features, facilities, cuts, slopes, water bars, drainage runouts, and fill

areas necessary to ensure a safe travel surface as reasonable and necessary under the

circumstances specific to each road.

       29.     The congressional grant of public highway rights-of-way embodied by R.S. 2477

operated on unreserved public lands for 110 years until it was repealed on October 21, 1976, by

the Federal Land Policy and Management Act of 1976 (“FLPMA”), 43 U.S.C. § 1701 et seq.

       30.     In repealing R.S. 2477, Congress preserved vested R.S. 2477 rights-of-way as

valid existing rights and expressly directed the United States and its subordinate agencies

(including the DOI and the BLM) to manage federal lands subject to these valid existing rights.




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       31.     Section 701(h) of FLPMA provides as follows: “All actions by the Secretary

concerned under this Act shall be subject to valid existing rights.” Id. § 1701, note; see also id. §

1769(a) (“Nothing in this subchapter shall have the effect of terminating any right-of-way or

right of use heretofore issued, granted or permitted.”).

           PLAINTIFFS’ R.S. 2477 AND PUBLIC HIGHWAY RIGHTS-OF-WAY

       32.     Plaintiffs’ R.S. 2477 and public highway rights-of-way, easements, and rights-of-

entry (collectively referred to as “rights-of-way”) serve the common good, benefit the public,

and implement the congressional intent of facilitating safe and efficient travel across public

lands. The R.S. 2477 rights-of-way granted by Congress necessarily include an implied right of

access to the rights-of-way so that they may be used as public thoroughfares.

       33.     Washington County classifies its public highways as Class B (maintained) and

Class D (lightly maintained) county roads. This classification is a matter of Utah law and is,

herein, generally relevant only to the manner of acceptance of the rights-of-way for the roads.

See UTAH CODE ANN. §§ 72-3-101 through -105 (2004) (explaining Utah’s road classification

system).

       34.     At all times relevant herein, Utah law provided that R.S. 2477 rights-of-way could

be accepted by various acts of the local government highway authority or by acts of the public,

including, but not limited to, (1) designating the road as a general public highway, also known as

a Class B county road; See id. § 72-3-103 (prior law in accord); see also id. § 27-12-22 (1963);

(2) expending State or County funds to construct or maintain a road for general highway

purposes prior to October 21, 1976; and/or (3) continually using the road as a public

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thoroughfare, as often as the need arose, for a continuous period of 10 years prior to October 21,

1976, see id. § 72-5-104 (Supp. 2011) (stating that a public highway right-of way is “dedicated

and abandoned to the use of the public when it has been continuously used as a public

thoroughfare for a period of 10 years”).

       35.     The R.S. 2477 rights-of-way for the Class B and D roads claimed herein were

initially accepted as public highways by public use for a continuous period of at least 10 years

prior to October 21, 1976, or such other date as requisite for the acceptance of a particular road

and its right-of-way claimed herein.

       36.     The R.S. 2477 rights-of-way for the Class B and D roads may also have been

accepted by Washington County’s designation of these roads as county general highways and/or

by Washington County’s expenditure of State and County funds to construct or maintain these

roads as public highways prior to October 21, 1976, or such other date as requisite for the

acceptance of a particular road and its R.S. 2477 right-of-way claimed herein.

       37.     Plaintiffs, by and on behalf of the public, accepted and own the R.S. 2477 rights-

of-way for the roads described herein.

       38.     However, Washington County is the highway authority with sole jurisdiction and

control of all Class B and Class D roads within its borders. UTAH CODE ANN. §§ 72-3-103(4)

and -105(4) (2004). Washington County has the sole obligation to manage, construct, and

maintain its Class B roads to meet general travel standards established by State law. See id. §72-

3-103(5).




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       39.     Prior to October 21, 1976, or such other date as is requisite for the acceptance of a

particular right-of-way, Plaintiffs accepted R.S. 2477 rights-of-way for the roads claimed herein

on unreserved public lands.

       40.     In addition to the public lands of the United States, some of the roads claimed in

this action have segments that access and cross land now or formerly owned by the State of Utah

and the Utah School and Institutional Trust Land Administration (sometimes collectively

referred to as “SITLA”).

       41.     In those instances where the roads and rights-of-way cross lands formerly in

SITLA ownership, Plaintiffs’ rights-of-way claimed herein were accepted and perfected as valid

existing rights-of-way through the facts set forth herein, prior to the United States’ ownership of

the subject lands. Title of the United States is subject to these valid existing rights as a matter of

law. 43 U.S.C. § 1701, note (2006); cf. UTAH CODE ANN. § 53C-4-203(2) (2009) (stating that

patents for SITLA lands are subject to any valid existing easement or public right-of-way”). In

each cause of action set forth below, Plaintiffs’ claimed rights-of-way include those granted

pursuant to R.S. 2477 and established under law as valid existing rights on the land at issue.

       42.     The course, existence, and location of the rights-of-way and roads that cross

private and SITLA land have not been challenged and are not at issue in this action. This action

seeks to quiet title to the rights-of-way crossing the lands of the United States.

       43.     Plaintiffs’ vested public highway rights-of-way for the roads claimed herein

continue as valid existing rights until formally abandoned by Plaintiffs. See UTAH CODE ANN.

§§ 72-5-105(1) and -305 (Supp. 2011).

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        44.    Plaintiffs have not abandoned the rights-of-way for any of the roads claimed in

this action.

                                     AREA DESCRIPTIONS

        45.    In order to better organize the rights-of-way included in this complaint to fit

within Utah’s transportation system, the roads have been divided into 10 Areas: (1) Cougar Pass

Area, (2) Gold Strike Area, (3) Lytle Ranch Area, (4) Old Highway 91 Area, (5) Gunlock/Veyo

Area, (6) Warren Valley Area, (7) Honeymoon Trail Area, (8) Sheep Bridge Area, (9) Smith

Mesa Area, and (10) Cottonwood Area (collectively, the “Ten Areas”).

        46.    The roads within each of the 10 Areas are important links in Plaintiffs’

transportation system. These roads connect communities and provide access to natural

resources, other roads, and areas of scenic, recreational, and historic value.

        47.    As important links in Plaintiffs’ transportation systems, clear title to the rights-of-

way that underlie these roads is of the upmost importance to Plaintiffs and the general public.

        48.    The Cougar Pass Area is located in northwest Washington County and is shown

on Exhibit 2, attached hereto and incorporated herein.

        49.    The Cougar Pass Area includes the following roads—listed by Common Road

Name (if applicable) and County Unique Number: (1) Beaver Dam Wash Road, 0006; (2)

Cougar Pass Road, 0005; (3) Cougar Pass Road to Gold Strike Shortcut, 005A; (4) County Line

Road, 0203; (5) Enterprise Reservoir / Gunlock Road, 9925; (6) Enterprise T.V. Tower Road,

0190; (7) Enterprise to County Line Road, 0202; (8) Mathews Ranch Road, 0004; (9) Road

Number 0034; (10) Road Number 0035; (11) Road Number 0036; (12) Road Number 0037; (13)

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Road Number 0038; (14) Road Number 0040; (15) Road Number 0041; (16) Road Number

0042; (17) Road Number 0043; (18) Road Number 0105; (18) Road Number 7986; (20) Road

Number 0036A; and (21) Road Number 0036B.

       50.     The Gold Strike Area is located in west-central Washington County and is shown

on Exhibit 3, attached hereto and incorporated herein.

       51.     The Gold Strike Area includes the following roads— listed by Common Road

Name (if applicable) and County Unique Number: (1) DI Turnoff Road, 0054; (2) Dodge

Springs, 0013; (3) Gold Strike, 0044; (4) Jackson Road, 0011; (5) Manganese Road, 0063; (6)

Rod’s Camp Road, 0124; (7) Tobin Wash Road, 0117; (8) Road Number 0012; (9) Road

Number 0014; (10) Road Number 0015; (11) Road Number 0016; (12) Road Number 0017; (13)

Road Number 0018; (14) Road Number 0045; (15) Road Number 0046; (16) Road Number

0047; (17) Road Number 0051; (18) Road Number 0052; (19) Road Number 0053; (20) Road

Number 0055; (21) Bently Wash Road, 0057; (22) Road Number 0059; (23) Road Number 0060;

(24) Road Number 0061; (25) Road Number 0062; (26) Road Number 0109; (27) Road Number

0111; (28) Road Number 0113; (29) Road Number 0114; Road Number 0116; (30) Road

Number 0118; (31) Road Number 0119; (32) Road Number 0120; (33) Road Number 0121; (34)

Road Number 0122; (35) Road Number 0123; (36) Road Number 0125; (37) Road Number

0126; (38) Road Number 0128; (39) Road Number 0129; (40) Road Number 0130; (41) Road

Number 0131; (42) Road Number 0132; (43) Road Number 0133; (44) Road Number 0135; (45)

Road Number 0136; (46) Road Number 0148; (47) Road Number 0828; (48) Road Number




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7955; (49) Road Number 7956; (50) Road Number 7957; (51) Road Number 7982; (52) Road

Number 0113 North; (53) Dodge Springs 2, 9996; (54) North Gunlock Road, 0127.

       52.    The Lytle Ranch Area is located in southwestern Washington County and is

shown on Exhibit 4, attached hereto and incorporated herein.

       53.    The Lytle Ranch Area includes the following roads—listed by Common Road

Name (if applicable) and County Unique Number: (1) Bird Ranch Road, 0031; (2) Dodge

Springs to Jackson Well Road, 0020; (3) Frei’s Road, 0094; (4) Indian Springs Road, 0066; (5)

Jackson Well Road, 0058; (6) Lytle Ranch Road, 0026; (7) Powerline Road, 0065; (8) Telephone

Road, 0064; (9) Waterline Road, 0095; (10) Road Number 0021; (11) Road Number 0023; (12)

Road Number 0024; (13) Road Number 0025; (14) Road Number 0029; (15) Road Number

0030; (16) Road Number 0032; (17) Road Number 0067; (18) Road Number 0071; (19) Road

Number 0073; (20) Road Number 0074; (21) Road Number 0075; (22) Road Number 0078; (23)

Road Number 0080; (24) Road Number 0081; (25) Road Number 0082; (26) Road Number

0083; (27) Road Number 0087; (28) Road Number 0089; (29) Road Number 0091; (30) Road

Number 0092; (31) Road Number 7992; (32) Road Number 9997; (33) Road Number 9998; (34)

Road Number 0032A; (35) Powerline “D” Road, 0070.

       54.    The Old Highway 91 Area is located in southwestern Washington County and is

shown on Exhibit 5, attached hereto and incorporated herein.

       55.    The Old Highway 91 Area includes the following roads—listed by Common

Road Name (if applicable) and County Unique Number: (1) Road Number, 0158; (2) Road

Number 0180D; (3) Bulldog Pass/Apex Road, 0086; (4) Bulldog Pass/Apex Road, 9921; (5) Old

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Highway 91, 0093; (6) Pahcoon Flat Road, 0192; (7) School Section Road, 0096; (8) T.V. Tower

Road, 0077; (9) Tower Road, 0163; (10) West Apex Road, 0167; (11) Road Number 0069; (12)

Road Number 0076; (13) Road Number 0085; (14) Road Number 0088; (15) Road Number

0090; (16) Road Number 0097; (17) Road 0098; (18) Road Number 0100; (19) Road Number

0147; (20) Road Number 0152; (21) Road Number 0153; (22) Road Number 0154; (23) Road

number 0155; (24) Road Number 0159; (25) Road Number 0161; (26) Road Number 0162; (27)

Road Number 0169; (28) Road Number 0175; (29) Road Number 0176; (30) Road Number

0177; (31) Road Number 0181; (32) Road Number 0184; (33) Road Number 0188; (34) Road

Number 0189; (35) Road Number 0831; (36) Road Number 7967; (37) Road Number 7995; (38)

Road Number 7997; (39) Road Number 9887; (40) Road Number 9889; (41) Road Number

9890; (42) Road Number 9945; (43) Road Number 9949; (44) Road Number 098A.

       56.    The Gunlock/Veyo Area is located in south-central Washington County and is

shown on Exhibit 6, attached hereto and incorporated herein.

       57.    The Gunlock/Veyo Area includes the following roads—listed by Common Road

Name (if applicable) and County Unique Number: (1) Bigelow Ranch Road, 0222; (2) Blake

Lambing River Road, 0276; (3) Blake Lambing Road, 0182; (4) Blake Loop Road, 0180; (5)

Bloomington/Apex Road, 0173; (6) Bloomington Mine Cutoff Road, 178A; (7) Bloomington

Mine Valley Road, 0178; (8) Cinder Pit Road, 0225; (9) Cottams’s Ranch Road, 0224; (10)

Gunlock/Veyo Road, 0139; (11) Mine Valley to Blake Lambing Grounds Road, 0179; (12)

Rancho Veyo Road, 0213; (13) Upper and Lower Sand Cove aka Gunlock Highway, 0138; (14)

Virgin River Overlook Road, 0278; (15) Road Number 0143; (16) Road Number 0144; (17)

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Road Number 0145; (18) Road Number 0146; (19) Road Number 0172; (20) Road Number

0174; (21) Road Number 0244; (22) Road Number 0247; (23) Road Number 0251; (24) Road

Number 0274; (25) Road Number 0275; (26) Road Number 0560; (27) Road Number 0838; (28)

Road Number 0839; (29) Road Number 0842; (30) Road Number 0845; (31) Road Number

0848; (32) Road Number 7947; (33) Road Number 7980; (34) Road Number 7999; (34) Road

Number 9897; (35) Road Number 9898; (36) Road Number 9984; (37) Road Number 0143A;

(38) Road Number 0143B; (39) Red Mountain Road, 9911.

       58.    The Warner Valley Area is located in south-central Washington County and is

shown on Exhibit 7, attached hereto and incorporated herein.

       59.    The Warner Valley Area includes the following roads—listed by Common Road

Name (if applicable) and County Unique Number: (1) Road Number 0415; (2) Fort Pierce Road,

0508; (3) Sky Ranch Road, 0399; (4) Stucki Road, 0417; (5) Warner Valley Road, 0418; (6)

Road Number 0420; (7) Washington Dome Road, 0293; (8) Road Number 0288; (9) Road

Number 0402; (10) Road Number 0407; (11) Road Number 0409; (12) Road Number 0419; (13)

Road Number 0421; (14) Road Number 0475; (15) Road Number 0485; (16) Road Number

0486; (17) Road Number 0487; (18) Road Number 0496; (19) Road Number 0497; (20) Road

Number 0498; (21) Road Number 0501; (22) Road Number 0502; (23) Road Number 0503; (24)

Road Number 0504; (25) Road Number 0507; (26) Road Number 0514; (27) Road Number

0516; (28) Road Number 0519; (29) Road Number 0523; (30) Road Number 0524; (31) Road

Number 0527; (32) Road Number 0562; (33) Road Number 0564; (34) Road Number 0565; (35)

Road Number 0567; (36) Road Number 0568; (37) Road Number 0571; (38) Road Number

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0577; (39) Road Number 0580; (40) Road Number 0586; (41) Road Number 7950; (42) Road

Number 7952; (43) Road Number 7969; (44) Dinosaur Tracks Road, 0476.

       60.    The Honeymoon Trail Area is located in southeastern Washington County and is

shown on Exhibit 8, attached hereto and incorporated herein.

       61.    The Honeymoon Trail Area includes the following roads—listed by Common

Road Name (if applicable) and County Unique Number: (1) Antelope Road, 0423; (2) Gould

Wash Road, 0460; (3) Honeymoon Trail, 0425; (4) Little Creek Mountain Road, 0669; (5) Old

Highway 59, 0776; (6) Road Number 0426; (7) Road Number 0427; (8) Road Number 0461; (9)

Road Number 0462; (10) Road Number 0463; (11) Road Number 0464; (12) Road Number

0479; (13) Road Number 0480; (14) Road Number 0481; (15) Road Number 0482; (16) Road

Number 0483; (17) Road Number 0490; (18) Road Number 0491; (19) Road Number 0492; (20)

Road Number 0493; (21) Road Number 0494; (22) Road Number 0499; (23) Road Number

0500; (24) Road Number 0660; (25) Road Number 0667; (26) Road Number 0668; (27) Road

Number 0671; (28) Road Number 0674; (29) Road Number 0675; (30) Road Number 0676; (31)

Road Number 0677; (32) Road Number 0678; (33) Road Number 0778; (34) Road Number

0779; (35) Road Number 0780; (36) Road Number 0783; (37) Road Number 7975; (38) Road

Number 7976; (39) Road Number 7977; (40) Road Number 9885; (41) Road Number 9919; (42)

Road Number 0425D; (43) Rockville 01 Road, 1024; (44) Rockville 02 Road, 1025; (45)

Rockville 03 Road, 1027.

       62.    The Sheep Bridge Area is located in southeastern Washington County and is

shown on Exhibit 9, attached hereto and incorporated herein.

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       63.    The Sheep Bridge Area includes the following roads—listed by Common Road

Name (if applicable) and County Unique Number: (1) Babylon Road, 0389; (2) Gooseberry

Road, 0656; (3) Grafton Road, 0758; (4) Highway 9/Big Plains Road, 9915; (5) Old 91 North

Leeds Road, 0367; (6) Old Highway 91, 0410; (7) Sheep Bridge Road, 0397; (8) Road Number

0374; (9) Road Number 0376; (10) Road Number 0391; (11) Road Number 0394; (12) Road

Number 0395; (13) Road Number 0441; (14) Road Number 0443; (15) Road Number 0445; (16)

Road Number 0446; (17) Road Number 0449; (18) Road Number 0459; (19) Road Number

0602; (20) Road Number 0646; (21) Road Number 0648; (22) Road Number 0649; (23) Road

Number 0650; (24) Road Number 0651; (25) Road Number 0652; (26) Road Number 0659; (27)

Road Number 0661; (28) Road Number 0761; (29) Road Number 0764; (30) Road Number

0765; (31) Road Number 0766; (32) Road Number 0768; (33) Road Number 0769; (34) Road

Number 0770; (35) Road Number 0771; (36) Road Number 0772; (37) Road Number 0790, (38)

Road Number 0823; (39) Road Number 0824; (40) Road Number 0825; (41) Road Number

9934; (42) Road Number 9935; (43) Road Number 9960; (44) Road Number 0649B; (45) Road

Number 446B; (46) Canaan Mountain Road, 9920; (47) Falls Park Road, 0654; (48) Mail Drop

Road, 0822; (49) Wood Historical Trail, 0762.

       64.    The Smith Mesa Area is located in northeastern Washington County and is shown

on Exhibit 10, attached hereto and incorporated herein.

       65.    The Smith Mesa Area includes the following roads—listed by Common Road

Name (if applicable) and County Unique Number: (1) Anderson Junction Road, 0342; (2) Coal

Pits Road, 0639; (3) Lower Pits Road, 0642; (4) Lower Toquerville Falls Road, 0347; (5) Old 91

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Brouse Road, 0336; (6) Smith Mesa Road, 0622; (7) Toquerville Towers Road, 0368; (8) Upper

Toquerville Falls Spur Road, 9883; (9) Upper Toquerville Road, 0346; (10) Zion-Kolob

Mountain Road, 0632; (11) Road Number 0357; (12) Road Number 0359; (13) Road Number

0363; (14) Road Number 0369; (15) Road Number 0370; (16) Road Number 0371; (17) Road

Number 0372; (18) Road Number 0373; (19) Road Number 0452; (20) Road Number 0626; (21)

Road Number 0629; (22) Road Number 0637; (23) Road Number 0638; (24) Road Number

0640; (25) Road Number 0751; (26) Road Number 0752; (27) Road Number 0753; (28) Road

Number 0754; (29) Road Number 7962; (30) Road Number 7978; (31) Road Number 7979; (32)

Road Number 9991; (33) Road Number 9992; (34) Road Number 9994.

       66.     The Cottonwood Area is located in central Washington County and is shown on

Exhibit 11, attached hereto and incorporated herein.

        67.    The Cottonwood Area includes the following roads—listed by Common Road

 Name (if applicable) and County Unique Number: (1) Baker Dam Road, 214; (2) Brookside

 Road, 0230; (3) Cottonwood / Turkey Farm Road, 9917; (4) Diamond Valley-Blake & Gubler

 Road, 0254; (5) Frontage Road North of Leeds, 0341; (6) Gardner Ranch Road, 0217; (7) Old

 91 Black Ridge Road, 0614; (8) Saphire Well Road, 0259; (9) Spanish Trail Road, 0232; (10)

 Road Number 0211; (11) Road Number 0215; (12) Road Number 0216; (13) Road Number

 0219; (14) Road Number 0220; (15) Road Number 0235; (16) Road Number 0236; (17) Road

 Number 0237; (18) Road Number 0238; (19) Road Number 0239; (20) Road Number 0240;

 (21) Road Number 0241; (22) Road Number 0255; (23) Road Number 0256; (24) Road

 Number 0260; (25) Road Number 0263; (26) Road Number 0265; (27) Road Number 0266;

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 (28) Road Number 0295; (29) Road Number 0303; (30) Road Number 0305; (31) Road

 Number 0310; (32) Road Number 0311; (33) Road Number 0312; (34) Road Number 0314;

 (35) Road Number 0343; (36) Road Number 0348; (37) Road Number 0349; (38) Road

 Number 0354; (39) Road Number 0365; (40) Road Number 0366; (41) Road Number 0382;

 (42) Road Number 0383; (43) Road Number 0386; (44) Road Number 0412; (45)Road Number

 0428; (46) Road Number 0605; (47) Road Number 0606; (48) Road Number 0608; (49) Road

 Number 0610; (50) Road Number 0849; (51) Road Number 0850; (52) Road Number 0851;

 (53) Road Number 7985; (54) Road Number 9894; (55) Road Number 9928; (56)Road Number

 9990; (57) Road Number 9995; (58) Road Number 0238A; (59) Road Number 236A.

       68.     The surveyed centerline of the above-named roads in the 10 Areas are displayed,

respectively, as Exhibits 13 - 447, attached hereto and incorporated herein. Each centerline was

plotted using NAD83 mapping grade Global Positioning Survey (“GPS”) data collected by

Plaintiffs. This centerline data has been verified, confirmed by on the ground inspection,

referenced to historic aerial photography, and overlaid upon United States Geological Survey

(“USGS”) topographic maps.

       69.     The information and documentation relevant to the above 10 Areas was collected

by personnel of the State and the County and compiled pursuant to Utah law. See UTAH CODE

ANN. §§ 72-5-309 and -310.

       70.     Within each cause of action set forth below, the right-of-way is shown by map,

description, and by reference to verified GPS data plotted on maps showing the United States




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Public Land Survey System (“PLSS”) aliquot parts of each section, township, and range crossed

by the right-of-way.

       71.     The USGS 7.5- and 15-minute quadrangle maps covering Washington County

evidence the existence, use, and acceptance of the rights-of-way in this action prior to 1976. See

Exhibit 12 for detailed map information.

       72.     As a matter of historical practice within the agencies of the United States, rights-

of-way crossing federal lands are granted, recognized, and acknowledged by reference to PLSS

aliquot parts. That is, the United States and its agencies grant, recognize, and acknowledge

rights-of-way on federal lands by reference to PLSS aliquot parts and not by metes and bounds.

       73.     With more precision than a PLSS aliquot part description, Plaintiffs have also

provided maps and a GPS data description of the location and centerline course of the roads

crossing the rights-of-way claimed herein. The precision in these descriptions exceeds that

which has been historically recognized by the United States as sufficient to describe and confirm

rights-of-way crossing its lands.

       74.     Notwithstanding the diligent precision and particularity pleaded herein, each and

every right-of-way and road claimed herein exists, is to be decided, and is to be established by

the course, location, and historical existence of the right-of-way on the ground as has been

accepted, used, and enjoyed by, for, and on behalf of the public, including deviations in course

recognized by law as being reasonable and necessary.

       75.     This action seeks to quiet title only to those portions of the rights-of-way and

roads claimed herein and described in the GPS data, attached hereto as Exhibits 13 - 447,

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 crossing public lands managed by the BLM. As stated earlier, the course, existence, and location

 of the segments of the rights-of-way and roads crossing private and SITLA lands are not at issue,

 are not contested, and are not claimed herein.

          76.   The segments of roads, if any, crossing United States land managed by federal

 agencies other than BLM and DOI are not at issue in this complaint. Plaintiffs, however, do not

 concede that the segments are not R.S. 2477 rights-of-way and reserve the right to bring a future

 quiet title action on these segments.

                                THE CASE OR CONTROVERSY

A.        The Case or Controversy over Disputed Title to Roads over R.S. 2477 Rights-of-
          Way

          77.   Washington County encompasses approximately 5,200 square miles of land.

 Approximately 90% of the land within the County is federal land.

          78.   Due to the vast expanse of federal land in Washington County, R.S. 2477

 provides the sole legal basis for Washington County to claim title to many of the rights-of-way

 that serve as roads and public highways in the county. All such roads that exist over R.S. 2477

 rights-of-way and that are at issue in this suit were authorized, established, constructed, or

 accepted as R.S. 2477 rights-of-way on unreserved lands prior to October 21, 1976, or have

 vested as public highways, easements, and valid existing rights by law as set forth in the facts

 below.

          79.   The roads over R.S. 2477 rights-of-way have long served the common good by

 providing a safe and efficient transportation system within Washington County. Some of the

 roads over R.S. 2477 rights-of-way in this action predate Utah’s statehood in 1896.
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          80.   The roads over R.S. 2477 rights-of-way described in this Complaint connect roads

in the County and in adjacent counties and are integral components of the State of Utah and

County’s transportation systems.

          81.   The roads over R.S. 2477 rights-of-way have long served the vital function of

linking communities, business operations, private land, and SITLA land and were historically

established and constructed to facilitate settlement, commerce, and general public access to

public lands and communities.

          82.   The roads over R.S. 2477 rights-of-way claimed herein are important because, in

many instances, there are no alternative routes to serve the public’s transportation needs.

          83.   For decades, and in some instances a century, Plaintiffs and the public have

benefitted from the quiet and peaceful enjoyment of the roads over R.S. 2477 rights-of-way. In

1976, Congress enacted FLPMA, and R.S. 2477 ceased as a means whereby states and counties

could acquire new rights-of-way over public lands. Any and all R.S. 2477 rights-of-way and

easements then existing were grandfathered and preserved by Congress as valid and existing

rights.

          84.   Accordingly, Congress directed the agencies of the United States to manage

federal public lands subject to the valid existing rights of the State of Utah and its counties,

including their R.S. 2477 rights-of-way.

          85.   Historically, the County, federal land managers, ranchers, mineral resource

developers, and other members of the public generally cooperated in the construction,




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 maintenance and use of the roads over R.S. 2477 rights-of-way in furtherance of the common

 good and without specific concern regarding legal ownership.

         86.     Without any change in FLPMA or other federal law, the DOI and its agencies

 recently have engaged in efforts to impair or entirely deprive the State of Utah, Washington

 County, and the public of the use of their vested rights to roads over R.S. 2477 rights-of-way. In

 so doing, DOI has abrogated its duty to manage public lands subject to valid existing rights.

         87.     DOI’s recent actions have sparked numerous lawsuits and conflicts across the

 West, including this lawsuit.

B.       The Quiet Title Act is the Proper Mechanism for Quieting Title to Plaintiffs’
         Claimed Rights-of Way in this Case

         88.     Under the Quiet Title Act, 28 U.S.C. § 2409a, the only prerequisite for a party

 bringing suit against the United States to quiet title in and to land or property interests is that the

 aggrieved party have a “reasonable awareness” that the United States claims some interest

 adverse to the claims of that party.

         89.     Under Article III of the Constitution, an aggrieved party has standing to bring a

 Quiet Title Act claim if the party suffers adverse economic effects as a result of uncertainty

 regarding legal ownership of a right-of-way.

         90.     An adverse economic effect constitutes injury in fact and results from

 unresolved questions of land ownership.

         91.     The State of Utah and Washington County have suffered and are continuing to

 suffer economic injury from uncertainty regarding legal ownership of the roads over R.S. 2477

 rights-of-way at issue in this case.
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        92.     The confusion regarding the existence, location, scope, and ownership of roads

over R.S. 2477 rights-of-way at issue in this case has created dangerous lapses in road

maintenance, uncertainty regarding future road funding, and economic injuries to the State of

Utah and Washington County which only resolution by the Court can redress.

        93.     The Quiet Title Act was enacted at the suggestion of then-United States Attorney

General, who explained that such suits were necessary for

                a plaintiff whose title to land was continually being subjected to
                litigation in the law courts. [Such a plaintiff] could bring a suit to
                quiet title in a court of equity in order to obtain an adjudication on
                title and relief against further suits. Similarly, one who feared that
                an outstanding deed or other interest might cause a claim to be
                presented in the future could maintain a suit to remove a cloud on
                title.

H.R. REP. NO. 92-1559, at 4 (1972), reprinted in 1972 U.S.C.C.A.N. 4547, 4551, 1972 WL
12541, 4.

        94.     The Attorney General also specifically highlighted the cases in which the QTA is

applicable, including “in boundary disputes between the United States and owners of adjacent

property. The quieting of title where the plaintiff claims an estate less than a fee simple-- an

easement or the title to minerals-- is likewise included in the terms of the proposed statute.” Id.

at 5.

        95.     Once the federal government has formally asserted a claim to an interest in land in

which a state government also claims an interest, a state government is entitled to treat the land

as “real property in which the United States claims an interest.” Additionally, once the United

States claims an interest in land, that claim is sufficient to cloud title and operates as a present

cloud on title for as long as the United States retains authority to assert its claim.
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        96.     The United States has taken several actions that constitute their “claim of interest”

in the rights-of-way at issue, as explained in detail below. Therefore, a cloud on title exists with

respect to each of the rights-of-way claimed herein and the Quiet Title Act is the proper

mechanism for adjudicating and quieting title.

        97.     A court of equity has jurisdiction both to prevent the casting of a cloud on title to

property and to remove an existing cloud.

        98.     To eliminate a cloud on title arising out of the United States’ asserted claim, and

to unilaterally destroy jurisdiction of any such a claim, the United States may file a disclaimer

under section (e) of the QTA, which provides that

                If the United States disclaims all interest in the real property or
                interest therein adverse to the plaintiff at any time prior to the
                actual commencement of the trial, which disclaimer is confirmed
                by order of the court, the jurisdiction of the district court shall
                cease unless it has jurisdiction of the civil action or suit on ground
                other than and independent of the authority conferred by section
                1346(f) of this title.

        99.     On June 15, 2000, the State of Utah sent a Notice of Intent to Sue (“2000 NOI”)

to the Secretary of the Interior indicating its intent to file suit to quiet title to roads over R.S.

2477 rights-of-way throughout Utah. Along with the NOI, the State included maps depicting the

claimed roads in each county.

        100.    After filing the 2000 NOI, and between 2006 and 2011, the State of Utah recorded

all Class B roads in the State, including those in Washington County. The recording documents

included legal descriptions of the roads, maps, affidavits of historical use, and other identifying

information regarding the claimed roads over the R.S. 2477 rights-of-way.

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          101.   The State filed the recording documents with the BLM.

          102.   In response, the BLM failed and refused to recognize any of the R.S. 2477 rights-

 of-way in any administrative proceeding or to issue any non-binding determination with respect

 to any of the roads over R.S. 2477 rights-of-way.

          103.   In 2011, the State of Utah amended and sent to Secretary Salazar a second set of

 NOIs (“2011 NOIs”)—one NOI for each County that claims roads over R.S. 2477 rights-of-way

 in the State. The 2011 NOIs provided County-specific, detailed information regarding those

 roads.

          104.   The 2011 NOIs also included detailed county maps, legal descriptions of each

 road, and affidavits of witnesses attesting to the location and use of the R.S. 2477 rights-of-way

 at issue in Washington County.

          105.   The DOI has failed to file a disclaimer of interest with respect to the 2000 NOI,

 2011 NOIs, or the claims of the State of Utah and Washington County with respect to the roads

 over R.S. 2477 rights-of-way at issue herein.

          106.   Because the DOI has failed to respond to the claims asserted by the State of Utah

 and Washington County, the ownership, existence, scope, and location of the roads over the R.S.

 2477 rights-of-way claimed by the State of Utah and Washington County remain in dispute.

C.        The Specific Case or Controversy Caused by The Department of Interior’s Actions
          Adverse to All of Plaintiffs’ Claimed Rights-of-Way in this Case

          107.   In 1996, Southern Utah Wilderness Alliance (“SUWA”) commenced an action

 initially against BLM and San Juan County, a Utah county, to require BLM to take action against



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San Juan County to prevent certain grading activities by the County. See generally SUWA v.

BLM, 425 F.3d 735 (10th Cir. 2005).

       108.    Kane and Garfield Counties, also counties in the State of Utah, were ultimately

added as defendants for grading activities undertaken in those counties.

       109.    BLM cross-claimed against San Juan, Garfield, and Kane counties for trespass in

grading some of the county roads crossing public lands.

       110.    In doing so, BLM claimed that regardless of any vested R.S. 2477 right-of-way,

the counties could not regulate or maintain their roads without prior authorization from the BLM.

       111.    The district court rejected this argument and held that the existence of an R.S.

2477 right-of-way was key to resolution of the trespass claims. See id. at 743.

       112.    In response, BLM prevailed upon the district court to allow BLM to determine

whether, in the first instance, the Counties owned an R.S. 2477 right-of-way for any of the roads

graded. See id.

       113.    In 2005, after nine years of litigation, BLM’s preemptive claim to the right to

determine the existence of the Counties' R.S. 2477 rights-of-way was wholly rejected, as were

the legal standards BLM asked the district court to adopt. See id. at 757.

       114.    The Tenth Circuit confirmed that the “holder” of an R.S. 2477 right-of-way may

conduct routine road maintenance without prior approval of the BLM. See id. at 745.

       115.    In light of SUWA v. BLM, the DOI concluded that the “interim departmental

policy on R.S. 2477, issued in 1997, must be revised.” March 22, 2006 Memorandum from

Secretary of Interior, Departmental Implementation of Southern Utah Wilderness Alliance v.

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Bureau of Land Management, 425 F.3d 735 (10th Cir. 2005); Revocation of January 22, 1997,

Interim Policy; Revocation of December 7, 1988 Policy (2006 DOI Memo).

        116.   In the 2006 DOI Memo, the DOI acknowledged, that

               Although R.S. 2477 was repealed nearly 30 years ago,
               controversies continue to arise about the existence and scope of the
               rights-of-way it granted. R.S. 2477 has been subject to
               inconsistent judicial and administrative interpretations through its
               history. Because R.S. 2477 did not require that the rights-of-way
               be recorded or otherwise documented, it is often difficult for
               Federal land managers, State, local and tribal governments and
               public land users to know which right-of-way claims are valid,
               where they are located and how they may be used.

Id. at 2.

        117.   The 2006 DOI Memo included an “Attachment- Guidelines for Implementation of

SUWA v. BLM Principles” (DOI Guidelines).

        118.   The DOI Guidelines, issued pursuant to the authority of the Secretary of the DOI,

direct as follows:

               As the SUWA v. BLM court noted, ultimately deciding who holds
               legal title to an interest in real property, including an R.S. 2477
               right-of-way, 'is a judicial, not an executive function.' 425 F.3d at
               753. Thus if a claimant seeks a definitive, binding determination
               of its R.S. 2477 rights, it must file a claim under the Quiet Title
               Act, 28 U.S.C. § 2409a.

Id. at 6.

        119.   The DOI Guidelines further direct that the BLM should gather information and

“decide ‘on a preponderance of the evidence standard’ if it supports the existence of a right-of-

way under State law in effect prior to the repeal of R.S. 2477.” Id.

        120.   The DOI Guidelines specify that

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                 The inclusion of a highway in a State, county or other local road
                 system is strong evidence of acceptance of the federal grant of a
                 right-of-way, as is the expenditure of money for construction or
                 maintenance. In some States, official action may even be
                 determinative. These facts may also be helpful in determining
                 whether the claimed right-of-way was public in nature.

Id. at 9.

        121.     On March 22, 2006, in connection with the issuance of the 2006 DOI Memo, the

DOI drafted and issued its own press release entitled “Interior Department Announces

Guidelines to Implement Court Decision on R.S. 2477.” (“DOI Press Release”).

        122.     The DOI Press Release stated the following:

                 R.S. 2477 granted rights-of-way for public use across federal land
                 prior to 1976, when Congress repealed the law. Congress specified
                 that any valid R.S. 2477 rights-of-way existing at the time of the
                 repeal would continue in effect. This has resulted in
                 considerable doubt as to whether counties or the federal
                 government own certain roads on federal lands.

Id. (emphasis added).

        123.     The DOI Press Release further acknowledged and recognized that, “[i]n SUWA v.

BLM, the 10th Circuit clarified that only courts could finally determine the ownership issue, but

that federal agencies are permitted to develop a process to analyze claims for administrative

purposes.” Id.

        124.     The DOI Press Release further acknowledged and stated that “where a claimant

seeks a binding determination of a claimed right-of-way, the claimant may file a quiet title

action. A court would then make a determination.” Id.




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       125.    The 2006 DOI Memo also terminated a Memorandum of Understanding dated

April 9, 2003 between the Department of Interior and the State of Utah regarding an

acknowledgement process for R.S. 2477 rights-of-way (the “MOU”).

       126.    According to a DOI Press Release dated April 9, 2003 and prepared by a

spokesperson for the DOI, the MOU recognized “the uncertainty about existing rights-of-way

claims on federal land … and [was negotiated to establish] … a process to resolve many of the

long-standing disputes over Revised Statute 2477 (R.S. 2477) existing rights-of-way in Utah.”

       127.    The DOI April 9, 2003 Press Release quoted DOI Secretary, Gale Norton, who

acknowledged that “[i]t's time to move forward and, by working collaboratively with the state of

Utah, we are able to resolve a long-disputed issue that may otherwise have lead [sic] to costly

and lengthy litigation.”

       128.    The MOU provided that DOI would implement a “State and County Road

Acknowledgment Process” to “acknowledge the existence of certain R.S. 2477 rights-of-way on

[BLM] land within the State of Utah,” and outlined the process DOI was to use to make such

acknowledgments.

       129.    The MOU implicitly, and the DOI April 9, 2003 Press Release explicitly,

recognized that there were continuing controversies regarding the ownership, existence, location,

and scope of R.S. 2477 rights-of-way.

       130.    The MOU recitals included background of the R.S. 2477 disputes and

highlighted—as the existence of the ongoing issues and disputes between the State of Utah and

the federal government:

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       a. In a Report to Congress prepared in June of 1993, the Department of the Interior
          explained that unresolved conflicts over the status of rights-of-way created
          pursuant to Revised Statute 2477 were creating a continuing cloud on Federal
          agencies' ability to manage federal lands.

       b. On August 7, 2002, a bipartisan group of eight western governors wrote urging
          the Department of the Interior to “bring finality to R.S. 2477 disputes in a
          cooperative manner.”

       c. On July 16, 2002, the National Association of Counties adopted a resolution
          urging the Department of the Interior to adopt a policy approach to R.S. 2477
          rights-of-way that would allow counties to maintain historical rights-of-way
          across federally managed lands.

       d. Disputes involving R.S. 2477 rights-of-way have generated numerous expensive
          and inconclusive federal court lawsuits that have left numerous questions
          concerning the ownership status of R.S. 2477 rights-of-way unresolved; and the
          high cost of this litigation has made it difficult for states and counties to assert
          their rights and for conservation groups to assert their interests.

       e. The Department of the Interior has traditionally approached R.S. 2477 issues by
          trying to define the precise legal limits of the original statutory grant.

       f. Most of the asserted R.S. 2477 rights-of-way that actually have been part of
          western states inventoried and maintained transportation infrastructure since
          before the enactment of the Federal Land Policy and Management Act (FLPMA)
          in 1976 satisfy the statutory requirements of “construction” and “highway” under
          almost any interpretation of those statutory terms.

       g. The State of Utah has many R.S. 2477 claims, and on June 14, 2000, sent to the
          Secretary of the Interior a Notice of Intention to File Suit under 28
          U.S.C.§2409a(m) to quiet the title to those claims.

       h. The roads in which the State of Utah and Utah counties assert claims include
          many roads of continuing importance to rural transportation.

       i. Rights-of-way granted under R.S. 2477 are vested property rights that cannot be
          eliminated or diminished without due process. However, the statutory grant of the
          rights-of-way did not require the issuance of an identifying record, such as a
          patent. The resulting uncertainty surrounding the identity and scope of R.S. 2477
          rights-of-way has created unnecessary difficulties in federal, state and local
          transportation and land use planning decisions.

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           j. The State of Utah and Utah counties have spent considerable time and substantial
              resources to gather information about road claims and are prepared, if necessary,
              to litigate those claims.

           k. Federal, state and local land managers and environmental advocacy organizations
              have all demonstrated a desire to put disputes surrounding R.S. 2477 to rest and
              move toward an approach to land management that emphasizes cooperation.

       131.   The termination of the MOU in 2006 once again made certain that R.S. 2477

rights-of-way in Utah would remain undetermined and in disputed status. That is, title would

remain clouded.

       132.   With the termination of the MOU and in an attempt to resolve the ongoing

dispute, beginning in 2006 and continuing through 2011, the State of Utah sent documentation of

recordation to the BLM of each road that had been recorded in county recorder offices

throughout Utah. These recorded roads were filed with the BLM on all Class B in Washington

County.

       133.   The BLM failed to evaluate the recordation documents and refused to recognize

any road in Washington County as a valid R.S. 2477 right-of-way. The BLM also failed to

process any non-binding determinations.

       134.   On May 26, 2006, as directed by the 2006 DOI Memo, BLM issued IM No. 2006-

161. See Consultation on Proposed Improvements to R.S. 2477 Rights-of-way.

       135.   IM No. 2006-161 described the process BLM was to follow when working on

roads with “holders” of R.S. 2477 rights-of-way. BLM was to engage in

              consultation with the holder of an R.S. 2477 right-of-way (ROW),
              when the holder proposes to undertake any construction or
              improvement (collectively improvement), beyond routine


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              maintenance, on any portion of the ROW crossing lands
              administered by the BLM.

Id.

       136.   IM No. 2006-161 did not define a “holder” of an R.S. 2477 right-of-way.

       137.   IM No. 2006-161 “[e]xpire[d]: 09/30/2007.” Id.

       138.   On August 8, 2008, BLM issued IM No. 2008-175 which “clarifies and

supplements the information set forth in IM No. 2006-161, and hereby replaces it.” Id.

       139.   IM No. 2008-175 defines “holder” as

              (1) a state or political subdivision of a state that holds an R.S. 2477
              ROW, as adjudicated by a Federal court, or (2) a state or political
              subdivision of a state claiming to have an R.S. 2477 ROW that has
              been recognized by the BLM in an administrative nonbinding
              determination (NBD).

Id.

       140.   IM No. 2008-175 states as follows:

              Policy/Action: Before the consultation process described in this
              IM may occur, the validity of an asserted ROW established under
              R.S. 2477 must have been adjudicated by a Federal court or
              recognized by the BLM in an NBD. IM No. 2006-159 (dated May
              26, 2006), describes the process for the BLM to follow if it
              chooses to process an NBD on an asserted R.S. 2477 ROW.

Id.

       141.   IM No. 2008-175 further states that

              [i]f the validity of an asserted R.S. 2477 ROW has not been
              adjudicated as valid by a Federal court or recognized as valid by
              the BLM in an NBD, the entity asserting that it is the holder of the
              ROW may not undertake any improvement on the ROW. When an
              entity undertakes an improvement without such adjudication or
              NBD and, thus, has not been found to be a holder, the BLM may

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               deem the action a trespass or take other appropriate action to
               protect the public lands and resources.

Id.

       142.    IM No. 2008-175 “[e]xpire[d]: 09/30/2009.” Id.

       143.    It is the custom and practice of BLM to continue to act in accordance with the

directives of an IM, including IM No. 2008-175, after its stated expiration date until the issuance

of a supplement or replacement IM.

       144.    The DOI continues to act in accordance with the directives states in IM No. 2008-

175. On August 8, 2008, BLM also issued IM No. 2008-174 entitled “Road Maintenance

Agreements, ” which provides that

               . . . under the principles set forth in SUWA v. BLM, the holder of
               an R.S. 2477 that has been adjudicated in Federal Court or
               recognized by the BLM in an administrative nonbinding
               determination may undertake routine maintenance on the ROW
               without first consulting with the BLM regarding such activities.

Id.

       145.    IM No. 2008-174 “[e]xpire[d]: 9/30/2009.” Id.

       146.    The DOI continues to act in accordance with the directives stated in IM No. 2008-

174.

       147.    A Federal Court has not adjudicated either the State of Utah or Washington

County to be a “holder” of any of the R.S. 2477 rights-of-way claimed by the Plaintiffs herein.

       148.    The R.S. 2477 rights-of-way claimed by Plaintiffs herein have not been

recognized by the BLM in an administrative non-binding determination.



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       149.    IM Nos. 2008-175 and 174 are regulations issued by the BLM and the DOI that

prohibit routine maintenance on R.S. 2477 rights-of-way that have not been adjudicated or

recognized by the BLM in a nonbinding determination.

       150.    Because there has been no adjudication or recognition of the R.S. 2477 rights-of-

way at issue in this case, neither the State of Utah nor Washington County are “holders” as

defined by the BLM and are, therefore, prohibited by the regulations of the BLM from

performing routine maintenance on the R.S. 2477 rights-of-way at issue herein.

       151.    IM No. 2008-175 and 174 contradict the holding of SUWA v. BLM and violate the

rights of the State of Utah and Washington County specifically recognized therein.

       152.    IM No. 2008-175 also references the BLM “2800 series Manual/Handbook.”

(The “BLM Manual”) which—in its glossary of terms—defines “holder” as “any entity to whom

the BLM has issued a ROW grant.”

       153.    Because the State of Utah and Washington County are not “holders” as defined by

the BLM, they have only two options: (1) fail to maintain the roads over R.S. 2477 rights-of-

way, thus creating dangerous driving conditions, or (2) perform routine maintenance at their own

risk, subjecting themselves to possible trespass actions by BLM.

       154.    Additionally, without a determination of their ownership rights or status as

“holders,” the State of Utah and Washington County, are unable to make budgetary and

economic determinations regarding those roads that can be routinely maintained.

       155.    Certain roads become impassable and dangerous without maintenance.

       156.    The BLM Manual also provides as follows:

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             As to grants issued on or before October 21, 1976, under then
             existing statutory authority, this manual/handbook/IM series
             applies to the extent that it does not diminish or reduce any rights
             conferred by the grant or the statute under which they were issued.
             Where there is a reduction, the grant or enabling statute will apply
             instead of the manual.

BLM Manual 2801.6.C.

      157.   The BLM Manual states the general policy of BLM:

             G. Prior Authorizations/Existing Uses. Such uses should be
             serialized and noted to the public land records for informational
             purposes.

             1. Pre-FLPMA. Recognize as an authorized use, any ROW facility
             constructed on public land on or before October 21, 1976, under
             the authority of any act repealed as to future authorization by
             FLPMA. No further authorization is required by the holder for the
             following:

             a. ***

             b. A ROW for a public highway constructed on public land under
             R.S. 2477 (43 U.S.C. 932, repealed 1976).

BLM Manual 2801.8.G.1.b.

      158.   The BLM Manual further states:

             A. Types. The pre-FLPMA ROW laws consist of two types:

             1. Discretionary. Those where the Secretary decided whether to
             issue a ROW, and

             2. Ministerial. Those that were granted by the Congressional Act
             and the Secretary had no more than a ministerial duty. It is this
             type of pre-FLPMA ROW with which we are most concerned.

             B. Regulations. Prior and current regulations shall be utilized to the
             extent they do not impair the rights of the holder. Regulations
             involving procedures such as abandonment and termination
             activities or methods of review of proposed major maintenance or
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             reconstruction generally do not impair rights so long as the BLM
             acts promptly.

BLM Manual 2809.20, Special Considerations.

      159.   The BLM Manual further states:

             .21 R.S. 2477, Highway ROW. This is an 1866 Act (14 Stat. 253)
             granting the ROW for the construction of highways over public
             land not reserved for a public use. No action by the Secretary was
             involved in the grant, although there have been occasions where
             the Secretary had opened otherwise unavailable land to the
             operation of R.S. 2477.

             ***

             6. Reasonable Regulations [governing ROWs] are those which do
             not:

             a. Impair rights the holder had under the pre-FLPMA law and
             regulations in effect at the time of the ROW grant, or

             b. Increase the holder's liability for past conduct, or

             c. Impose new duties to transactions already completed.

BLM Manual 2809.21.A.6, Special Considerations.

      160.   The BLM Manual further states:

             1. FLPMA ROW. Because the legally binding determination of
             whether a R.S.2477 ROW exists is a judicial one, the BLM should
             encourage and assist claimants to obtain a ROW pursuant to
             FLPMA or similar authority

BLM Manual 2809.21.B.1, Special Considerations.

      161.   The actions of BLM and DOI as alleged herein violate the stated policy of the

BLM as set forth in the BLM Manual.




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       162.    On February 20, 2009, DOI Acting Director Ron Wenker issued a Memorandum

(“Wenker Memo”) to all BLM State Directors stating that, “[p]ending further review and

direction from the Secretary, the Bureau of Land Management has been directed not to process

or review any claims under R.S. 2477, including the use of the disclaimer rule.”

       163.    No notice, explanation, publication, fact finding or opportunity for comment or

hearing was given with regard to the policy announced by the Wenker Memo.

       164.    The Wenker Memo stated that the “interim step” outlined therein was “designed

to preserve the status quo and is not a final policy decision on R.S. 2477 Claims.” However,

since the issuance of the Wenker Memo in February of 2009, the policy stated therein has been

followed by the BLM.

       165.    In accordance with the Wenker Memo, with the exception of a legal action being

commenced by the State of Utah or a County of the State of Utah, the federal government has

not reviewed or processed any claims under R.S. 2477 since February 2009.

       166.    DOI's actions also have recently sparked numerous public highway lawsuits

across the western states. DOI solicitors and BLM managers have decided that Plaintiffs have no

rights, title, or interest in these public highways crossing federal land unless and until Plaintiffs’

rights-of-way are adjudicated in court.

       167.    Washington County is the local highway regulatory authority and has the right to

manage and regulate its roads, including the right to adopt ordinances regulating all forms of

public motor vehicle travel on its roads. See UTAH CODE ANN. § 17-50-309 (2009).




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       168.    Washington County is the highway authority with jurisdiction of county roads and

is statutorily authorized to place numbering signs, markers, and traffic control signs along its

roads. See UTAH CODE ANN. §§ 41-6a-208(1) and -102(63) (2010). “[I]nstalling, maintaining,

repairing and replacing road signs” is statutorily defined “maintenance” within the County’s

lawful governmental authority. See UTAH CODE ANN. § 72-5-301(5)(p) & (s) (2004).

       169.    DOI officials have admitted that the DOI is regulating the roads at issue in this

lawsuit as DOI roads, and that DOI is responsible for the roads until Plaintiffs’ title is confirmed.

       170.    Despite the DOI’s claims, it refuses to pay to maintain the roads or clear snow

from them.

       171.    The BLM, in particular, has refused to use its own funds to repair and maintain

the roads and has ignored the widespread public safety hazards directly caused by its recent

claim to own the rights-of-way over the roads.

       172.    Plaintiffs are informed and believe that BLM has significantly reduced the

number of instances it grades roads each year in the State of Utah and Washington County.

       173.    Plaintiffs are further informed and believe that BLM has significantly reduced the

number of road miles graded and maintained by the BLM in the State of Utah and every year

since the passage of FLPMA.

       174.    Since 2005, the DOI has denied that Plaintiffs have any rights, title, or interest to

any road crossing federal land unless and until Plaintiffs have first proven their ownership in

court, including the roads in this case.




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       175.    Plaintiffs must confirm their title to the roads in this case so that the County can

safely maintain these roads as part of its public highway transportation system and regulate and

maintain them as county roads.

       176.    Certain roads have fallen into disrepair without Washington County’s

maintenance; and both the public and BLM employees have complained of safety hazards,

precipitous headcutting, washboards, and entire washouts on many of the roads in this case.

       177.    Upon confirmation of Plaintiffs’ title, the County will immediately resume routine

maintenance, repair, and management of any relevant roads.

       178.     After taking the adverse actions complained of herein, the DOI has stated that the

door is wide open for Plaintiffs to come to court to prove their claims and establish their rights.

       179.    In fact, the BLM’s State Director recently testified that it is time to have

Plaintiffs’ rights-of-way decided.

       180.    In November of 2005, Kane County filed suit against the DOI (and BLM) under

the Administrative Procedures Act, 5 U.S.C. § 551 et seq., and challenged the transportation

provisions of the Monument Plan as being arbitrary and capricious. See Kane County v.

Kempthorne, 495 F. Supp. 1143 (D. Utah 2007), aff’d 562 F.3d 1077 (10th Cir. 2009)

(“Monument lawsuit”).

       181.    Kane County claimed that the DOI could not restrict, manage, or close Kane

County’s public highways until after DOI first determined that its actions would not impair Kane

County’s valid existing rights in its R.S. 2477 public highway rights-of-way. See Id.




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        182.   In response, the DOI argued that Kane County lacked standing and could not

claim any injury in fact relating to any R.S. 2477 right-of-way until after it had first quieted title

to each right-of-way.

        183.   As expressly stated by the DOI, Kane County had nothing more than “unproven”

assertions, not vested R.S. 2477 rights-of-way within the Monument. See id.

        184.   The Court agreed and held that as a matter of sequence, Kane County must quiet

title to its rights-of-way before it could challenge DOI’s road management actions. See id.

        185.   Although the Tenth Circuit vacated the ruling on the ground that plaintiffs lacked

standing, the underlying analysis went unaddressed.

        186.   The ongoing controversy caused by the DOI will be resolved by this Court’s order

quieting title to the rights-of-way for the roads claimed herein.

        187.   On or about February 17, 2012, as a result of the above concerns, the State of

Utah, through the Public Lands Policy Coordinator, Kathleen Clarke, sent a letter to Juan Palma,

the Utah State Director of the BLM.

        188.   This letter notified the BLM that the State and Counties would begin maintenance

and repair on Class B and D roads statewide and that this maintenance would include, as needed,

going outside the disturbed width of roads, but within the statutory right-of-way under Utah law

of 66 feet for class D roads and 100 feet for class B roads.

        189.   On March 1, 2012, Larry Jensen, Department of Interior Regional Solicitor, wrote

a letter seeking clarification of the State and Counties position on certain aspects of the letter and

stating that

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                some activities described in the letter— i.e., “widening and
                straightening of various road segments” and the collection of fill
                material from outside the disturbed area but within the right-of-
                way”–fall, in my opinion, squarely within the 10th Circuit’s
                definition of “improvement” or “construction,” and are the types of
                activities on which consultation is required before the State and the
                Counties can proceed. (Emphasis added).

       190.     In April 2012, Utah State BLM Director Juan Palma delivered a draft of a letter to

Utah Public Lands Policy Coordinator Kathleen Clarke in which he stated that the BLM did not

concede that Utah could undertake the actions detailed in its letter without prior consultation

with the BLM.

       191.     The DOI’s actions have clouded Plaintiffs’ title to their R.S. 2477 rights-of-way

for the roads claimed herein and constitute claims adverse to Plaintiffs' interests.

       192.     The DOI’s deliberate actions have created legal liability for Washington County,

clouded Plaintiffs’ title to these rights-of-way, impaired Washington County’s regulatory

authority, and placed the traveling public at risk.

       193.     During the last twelve years, the actions of the United States and its agencies have

clouded Plaintiffs’ title and created a case or controversy regarding Plaintiffs’ rights of

ownership, maintenance, and regulation of the public highway rights-of-way claimed herein.

       194.     The BLM refused to acknowledge Plaintiffs' right, title, and interest in these R.S.

2477 rights-of-way in the Cedar City RMP, and the BLM directed the State and County to first

prove their title in Court before the BLM would reevaluate its travel plan.

       195.     In response to Washington County’s claims of ownership of these rights-of-way,

the RMP finalized by the BLM covering Washington County provides that the RMP does not

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alter or extinguish any valid R.S. 2477 rights that the County or individuals may have, or their

right to assert and protect R.S. 2477 rights, and to challenge in Federal court or other appropriate

venue any restrictions that they believe are inconsistent with their rights. Id.

       196.    The BLM has refused to acknowledge any right, title or interest of Washington

County in the rights-of-way for these roads until this Court quiets title to the rights-of-way.

       197.    The BLM’s actions in implementing and enforcing the Cedar City RMP’s

transportation decisions and the subsequent road closures have excluded Washington County

from the peaceful enjoyment and regulatory authority of each of the roads pleaded herein and

clouded title to all roads in the area subject to the Travel Management Plan.

       198.    Despite the State of Utah and Washington County’s diligent efforts to work with

the BLM to resolve numerous road management needs, the BLM wholly refuses to acknowledge

the State and County’s right, title, and interest in each of the roads until confirmed by this Court.

       199.    Furthermore the United States and its agencies' actions have impeded Washington

County's ability to undertake construction and maintenance on the roads that exist over the

rights-of-way claimed herein.

       200.    Pursuant to the Quiet Title Act, Plaintiffs are entitled to confirm their ownership

of the rights-of-way claimed herein to ensure that State and County funds are spent to regulate

and maintain Plaintiffs’ public highways and to define the relative parties’ rights, title, and

interest to avoid future trespass actions.

       201.    Plaintiffs are further entitled to confirm their ownership of the rights-of-way

claimed herein to ensure that the United States and its agencies will change their current

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practices and comply with their statutory obligation to administer federal lands subject to

Plaintiffs’ valid existing rights.

                         FIRST CAUSE OF ACTION – QUIET TITLE
                                 COUGAR PASS AREA

        202.    Plaintiffs reallege and incorporate herein each of the foregoing paragraphs.

        203.    The Cougar Pass Area is located in northwestern Washington County in the

southwestern region of Utah.

        204.    The Cougar Pass Area includes the following roads—listed by Common Road

Name (if applicable) and County Unique Number: (1) Beaver Dam Wash Road, 0006; (2)

Cougar Pass Road, 0005; (3) Cougar Pass Road to Gold Strike Shortcut, 005A; (4) County Line

Road, 0203; (5) Enterprise Reservoir / Gunlock Road, 9925; (6) Enterprise T.V. Tower Road,

0190; (7) Enterprise to County Line Road, 0202; (8) Road Number 0034; (9) Road Number

0035; (10) Road Number 0036; (11) Road Number 0037; (12) Road Number 0038; (13) Road

Number 0040; (14) Road Number 0041; (15) Road Number 0042; (16) Road Number 0043; (17)

Road Number 0105; (18) Road Number 7986; (19) Road Number 0036A; (20) Road Number

0036B; and (21) Mathews Ranch Road, 0004

        205.    Each right-of-way claimed in the Cougar Pass Area was used by the general

public who engaged in one or more of the following activities: cattle ranching, sheep herding,

prospecting for minerals, rock hounding, mining, oil and gas exploration, wood gathering,

cutting wood, collecting pine nuts or berries, recreation, hunting, trapping, government access,

traveling in and through the area, or any other legitimate purpose.

        206.    All rights-of-way claimed in the Cougar Pass Area are sufficient in scope for
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general motor vehicle travel and include that which is reasonable and necessary to meet the

exigencies of motor vehicle travel according to safe engineering practices that protect the public

and the road and also prevent undue degradation of the adjacent land.

          207.   All rights-of-way claimed in the Cougar Pass Area include a minimum right-of-

way width of 66 feet or greater width as determined at trial, along with cuts, fills, slopes, water

bars, and such features and facilities as have historically been acknowledged by the DOI and

under law as being reasonable and necessary for the use, benefit, and enjoyment of public

highway rights-of-way. See, e.g., UTAH CODE ANN. § 72-5-302(4)(b) (2003).

          208.   Prior to October 21, 1976, the State of Utah, Washington County, and the public

through continuous use accepted the congressional grant of an R.S. 2477 right-of-way for the

entire length and course of all roads as described herein, on public lands owned by the United

States.

Beaver Dam Wash Road, 0006

          209.   The Beaver Dam Wash Road is designated as county road number 0006 and

SGID road identification number RD279922 and is more or less 8.59 miles long.

          210.   Exhibit 13 (attached hereto and incorporated herein) contains certain information

pertaining to the Beaver Dam Wash Road including: a map depicting the road; township, range

and section references describing the road’s physical location; a servient estate ownership list;

and a complete centerline description of the road.

          211.   In this action, the State and County seek to quiet title to the public highway right-

of-way for the Beaver Dam Wash Road solely as it crosses United States public land as included

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and specifically described in Exhibit 13. The Beaver Dam Wash Road includes the segment of

road specifically set forth in Exhibit 13 and as exists on the ground.

Acceptance of the Beaver Dam Wash Road R.S. 2477 Right-of-way Prior to October 21,
1976.

        212.   The Beaver Dam Wash Road has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

        213.   Aerial photography from 1960 and 1976 confirms the historical use, existence,

and acceptance of the right-of-way for the Beaver Dam Wash Road as a public highway located

on the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        214.   The Beaver Dam Wash Road appears on the Motoqua (1972) and Docs Pass

(1973) USGS 7.5-minute quadrangle maps, which evidences the existence, use, and acceptance

of the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

        215.   The County confirmed its acceptance of the Beaver Dam Wash Road by 1976,

when it designated and accepted the road as a County highway on the County’s general highway

map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance

of its R.S. 2477 right-of-way by managing, maintaining, or improving the Beaver Dam Wash

Road using public funds pursuant to the County’s governmental right and authority.

        216.   Witnesses with personal knowledge of the history of the Baker Dam Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.
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        217.    Currently known reputation in the community is that the Beaver Dam Wash Road

has been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        218.    Public motor vehicle use of the Beaver Dam Wash Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        219.    The Beaver Dam Wash Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        220.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Baker Dam Road.

        221.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Beaver Dam Wash Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Cougar Pass Road, 0005

        222.    The Cougar Pass Road is designated as county road number 0005 and SGID road

identification number RD279926 and is more or less 29.2 miles long.

        223.    Exhibit 14 (attached hereto and incorporated herein) contains certain information

pertaining to the Cougar Pass Road including: a map depicting the road; township, range and

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section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       224.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Cougar Pass Road solely as it crosses United States public land as included and

specifically described in Exhibit 14. The Cougar Pass Road includes the segment of road

specifically set forth in Exhibit 14 and as exists on the ground.

Acceptance of the Cougar Pass Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       225.    The Cougar Pass Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       226.    Aerial photography from 1960, 1967, and 1976 confirms the historical use,

existence, and acceptance of the right-of-way for the Cougar Pass Road as a public highway

located on the land at issue in this case and following the course described herein. More recent

aerial photography continues to show the road as it existed prior to October 21, 1976.

       227.    The Cougar Pass Road appears on the Motoqua (1972) and Goldstrike (1972)

USGS 7.5-minute quadrangle maps, which evidences the existence, use, and acceptance of the

right-of-way underlying this road. See Exhibit 12 for more detailed map information.

       228.    The County confirmed its acceptance of the Cougar Pass Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Cougar Pass Road using

public funds pursuant to the County’s governmental right and authority.

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        229.   Witnesses with personal knowledge of the history of the Cougar Pass Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        230.   Currently known reputation in the community is that the Cougar Pass Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        231.   Public motor vehicle use of the Cougar Pass Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        232.   The Cougar Pass Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        233.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Cougar Pass Road.

        234.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Cougar Pass Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.




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Cougar Pass Road to Gold Strike Shortcut Road, 005A

         235.   The Cougar Pass Road to Gold Strike Shortcut Road is designated as county road

number 005A and SGID road identification number RD270005 and is more or less 2.48 miles

long.

         236.   Exhibit 15 (attached hereto and incorporated herein) contains certain information

pertaining to the Cougar Pass Road to Gold Strike Shortcut Road including: a map depicting the

road; township, range and section references describing the road’s physical location; a servient

estate ownership list; and a complete centerline description of the road.

         237.   In this action, the State and County seek to quiet title to the public highway right-

of-way for the Cougar Pass Road to Gold Strike Shortcut Road solely as it crosses United States

public land as included and specifically described in Exhibit 15. The Cougar Pass Road to Gold

Strike Shortcut Road includes the segment of road specifically set forth in Exhibit 15 and as

exists on the ground.

Acceptance of the Cougar Pass Road to Gold Strike Shortcut Road R.S. 2477 Right-of-way
Prior to October 21, 1976.

         238.   The Cougar Pass Road to Gold Strike Shortcut Road has long served as a public

highway providing access to and across public land. This road serves the public’s transportation

needs.

         239.   Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Cougar Pass Road to Gold Strike Shortcut Road as a

public highway located on the land at issue in this case and following the course described



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herein. More recent aerial photography continues to show the road as it existed prior to October

21, 1976.

       240.    The Cougar Pass Road to Gold Strike Shortcut Road appears on the Motoqua

(1972) USGS 7.5-minute quadrangle map, which evidences the existence, use, and acceptance of

the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

       241.    The Cougar Pass Road was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Cougar Pass Road to Gold Strike Shortcut Road

using public funds pursuant to the County’s governmental right and authority.

       242.    Witnesses with personal knowledge of the history of the Cougar Pass Road to

Gold Strike Shortcut Road confirm public use of this road as a public thoroughfare by means of

motor vehicles on a continuous basis, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976.

       243.    Currently known reputation in the community is that the Cougar Pass Road to

Gold Strike Shortcut Road has been open for all to come and go, whenever convenient or

necessary, for more than 10 years prior to October 21, 1976, and continuing to the present.

       244.    Public motor vehicle use of the Cougar Pass Road to Gold Strike Shortcut Road

as a public thoroughfare traversing unreserved public lands on a continuous basis, whenever

convenient or necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance

of the grant of an R.S. 2477 public highway right-of-way underlying this road.

       245.    The Cougar Pass Road to Gold Strike Shortcut Road traverses a valid and

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perfected R.S. 2477 public highway right-of-way as described herein.

       246.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Cougar Pass Road to Gold Strike

Shortcut Road.

       247.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Cougar Pass Road to Gold Strike Shortcut Road on lands owned by the

United States as described herein and including that which is reasonable and necessary for the

use, benefit, and enjoyment of this road.

County Line Road, 0203

       248.    The County Line Road is designated as county road number 0203 and SGID road

identification number RD270203 and is more or less 2.82 miles long.

       249.    Exhibit 16 (attached hereto and incorporated herein) contains certain information

pertaining to the County Line Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       250.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the County Line Road solely as it crosses United States public land as included and

specifically described in Exhibit 16. The County Line Road includes the segment of road

specifically set forth in Exhibit 16 and as exists on the ground.




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Acceptance of the County Line Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        251.   The County Line Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        252.   Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the County Line Road as a public highway located on the land

at issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

        253.   The County Line Road appears on the Enterprise (1972) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        254.   The County confirmed its acceptance of the County Line Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the County Line Road using

public funds pursuant to the County’s governmental right and authority.

        255.   Witnesses with personal knowledge of the history of the County Line Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        256.   Currently known reputation in the community is that the County Line Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

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prior to October 21, 1976, and continuing to the present.

        257.   Public motor vehicle use of the County Line Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        258.   The County Line Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        259.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the County Line Road.

        260.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the County Line Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Enterprise Reservoir / Gunlock Road, 9925

        261.   The Enterprise Reservoir / Gunlock Road is designated as county road number

9925 and SGID road identification number RD279925 and is more or less 22.16 miles long.

        262.   Exhibit 17 (attached hereto and incorporated herein) contains certain information

pertaining to the Enterprise Reservoir / Gunlock Road including: a map depicting the road;

township, range and section references describing the road’s physical location; a servient estate

ownership list; and a complete centerline description of the road.

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        263.   In this action, the State and County seek to quiet title to the public highway right-

of-way for the Enterprise Reservoir / Gunlock Road solely as it crosses United States public land

as included and specifically described in Exhibit 17. The Enterprise Reservoir / Gunlock Road

includes the segment of road specifically set forth in Exhibit 17 and as exists on the ground.

Acceptance of the Enterprise Reservoir / Gunlock Road R.S. 2477 Right-of-way Prior to
October 21, 1976.

        264.   The Enterprise Reservoir / Gunlock Road has long served as a public highway

providing access to and across public land. This road serves the public’s transportation needs.

        265.   Aerial photography from 1960, and 1976 confirms the historical use, existence,

and acceptance of the right-of-way for the Enterprise Reservoir / Gunlock Road as a public

highway located on the land at issue in this case and following the course described herein.

More recent aerial photography continues to show the road as it existed prior to October 21,

1976.

        266.   The Enterprise Reservoir / Gunlock Road appears on the Veyo (1972), Central

West (1972), Maple Ridge (1972), and Hebron (1972) USGS 7.5-minute quadrangle maps,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

        267.   The County confirmed its acceptance of the Enterprise Reservoir / Gunlock Road

by 1976, when it designated and accepted the road as a County highway on the County’s general

highway map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its

acceptance of its R.S. 2477 right-of-way by managing, maintaining, or improving the Enterprise

Reservoir / Gunlock Road using public funds pursuant to the County’s governmental right and
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authority.

        268.   Witnesses with personal knowledge of the history of the Enterprise Reservoir /

Gunlock Road confirm public use of this road as a public thoroughfare by means of motor

vehicles on a continuous basis, whenever convenient or necessary, for more than 10 years prior

to October 21, 1976.

        269.   Currently known reputation in the community is that the Enterprise Reservoir /

Gunlock Road has been open for all to come and go, whenever convenient or necessary, for more

than 10 years prior to October 21, 1976, and continuing to the present.

        270.   Public motor vehicle use of the Enterprise Reservoir / Gunlock Road as a public

thoroughfare traversing unreserved public lands on a continuous basis, whenever convenient or

necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of

an R.S. 2477 public highway right-of-way underlying this road.

        271.   The Enterprise Reservoir / Gunlock Road traverses a valid and perfected R.S.

2477 public highway right-of-way as described herein.

        272.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Enterprise Reservoir / Gunlock

Road.

        273.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Enterprise Reservoir / Gunlock Road on lands owned by the United States as

described herein and including that which is reasonable and necessary for the use, benefit, and

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enjoyment of this road.

Enterprise T.V. Tower Road, 0190

       274.    The Enterprise T.V. Tower Road is designated as county road number 0190 and

SGID road identification number RD270190 and is more or less 1.86 miles long.

       275.    Exhibit 18 (attached hereto and incorporated herein) contains certain information

pertaining to the Enterprise T.V. Tower Road including: a map depicting the road; township,

range and section references describing the road’s physical location; a servient estate ownership

list; and a complete centerline description of the road.

       276.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Enterprise T.V. Tower Road solely as it crosses United States public land as

included and specifically described in Exhibit 18. The Enterprise T.V. Tower Road includes the

segment of road specifically set forth in Exhibit 18 and as exists on the ground.

Acceptance of the Enterprise T.V. Tower Road R.S. 2477 Right-of-way Prior to October
21, 1976.

       277.    The Enterprise T.V. Tower Road has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

       278.    Aerial photography from 1967 and 1976 confirms the historical use, existence,

and acceptance of the right-of-way for the Enterprise T.V. Tower Road as a public highway

located on the land at issue in this case and following the course described herein. More recent

aerial photography continues to show the road as it existed prior to October 21, 1976.

       279.    The Enterprise T.V. Tower Road appears on the Enterprise (1972) USGS 7.5-

minute quadrangle map, which evidences the existence, use, and acceptance of the right-of-way
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underlying this road. See Exhibit 12 for more detailed map information.

        280.   The County confirmed its acceptance of the Enterprise T.V. Tower Road by 1976,

when it designated and accepted the road as a County highway on the County’s general highway

map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance

of its R.S. 2477 right-of-way by managing, maintaining, or improving the Enterprise T.V. Tower

Road using public funds pursuant to the County’s governmental right and authority.

        281.   Witnesses with personal knowledge of the history of the Enterprise T.V. Tower

Road confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        282.   Currently known reputation in the community is that the Enterprise T.V. Tower

Road has been open for all to come and go, whenever convenient or necessary, for more than 10

years prior to October 21, 1976, and continuing to the present.

        283.   Public motor vehicle use of the Enterprise T.V. Tower Road as a public

thoroughfare traversing unreserved public lands on a continuous basis, whenever convenient or

necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of

an R.S. 2477 public highway right-of-way underlying this road.

        284.   The Enterprise T.V. Tower Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        285.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

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action to establish clear title to the right-of-way underlying the Enterprise T.V. Tower Road.

       286.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Enterprise T.V. Tower Road on lands owned by the United States as

described herein and including that which is reasonable and necessary for the use, benefit, and

enjoyment of this road.

Enterprise to County Line Road, 0202

       287.    The Enterprise to County Line Road is designated as county road number 0202

and SGID road identification number RD270202 and is more or less 1.57 miles long.

       288.    Exhibit 19 (attached hereto and incorporated herein) contains certain information

pertaining to the Enterprise to County Line Road including: a map depicting the road; township,

range and section references describing the road’s physical location; a servient estate ownership

list; and a complete centerline description of the road.

       289.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Enterprise to County Line Road solely as it crosses United States public land as

included and specifically described in Exhibit 19. The Enterprise to County Line Road includes

the segment of road specifically set forth in Exhibit 19 and as exists on the ground.

Acceptance of the Enterprise to County Line Road R.S. 2477 Right-of-way Prior to
October 21, 1976.

       290.    The Enterprise to County Line Road has long served as a public highway

providing access to and across public land. This road serves the public’s transportation needs.

       291.    Aerial photography from 1967 and 1976 confirms the historical use, existence,

and acceptance of the right-of-way for the Enterprise to County Line Road as a public highway
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located on the land at issue in this case and following the course described herein. More recent

aerial photography continues to show the road as it existed prior to October 21, 1976.

       292.    The Enterprise to County Line Road appears on the Enterprise (1972) USGS 7.5-

minute quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       293.    The County confirmed its acceptance of the Enterprise to County Line Road by

1976, when it designated and accepted the road as a County highway on the County’s general

highway map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its

acceptance of its R.S. 2477 right-of-way by managing, maintaining, or improving the Enterprise

to County Line Road using public funds pursuant to the County’s governmental right and

authority.

       294.    Witnesses with personal knowledge of the history of the Enterprise to County

Line Road confirm public use of this road as a public thoroughfare by means of motor vehicles

on a continuous basis, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976.

       295.    Currently known reputation in the community is that the Enterprise to County

Line Road has been open for all to come and go, whenever convenient or necessary, for more

than 10 years prior to October 21, 1976, and continuing to the present.

       296.    Public motor vehicle use of the Enterprise to County Line Road as a public

thoroughfare traversing unreserved public lands on a continuous basis, whenever convenient or

necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of

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an R.S. 2477 public highway right-of-way underlying this road.

       297.    The Enterprise to County Line Road traverses a valid and perfected R.S. 2477

public highway right-of-way as described herein.

       298.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Enterprise to County Line Road.

       299.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Enterprise to County Line Road on lands owned by the United States as

described herein and including that which is reasonable and necessary for the use, benefit, and

enjoyment of this road.

Road Number 0034

       300.    Road 0034 is designated as county road number 0034 and SGID road

identification number RD270034 and is more or less 5.5 miles long.

       301.    Exhibit 20 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0034 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       302.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0034 solely as it crosses United States public land as included and

specifically described in Exhibit 20. The Road 0034 includes the segment of road specifically

set forth in Exhibit 20 and as exists on the ground.

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Acceptance of the Road 0034 R.S. 2477 Right-of-way Prior to October 21, 1976.

       303.    The Road 0034 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       304.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0034 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       305.    The Road 0034 appears on the Goldstrike (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       306.    The 0034 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0034 pursuant to the County’s governmental

right and authority.

       307.    Witnesses with personal knowledge of the history of the Road 0034 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       308.    Currently known reputation in the community is that the Road 0034 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       309.    Public motor vehicle use of the Road 0034 as a public thoroughfare traversing

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unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       310.    The Road 0034 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       311.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0034.

       312.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0034 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0035

       313.    Road 0035 is designated as county road number 0035 and SGID road

identification number RD279999 and is more or less 0.84 miles long.

       314.    Exhibit 21 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0035 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       315.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0035 solely as it crosses United States public land as included and

specifically described in Exhibit 21. The Road 0035 includes the segment of road specifically

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set forth in Exhibit 21 and as exists on the ground.

Acceptance of the Road 0035 R.S. 2477 Right-of-way Prior to October 21, 1976.

       316.    The Road 0035 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       317.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0035 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       318.    The Road 0035 appears on the Goldstrike (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       319.    The 0035 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0035 pursuant to the County’s governmental

right and authority.

       320.    Witnesses with personal knowledge of the history of the Road 0035 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       321.    Currently known reputation in the community is that the Road 0035 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

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       322.    Public motor vehicle use of the Road 0035 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       323.    The Road 0035 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       324.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0035.

       325.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0035 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0036

       326.    Road 0036 is designated as county road number 0036 and SGID road

identification number RD270036 and is more or less 2.9 miles long.

       327.    Exhibit 22 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0036 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       328.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0036 solely as it crosses United States public land as included and

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specifically described in Exhibit 22. The Road 0036 includes the segment of road specifically

set forth in Exhibit 22 and as it exists on the ground.

Acceptance of the Road 0036 R.S. 2477 Right-of-way Prior to October 21, 1976.

       329.    The Road 0036 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       330.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0036 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       331.    The Road 0036 appears on the Goldstrike (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       332.    The 0036 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0036 pursuant to the County’s governmental

right and authority.

       333.    Witnesses with personal knowledge of the history of the Road 0036 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       334.    Currently known reputation in the community is that the Road 0036 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

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October 21, 1976, and continuing to the present.

       335.    Public motor vehicle use of the Road 0036 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       336.    The Road 0036 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       337.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0036.

       338.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0036 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0037

       339.    Road 0037 is designated as county road number 0037 and SGID road

identification number RD271103 and is more or less 2.75 miles long.

       340.    Exhibit 23 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0037 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       341.    In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road 0037 solely as it crosses United States public land as included and

specifically described in Exhibit 23. The Road 0037 includes the segment of road specifically

set forth in Exhibit 23 and as it exists on the ground.

Acceptance of the Road 0037 R.S. 2477 Right-of-way Prior to October 21, 1976.

       342.    The Road 0037 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       343.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0037 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       344.    The Road 0037 appears on the Goldstrike (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       345.    The 0037 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0037 pursuant to the County’s governmental

right and authority.

       346.    Witnesses with personal knowledge of the history of the Road 0037 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       347.    Currently known reputation in the community is that the Road 0037 has been

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open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       348.    Public motor vehicle use of the Road 0037 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       349.    The Road 0037 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       350.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0037.

       351.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0037 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0038

       352.    Road 0038 is designated as county road number 0038 and SGID road

identification number RD271104 and is more or less 0.93 miles long.

       353.    Exhibit 24 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0038 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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       354.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0038 solely as it crosses United States public land as included and

specifically described in Exhibit 24. The Road 0038 includes the segment of road specifically

set forth in Exhibit 24 and as it exists on the ground.

Acceptance of the Road 0038 R.S. 2477 Right-of-way Prior to October 21, 1976.

       355.    The Road 0038 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       356.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0038 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       357.    The Road 0038 appears on the Goldstrike (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       358.    The Road 0038 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0038 pursuant to the County’s governmental

right and authority.

       359.    Witnesses with personal knowledge of the history of the Road 0038 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

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       360.    Currently known reputation in the community is that the Road 0038 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       361.    Public motor vehicle use of the Road 0038 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       362.    The Road 0038 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       363.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0038.

       364.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0038 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0040

       365.    Road 0040 is designated as county road number 0040 and SGID road

identification number RD271105 and is more or less 0.37 miles long.

       366.    Exhibit 25 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0040 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

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complete centerline description of the road.

       367.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0040 solely as it crosses United States public land as included and

specifically described in Exhibit 25. The Road 0040 includes the segment of road specifically

set forth in Exhibit 25 and as it exists on the ground.

Acceptance of the Road 0040 R.S. 2477 Right-of-way Prior to October 21, 1976.

       368.    The Road 0040 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       369.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0040 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       370.    The Road 0040 appears on the Goldstrike (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       371.    The Road 0040 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0040 pursuant to the County’s governmental

right and authority.

       372.    Witnesses with personal knowledge of the history of the Road 0040 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

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basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       373.    Currently known reputation in the community is that the Road 0040 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       374.    Public motor vehicle use of the Road 0040 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       375.    The Road 0040 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       376.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0040.

       377.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0040 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0041

       378.    Road 0041 is designated as county road number 0041 and SGID road

identification number RD270041 and is more or less 5.2 miles long.

       379.    Exhibit 26 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0041 including: a map depicting the road; township, range and section

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references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       380.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0041 solely as it crosses United States public land as included and

specifically described in Exhibit 26. The Road 0041 includes the segment of road specifically

set forth in Exhibit 26 and as it exists on the ground.

Acceptance of the Road 0041 R.S. 2477 Right-of-way Prior to October 21, 1976.

       381.    The Road 0041 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       382.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0041 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       383.    The Road 0041 appears on the Goldstrike (1972) and Maple Ridge (1972) USGS

7.5-minute quadrangle maps, which evidences the existence, use, and acceptance of the right-of-

way underlying this road. See Exhibit 12 for more detailed map information.

       384.    The Road 0041 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0041 pursuant to the County’s governmental

right and authority.

       385.    Witnesses with personal knowledge of the history of the Road 0041 confirm

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public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       386.    Currently known reputation in the community is that the Road 0041 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       387.    Public motor vehicle use of the Road 0041 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       388.    The Road 0041 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       389.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0041.

       390.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0041 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0042

       391.    Road 0042 is designated as county road number 0042 and SGID road

identification number RD271106 and is more or less 0.43 miles long.

       392.    Exhibit 27 (attached hereto and incorporated herein) contains certain information

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pertaining to the Road 0042 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       393.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0042 solely as it crosses United States public land as included and

specifically described in Exhibit 27. The Road 0042 includes the segment of road specifically

set forth in Exhibit 27 and as it exists on the ground.

Acceptance of the Road 0042 R.S. 2477 Right-of-way Prior to October 21, 1976.

       394.    The Road 0042 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       395.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0042 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       396.    The Road 0042 appears on the Goldstrike (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       397.    The Road 0042 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0042 pursuant to the County’s governmental

right and authority.

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       398.    Witnesses with personal knowledge of the history of the Road 0042 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       399.    Currently known reputation in the community is that the Road 0042 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       400.    Public motor vehicle use of the Road 0042 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       401.    The Road 0042 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       402.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0042.

       403.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0042 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0043

       404.    Road 0043 is designated as county road number 0043 and SGID road

identification number RD271107 and is more or less 2.85 miles long.

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       405.    Exhibit 28 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0043 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       406.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0043 solely as it crosses United States public land as included and

specifically described in Exhibit 28. The Road 0043 includes the segment of road specifically

set forth in Exhibit 28 and as it exists on the ground.

Acceptance of the Road 0043 R.S. 2477 Right-of-way Prior to October 21, 1976.

       407.    The Road 0043 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       408.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0043 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       409.    The Road 0043 appears on the Goldstrike (1972) and Maple Ridge (1972) USGS

7.5-minute quadrangle maps, which evidences the existence, use, and acceptance of the right-of-

way underlying this road. See Exhibit 12 for more detailed map information.

       410.    The Road 0043 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0043 pursuant to the County’s governmental

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right and authority.

       411.    Witnesses with personal knowledge of the history of the Road 0043 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       412.    Currently known reputation in the community is that the Road 0043 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       413.    Public motor vehicle use of the Road 0043 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       414.    The Road 0043 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       415.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0043.

       416.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0043 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0105

       417.    Road 0105 is designated as county road number 0105 and SGID road

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identification number RD270105 and is more or less 3.11 miles long.

       418.    Exhibit 29 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0105 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       419.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0105 solely as it crosses United States public land as included and

specifically described in Exhibit 29. The Road 0105 includes the segment of road specifically

set forth in Exhibit 29 and as it exists on the ground.

Acceptance of the Road 0105 R.S. 2477 Right-of-way Prior to October 21, 1976.

       420.    The Road 0105 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       421.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0105 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       422.    The Road 0105 appears on the Enterprise (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       423.    The Road 0105 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

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managing, maintaining, or improving the Road 0105 pursuant to the County’s governmental

right and authority.

       424.    Witnesses with personal knowledge of the history of the Road 0105 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       425.    Currently known reputation in the community is that the Road 0105 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       426.    Public motor vehicle use of the Road 0105 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       427.    The Road 0105 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       428.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0105.

       429.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0105 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.




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Road Number 7986

       430.    Road 7986 is designated as county road number 7986 and SGID road

identification number RD277986 and is more or less 0.33 miles long.

       431.    Exhibit 30 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 7986 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       432.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 7986 solely as it crosses United States public land as included and

specifically described in Exhibit 30. The Road 7986 includes the segment of road specifically

set forth in Exhibit 30 and as it exists on the ground.

Acceptance of the Road 7986 R.S. 2477 Right-of-way Prior to October 21, 1976.

       433.    The Road 7986 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       434.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 7986 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       435.    The Road 7986 appears on the Enterprise (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

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       436.    The Road 7986 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 7986 pursuant to the County’s governmental

right and authority.

       437.    Witnesses with personal knowledge of the history of the Road 7986 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       438.    Currently known reputation in the community is that the Road 7986 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       439.    Public motor vehicle use of the Road 7986 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       440.    The Road 7986 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       441.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 7986.

       442.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 7986 on lands owned by the United States as described herein and

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including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0036A

       443.    Road 0036A is designated as county road number 0036A and SGID road

identification number RD271101 and is more or less 0.22 miles long.

       444.    Exhibit 31 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0036A including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       445.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0036A solely as it crosses United States public land as included and

specifically described in Exhibit 31. The Road 0036A includes the segment of road specifically

set forth in Exhibit 31 and as it exists on the ground.

Acceptance of the Road 0036A R.S. 2477 Right-of-way Prior to October 21, 1976.

       446.    The Road 0036A has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       447.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0036A as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       448.    The Road 0036A appears on the Goldstrike (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

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road. See Exhibit 12 for more detailed map information.

       449.    The Road 0036A was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0036A pursuant to the County’s governmental

right and authority.

       450.    Witnesses with personal knowledge of the history of the Road 0036A confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       451.    Currently known reputation in the community is that the Road 0036A has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       452.    Public motor vehicle use of the Road 0036A as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       453.    The Road 0036A traverses a valid and perfected R.S. 2477 public highway right-

of-way as described herein.

       454.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0036A.

       455.    The State and County are entitled to an order quieting title to their R.S. 2477

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right-of-way for the Road 0036A on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0036B

       456.    Road 0036B is designated as county road number 0036B and SGID road

identification number RD271102 and is more or less 1.19 miles long.

       457.    Exhibit 32 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0036B including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       458.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0036B solely as it crosses United States public land as included and

specifically described in Exhibit 32. The Road 0036B includes the segment of road specifically

set forth in Exhibit 32 and as it exists on the ground.

Acceptance of the Road 0036B R.S. 2477 Right-of-way Prior to October 21, 1976.

       459.    The Road 0036B has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       460.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0036B as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       461.    The Road 0036B appears on the Goldstrike (1972) USGS 7.5-minute quadrangle

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map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       462.    The Road 0036B was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0036B pursuant to the County’s governmental

right and authority.

       463.    Witnesses with personal knowledge of the history of the Road 0036B confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       464.    Currently known reputation in the community is that the Road 0036B has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       465.    Public motor vehicle use of the Road 0036B as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       466.    The Road 0036B traverses a valid and perfected R.S. 2477 public highway right-

of-way as described herein.

       467.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0036B.

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       468.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0036B on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Matthews Ranch Road, 004

       469.    Matthews Ranch Road is designated as county road number 0004 and SGID road

identification number RD270004 and is more or less 4.1 miles long.

       470.    Exhibit 33 (attached hereto and incorporated herein) contains certain information

pertaining to the Matthews Ranch Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       471.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Matthews Ranch Road solely as it crosses United States public land as included

and specifically described in Exhibit 33. The Matthews Ranch Road includes the segment of

road specifically set forth in Exhibit 33 and as it exists on the ground.

Acceptance of the Matthews Ranch Road R.S. 2477 Right-of-way Prior to October 21,
1976.

       472.    The Matthews Ranch Road has long served as a public highway providing access

to and across public land. This road serves the public’s transportation needs.

       473.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Matthews Ranch Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.
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        474.   The majority of the Matthews Ranch Road appears on the Docs Pass (1973)

USGS 7.5-minute quadrangle map, which evidences the existence, use, and acceptance of the

right-of-way underlying this road. See Exhibit 12 for more detailed map information.

        475.   The Matthews Ranch Road was accepted as a County highway at least 10 years

prior to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-

way by managing, maintaining, or improving the Matthews Ranch Road pursuant to the

County’s governmental right and authority.

        476.   Witnesses with personal knowledge of the history of the Matthews Ranch Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        477.   Currently known reputation in the community is that the Matthews Ranch Road

has been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        478.   Public motor vehicle use of the Matthews Ranch Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        479.   The Matthews Ranch Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        480.   Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Matthews Ranch Road.

        481.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Matthews Ranch Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

                       SECOND CAUSE OF ACTION – QUIET TITLE
                                GOLD STRIKE AREA

        482.    Plaintiffs re-allege and incorporate herein each of the foregoing paragraphs.

        483.    The Gold Strike Area is located in west-central Washington County in the

southwestern region of Utah.

        484.    The Gold Strike Area includes the following roads— listed by Common Road

Name (if applicable) and County Unique Number: (1) DI Turnoff Road, 0054; (2) Dodge

Springs, 0013; (3) Gold Strike, 0044; (4) Jackson Road, 0011; (5) Manganese Road, 0063; (6)

Rod’s Camp Road, 0124; (7) Tobin Wash Road, 0117; (8) Road Number 0012; (9) Road

Number 0014; (10) Road Number 0015; (11) Road Number 0016; (12) Road Number 0017; (13)

Road Number 0018; (14) Road Number 0045; (15) Road Number 0046; (16) Road Number

0047; (17) Road Number 0051; (18) Road Number 0052; (19) Road Number 0053; (20) Road

Number 0055; (21) Bently Wash Road, 0057; (22) Road Number 0059; (23) Road Number 0060;

(24) Road Number 0061; (25) Road Number 0062; (26) Road Number 0109; (27) Road Number

0111; (28) Road Number 0113; (29) Road Number 0114; Road Number 0116; (30) Road

Number 0118; (31) Road Number 0119; (32) Road Number 0120; (33) Road Number 0121; (34)
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Road Number 0122; (35) Road Number 0123; (36) Road Number 0125; (37) Road Number

0126; (38) Road Number 0128; (39) Road Number 0129; (40) Road Number 0130; (41) Road

Number 0131; (42) Road Number 0132; (43) Road Number 0133; (44) Road Number 0135; (45)

Road Number 0136; (46) Road Number 0148; (47) Road Number 0828; (48) Road Number

7955; (49) Road Number 7956; (50) Road Number 7957; (51) Road Number 7982; (52) Road

Number 0113 North; (53) Dodge Springs 2, 9996; (54) North Gunlock Road, 0127.

       485.    Each right-of-way claimed in the Gold Strike Area was used by the general public

who engaged in one or more of the following activities: cattle ranching, sheep herding,

prospecting for minerals, rock hounding, mining, oil and gas exploration, wood gathering,

cutting wood, collecting pine nuts or berries, recreation, hunting, trapping, government access,

traveling in and through the area, or any other legitimate purpose.

       486.    All rights-of-way claimed in the Gold Strike Area are sufficient in scope for

general motor vehicle travel and include that which is reasonable and necessary to meet the

exigencies of motor vehicle travel according to safe engineering practices that protect the public

and the road and also prevent undue degradation of the adjacent land.

       487.    All rights-of-way claimed in the Gold Strike Area include a minimum right-of-

way width of 66 feet or greater width as determined at trial, along with cuts, fills, slopes, water

bars, and such features and facilities as have historically been acknowledged by the DOI and

under law as being reasonable and necessary for the use, benefit, and enjoyment of public

highway rights-of-way. See, e.g., UTAH CODE ANN. § 72-5-302(4)(b) (2003).

       488.    Prior to October 21, 1976, the State of Utah, Washington County, and the public

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through continuous use accepted the congressional grant of an R.S. 2477 right-of-way for the

entire length and course of all roads as described herein, on public lands owned by the United

States.

DI Turn Off Road, 0054

          489.   The DI Turn Off Road is designated as county road number 0054 and SGID road

identification number RD270054 and is more or less 2.08 miles long.

          490.   Exhibit 34 (attached hereto and incorporated herein) contains certain information

pertaining to the DI Turn Off Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

          491.   In this action, the State and County seek to quiet title to the public highway right-

of-way for the DI Turn Off Road solely as it crosses United States public land as included and

specifically described in Exhibit 34. The DI Turn Off Road includes the segment of road

specifically set forth in Exhibit 34 and as exists on the ground.

Acceptance of the DI Turn Off Road R.S. 2477 Right-of-way Prior to October 21, 1976.

          492.   The DI Turn Off Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

          493.   Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the DI Turn Off Road as a public highway located on the land

at issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

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        494.   The DI Turn Off Road appears on the Motoqua (1972) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        495.   The County confirmed its acceptance of the DI Turn Off Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the DI Turn Off Road using

public funds pursuant to the County’s governmental right and authority.

        496.   Witnesses with personal knowledge of the history of the DI Turn Off Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        497.   Currently known reputation in the community is that the DI Turn Off Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        498.   Public motor vehicle use of the DI Turn Off Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        499.   The DI Turn Off Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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        500.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the DI Turn Off Road.

        501.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the DI Turn Off Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Dodge Springs Road, 0013

        502.   The Dodge Springs Road is designated as county road number 0013 and SGID

road identification number RD270013 and is more or less 4.21 miles long.

        503.   Exhibit 35 (attached hereto and incorporated herein) contains certain information

pertaining to the Dodge Springs Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        504.   In this action, the State and County seek to quiet title to the public highway right-

of-way for the Dodge Springs Road solely as it crosses United States public land as included and

specifically described in Exhibit 35. The Dodge Springs Road includes the segment of road

specifically set forth in Exhibit 35 and as exists on the ground.

Acceptance of the Dodge Springs Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        505.   The Dodge Springs Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

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        506.   Aerial photography from 1960 and 1979 confirms the historical use, existence,

and acceptance of the right-of-way for the Dodge Springs Road as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        507.   The Dodge Springs Road appears on the Dodge Spring (1973) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        508.   The Dodge Springs Road was accepted as a County highway at least 10 years

prior to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-

way by managing, maintaining, or improving the Dodge Springs Road using public funds

pursuant to the County’s governmental right and authority.

        509.   Witnesses with personal knowledge of the history of the Dodge Springs Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        510.   Currently known reputation in the community is that the Dodge Springs Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        511.   Public motor vehicle use of the Dodge Springs Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        512.    The Dodge Springs Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        513.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Dodge Springs Road.

        514.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Dodge Springs Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Gold Strike Road, 0044

        515.    The Gold Strike Road is designated as county road number 0044 and SGID road

identification number RD270044 and is more or less 9.48 miles long.

        516.    Exhibit 36 (attached hereto and incorporated herein) contains certain information

pertaining to the Gold Strike Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        517.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Gold Strike Road solely as it crosses United States public land as included and

specifically described in Exhibit 36. The Gold Strike Road includes the segment of road

specifically set forth in Exhibit 36 and as exists on the ground.

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Acceptance of the Gold Strike Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        518.   The Gold Strike Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        519.   Aerial photography from 1960 and 1976 confirms the historical use, existence,

and acceptance of the right-of-way for the Gold Strike Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        520.   The Gold Strike Road appears on the Motoqua (1972) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        521.   The Gold Strike Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Gold Strike Road using public funds pursuant to the

County’s governmental right and authority.

        522.   Witnesses with personal knowledge of the history of the Gold Strike Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        523.   Currently known reputation in the community is that the Gold Strike Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        524.   Public motor vehicle use of the Gold Strike Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        525.   The Gold Strike Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        526.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Gold Strike Road.

        527.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Gold Strike Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Jackson Road, 0011

        528.   The Jackson Road is designated as county road number 0011 and SGID road

identification number RD279914 and is more or less 23.24 miles long.

        529.   Exhibit 37 (attached hereto and incorporated herein) contains certain information

pertaining to the Jackson Road including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        530.   In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Jackson Road solely as it crosses United States public land as included and

specifically described in Exhibit 37. The Jackson Road includes the segment of road specifically

set forth in Exhibit 37 and as exists on the ground.

Acceptance of the Jackson Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       531.    The Jackson Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       532.    Aerial photography from 1960, 1976, and 1979 confirms the historical use,

existence, and acceptance of the right-of-way for the Jackson Road as a public highway located

on the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       533.    The Jackson Road appears on the Dodge Spring (1973), Motoqua (1972),

Gunlock (1972), and Shivwits (1954) USGS 7.5-minute quadrangle maps, which evidences the

existence, use, and acceptance of the right-of-way underlying this road. See Exhibit 12 for more

detailed map information.

       534.    The County confirmed its acceptance of the Jackson Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Jackson Road using public

funds pursuant to the County’s governmental right and authority.

       535.    Witnesses with personal knowledge of the history of the Jackson Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

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basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       536.    Currently known reputation in the community is that the Jackson Road has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       537.    Public motor vehicle use of the Jackson Road as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       538.    The Jackson Road traverses a valid and perfected R.S. 2477 public highway right-

of-way as described herein.

       539.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Jackson Road.

       540.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Jackson Road on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Manganese Road, 0063

       541.    The Manganese Road is designated as county road number 0063 and SGID road

identification number RD270063 and is more or less 10.19 miles long.

       542.    Exhibit 38 (attached hereto and incorporated herein) contains certain information

pertaining to the Manganese Road including: a map depicting the road; township, range and

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section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       543.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Manganese Road solely as it crosses United States public land as included and

specifically described in Exhibit 38. The Manganese Road includes the segment of road

specifically set forth in Exhibit 38 and as exists on the ground.

Acceptance of the Manganese Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       544.    The Manganese Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       545.    Aerial photography from 1960 and 1976 confirms the historical use, existence,

and acceptance of the right-of-way for the Manganese Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       546.    The Manganese Road appears on the Motoqua (1972) and Gunlock (1972) USGS

7.5-minute quadrangle maps, which evidences the existence, use, and acceptance of the right-of-

way underlying this road. See Exhibit 12 for more detailed map information.

       547.    The County confirmed its acceptance of the Manganese Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Manganese Road using

public funds pursuant to the County’s governmental right and authority.

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        548.   Witnesses with personal knowledge of the history of the Manganese Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        549.   Currently known reputation in the community is that the Manganese Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        550.   Public motor vehicle use of the Manganese Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        551.   The Manganese Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        552.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Manganese Road.

        553.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Manganese Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.




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Rod’s Camp Road, 0124

       554.    The Rod’s Camp Road is designated as county road number 0124 and SGID road

identification number RD270124 and is more or less 0.37 miles long.

       555.    Exhibit 39 (attached hereto and incorporated herein) contains certain information

pertaining to the Rod’s Camp Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       556.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Rod’s Camp Road solely as it crosses United States public land as included and

specifically described in Exhibit 39. The Rod’s Camp Road includes the segment of road

specifically set forth in Exhibit 39 and as exists on the ground.

Acceptance of the Rod’s Camp Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       557.    The Rod’s Camp Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       558.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Rod’s Camp Road as a public highway located on the land

at issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       559.    The Rod’s Camp Road appears on the Gunlock (1972) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

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        560.   The Rod’s Camp Road was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Rod’s Camp Road using public funds pursuant to

the County’s governmental right and authority.

        561.   Witnesses with personal knowledge of the history of the Rod’s Camp Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        562.   Currently known reputation in the community is that the Rod’s Camp Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        563.   Public motor vehicle use of the Rod’s Camp Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        564.   The Rod’s Camp Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        565.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Rod’s Camp Road.

        566.   The State and County are entitled to an order quieting title to their R.S. 2477

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right-of-way for the Rod’s Camp Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Tobin Wash Road, 0117

        567.   The Tobin Wash Road is designated as county road number 0117 and SGID road

identification number RD270117 and is more or less 3.52 miles long.

        568.   Exhibit 40 (attached hereto and incorporated herein) contains certain information

pertaining to the Tobin Wash Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        569.   In this action, the State and County seek to quiet title to the public highway right-

of-way for the Tobin Wash Road solely as it crosses United States public land as included and

specifically described in Exhibit 40. The Tobin Wash Road includes the segment of road

specifically set forth in Exhibit 40 and as exists on the ground.

Acceptance of the Tobin Wash Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        570.   The Tobin Wash Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        571.   Aerial photography from 1960 and 1976 confirms the historical use, existence,

and acceptance of the right-of-way for the Tobin Wash Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

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        572.   The Tobin Wash Road appears on the Gunlock (1972) and Veyo 1972 USGS 7.5-

minute quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        573.   The County confirmed its acceptance of the Tobin Wash Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Tobin Wash Road using

public funds pursuant to the County’s governmental right and authority.

        574.   Witnesses with personal knowledge of the history of the Tobin Wash Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        575.   Currently known reputation in the community is that the Tobin Wash Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        576.   Public motor vehicle use of the Tobin Wash Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        577.   The Tobin Wash Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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        578.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Tobin Wash Road.

        579.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Tobin Wash Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0012

        580.   Road 0012 is designated as county road number 0012 and SGID road

identification number RD270012 and is more or less 2.39 miles long.

        581.   Exhibit 41 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0012 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        582.   In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0012 solely as it crosses United States public land as included and

specifically described in Exhibit 41. The Road 0012 includes the segment of road specifically

set forth in Exhibit 41 and as it exists on the ground.

Acceptance of the Road 0012 R.S. 2477 Right-of-way Prior to October 21, 1976.

        583.   The Road 0012 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

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       584.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0012 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       585.    The Road 0012 appears on the Dodge Spring (1973) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       586.    The Road 0012 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0012 pursuant to the County’s governmental

right and authority.

       587.    Witnesses with personal knowledge of the history of the Road 0012 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       588.    Currently known reputation in the community is that the Road 0012 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       589.    Public motor vehicle use of the Road 0012 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       590.    The Road 0012 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       591.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0012.

       592.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0012 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0014

       593.    Road 0014 is designated as county road number 0014 and SGID road

identification number RD270014 and is more or less 2.17 miles long.

       594.    Exhibit 42 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0014 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       595.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0014 solely as it crosses United States public land as included and

specifically described in Exhibit 42. The Road 0014 includes the segment of road specifically

set forth in Exhibit 42 and as it exists on the ground.




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Acceptance of the Road 0014 R.S. 2477 Right-of-way Prior to October 21, 1976.

       596.    The Road 0014 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       597.    Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 0014 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       598.    The Road 0014 appears on the Dodge Spring (1973) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       599.    The Road 0014 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0014 pursuant to the County’s governmental

right and authority.

       600.    Witnesses with personal knowledge of the history of the Road 0014 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       601.    Currently known reputation in the community is that the Road 0014 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       602.    Public motor vehicle use of the Road 0014 as a public thoroughfare traversing

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unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       603.    The Road 0014 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       604.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0014.

       605.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0014 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0015

       606.    Road 0015 is designated as county road number 0015 and SGID road

identification number RD270015 and is more or less 1.13 miles long.

       607.    Exhibit 43 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0015 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       608.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0015 solely as it crosses United States public land as included and

specifically described in Exhibit 43. The Road 0015 includes the segment of road specifically

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set forth in Exhibit 43 and as it exists on the ground.

Acceptance of the Road 0015 R.S. 2477 Right-of-way Prior to October 21, 1976.

       609.    The Road 0015 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       610.    Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 0015 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       611.    The Road 0015 appears on the Dodge Spring (1973) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       612.    The Road 0015 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0015 pursuant to the County’s governmental

right and authority.

       613.    Witnesses with personal knowledge of the history of the Road 0015 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       614.    Currently known reputation in the community is that the Road 0015 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

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       615.    Public motor vehicle use of the Road 0015 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       616.    The Road 0015 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       617.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0015.

       618.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0015 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0016

       619.    Road 0016 is designated as county road number 0016 and SGID road

identification number RD270016 and is more or less 1.42 miles long.

       620.    Exhibit 44 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0016 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       621.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0016 solely as it crosses United States public land as included and

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specifically described in Exhibit 44. The Road 0016 includes the segment of road specifically

set forth in Exhibit 44 and as it exists on the ground.

Acceptance of the Road 0016 R.S. 2477 Right-of-way Prior to October 21, 1976.

       622.    The Road 0016 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       623.    Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 0016 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       624.    The Road 0016 appears on the Dodge Spring (1973) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       625.    The Road 0016 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0016 pursuant to the County’s governmental

right and authority.

       626.    Witnesses with personal knowledge of the history of the Road 0016 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       627.    Currently known reputation in the community is that the Road 0016 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

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October 21, 1976, and continuing to the present.

       628.    Public motor vehicle use of the Road 0016 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       629.    The Road 0016 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       630.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0016.

       631.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0016 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0017

       632.    Road 0017 is designated as county road number 0017 and SGID road

identification number RD270017 and is more or less 3.04 miles long.

       633.    Exhibit 45 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0017 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       634.    In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road 0017 solely as it crosses United States public land as included and

specifically described in Exhibit 45. The Road 0017 includes the segment of road specifically

set forth in Exhibit 45 and as it exists on the ground.

Acceptance of the Road 0017 R.S. 2477 Right-of-way Prior to October 21, 1976.

       635.    The Road 0017 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       636.    Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 0017 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       637.    The Road 0017 appears on the Dodge Spring (1973) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       638.    The Road 0017 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0017 pursuant to the County’s governmental

right and authority.

       639.    Witnesses with personal knowledge of the history of the Road 0017 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       640.    Currently known reputation in the community is that the Road 0017 has been

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open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       641.    Public motor vehicle use of the Road 0017 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       642.    The Road 0017 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       643.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0017.

       644.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0017 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0018

       645.    Road 0018 is designated as county road number 0018 and SGID road

identification number RD270018 and is more or less 2.13 miles long.

       646.    Exhibit 46 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0018 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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       647.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0018 solely as it crosses United States public land as included and

specifically described in Exhibit 46. The Road 0018 includes the segment of road specifically

set forth in Exhibit 46 and as it exists on the ground.

Acceptance of the Road 0018 R.S. 2477 Right-of-way Prior to October 21, 1976.

       648.    The Road 0018 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       649.    Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 0018 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       650.    The Road 0018 appears on the Dodge Spring (1973) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       651.    The Road 0018 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0018 pursuant to the County’s governmental

right and authority.

       652.    Witnesses with personal knowledge of the history of the Road 0018 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

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       653.    Currently known reputation in the community is that the Road 0018 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       654.    Public motor vehicle use of the Road 0018 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       655.    The Road 0018 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       656.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0018.

       657.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0018 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0045

       658.    Road 0045 is designated as county road number 0045 and SGID road

identification number RD270045 and is more or less 5.06 miles long.

       659.    Exhibit 47 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0045 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

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complete centerline description of the road.

       660.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0045 solely as it crosses United States public land as included and

specifically described in Exhibit 47. The Road 0045 includes the segment of road specifically

set forth in Exhibit 47 and as it exists on the ground.

Acceptance of the Road 0045 R.S. 2477 Right-of-way Prior to October 21, 1976.

       661.    The Road 0045 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       662.    Aerial photography from 1960 and 1979 confirms the historical use, existence,

and acceptance of the right-of-way for the Road 0045 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it generally existed prior to October 21, 1976.

       663.    The Road 0045 appears on the Goldsrike (1972) and Male Ridge (1972) USGS

7.5-minute quadrangle maps, which evidences the existence, use, and acceptance of the right-of-

way underlying this road. See Exhibit 12 for more detailed map information.

       664.    The County confirmed its acceptance of the Road 0045 by 1976, when it

designated and accepted a portion of the road as a County highway on the County’s general

highway map. See UTAH CODE ANN. § 72-3-103(4) (2009). The Road 0045 was accepted as a

County highway at least 10 years prior to October 21, 1976. The County further evidenced its

acceptance of its R.S. 2477 right-of-way by managing, maintaining, or improving the Road 0045

pursuant to the County’s governmental right and authority.

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       665.    Witnesses with personal knowledge of the history of the Road 0045 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       666.    Currently known reputation in the community is that the Road 0045 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       667.    Public motor vehicle use of the Road 0045 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       668.    The Road 0045 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       669.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0045.

       670.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0045 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0046

       671.    Road 0046 is designated as county road number 0046 and SGID road

identification number RD270046 and is more or less 0.08 miles long.

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       672.    Exhibit 48 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0046 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       673.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0046 solely as it crosses United States public land as included and

specifically described in Exhibit 48. The Road 0046 includes the segment of road specifically

set forth in Exhibit 48 and as it exists on the ground.

Acceptance of the Road 0046 R.S. 2477 Right-of-way Prior to October 21, 1976.

       674.    The Road 0046 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       675.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0046 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       676.    The Road 0046 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0046 pursuant to the County’s governmental

right and authority.

       677.    Witnesses with personal knowledge of the history of the Road 0046 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

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basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       678.    Currently known reputation in the community is that the Road 0046 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       679.    Public motor vehicle use of the Road 0046 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       680.    The Road 0046 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       681.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0046.

       682.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0046 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0047

       683.    Road 0047 is designated as county road number 0047 and SGID road

identification number RD271108 and is more or less 2.62 miles long.

       684.    Exhibit 49 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0047 including: a map depicting the road; township, range and section

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references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       685.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0047 solely as it crosses United States public land as included and

specifically described in Exhibit 49. The Road 0047 includes the segment of road specifically

set forth in Exhibit 49 and as it exists on the ground.

Acceptance of the Road 0047 R.S. 2477 Right-of-way Prior to October 21, 1976.

       686.    The Road 0047 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       687.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0047 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       688.    The Road 0047 appears on the Maple Ridge (1972) and Gunlock (1972) USGS

7.5-minute quadrangle maps, which evidences the existence, use, and acceptance of the right-of-

way underlying this road. See Exhibit 12 for more detailed map information.

       689.    The Road 0047 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0047 pursuant to the County’s governmental

right and authority.

       690.    Witnesses with personal knowledge of the history of the Road 0047 confirm

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public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       691.    Currently known reputation in the community is that the Road 0047 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       692.    Public motor vehicle use of the Road 0047 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       693.    The Road 0047 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       694.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0047.

       695.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0047 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0051

       696.    Road 0051 is designated as county road number 0051 and SGID road

identification number RD270051 and is more or less 1.31 miles long.

       697.    Exhibit 50 (attached hereto and incorporated herein) contains certain information

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pertaining to the Road 0051 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       698.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0051 solely as it crosses United States public land as included and

specifically described in Exhibit 50. The Road 0051 includes the segment of road specifically

set forth in Exhibit 50 and as it exists on the ground.

Acceptance of the Road 0051 R.S. 2477 Right-of-way Prior to October 21, 1976.

       699.    The Road 0051 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       700.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0051 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       701.    The Road 0051 appears on the Motoqua (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       702.    The Road 0051 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0051 pursuant to the County’s governmental

right and authority.

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       703.    Witnesses with personal knowledge of the history of the Road 0051 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       704.    Currently known reputation in the community is that the Road 0051 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       705.    Public motor vehicle use of the Road 0051 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       706.    The Road 0051 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       707.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0051.

       708.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0051 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0052

       709.    Road 0052 is designated as county road number 0052 and SGID road

identification number RD270052 and is more or less 0.42 miles long.

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       710.    Exhibit 51 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0052 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       711.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0052 solely as it crosses United States public land as included and

specifically described in Exhibit 51. The Road 0052 includes the segment of road specifically

set forth in Exhibit 51 and as it exists on the ground.

Acceptance of the Road 0052 R.S. 2477 Right-of-way Prior to October 21, 1976.

       712.    The Road 0052 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       713.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0052 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       714.    The Road 0052 appears on the Motoqua (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       715.    The Road 0052 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0052 pursuant to the County’s governmental

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right and authority.

       716.    Witnesses with personal knowledge of the history of the Road 0052 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       717.    Currently known reputation in the community is that the Road 0052 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       718.    Public motor vehicle use of the Road 0052 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       719.    The Road 0052 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       720.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0052.

       721.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0052 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0053

       722.    Road 0053 is designated as county road number 0053 and SGID road

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identification number RD270053 and is more or less 0.5 miles long.

       723.    Exhibit 52 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0053 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       724.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0053 solely as it crosses United States public land as included and

specifically described in Exhibit 52. The Road 0053 includes the segment of road specifically

set forth in Exhibit 52 and as it exists on the ground.

Acceptance of the Road 0053 R.S. 2477 Right-of-way Prior to October 21, 1976.

       725.    The Road 0053 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       726.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0053 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       727.    The Road 0053 appears on the Motoqua (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       728.    The Road 0053 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

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managing, maintaining, or improving the Road 0053 pursuant to the County’s governmental

right and authority.

       729.    Witnesses with personal knowledge of the history of the Road 0053 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       730.    Currently known reputation in the community is that the Road 0053 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       731.    Public motor vehicle use of the Road 0053 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       732.    The Road 0053 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       733.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0053.

       734.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0053 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.




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Road Number 0055

       735.    Road 0055 is designated as county road number 0055 and SGID road

identification number RD270055 and is more or less 0.46 miles long.

       736.    Exhibit 53 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0055 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       737.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0055 solely as it crosses United States public land as included and

specifically described in Exhibit 53. The Road 0055 includes the segment of road specifically

set forth in Exhibit 53 and as it exists on the ground.

Acceptance of the Road 0055 R.S. 2477 Right-of-way Prior to October 21, 1976.

       738.    The Road 0055 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       739.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0055 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       740.    The Road 0055 appears on the Motoqua (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

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       741.    The Road 0055 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0055 pursuant to the County’s governmental

right and authority.

       742.    Witnesses with personal knowledge of the history of the Road 0055 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       743.    Currently known reputation in the community is that the Road 0055 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       744.    Public motor vehicle use of the Road 0055 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       745.    The Road 0055 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       746.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0055.

       747.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0055 on lands owned by the United States as described herein and

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including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Bently Wash Road, 0057

       748.    Bently Wash Road is designated as county road number 0057 and SGID road

identification number RD270057 and is more or less 2.74 miles long.

       749.    Exhibit 54 (attached hereto and incorporated herein) contains certain information

pertaining to the Bently Wash Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       750.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Bently Wash Road solely as it crosses United States public land as included and

specifically described in Exhibit 54. The Bently Wash Road includes the segment of road

specifically set forth in Exhibit 54 and as it exists on the ground.

Acceptance of the Bently Wash Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       751.    The Bently Wash Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       752.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Bently Wash Road as a public highway located on the land

at issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       753.    The Bently Wash Road appears on the Motoqua (1972) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

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underlying this road. See Exhibit 12 for more detailed map information.

        754.   The Bently Wash Road was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Bently Wash Road pursuant to the County’s

governmental right and authority.

        755.   Witnesses with personal knowledge of the history of the Bently Wash Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        756.   Currently known reputation in the community is that the Bently Wash Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        757.   Public motor vehicle use of the Bently Wash Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        758.   The Bently Wash Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        759.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Bently Wash Road.

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        760.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Bently Wash Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0059

        761.   Road 0059 is designated as county road number 0059 and SGID road

identification number RD270059 and is more or less 1.81 miles long.

        762.   Exhibit 55 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0059 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        763.   In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0059 solely as it crosses United States public land as included and

specifically described in Exhibit 55. The Road 0059 includes the segment of road specifically

set forth in Exhibit 55 and as it exists on the ground.

Acceptance of the Road 0059 R.S. 2477 Right-of-way Prior to October 21, 1976.

        764.   The Road 0059 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

        765.   Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0059 as a public highway located on the land at




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issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       766.    The Road 0059 appears on the Motoqua (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       767.    The Road 0059 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0059 pursuant to the County’s governmental

right and authority.

       768.    Witnesses with personal knowledge of the history of the Road 0059 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       769.    Currently known reputation in the community is that the Road 0059 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       770.    Public motor vehicle use of the Road 0059 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       771.    The Road 0059 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

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       772.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0059.

       773.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0059 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0060

       774.    Road 0060 is designated as county road number 0060 and SGID road

identification number RD270060 and is more or less 2.12 miles long.

       775.    Exhibit 56 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0060 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       776.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0060 solely as it crosses United States public land as included and

specifically described in Exhibit 56. The Road 0060 includes the segment of road specifically

set forth in Exhibit 56 and as it exists on the ground.

Acceptance of the Road 0060 R.S. 2477 Right-of-way Prior to October 21, 1976.

       777.    The Road 0060 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.




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       778.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0060 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       779.    The Road 0060 appears on the Gunlock (1972) and Motoqua (1972) USGS 7.5-

minute quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       780.    The Road 0060 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0060 pursuant to the County’s governmental

right and authority.

       781.    Witnesses with personal knowledge of the history of the Road 0060 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       782.    Currently known reputation in the community is that the Road 0060 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       783.    Public motor vehicle use of the Road 0060 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       784.    The Road 0060 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       785.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0060.

       786.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0060 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0061

       787.    Road 0061 is designated as county road number 0061 and SGID road

identification number RD270061 and is more or less 0.13 miles long.

       788.    Exhibit 57 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0061 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       789.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0061 solely as it crosses United States public land as included and

specifically described in Exhibit 57. The Road 0061 includes the segment of road specifically

set forth in Exhibit 57 and as it exists on the ground.




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Acceptance of the Road 0061 R.S. 2477 Right-of-way Prior to October 21, 1976.

       790.    The Road 0061 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       791.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0061 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       792.    The Road 0061 appears on the Motoqua (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       793.    The Road 0061 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0061 pursuant to the County’s governmental

right and authority.

       794.    Witnesses with personal knowledge of the history of the Road 0061 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       795.    Currently known reputation in the community is that the Road 0061 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       796.    Public motor vehicle use of the Road 0061 as a public thoroughfare traversing

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unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       797.    The Road 0061 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       798.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0061.

       799.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0061 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0062

       800.    Road 0062 is designated as county road number 0062 and SGID road

identification number RD270062 and is more or less 0.67 miles long.

       801.    Exhibit 58 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0062 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       802.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0062 solely as it crosses United States public land as included and

specifically described in Exhibit 58. The Road 0062 includes the segment of road specifically

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set forth in Exhibit 58 and as it exists on the ground.

Acceptance of the Road 0062 R.S. 2477 Right-of-way Prior to October 21, 1976.

       803.    The Road 0062 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       804.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0062 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       805.    The Road 0062 appears on the Motoqua (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       806.    The Road 0062 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0062 pursuant to the County’s governmental

right and authority.

       807.    Witnesses with personal knowledge of the history of the Road 0062 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       808.    Currently known reputation in the community is that the Road 0062 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

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       809.    Public motor vehicle use of the Road 0062 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       810.    The Road 0062 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       811.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0062.

       812.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0062 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0109

       813.    Road 0109 is designated as county road number 0109 and SGID road

identification number RD270109 and is more or less 8.64 miles long.

       814.    Exhibit 59 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0109 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       815.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0109 solely as it crosses United States public land as included and

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specifically described in Exhibit 59. The Road 0109 includes the segment of road specifically

set forth in Exhibit 59 and as it exists on the ground.

Acceptance of the Road 0109 R.S. 2477 Right-of-way Prior to October 21, 1976.

       816.    The Road 0109 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       817.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0109 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       818.    The Road 0109 appears on the Gunlock (1972) and Maple Ridge (1972) USGS

7.5-minute quadrangle maps, which evidences the existence, use, and acceptance of the right-of-

way underlying this road. See Exhibit 12 for more detailed map information.

       819.    The Road 0109 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0109 pursuant to the County’s governmental

right and authority.

       820.    Witnesses with personal knowledge of the history of the Road 0109 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       821.    Currently known reputation in the community is that the Road 0109 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

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October 21, 1976, and continuing to the present.

       822.    Public motor vehicle use of the Road 0109 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       823.    The Road 0109 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       824.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0109.

       825.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0109 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0111

       826.    Road 0111 is designated as county road number 0111 and SGID road

identification number RD270111 and is more or less 5.04 miles long.

       827.    Exhibit 60 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0111 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       828.    In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road 0111 solely as it crosses United States public land as included and

specifically described in Exhibit 60. The Road 0111 includes the segment of road specifically

set forth in Exhibit 60 and as it exists on the ground.

Acceptance of the Road 0111 R.S. 2477 Right-of-way Prior to October 21, 1976.

       829.    The Road 0111 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       830.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0111 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       831.    The Road 0111 appears on the Gunlock (1972) and Veyo (1972) USGS 7.5-

minute quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       832.    The Road 0111 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0111 pursuant to the County’s governmental

right and authority.

       833.    Witnesses with personal knowledge of the history of the Road 0111 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       834.    Currently known reputation in the community is that the Road 0111 has been

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open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       835.    Public motor vehicle use of the Road 0111 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       836.    The Road 0111 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       837.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0111.

       838.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0111 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0113

       839.    Road 0113 is designated as county road number 0113 and SGID road

identification number RD271109 and is more or less 1.69 miles long.

       840.    Exhibit 61 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0113 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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       841.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0113 solely as it crosses United States public land as included and

specifically described in Exhibit 61. The Road 0113 includes the segment of road specifically

set forth in Exhibit 61 and as it exists on the ground.

Acceptance of the Road 0113 R.S. 2477 Right-of-way Prior to October 21, 1976.

       842.    The Road 0113 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       843.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0113 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       844.    The Road 0113 appears on the Gunlock (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       845.    The Road 0113 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0113 pursuant to the County’s governmental

right and authority.

       846.    Witnesses with personal knowledge of the history of the Road 0113 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

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       847.    Currently known reputation in the community is that the Road 0113 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       848.    Public motor vehicle use of the Road 0113 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       849.    The Road 0113 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       850.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0113.

       851.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0113 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0114

       852.    Road 0114 is designated as county road number 0114 and SGID road

identification number RD270114 and is more or less 1.68 miles long.

       853.    Exhibit 62 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0114 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

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complete centerline description of the road.

       854.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0114 solely as it crosses United States public land as included and

specifically described in Exhibit 62. The Road 0114 includes the segment of road specifically

set forth in Exhibit 62 and as it exists on the ground.

Acceptance of the Road 0114 R.S. 2477 Right-of-way Prior to October 21, 1976.

       855.    The Road 0114 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       856.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0114 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       857.    The Road 0114 appears on the Gunlock (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       858.    The Road 0114 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0114 pursuant to the County’s governmental

right and authority.

       859.    Witnesses with personal knowledge of the history of the Road 0114 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

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basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       860.    Currently known reputation in the community is that the Road 0114 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       861.    Public motor vehicle use of the Road 0114 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       862.    The Road 0114 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       863.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0114.

       864.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0114 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0116

       865.    Road 0116 is designated as county road number 0116 and SGID road

identification number RD270116 and is more or less 2.1 miles long.

       866.    Exhibit 63 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0116 including: a map depicting the road; township, range and section

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references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       867.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0116 solely as it crosses United States public land as included and

specifically described in Exhibit 63. The Road 0116 includes the segment of road specifically

set forth in Exhibit 63 and as it exists on the ground.

Acceptance of the Road 0116 R.S. 2477 Right-of-way Prior to October 21, 1976.

       868.    The Road 0116 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       869.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0116 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       870.    The Road 0116 appears on the Gunlock (1972) and Veyo (1972) USGS 7.5-

minute quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       871.    The Road 0116 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0116 pursuant to the County’s governmental

right and authority.

       872.    Witnesses with personal knowledge of the history of the Road 0116 confirm

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public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       873.    Currently known reputation in the community is that the Road 0116 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       874.    Public motor vehicle use of the Road 0116 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       875.    The Road 0116 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       876.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0116.

       877.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0116 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0118

       878.    Road 0118 is designated as county road number 0118 and SGID road

identification number RD270118 and is more or less 0.55 miles long.

       879.    Exhibit 64 (attached hereto and incorporated herein) contains certain information

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pertaining to the Road 0118 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       880.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0118 solely as it crosses United States public land as included and

specifically described in Exhibit 64. The Road 0118 includes the segment of road specifically

set forth in Exhibit 64 and as it exists on the ground.

Acceptance of the Road 0118 R.S. 2477 Right-of-way Prior to October 21, 1976.

       881.    The Road 0118 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       882.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0118 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       883.    The Road 0118 appears on the Gunlock (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       884.    The County confirmed its acceptance of Road 0118 by 1976, when it designated

and accepted a portion of the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009).The Road 0118 was accepted as a County highway

at least 10 years prior to October 21, 1976. The County further evidenced its acceptance of its

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R.S. 2477 right-of-way by managing, maintaining, or improving the Road 0118 pursuant to the

County’s governmental right and authority.

       885.    Witnesses with personal knowledge of the history of the Road 0118 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       886.    Currently known reputation in the community is that the Road 0118 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       887.    Public motor vehicle use of the Road 0118 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       888.    The Road 0118 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       889.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0118.

       890.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0118 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.




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Road Number 0119

       891.    Road 0119 is designated as county road number 0119 and SGID road

identification number RD270119 and is more or less 2.6 miles long.

       892.    Exhibit 65 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0119 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       893.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0119 solely as it crosses United States public land as included and

specifically described in Exhibit 65. The Road 0119 includes the segment of road specifically

set forth in Exhibit 65 and as it exists on the ground.

Acceptance of the Road 0119 R.S. 2477 Right-of-way Prior to October 21, 1976.

       894.    The Road 0119 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       895.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0119 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       896.    The Road 0119 appears on the Gunlock (1972) and Veyo (1972) USGS 7.5-

minute quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

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       897.    The Road 0119 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0119 pursuant to the County’s governmental

right and authority.

       898.    Witnesses with personal knowledge of the history of the Road 0119 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       899.    Currently known reputation in the community is that the Road 0119 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       900.    Public motor vehicle use of the Road 0119 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       901.    The Road 0119 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       902.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0119.

       903.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0119 on lands owned by the United States as described herein and

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including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0120

       904.    Road 0120 is designated as county road number 0120 and SGID road

identification number RD270120 and is more or less 2.77 miles long.

       905.    Exhibit 66 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0120 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       906.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0120 solely as it crosses United States public land as included and

specifically described in Exhibit 66. The Road 0120 includes the segment of road specifically

set forth in Exhibit 66 and as it exists on the ground.

Acceptance of the Road 0120 R.S. 2477 Right-of-way Prior to October 21, 1976.

       907.    The Road 0120 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       908.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0120 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       909.    The Road 0120 appears on the Gunlock (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

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road. See Exhibit 12 for more detailed map information.

       910.    The Road 0120 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0120 pursuant to the County’s governmental

right and authority.

       911.    Witnesses with personal knowledge of the history of the Road 0120 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       912.    Currently known reputation in the community is that the Road 0120 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       913.    Public motor vehicle use of the Road 0120 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       914.    The Road 0120 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       915.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0120.

       916.    The State and County are entitled to an order quieting title to their R.S. 2477

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right-of-way for the Road 0120 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0121

       917.    Road 0121 is designated as county road number 0121 and SGID road

identification number RD270121 and is more or less 3.72 miles long.

       918.    Exhibit 67 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0121 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       919.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0121 solely as it crosses United States public land as included and

specifically described in Exhibit 67. The Road 0121 includes the segment of road specifically

set forth in Exhibit 67 and as it exists on the ground.

Acceptance of the Road 0121 R.S. 2477 Right-of-way Prior to October 21, 1976.

       920.    The Road 0121 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       921.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0121 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       922.    The Road 0121 appears on the Gunlock (1972) USGS 7.5-minute quadrangle

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map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       923.    The Road 0121 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0121 pursuant to the County’s governmental

right and authority.

       924.    Witnesses with personal knowledge of the history of the Road 0121 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       925.    Currently known reputation in the community is that the Road 0121 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       926.    Public motor vehicle use of the Road 0121 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       927.    The Road 0121 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       928.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0121.

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       929.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0121 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0122

       930.    Road 0122 is designated as county road number 0122 and SGID road

identification number RD270122 and is more or less 2.9 miles long.

       931.    Exhibit 68 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0122 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       932.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0122 solely as it crosses United States public land as included and

specifically described in Exhibit 68. The Road 0122 includes the segment of road specifically

set forth in Exhibit 68 and as it exists on the ground.

Acceptance of the Road 0122 R.S. 2477 Right-of-way Prior to October 21, 1976.

       933.    The Road 0122 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       934.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0122 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

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       935.    The Road 0122 appears on the Gunlock (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       936.    The Road 0122 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0122 pursuant to the County’s governmental

right and authority.

       937.    Witnesses with personal knowledge of the history of the Road 0122 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       938.    Currently known reputation in the community is that the Road 0122 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       939.    Public motor vehicle use of the Road 0122 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       940.    The Road 0122 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       941.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

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action to establish clear title to the right-of-way underlying the Road 0122.

       942.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0122 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0123

       943.    Road 0123 is designated as county road number 0123 and SGID road

identification number RD270123 and is more or less 0.90 miles long.

       944.    Exhibit 69 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0123 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       945.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0123 solely as it crosses United States public land as included and

specifically described in Exhibit 69. The Road 0123 includes the segment of road specifically

set forth in Exhibit 69 and as it exists on the ground.

Acceptance of the Road 0123 R.S. 2477 Right-of-way Prior to October 21, 1976.

       946.    The Road 0123 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       947.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0123 as a public highway located on the land at




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issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       948.    The Road 0123 appears on the Gunlock (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       949.    The Road 0123 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0123 pursuant to the County’s governmental

right and authority.

       950.    Witnesses with personal knowledge of the history of the Road 0123 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       951.    Currently known reputation in the community is that the Road 0123 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       952.    Public motor vehicle use of the Road 0123 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       953.    The Road 0123 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

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       954.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0123.

       955.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0123 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0125

       956.    Road 0125 is designated as county road number 0125 and SGID road

identification number RD270125 and is more or less 0.41 miles long.

       957.    Exhibit 70 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0125 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       958.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0125 solely as it crosses United States public land as included and

specifically described in Exhibit 70. The Road 0125 includes the segment of road specifically

set forth in Exhibit 70 and as it exists on the ground.

Acceptance of the Road 0125 R.S. 2477 Right-of-way Prior to October 21, 1976.

       959.    The Road 0125 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.




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       960.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0125 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       961.    The Road 0125 appears on the Gunlock (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       962.    The Road 0125 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0125 pursuant to the County’s governmental

right and authority.

       963.    Witnesses with personal knowledge of the history of the Road 0125 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       964.    Currently known reputation in the community is that the Road 0125 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       965.    Public motor vehicle use of the Road 0125 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       966.    The Road 0125 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       967.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0125.

       968.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0125 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0126

       969.    Road 0126 is designated as county road number 0126 and SGID road

identification number RD270126 and is more or less 0.79 miles long.

       970.    Exhibit 71 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0126 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       971.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0126 solely as it crosses United States public land as included and

specifically described in Exhibit 71. The Road 0126 includes the segment of road specifically

set forth in Exhibit 71 and as it exists on the ground.




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Acceptance of the Road 0126 R.S. 2477 Right-of-way Prior to October 21, 1976.

       972.    The Road 0126 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       973.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0126 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       974.    The Road 0126 appears on the Gunlock (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       975.    The Road 0126 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0126 pursuant to the County’s governmental

right and authority.

       976.    Witnesses with personal knowledge of the history of the Road 0126 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       977.    Currently known reputation in the community is that the Road 0126 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       978.    Public motor vehicle use of the Road 0126 as a public thoroughfare traversing

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unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       979.    The Road 0126 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       980.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0126.

       981.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0126 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0128

       982.    Road 0128 is designated as county road number 0128 and SGID road

identification number RD270128 and is more or less 3.03 miles long.

       983.    Exhibit 72 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0128 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       984.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0128 solely as it crosses United States public land as included and

specifically described in Exhibit 72. The Road 0128 includes the segment of road specifically

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set forth in Exhibit 72 and as it exists on the ground.

Acceptance of the Road 0128 R.S. 2477 Right-of-way Prior to October 21, 1976.

       985.    The Road 0128 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       986.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0128 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       987.    The Road 0128 appears on the Gunlock (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       988.    The Road 0128 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0128 pursuant to the County’s governmental

right and authority.

       989.    Witnesses with personal knowledge of the history of the Road 0128 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       990.    Currently known reputation in the community is that the Road 0128 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

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       991.    Public motor vehicle use of the Road 0128 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       992.    The Road 0128 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       993.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0128.

       994.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0128 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0129

       995.    Road 0129 is designated as county road number 0129 and SGID road

identification number RD270129 and is more or less 1.38 miles long.

       996.    Exhibit 73 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0129 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       997.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0129 solely as it crosses United States public land as included and

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specifically described in Exhibit 73. The Road 0129 includes the segment of road specifically

set forth in Exhibit 73 and as it exists on the ground.

Acceptance of the Road 0129 R.S. 2477 Right-of-way Prior to October 21, 1976.

       998.    The Road 0129 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       999.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0129 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1000. The Road 0129 appears on the Gunlock (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       1001. The Road 0129 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0129 pursuant to the County’s governmental

right and authority.

       1002. Witnesses with personal knowledge of the history of the Road 0129 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1003. Currently known reputation in the community is that the Road 0129 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

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October 21, 1976, and continuing to the present.

       1004. Public motor vehicle use of the Road 0129 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       1005. The Road 0129 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       1006. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0129.

       1007. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0129 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0130

       1008. Road 0130 is designated as county road number 0130 and SGID road

identification number RD270130 and is more or less 0.67 miles long.

       1009. Exhibit 74 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0130 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1010. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road 0130 solely as it crosses United States public land as included and

specifically described in Exhibit 74. The Road 0130 includes the segment of road specifically

set forth in Exhibit 74 and as it exists on the ground.

Acceptance of the Road 0130 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1011. The Road 0130 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1012. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0130 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1013. The Road 0130 appears on the Gunlock (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       1014. The Road 0130 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0130 pursuant to the County’s governmental

right and authority.

       1015. Witnesses with personal knowledge of the history of the Road 0130 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1016. Currently known reputation in the community is that the Road 0130 has been

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open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1017. Public motor vehicle use of the Road 0130 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       1018. The Road 0130 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       1019. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0130.

       1020. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0130 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0131

       1021. Road 0131 is designated as county road number 0131 and SGID road

identification number RD270131 and is more or less 0.26 miles long.

       1022. Exhibit 75 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0131 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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       1023. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0131 solely as it crosses United States public land as included and

specifically described in Exhibit 75. The Road 0131 includes the segment of road specifically

set forth in Exhibit 75 and as it exists on the ground.

Acceptance of the Road 0131 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1024. The Road 0131 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1025. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0131 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1026. The Road 0131 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0131 pursuant to the County’s governmental

right and authority.

       1027. Witnesses with personal knowledge of the history of the Road 0131 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1028. Currently known reputation in the community is that the Road 0131 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

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       1029. Public motor vehicle use of the Road 0131 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       1030. The Road 0131 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       1031. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0131.

       1032. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0131 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0132

       1033. Road 0132 is designated as county road number 0132 and SGID road

identification number RD270132 and is more or less 3.03 miles long.

       1034. Exhibit 76 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0132 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1035. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0132 solely as it crosses United States public land as included and

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specifically described in Exhibit 76. The Road 0132 includes the segment of road specifically

set forth in Exhibit 76 and as it exists on the ground.

Acceptance of the Road 0132 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1036. The Road 0132 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1037. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0132 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1038. The Road 0132 appears on the Gunlock (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       1039. The County confirmed its acceptance of Road 0132 by 1976, when it designated

and accepted the road as a County highway on the County’s general highway map. See UTAH

CODE ANN. § 72-3-103(4) (2009). The Road 0132 was accepted as a County highway at least 10

years prior to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477

right-of-way by managing, maintaining, or improving the Road 0132 pursuant to the County’s

governmental right and authority.

       1040. Witnesses with personal knowledge of the history of the Road 0132 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

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       1041. Currently known reputation in the community is that the Road 0132 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1042. Public motor vehicle use of the Road 0132 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       1043. The Road 0132 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       1044. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0132.

       1045. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0132 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0133

       1046. Road 0133 is designated as county road number 0133 and SGID road

identification number RD270133 and is more or less 1.97 miles long.

       1047. Exhibit 77 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0133 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

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complete centerline description of the road.

       1048. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0133 solely as it crosses United States public land as included and

specifically described in Exhibit 77. The Road 0133 includes the segment of road specifically

set forth in Exhibit 77 and as it exists on the ground.

Acceptance of the Road 0133 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1049. The Road 0133 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1050. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0133 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1051. The Road 0133 appears on the Gunlock (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       1052. The Road 0133 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0133 pursuant to the County’s governmental

right and authority.

       1053. Witnesses with personal knowledge of the history of the Road 0133 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

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basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1054. Currently known reputation in the community is that the Road 0133 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1055. Public motor vehicle use of the Road 0133 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       1056. The Road 0133 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       1057. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0133.

       1058. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0133 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0135

       1059. Road 0135 is designated as county road number 0135 and SGID road

identification number RD270135 and is more or less 0.47 miles long.

       1060. Exhibit 78 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0135 including: a map depicting the road; township, range and section

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references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1061. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0135 solely as it crosses United States public land as included and

specifically described in Exhibit 78. The Road 0135 includes the segment of road specifically

set forth in Exhibit 78 and as it exists on the ground.

Acceptance of the Road 0135 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1062. The Road 0135 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1063. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0135 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1064. The Road 0135 appears on the Gunlock (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       1065. The Road 0135 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0135 pursuant to the County’s governmental

right and authority.

       1066. Witnesses with personal knowledge of the history of the Road 0135 confirm

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public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1067. Currently known reputation in the community is that the Road 0135 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1068. Public motor vehicle use of the Road 0135 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       1069. The Road 0135 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       1070. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0135.

       1071. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0135 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0136

       1072. Road 0136 is designated as county road number 0136 and SGID road

identification number RD270136 and is more or less 0.24 miles long.

       1073. Exhibit 79 (attached hereto and incorporated herein) contains certain information

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pertaining to the Road 0136 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1074. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0136 solely as it crosses United States public land as included and

specifically described in Exhibit 79. The Road 0136 includes the segment of road specifically

set forth in Exhibit 79 and as it exists on the ground.

Acceptance of the Road 0136 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1075. The Road 0136 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1076. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0136 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1077. The Road 0136 appears on the Gunlock (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       1078. The Road 0136 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0136 pursuant to the County’s governmental

right and authority.

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       1079. Witnesses with personal knowledge of the history of the Road 0136 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1080. Currently known reputation in the community is that the Road 0136 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1081. Public motor vehicle use of the Road 0136 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       1082. The Road 0136 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       1083. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0136.

       1084. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0136 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0148

       1085. Road 0148 is designated as county road number 0148 and SGID road

identification number RD270148 and is more or less 0.56 miles long.

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       1086. Exhibit 80 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0148 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1087. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0148 solely as it crosses United States public land as included and

specifically described in Exhibit 80. The Road 0148 includes the segment of road specifically

set forth in Exhibit 80 and as it exists on the ground.

Acceptance of the Road 0148 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1088. The Road 0148 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1089. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0148 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1090. The Road 0148 appears on the Shivwits (1954) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       1091. The County confirmed its acceptance of the Road 0148 by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

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R.S. 2477 right-of-way by managing, maintaining, or improving the Road 0148 pursuant to the

County’s governmental right and authority.

       1092. Witnesses with personal knowledge of the history of the Road 0148 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1093. Currently known reputation in the community is that the Road 0148 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1094. Public motor vehicle use of the Road 0148 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       1095. The Road 0148 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       1096. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0148.

       1097. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0148 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.




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Road Number 0828

       1098. Road 0828 is designated as county road number 0828 and SGID road

identification number RD270828 and is more or less 0.31 miles long.

       1099. Exhibit 81 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0828 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1100. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0828 solely as it crosses United States public land as included and

specifically described in Exhibit 81. The Road 0828 includes the segment of road specifically

set forth in Exhibit 81 and as it exists on the ground.

Acceptance of the Road 0828 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1101. The Road 0828 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1102. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0828 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1103. The Road 0828 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0828 pursuant to the County’s governmental

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right and authority.

       1104. Witnesses with personal knowledge of the history of the Road 0828 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1105. Currently known reputation in the community is that the Road 0828 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1106. Public motor vehicle use of the Road 0828 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       1107. The Road 0828 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       1108. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0828.

       1109. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0828 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 7955

       1110. Road 7955 is designated as county road number 7955 and SGID road

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identification number RD277955 and is more or less 0.18 miles long.

       1111. Exhibit 82 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 7955 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1112. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 7955 solely as it crosses United States public land as included and

specifically described in Exhibit 82. The Road 7955 includes the segment of road specifically

set forth in Exhibit 82 and as it exists on the ground.

Acceptance of the Road 7955 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1113. The Road 7955 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1114. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 7955 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1115. The Road 7955 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 7955 pursuant to the County’s governmental

right and authority.

       1116. Witnesses with personal knowledge of the history of the Road 7955 confirm

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public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1117. Currently known reputation in the community is that the Road 7955 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1118. Public motor vehicle use of the Road 7955 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       1119. The Road 7955 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       1120. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 7955.

       1121. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 7955 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 7956

       1122. Road 7956 is designated as county road number 7956 and SGID road

identification number RD277956 and is more or less 0.16 miles long.

       1123. Exhibit 83 (attached hereto and incorporated herein) contains certain information

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pertaining to the Road 7956 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1124. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 7956 solely as it crosses United States public land as included and

specifically described in Exhibit 83. The Road 7956 includes the segment of road specifically

set forth in Exhibit 83 and as it exists on the ground.

Acceptance of the Road 7956 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1125. The Road 7956 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1126. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 7956 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1127. The Road 7956 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 7956 pursuant to the County’s governmental

right and authority.

       1128. Witnesses with personal knowledge of the history of the Road 7956 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

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       1129. Currently known reputation in the community is that the Road 7956 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1130. Public motor vehicle use of the Road 7956 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       1131. The Road 7956 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       1132. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 7956.

       1133. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 7956 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 7957

       1134. Road 7957 is designated as county road number 7957 and SGID road

identification number RD277957 and is more or less 0.02 miles long.

       1135. Exhibit 84 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 7957 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

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complete centerline description of the road.

       1136. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 7957 solely as it crosses United States public land as included and

specifically described in Exhibit 84. The Road 7957 includes the segment of road specifically

set forth in Exhibit 84 and as it exists on the ground.

Acceptance of the Road 7957 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1137. The Road 7957 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1138. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 7957 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1139. The Road 7957 appears on the Maple Ridge (1972) USGS 7.5-minute quadrangle

maps, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       1140. The Road 7957 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 7957 pursuant to the County’s governmental

right and authority.

       1141. Witnesses with personal knowledge of the history of the Road 7957 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

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basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1142. Currently known reputation in the community is that the Road 7957 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1143. Public motor vehicle use of the Road 7957 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       1144. The Road 7957 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       1145. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 7957.

       1146. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 7957 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 7982

       1147. Road 7982 is designated as county road number 7982 and SGID road

identification number RD277982 and is more or less 3.13 miles long.

       1148. Exhibit 85 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 7982 including: a map depicting the road; township, range and section

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references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1149. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 7982 solely as it crosses United States public land as included and

specifically described in Exhibit 85. The Road 7982 includes the segment of road specifically

set forth in Exhibit 85 and as it exists on the ground.

Acceptance of the Road 7982 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1150. The Road 7982 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1151. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 7982 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1152. A portion of Road 7982 appears on the Gunlock (1972) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       1153. The Road 7982 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 7982 pursuant to the County’s governmental

right and authority.

       1154. Witnesses with personal knowledge of the history of the Road 7982 confirm

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public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1155. Currently known reputation in the community is that the Road 7982 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1156. Public motor vehicle use of the Road 7982 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       1157. The Road 7982 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       1158. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 7982.

       1159. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 7982 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road 0113 North, 0113NORTH

       1160. Road 0113 NORTH is designated as county road number 0113NORTH and SGID

road identification number RD271110 and is more or less 0.49 miles long.

       1161. Exhibit 86 (attached hereto and incorporated herein) contains certain information

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pertaining to the Road 0113 NORTH including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1162. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0113 NORTH solely as it crosses United States public land as included and

specifically described in Exhibit 86. The Road 0113 NORTH includes the segment of road

specifically set forth in Exhibit 86 and as it exists on the ground.

Acceptance of the Road 0113 NORTH R.S. 2477 Right-of-way Prior to October 21, 1976.

       1163. The Road 0113 NORTH has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1164. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0113 NORTH as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1165. The Road 0113 NORTH appears on the Maple Ridge (1972) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       1166. The Road 0113 NORTH was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road 0113 NORTH pursuant to the County’s

governmental right and authority.

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        1167. Witnesses with personal knowledge of the history of the Road 0113 NORTH

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1168. Currently known reputation in the community is that the Road 0113 NORTH has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1169. Public motor vehicle use of the Road 0113 NORTH as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1170. The Road 0113 NORTH traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1171. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0113 NORTH.

        1172. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0113 NORTH on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.




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Dodge Spring 2, 9996

       1173. Dodge Spring 2 Road is designated as county road number 9996 and SGID road

identification number RD271023 and is more or less 0.10 miles long.

       1174. Exhibit 87 (attached hereto and incorporated herein) contains certain information

pertaining to the Dodge Spring 2 Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1175. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Dodge Spring 2 Road solely as it crosses United States public land as included

and specifically described in Exhibit 87. The Dodge Spring 2 Road includes the segment of road

specifically set forth in Exhibit 87 and as it exists on the ground.

Acceptance of the Dodge Spring 2 Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       1176. The Dodge Spring 2 Road has long served as a public highway providing access

to and across public land. This road serves the public’s transportation needs.

       1177. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Dodge Spring 2 Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1178. The Dodge Spring 2 Road appears on the Dodge Spring (1973) USGS 7.5-minute

quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

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        1179. The Dodge Spring 2 Road was accepted as a County highway at least 10 years

prior to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-

way by managing, maintaining, or improving the Dodge Spring 2 Road pursuant to the County’s

governmental right and authority.

        1180. Witnesses with personal knowledge of the history of the Dodge Spring 2 Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1181. Currently known reputation in the community is that the Dodge Spring 2 Road

has been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1182. Public motor vehicle use of the Dodge Spring 2 Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1183. The Dodge Spring 2 Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        1184. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Dodge Spring 2 Road.

        1185. The State and County are entitled to an order quieting title to their R.S. 2477

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right-of-way for the Dodge Spring 2 Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

North Gunlock Road, 0127

        1186. North Gunlock Road is designated as county road number 0127 and SGID road

identification number RD270127 and is more or less 6.07 miles long.

        1187. Exhibit 88 (attached hereto and incorporated herein) contains certain information

pertaining to the North Gunlock Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1188. In this action, the State and County seek to quiet title to the public highway right-

of-way for the North Gunlock Road solely as it crosses United States public land as included and

specifically described in Exhibit 88. The North Gunlock Road includes the segment of road

specifically set forth in Exhibit 88 and as it exists on the ground.

Acceptance of the North Gunlock Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        1189. The North Gunlock Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1190. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the North Gunlock Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

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        1191. The North Gunlock Road appears on the Gunlock (1972) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1192. The North Gunlock Road was accepted as a County highway at least 10 years

prior to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-

way by managing, maintaining, or improving the North Gunlock Road pursuant to the County’s

governmental right and authority.

        1193. Witnesses with personal knowledge of the history of the North Gunlock Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1194. Currently known reputation in the community is that the North Gunlock Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1195. Public motor vehicle use of the North Gunlock Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1196. The North Gunlock Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        1197. Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the North Gunlock Road.

        1198. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the North Gunlock Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

                        THIRD CAUSE OF ACTION – QUIET TITLE
                                LYTLE RANCH AREA

        1199. Plaintiffs re-allege and incorporate herein each of the foregoing paragraphs.

        1200. The Lytle Ranch Area is located in southwestern Washington County in the

southwestern region of Utah.

        1201. The Lytle Ranch Area includes the following roads—listed by Common Road

Name (if applicable) and County Unique Number: (1) Bird Ranch Road, 0031; (2) Dodge

Springs to Jackson Well Road, 0020; (3) Frei’s Road, 0094; (4) Indian Springs Road, 0066; (5)

Jackson Well Road, 0058; (6) Lytle Ranch Road, 0026; (7) Powerline Road, 0065; (8) Telephone

Road, 0064; (9) Waterline Road, 0095; (10) Road Number 0021; (11) Road Number 0023; (12)

Road Number 0024; (13) Road Number 0025; (14) Road Number 0029; (15) Road Number

0030; (16) Road Number 0032; (17) Road Number 0067; (18) Road Number 0071; (19) Road

Number 0073; (20) Road Number 0074; (21) Road Number 0075; (22) Road Number 0078; (23)

Road Number 0080; (24) Road Number 0081; (25) Road Number 0082; (26) Road Number

0083; (27) Road Number 0087; (28) Road Number 0089; (29) Road Number 0091; (30) Road



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Number 0092; (31) Road Number 7992; (32) Road Number 9997; (33) Road Number 9998; (34)

Road Number 0032A; (35) Powerline “D” Road, 0070.

          1202. Each right-of-way claimed in the Lytle Ranch Area was used by the general

public who engaged in one or more of the following activities: cattle ranching, sheep herding,

prospecting for minerals, rock hounding, mining, oil and gas exploration, wood gathering,

cutting wood, collecting pine nuts or berries, recreation, hunting, trapping, government access,

traveling in and through the area, or any other legitimate purpose.

          1203. All rights-of-way claimed in the Lytle Ranch Area are sufficient in scope for

general motor vehicle travel and include that which is reasonable and necessary to meet the

exigencies of motor vehicle travel according to safe engineering practices that protect the public

and the road and also prevent undue degradation of the adjacent land.

          1204. All rights-of-way claimed in the Lytle Ranch Area include a minimum right-of-

way width of 66 feet or greater width as determined at trial, along with cuts, fills, slopes, water

bars, and such features and facilities as have historically been acknowledged by the DOI and

under law as being reasonable and necessary for the use, benefit, and enjoyment of public

highway rights-of-way. See, e.g., UTAH CODE ANN. § 72-5-302(4)(b) (2003).

          1205. Prior to October 21, 1976, the State of Utah, Washington County, and the public

through continuous use accepted the congressional grant of an R.S. 2477 right-of-way for the

entire length and course of all roads as described herein, on public lands owned by the United

States.




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Bird Ranch Road, 0031

       1206. The Bird Ranch Road is designated as county road number 0031 and SGID road

identification number RD270031 and is more or less 0.73 miles long.

       1207. Exhibit 89 (attached hereto and incorporated herein) contains certain information

pertaining to the Bird Ranch Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1208. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Bird Ranch Road solely as it crosses United States public land as included and

specifically described in Exhibit 89. The Bird Ranch Road includes the segment of road

specifically set forth in Exhibit 89 and as exists on the ground.

Acceptance of the Bird Ranch Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       1209. The Bird Ranch Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1210. Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Bird Ranch Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1211. The Bird Ranch Road appears on the Terry Benches (1973) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

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        1212. The County confirmed its acceptance of the Bird Ranch Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Bird Ranch Road using

public funds pursuant to the County’s governmental right and authority.

        1213. Witnesses with personal knowledge of the history of the Bird Ranch Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1214. Currently known reputation in the community is that the Bird Ranch Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1215. Public motor vehicle use of the Bird Ranch Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1216. The Bird Ranch Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1217. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Bird Ranch Road.

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        1218. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Bird Ranch Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Dodge Springs to Jackson Well Road, 0020

        1219. The Dodge Springs to Jackson Well Road is designated as county road number

0031 and SGID road identification number RD270022 and is more or less 2.97 miles long.

        1220. Exhibit 90 (attached hereto and incorporated herein) contains certain information

pertaining to the Dodge Springs to Jackson Well Road including: a map depicting the road;

township, range and section references describing the road’s physical location; a servient estate

ownership list; and a complete centerline description of the road.

        1221. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Dodge Springs to Jackson Well Road solely as it crosses United States public land

as included and specifically described in Exhibit 90. The Dodge Springs to Jackson Well Road

includes the segment of road specifically set forth in Exhibit 90 and as exists on the ground.

Acceptance of the Dodge Springs to Jackson Well Road R.S. 2477 Right-of-way Prior to
October 21, 1976.

        1222. The Dodge Springs to Jackson Well Road has long served as a public highway

providing access to and across public land. This road serves the public’s transportation needs.

        1223. Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Dodge Springs to Jackson Well Road as a public

highway located on the land at issue in this case and following the course described herein.
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More recent aerial photography continues to show the road as it existed prior to October 21,

1976.

        1224. The Dodge Springs to Jackson Well Road appears on the Scarecrow Peak (1973),

West Mountain Peak (1973), and Dodge Spring (1973) USGS 7.5-minute quadrangle maps,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

        1225. The Jackson Well Road was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Dodge Springs to Jackson Well Road using public

funds pursuant to the County’s governmental right and authority.

        1226. Witnesses with personal knowledge of the history of the Dodge Springs to

Jackson Well Road confirm public use of this road as a public thoroughfare by means of motor

vehicles on a continuous basis, whenever convenient or necessary, for more than 10 years prior

to October 21, 1976.

        1227. Currently known reputation in the community is that the Dodge Springs to

Jackson Well Road has been open for all to come and go, whenever convenient or necessary, for

more than 10 years prior to October 21, 1976, and continuing to the present.

        1228. Public motor vehicle use of the Dodge Springs to Jackson Well Road as a public

thoroughfare traversing unreserved public lands on a continuous basis, whenever convenient or

necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of

an R.S. 2477 public highway right-of-way underlying this road.

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        1229. The Dodge Springs to Jackson Well Road traverses a valid and perfected R.S.

2477 public highway right-of-way as described herein.

        1230. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Dodge Springs to Jackson Well

Road.

        1231. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Dodge Springs to Jackson Well Road on lands owned by the United States

as described herein and including that which is reasonable and necessary for the use, benefit, and

enjoyment of this road.

Frei’s Road, 0094

        1232. The Frei’s Road is designated as county road number 0031 and SGID road

identification number RD270094 and is more or less 2.46 miles long.

        1233. Exhibit 91 (attached hereto and incorporated herein) contains certain information

pertaining to the Frei’s Road including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1234. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Frei’s Road solely as it crosses United States public land as included and

specifically described in Exhibit 91. The Frei’s Road includes the segment of road specifically

set forth in Exhibit 91 and as exists on the ground.

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Acceptance of the Frei’s Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       1235. The Frei’s Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1236. Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Frei’s Road as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1237. The Frei’s Road appears on a State of Utah Land Ownership and Public

Management Map for the Dixie-S area dated January 1976.

       1238. The County confirmed its acceptance of the Frei’s Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Frei’s Road using public

funds pursuant to the County’s governmental right and authority.

       1239. Witnesses with personal knowledge of the history of the Frei’s Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1240. Currently known reputation in the community is that the Frei’s Road has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1241. Public motor vehicle use of the Frei’s Road as a public thoroughfare traversing

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unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       1242. The Frei’s Road traverses a valid and perfected R.S. 2477 public highway right-

of-way as described herein.

       1243. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Frei’s Road.

       1244. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Frei’s Road on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Indian Springs Road, 0066

       1245. The Indian Springs Road is designated as county road number 0066 and SGID

road identification number RD270066 and is more or less 12.04 miles long.

       1246. Exhibit 92 (attached hereto and incorporated herein) contains certain information

pertaining to the Indian Springs Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1247. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Indian Springs Road solely as it crosses United States public land as included and

specifically described in Exhibit 92. The Indian Springs Road includes the segment of road

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specifically set forth in Exhibit 92 and as exists on the ground.

Acceptance of the Indian Springs Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        1248. The Indian Springs Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1249. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Indian Springs Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1250. The Indian Springs Road appears on the West Mountain Peak (1973) USGS 7.5-

minute quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1251. The Indian Springs Road was accepted as a County highway at least 10 years

prior to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-

way by managing, maintaining, or improving the Indian Springs Road using public funds

pursuant to the County’s governmental right and authority.

        1252. Witnesses with personal knowledge of the history of the Indian Springs Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1253. Currently known reputation in the community is that the Indian Springs Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

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prior to October 21, 1976, and continuing to the present.

        1254. Public motor vehicle use of the Indian Springs Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1255. The Indian Springs Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        1256. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Indian Springs Road.

        1257. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Indian Springs Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Jackson Well Road, 0058

        1258. The Jackson Well Road is designated as county road number 0058 and SGID road

identification number RD270058 and is more or less 6.34 miles long.

        1259. Exhibit 93 (attached hereto and incorporated herein) contains certain information

pertaining to the Jackson Well Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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       1260. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Jackson Well Road solely as it crosses United States public land as included and

specifically described in Exhibit 93. The Jackson Well Road includes the segment of road

specifically set forth in Exhibit 93 and as exists on the ground.

Acceptance of the Jackson Well Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       1261. The Jackson Well Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1262. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Jackson Well Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1263. The Jackson Well Road appears on the Motoqua (1972) and West Mountain Peak

(1973), USGS 7.5-minute quadrangle maps, which evidences the existence, use, and acceptance

of the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

       1264. The County confirmed its acceptance of the Jackson Well Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Jackson Well Road using

public funds pursuant to the County’s governmental right and authority.

       1265. Witnesses with personal knowledge of the history of the Jackson Well Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

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continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1266. Currently known reputation in the community is that the Jackson Well Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1267. Public motor vehicle use of the Jackson Well Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1268. The Jackson Well Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1269. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Jackson Well Road.

        1270. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Jackson Well Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Lytle Ranch Road, 0026

        1271. The Lytle Ranch Road is designated as county road number 0026 and SGID road

identification number RD279913 and is more or less 13.44 miles long.

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       1272. Exhibit 94 (attached hereto and incorporated herein) contains certain information

pertaining to the Lytle Ranch Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1273. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Lytle Ranch Road solely as it crosses United States public land as included and

specifically described in Exhibit 94. The Lytle Ranch Road includes the segment of road

specifically set forth in Exhibit 94 and as exists on the ground.

Acceptance of the Lytle Ranch Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       1274. The Lytle Ranch Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1275. Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Lytle Ranch Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1276. The Lytle Ranch Road appears on the Scarecrow Peak (1973) and Terry Benches

(1973), USGS 7.5-minute quadrangle maps, which evidences the existence, use, and acceptance

of the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

       1277. The County confirmed its acceptance of the Lytle Ranch’s Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

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R.S. 2477 right-of-way by managing, maintaining, or improving the Lytle Ranch Road using

public funds pursuant to the County’s governmental right and authority.

        1278. Witnesses with personal knowledge of the history of the Lytle Ranch Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1279. Currently known reputation in the community is that the Lytle Ranch Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1280. Public motor vehicle use of the Lytle Ranch Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1281. The Lytle Ranch Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1282. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Lytle Ranch Road.

        1283. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Lytle Ranch Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

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road.

Powerline Road, 0065

        1284. The Powerline Road is designated as county road number 0065 and SGID road

identification number RD270065 and is more or less 5.50 miles long.

        1285. Exhibit 95 (attached hereto and incorporated herein) contains certain information

pertaining to the Powerline Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1286. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Powerline Road solely as it crosses United States public land as included and

specifically described in Exhibit 95. The Powerline Road includes the segment of road

specifically set forth in Exhibit 95 and as exists on the ground.

Acceptance of the Powerline Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        1287. The Powerline Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

        1288. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Powerline Road as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

        1289. The Powerline Road appears on the West Mountain Peak (1973) and Motoqua

(1972), USGS 7.5-minute quadrangle maps, which evidences the existence, use, and acceptance

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of the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

       1290. The Powerline Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Powerline Road using public funds pursuant to the

County’s governmental right and authority.

       1291. Witnesses with personal knowledge of the history of the Powerline Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1292. Currently known reputation in the community is that the Powerline Road has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1293. Public motor vehicle use of the Powerline Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

       1294. The Powerline Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

       1295. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Powerline Road.

       1296. The State and County are entitled to an order quieting title to their R.S. 2477

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right-of-way for the Powerline Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Telephone Road, 0064

        1297. The Telephone Road is designated as county road number 0064 and SGID road

identification number RD270064 and is more or less 5.82 miles long.

        1298. Exhibit 96 (attached hereto and incorporated herein) contains certain information

pertaining to the Telephone Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1299. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Telephone Road solely as it crosses United States public land as included and

specifically described in Exhibit 96. The Telephone Road includes the segment of road

specifically set forth in Exhibit 96 and as exists on the ground.

Acceptance of the Telephone Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        1300. The Telephone Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

        1301. Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Telephone Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

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       1302. The Telephone Road appears on the Motoqua (1972) and West Mountain Peak

(1973), USGS 7.5-minute quadrangle maps, which evidences the existence, use, and acceptance

of the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

       1303. The County confirmed its acceptance of the Telephone Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Telephone Road using

public funds pursuant to the County’s governmental right and authority.

       1304. Witnesses with personal knowledge of the history of the Telephone Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1305. Currently known reputation in the community is that the Telephone Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

       1306. Public motor vehicle use of the Telephone Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

       1307. The Telephone Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

       1308. Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Telephone Road.

        1309. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Telephone Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Waterline Road, 0095

        1310. The Waterline Road is designated as county road number 0095 and SGID road

identification number RD27005895 and is more or less 2.80 miles long.

        1311. Exhibit 97 (attached hereto and incorporated herein) contains certain information

pertaining to the Waterline Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1312. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Waterline Road solely as it crosses United States public land as included and

specifically described in Exhibit 97The Waterline Road includes the segment of road specifically

set forth in Exhibit 97 and as exists on the ground.

Acceptance of the Waterline Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        1313. The Waterline Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.




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       1314. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Waterline Road as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1315. The County confirmed its acceptance of the Waterline Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Waterline Road using public

funds pursuant to the County’s governmental right and authority.

       1316. Witnesses with personal knowledge of the history of the Waterline Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1317. Currently known reputation in the community is that the Waterline Road has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1318. Public motor vehicle use of the Waterline Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

       1319. The Waterline Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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       1320. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Waterline Road.

       1321. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Waterline Road on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0021

       1322. The Road Number 0021 is designated as county road number 0021 and SGID

road identification number RD270021 and is more or less 0.38 miles long.

       1323. Exhibit 98 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0021 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1324. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0021 solely as it crosses United States public land as included and

specifically described in Exhibit 98. The Road Number 0021 includes the segment of road

specifically set forth in Exhibit 98 and as exists on the ground.

Acceptance of the Road Number 0021 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1325. The Road Number 0021 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.




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        1326. Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0021 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1327. The Road Number 0021 appears on the Scarecrow Peak (1973), USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1328. The 0021 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0021 pursuant to the County’s

governmental right and authority.

        1329. Witnesses with personal knowledge of the history of the Road Number 0021

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1330. Currently known reputation in the community is that the Road Number 0021 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1331. Public motor vehicle use of the Road Number 0021 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1332. The Road Number 0021 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1333. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0021.

        1334. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0021 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0023

        1335. The Road Number 0023 is designated as county road number 0023 and SGID

road identification number RD270023 and is more or less 0.32 miles long.

        1336. Exhibit 99 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0023 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1337. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0023 solely as it crosses United States public land as included and

specifically described in Exhibit 99. The Road Number 0023 includes the segment of road

specifically set forth in Exhibit 99 and as exists on the ground.

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Acceptance of the Road Number 0023 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1338. The Road Number 0023 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1339. Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0023 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1340. The Road Number 0023 appears on the Scarecrow Peak (1973), USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1341. The 0023 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0023 pursuant to the County’s

governmental right and authority.

        1342. Witnesses with personal knowledge of the history of the Road Number 0023

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1343. Currently known reputation in the community is that the Road Number 0023 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        1344. Public motor vehicle use of the Road Number 0023 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1345. The Road Number 0023 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1346. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0023.

        1347. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0023 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0024

        1348. The Road Number 0024 is designated as county road number 0024 and SGID

road identification number RD270024 and is more or less 7.83 miles long.

        1349. Exhibit 100 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0024 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1350. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road Number 0024 solely as it crosses United States public land as included and

specifically described in Exhibit 100. The Road Number 0024 includes the segment of road

specifically set forth in Exhibit 100 and as exists on the ground.

Acceptance of the Road Number 0024 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1351. The Road Number 0024 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1352. Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0024 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1353. The 0024 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0024 pursuant to the County’s

governmental right and authority.

        1354. Witnesses with personal knowledge of the history of the Road Number 0024

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1355. Currently known reputation in the community is that the Road Number 0024 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        1356. Public motor vehicle use of the Road Number 0024 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1357. The Road Number 0024 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1358. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0024.

        1359. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0024 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0025

        1360. The Road Number 0025 is designated as county road number 0025 and SGID

road identification number RD270025 and is more or less 0.92 miles long.

        1361. Exhibit 101 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0025 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1362. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road Number 0025 solely as it crosses United States public land as included and

specifically described in Exhibit 101. The Road Number 0025 includes the segment of road

specifically set forth in Exhibit 101 and as exists on the ground.

Acceptance of the Road Number 0025 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1363. The Road Number 0025 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1364. Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0025 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1365. The Road Number 0025 appears on the Scarecrow Peak (1973), USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1366. The 0025 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0025 pursuant to the County’s

governmental right and authority.

        1367. Witnesses with personal knowledge of the history of the Road Number 0025

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

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        1368. Currently known reputation in the community is that the Road Number 0025 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1369. Public motor vehicle use of the Road Number 0025 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1370. The Road Number 0025 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1371. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0025.

        1372. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0025 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0029

        1373. The Road Number 0029 is designated as county road number 0029 and SGID

road identification number RD270029 and is more or less 2.29 miles long.

        1374. Exhibit 102 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0029 including: a map depicting the road; township, range and

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section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1375. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0029 solely as it crosses United States public land as included and

specifically described in Exhibit 102. The Road Number 0029 includes the segment of road

specifically set forth in Exhibit 102 and as exists on the ground.

Acceptance of the Road Number 0029 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1376. The Road Number 0029 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1377. Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0029 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1378. The Road Number 0029 appears on the Scarecrow Peak (1973) and Terry

Benches (1973), USGS 7.5-minute quadrangle map, which evidences the existence, use, and

acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

information.

       1379. The 0029 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0029 pursuant to the County’s

governmental right and authority.

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        1380. Witnesses with personal knowledge of the history of the Road Number 0029

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1381. Currently known reputation in the community is that the Road Number 0029 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1382. Public motor vehicle use of the Road Number 0029 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1383. The Road Number 0029 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1384. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0029.

        1385. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0029 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.




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Road Number 0030

       1386. The Road Number 0030 is designated as county road number 0030 and SGID

road identification number RD270030 and is more or less 4.92 miles long.

       1387. Exhibit 103 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0030 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1388. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0030 solely as it crosses United States public land as included and

specifically described in Exhibit 103. The Road Number 0030 includes the segment of road

specifically set forth in Exhibit 103 and as exists on the ground.

Acceptance of the Road Number 0030 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1389. The Road Number 0030 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1390. Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0030 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1391. The Road Number 0030 appears on the Scarecrow Peak (1973) and West

Mountain Peak (1973), USGS 7.5-minute quadrangle maps, which evidences the existence, use,

and acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

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information.

        1392. The 0030 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0030 pursuant to the County’s

governmental right and authority.

        1393. Witnesses with personal knowledge of the history of the Road Number 0030

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1394. Currently known reputation in the community is that the Road Number 0030 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1395. Public motor vehicle use of the Road Number 0030 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1396. The Road Number 0030 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1397. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0030.

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        1398. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0030 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0032

        1399. The Road Number 0032 is designated as county road number 0032 and SGID

road identification number RD270032 and is more or less 5.50 miles long.

        1400. Exhibit 104 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0032 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1401. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0032 solely as it crosses United States public land as included and

specifically described in Exhibit 104. The Road Number 0032 includes the segment of road

specifically set forth in Exhibit 104 and as exists on the ground.

Acceptance of the Road Number 0032 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1402. The Road Number 0032 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1403. Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0032 as a public highway located on




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the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1404. The Road Number 0032 appears on the Terry Benches (1973), USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1405. The 0032 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0032 pursuant to the County’s

governmental right and authority.

        1406. Witnesses with personal knowledge of the history of the Road Number 0032

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1407. Currently known reputation in the community is that the Road Number 0032 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1408. Public motor vehicle use of the Road Number 0032 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1409. The Road Number 0032 traverses a valid and perfected R.S. 2477 public highway

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right-of-way as described herein.

        1410. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0032.

        1411. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0032 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0067

        1412. The Road Number 0067 is designated as county road number 0067 and SGID

road identification number RD270067 and is more or less 1.61 miles long.

        1413. Exhibit 105 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0067 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1414. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0067 solely as it crosses United States public land as included and

specifically described in Exhibit 105. The Road Number 0067 includes the segment of road

specifically set forth in Exhibit 105 and as exists on the ground.




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Acceptance of the Road Number 0067 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1415. The Road Number 0067 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1416. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0067 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1417. The Road Number 0067 appears on the West Mountain Peak (1973), USGS 7.5-

minute quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1418. The 0067 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0067 pursuant to the County’s

governmental right and authority.

        1419. Witnesses with personal knowledge of the history of the Road Number 0067

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1420. Currently known reputation in the community is that the Road Number 0067 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        1421. Public motor vehicle use of the Road Number 0067 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1422. The Road Number 0067 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1423. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0067.

        1424. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0067 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0071

        1425. The Road Number 0071 is designated as county road number 0071 and SGID

road identification number RD270071 and is more or less 5.15 miles long.

        1426. Exhibit 106 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0071 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1427. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road Number 0071 solely as it crosses United States public land as included and

specifically described in Exhibit 106. The Road Number 0071 includes the segment of road

specifically set forth in Exhibit 106 and as exists on the ground.

Acceptance of the Road Number 0071 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1428. The Road Number 0071 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1429. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0071 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1430. The Road Number 0071 appears on the West Mountain Peak (1973), USGS 7.5-

minute quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1431. The 0071 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0071 pursuant to the County’s

governmental right and authority.

        1432. Witnesses with personal knowledge of the history of the Road Number 0071

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

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        1433. Currently known reputation in the community is that the Road Number 0071 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1434. Public motor vehicle use of the Road Number 0071 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1435. The Road Number 0071 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1436. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0071.

        1437. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0071 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0073

        1438. The Road Number 0073 is designated as county road number 0073 and SGID

road identification number RD270073 and is more or less 0.67 miles long.

        1439. Exhibit 107 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0073 including: a map depicting the road; township, range and

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section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1440. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0073 solely as it crosses United States public land as included and

specifically described in Exhibit 107. The Road Number 0073 includes the segment of road

specifically set forth in Exhibit 107 and as exists on the ground.

Acceptance of the Road Number 0073 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1441. The Road Number 0073 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1442. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0073 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1443. The Road Number 0073 appears on the West Mountain Peak (1973), USGS 7.5-

minute quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       1444. The 0073 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0073 pursuant to the County’s

governmental right and authority.

       1445. Witnesses with personal knowledge of the history of the Road Number 0073

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confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1446. Currently known reputation in the community is that the Road Number 0073 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1447. Public motor vehicle use of the Road Number 0073 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1448. The Road Number 0073 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1449. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0073.

        1450. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0073 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0074

        1451. The Road Number 0074 is designated as county road number 0074 and SGID

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road identification number RD270074 and is more or less 1.85 miles long.

       1452. Exhibit 108 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0074 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1453. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0074 solely as it crosses United States public land as included and

specifically described in Exhibit 108. The Road Number 0074 includes the segment of road

specifically set forth in Exhibit 108 and as exists on the ground.

Acceptance of the Road Number 0074 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1454. The Road Number 0074 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1455. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0074 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1456. The Road Number 0074 appears on the West Mountain Peak (1973), USGS 7.5-

minute quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       1457. The 0074 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

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managing, maintaining, or improving the Road Number 0074 pursuant to the County’s

governmental right and authority.

        1458. Witnesses with personal knowledge of the history of the Road Number 0074

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1459. Currently known reputation in the community is that the Road Number 0074 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1460. Public motor vehicle use of the Road Number 0074 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1461. The Road Number 0074 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1462. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0074.

        1463. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0074 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

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road.

Road Number 0075

        1464. The Road Number 0075 is designated as county road number 0075 and SGID

road identification number RD270075 and is more or less 0.25 miles long.

        1465. Exhibit 109 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0075 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1466. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0075 solely as it crosses United States public land as included and

specifically described in Exhibit 109. The Road Number 0075 includes the segment of road

specifically set forth in Exhibit 109 and as exists on the ground.

Acceptance of the Road Number 0075 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1467. The Road Number 0075 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1468. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0075 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1469. The Road Number 0075 appears on the West Mountain Peak (1973), USGS 7.5-

minute quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

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underlying this road. See Exhibit 12 for more detailed map information.

        1470. The 0075 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0075 pursuant to the County’s

governmental right and authority.

        1471. Witnesses with personal knowledge of the history of the Road Number 0075

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1472. Currently known reputation in the community is that the Road Number 0075 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1473. Public motor vehicle use of the Road Number 0075 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1474. The Road Number 0075 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1475. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0075.

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        1476. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0075 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0078

        1477. The Road Number 0078 is designated as county road number 0078 and SGID

road identification number RD270078 and is more or less 3.84 miles long.

        1478. Exhibit 110 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0078 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1479. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0078 solely as it crosses United States public land as included and

specifically described in Exhibit 110. The Road Number 0078 includes the segment of road

specifically set forth in Exhibit 110 and as exists on the ground.

Acceptance of the Road Number 0078 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1480. The Road Number 0078 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1481. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0078 as a public highway located on the




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land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1482. The Road Number 0078 appears on the West Mountain Peak (1973), USGS 7.5-

minute quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1483. The 0075 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0078 pursuant to the County’s

governmental right and authority.

        1484. Witnesses with personal knowledge of the history of the Road Number 0078

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1485. Currently known reputation in the community is that the Road Number 0078 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1486. Public motor vehicle use of the Road Number 0078 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1487. The Road Number 0078 traverses a valid and perfected R.S. 2477 public highway

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right-of-way as described herein.

        1488. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0078.

        1489. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0078 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0080

        1490. The Road Number 0080 is designated as county road number 0080 and SGID

road identification number RD270080 and is more or less 1.87 miles long.

        1491. Exhibit 111 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0080 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1492. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0080 solely as it crosses United States public land as included and

specifically described in Exhibit 111. The Road Number 0080 includes the segment of road

specifically set forth in Exhibit 111 and as exists on the ground.




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Acceptance of the Road Number 0080 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1493. The Road Number 0080 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1494. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0080 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1495. The 0080 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0080 pursuant to the County’s

governmental right and authority.

        1496. Witnesses with personal knowledge of the history of the Road Number 0080

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1497. Currently known reputation in the community is that the Road Number 0080 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1498. Public motor vehicle use of the Road Number 0080 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1499. The Road Number 0080 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1500. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0080.

        1501. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0080 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0081

        1502. The Road Number 0081 is designated as county road number 0081 and SGID

road identification number RD270081 and is more or less 2.90 miles long.

        1503. Exhibit 112 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0081 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1504. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0081 solely as it crosses United States public land as included and

specifically described in Exhibit 112. The Road Number 0081 includes the segment of road

specifically set forth in Exhibit 112 and as exists on the ground.

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Acceptance of the Road Number 0081 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1505. The Road Number 0081 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1506. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0081 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1507. The 0081 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0081 pursuant to the County’s

governmental right and authority.

        1508. Witnesses with personal knowledge of the history of the Road Number 0081

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1509. Currently known reputation in the community is that the Road Number 0081 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1510. Public motor vehicle use of the Road Number 0081 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1511. The Road Number 0081 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1512. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0081.

        1513. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0081 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0082

        1514. The Road Number 0082 is designated as county road number 0082 and SGID

road identification number RD270082 and is more or less 1.32 miles long.

        1515. Exhibit 113 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0082 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1516. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0082 solely as it crosses United States public land as included and

specifically described in Exhibit 113. The Road Number 0082 includes the segment of road

specifically set forth in Exhibit 113 and as exists on the ground.

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Acceptance of the Road Number 0082 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1517. The Road Number 0082 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1518. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0082 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1519. The 0082 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0082 pursuant to the County’s

governmental right and authority.

        1520. Witnesses with personal knowledge of the history of the Road Number 0082

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1521. Currently known reputation in the community is that the Road Number 0082 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1522. Public motor vehicle use of the Road Number 0082 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1523. The Road Number 0082 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1524. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0082.

        1525. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0082 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0083

        1526. The Road Number 0083 is designated as county road number 0083 and SGID

road identification number RD270083 and is more or less 0.36 miles long.

        1527. Exhibit 114 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0083 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1528. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0083 solely as it crosses United States public land as included and

specifically described in Exhibit 114. The Road Number 0083 includes the segment of road

specifically set forth in Exhibit 114 and as exists on the ground.

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Acceptance of the Road Number 0083 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1529. The Road Number 0083 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1530. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0083 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1531. The 0083 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0083 pursuant to the County’s

governmental right and authority.

        1532. Witnesses with personal knowledge of the history of the Road Number 0083

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1533. Currently known reputation in the community is that the Road Number 0083 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1534. Public motor vehicle use of the Road Number 0083 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1535. The Road Number 0083 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1536. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0083.

        1537. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0083 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0087

        1538. The Road Number 0087 is designated as county road number 0087 and SGID

road identification number RD270087 and is more or less 2.13 miles long.

        1539. Exhibit 115 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0087 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1540. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0087 solely as it crosses United States public land as included and

specifically described in Exhibit 115. The Road Number 0087 includes the segment of road

specifically set forth in Exhibit 115 and as exists on the ground.

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Acceptance of the Road Number 0087 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1541. The Road Number 0087 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1542. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0087 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1543. The 0087 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0087 pursuant to the County’s

governmental right and authority.

        1544. Witnesses with personal knowledge of the history of the Road Number 0087

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1545. Currently known reputation in the community is that the Road Number 0087 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1546. Public motor vehicle use of the Road Number 0087 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1547. The Road Number 0087 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1548. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0087.

        1549. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0087 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0089

        1550. The Road Number 0089 is designated as county road number 0089 and SGID

road identification number RD270089 and is more or less 1.03 miles long.

        1551. Exhibit 116 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0089 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1552. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0089 solely as it crosses United States public land as included and

specifically described in Exhibit 116. The Road Number 0089 includes the segment of road

specifically set forth in Exhibit 116 and as exists on the ground.

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Acceptance of the Road Number 0089 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1553. The Road Number 0089 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1554. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0089 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1555. The 0089 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0089 pursuant to the County’s

governmental right and authority.

        1556. Witnesses with personal knowledge of the history of the Road Number 0089

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1557. Currently known reputation in the community is that the Road Number 0089 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1558. Public motor vehicle use of the Road Number 0089 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1559. The Road Number 0089 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1560. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0089.

        1561. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0089 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0091

        1562. The Road Number 0091 is designated as county road number 0091 and SGID

road identification number RD270091 and is more or less 3.00 miles long.

        1563. Exhibit 117 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0091 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1564. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0091 solely as it crosses United States public land as included and

specifically described in Exhibit 117. The Road Number 0091 includes the segment of road

specifically set forth in Exhibit 117 and as exists on the ground.

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Acceptance of the Road Number 0091 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1565. The Road Number 0091 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1566. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0091 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1567. The 0091 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0091 pursuant to the County’s

governmental right and authority.

        1568. Witnesses with personal knowledge of the history of the Road Number 0091

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1569. Currently known reputation in the community is that the Road Number 0091 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1570. Public motor vehicle use of the Road Number 0091 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1571. The Road Number 0091 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1572. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0091.

        1573. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0091 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0092

        1574. The Road Number 0092 is designated as county road number 0092 and SGID

road identification number RD270092 and is more or less 0.32 miles long.

        1575. Exhibit 118 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0092 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1576. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0092 solely as it crosses United States public land as included and

specifically described in Exhibit 118. The Road Number 0092 includes the segment of road

specifically set forth in Exhibit 118 and as exists on the ground.

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Acceptance of the Road Number 0092 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1577. The Road Number 0092 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1578. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0092 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1579. The 0092 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0092 pursuant to the County’s

governmental right and authority.

        1580. Witnesses with personal knowledge of the history of the Road Number 0092

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1581. Currently known reputation in the community is that the Road Number 0092 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1582. Public motor vehicle use of the Road Number 0092 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1583. The Road Number 0092 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1584. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0092.

        1585. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0092 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 7992

        1586. The Road Number 7992 is designated as county road number 7992 and SGID

road identification number RD277992 and is more or less 0.17 miles long.

        1587. Exhibit 119 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 7992 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1588. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 7992 solely as it crosses United States public land as included and

specifically described in Exhibit 119. The Road Number 7992 includes the segment of road

specifically set forth in Exhibit 119 and as exists on the ground.

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Acceptance of the Road Number 7992 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1589. The Road Number 7992 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1590. The 7992 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 7992 pursuant to the County’s

governmental right and authority.

        1591. Witnesses with personal knowledge of the history of the Road Number 7992

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1592. Currently known reputation in the community is that the Road Number 7992 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1593. Public motor vehicle use of the Road Number 7992 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1594. The Road Number 7992 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1595. Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 7992.

        1596. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 7992 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 9997

        1597. The Road Number 9997 is designated as county road number 9997 and SGID

road identification number RD279997 and is more or less 0.14 miles long.

        1598. Exhibit 120 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 9997 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1599. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 9997 solely as it crosses United States public land as included and

specifically described in Exhibit 120. The Road Number 9997 includes the segment of road

specifically set forth in Exhibit 120 and as exists on the ground.

Acceptance of the Road Number 9997 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1600. The Road Number 9997 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.




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        1601. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 9997 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1602. The 9997 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 9997 pursuant to the County’s

governmental right and authority.

        1603. Witnesses with personal knowledge of the history of the Road Number 9997

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1604. Currently known reputation in the community is that the Road Number 9997 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1605. Public motor vehicle use of the Road Number 9997 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1606. The Road Number 9997 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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        1607. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 9997.

        1608. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 9997 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 9998

        1609. The Road Number 9998 is designated as county road number 9998 and SGID

road identification number RD279998 and is more or less 1.54 miles long.

        1610. Exhibit 121 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 9998 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1611. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 9998 solely as it crosses United States public land as included and

specifically described in Exhibit 121. The Road Number 9998 includes the segment of road

specifically set forth in Exhibit 121 and as exists on the ground.

Acceptance of the Road Number 9998 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1612. The Road Number 9998 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

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        1613. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 9998 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1614. The 9998 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 9998 pursuant to the County’s

governmental right and authority.

        1615. Witnesses with personal knowledge of the history of the Road Number 9998

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1616. Currently known reputation in the community is that the Road Number 9998 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1617. Public motor vehicle use of the Road Number 9998 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1618. The Road Number 9998 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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        1619. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 9998.

        1620. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 9998 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0032A

        1621. The Road Number 0032A is designated as county road number 0032A and SGID

road identification number RD271030 and is more or less 0.20 miles long.

        1622. Exhibit 122 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0032A including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1623. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0032A solely as it crosses United States public land as included

and specifically described in Exhibit 122. The Road Number 0032A includes the segment of

road specifically set forth in Exhibit 122 and as exists on the ground.

Acceptance of the Road Number 0032A R.S. 2477 Right-of-way Prior to October 21, 1976.

        1624. The Road Number 0032A has long served as a public highway providing access

to and across public land. This road serves the public’s transportation needs.

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        1625. Aerial photography from 1979 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0032A as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1626. The Road Number 0032A appears on the Terry Benches (1973), USGS 7.5-

minute quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1627. The 0032A Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0032A pursuant to the County’s

governmental right and authority.

        1628. Witnesses with personal knowledge of the history of the Road Number 0032A

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1629. Currently known reputation in the community is that the Road Number 0032A has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1630. Public motor vehicle use of the Road Number 0032A as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1631. The Road Number 0032A traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        1632. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0032A.

        1633. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0032A on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Powerline “D” Road, 0070

        1634. The Powerline “D” Road extends off of the Powerline Road discussed above, and

is different from the Powerline Road because the Powerline “D Road is classified by Washington

County and the State of Utah as a “D” Road where the Powerline Road is classified as a “B”

road. The Powerline “D” Road is designated as county road number 0078 and SGID road

identification number RD270070 and is more or less 8.22 miles long.

        1635. Exhibit 123 (attached hereto and incorporated herein) contains certain information

pertaining to the Powerline “D” Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1636. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Powerline “D” Road solely as it crosses United States public land as included and

specifically described in Exhibit 123. The Powerline “D” Road includes the segment of road

specifically set forth in Exhibit 123 and as exists on the ground.

Acceptance of the Powerline “D” Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        1637. The Powerline “D” Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1638. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Powerline “D” Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1639. The Powerline “D” Road appears on the West Mountain Peak (1973), USGS 7.5-

minute quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1640. The Powerline “D” Road was accepted as a County highway at least 10 years

prior to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-

way by managing, maintaining, or improving the Powerline “D” Road pursuant to the County’s

governmental right and authority.

        1641. Witnesses with personal knowledge of the history of the Powerline “D” Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

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        1642. Currently known reputation in the community is that the Powerline “D” Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1643. Public motor vehicle use of the Powerline “D” Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1644. The Powerline “D” Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        1645. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Powerline “D” Road.

        1646. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Powerline “D” Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

                      FOURTH CAUSE OF ACTION – QUIET TITLE
                             OLD HIGHWAY 91 AREA

        1647. Plaintiffs re-allege and incorporate herein each of the foregoing paragraphs.

        1648. The Old Highway 91 Area is located in southwestern Washington County in the

southwestern region of Utah.



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       1649. The Old Highway 91 Area includes the following roads—listed by Common

Road Name (if applicable) and County Unique Number: (1) Road Number, 0158; (2) Road

Number 0180D; (3) Bulldog Pass/Apex Road, 0086; (4) Bulldog Pass/Apex Road, 9921; (5) Old

Highway 91, 0093; (6) Pahcoon Flat Road, 0192; (7) School Section Road, 0096; (8) T.V. Tower

Road, 0077; (9) Tower Road, 0163; (10) West Apex Road, 0167; (11) Road Number 0069; (12)

Road Number 0076; (13) Road Number 0085; (14) Road Number 0088; (15) Road Number

0090; (16) Road Number 0097; (17) Road 0098; (18) Road Number 0100; (19) Road Number

0147; (20) Road Number 0152; (21) Road Number 0153; (22) Road Number 0154; (23) Road

number 0155; (24) Road Number 0159; (25) Road Number 0161; (26) Road Number 0162; (27)

Road Number 0169; (28) Road Number 0175; (29) Road Number 0176; (30) Road Number

0177; (31) Road Number 0181; (32) Road Number 0184; (33) Road Number 0188; (34) Road

Number 0189; (35) Road Number 0831; (36) Road Number 7967; (37) Road Number 7995; (38)

Road Number 7997; (39) Road Number 9887; (40) Road Number 9889; (41) Road Number

9890; (42) Road Number 9945; (43) Road Number 9949; (44) Road Number 098A.

       1650. Each right-of-way claimed in the Old Highway 91 Area was used by the general

public who engaged in one or more of the following activities: cattle ranching, sheep herding,

prospecting for minerals, rock hounding, mining, oil and gas exploration, wood gathering,

cutting wood, collecting pine nuts or berries, recreation, hunting, trapping, government access,

traveling in and through the area, or any other legitimate purpose.

       1651. All rights-of-way claimed in the Old Highway 91 Area are sufficient in scope for

general motor vehicle travel and include that which is reasonable and necessary to meet the

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exigencies of motor vehicle travel according to safe engineering practices that protect the public

and the road and also prevent undue degradation of the adjacent land.

           1652. All rights-of-way claimed in the Old Highway 91 Area include a minimum right-

of-way width of 66 feet or greater width as determined at trial, along with cuts, fills, slopes,

water bars, and such features and facilities as have historically been acknowledged by the DOI

and under law as being reasonable and necessary for the use, benefit, and enjoyment of public

highway rights-of-way. See, e.g., UTAH CODE ANN. § 72-5-302(4)(b) (2003).

           1653. Prior to October 21, 1976, the State of Utah, Washington County, and the public

through continuous use accepted the congressional grant of an R.S. 2477 right-of-way for the

entire length and course of all roads as described herein, on public lands owned by the United

States.

Road Number 0158

           1654. The Road Number 0158 is designated as county road number 0158 and SGID

road identification number RD271028 and is more or less 0.54 miles long.

           1655. Exhibit 1251 (attached hereto and incorporated herein) contains certain

information pertaining to the Road Number 0158 including: a map depicting the road; township,

range and section references describing the road’s physical location; a servient estate ownership

list; and a complete centerline description of the road.

           1656. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0158 solely as it crosses United States public land as included and


1
    Exhibit 124 was intentionally omitted.
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specifically described in Exhibit 125. The Road Number 0158 includes the segment of road

specifically set forth in Exhibit 125 and as exists on the ground.

Acceptance of the Road Number 0158 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1657. The Road Number 0158 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1658. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0158 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1659. The Road Number 0158 appears on the Jarvis Peak (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       1660. The County confirmed its acceptance of the Road Number 0158 by 1976, when it

partially designated and accepted the road as a County highway on the County’s general highway

map. See UTAH CODE ANN. § 72-3-103(4) (2009). The Road Number 0158 was accepted as a

County highway at least 10 years prior to October 21, 1976. The County further evidenced its

acceptance of its R.S. 2477 right-of-way by managing, maintaining, or improving the Road

Number 0158 using public funds pursuant to the County’s governmental right and authority.

       1661. Witnesses with personal knowledge of the history of the Road Number 0158

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

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1976.

        1662. Currently known reputation in the community is that the Road Number 0158 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1663. Public motor vehicle use of the Road Number 0158 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1664. The Road Number 0158 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1665. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0158.

        1666. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0158 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0180D

        1667. The Road Number 0180D is designated as county road number 0180D and SGID

road identification number RD270867 and is more or less 2.01 miles long.

        1668. Exhibit 126 (attached hereto and incorporated herein) contains certain information

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pertaining to the Road Number 0180D including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1669. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0180D solely as it crosses United States public land as included

and specifically described in Exhibit 126. The Road Number 0180D includes the segment of

road specifically set forth in Exhibit 126 and as exists on the ground.

Acceptance of the Road Number 0180D R.S. 2477 Right-of-way Prior to October 21, 1976.

       1670. The Road Number 0180D has long served as a public highway providing access

to and across public land. This road serves the public’s transportation needs.

       1671. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0180D as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1672. The Road Number 0180D appears on the Jarvis Peak (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       1673. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0180D pursuant to the County’s

governmental right and authority.

       1674. Witnesses with personal knowledge of the history of the Road Number 0180D

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confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1675. Currently known reputation in the community is that the Road Number 0180D has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1676. Public motor vehicle use of the Road Number 0180D as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1677. The Road Number 0180D traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        1678. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0180D.

        1679. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0180D on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Bulldog Pass/Apex Road, 0086

        1680. The Bulldog Pass/Apex Road is designated as county road number 0086 and

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SGID road identification number RD270086 and is more or less 5.63 miles long.

       1681. Exhibit 127 (attached hereto and incorporated herein) contains certain information

pertaining to the Bulldog Pass/Apex Road including: a map depicting the road; township, range

and section references describing the road’s physical location; a servient estate ownership list;

and a complete centerline description of the road.

       1682. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Bulldog Pass/Apex Road solely as it crosses United States public land as included

and specifically described in Exhibit 127. The Bulldog Pass/Apex Road includes the segment of

road specifically set forth in Exhibit 127 and as exists on the ground.

Acceptance of the Bulldog Pass/Apex Road R.S. 2477 Right-of-way Prior to October 21,
1976.

       1683. The Bulldog Pass/Apex Road has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

       1684. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Bulldog Pass/Apex Road as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1685. The County confirmed its acceptance of the Bulldog Pass/Apex Road by 1976,

when it designated and accepted the road as a County highway on the County’s general highway

map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance

of its R.S. 2477 right-of-way by managing, maintaining, or improving the Bulldog Pass/Apex

Road using public funds pursuant to the County’s governmental right and authority.
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        1686. Witnesses with personal knowledge of the history of the Bulldog Pass/Apex Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1687. Currently known reputation in the community is that the Bulldog Pass/Apex Road

has been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1688. Public motor vehicle use of the Bulldog Pass/Apex Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1689. The Bulldog Pass/Apex Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        1690. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Bulldog Pass/Apex Road.

        1691. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Bulldog Pass/Apex Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.




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Bulldog Pass/Apex Road, 9921

       1692. The Bulldog Pass/Apex Road is designated as county road number 0086 and

SGID road identification number RD279921 and is more or less 18.89 miles long.

       1693. Exhibit 128 (attached hereto and incorporated herein) contains certain information

pertaining to the Bulldog Pass/Apex Road including: a map depicting the road; township, range

and section references describing the road’s physical location; a servient estate ownership list;

and a complete centerline description of the road.

       1694. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Bulldog Pass/Apex Road solely as it crosses United States public land as included

and specifically described in Exhibit 128. The Bulldog Pass/Apex Road includes the segment of

road specifically set forth in Exhibit 128 and as exists on the ground.

Acceptance of the Bulldog Pass/Apex Road R.S. 2477 Right-of-way Prior to October 21,
1976.

       1695. The Bulldog Pass/Apex Road has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

       1696. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Bulldog Pass/Apex Road as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1697. The Bulldog Pass/Apex Road appears on the Jarvis Peak (1954) and Shivwits

(1954) USGS 7.5-minute quadrangle maps, which evidences the existence, use, and acceptance

of the right-of-way underlying this road. See Exhibit 12 for more detailed map information.
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        1698. The County confirmed its acceptance of the Bulldog Pass/Apex Road by 1976,

when it designated and accepted the road as a County highway on the County’s general highway

map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance

of its R.S. 2477 right-of-way by managing, maintaining, or improving the Bulldog Pass/Apex

Road using public funds pursuant to the County’s governmental right and authority.

        1699. Witnesses with personal knowledge of the history of the Bulldog Pass/Apex Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1700. Currently known reputation in the community is that the Bulldog Pass/Apex Road

has been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1701. Public motor vehicle use of the Bulldog Pass/Apex Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1702. The Bulldog Pass/Apex Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        1703. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Bulldog Pass/Apex Road.

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        1704. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Bulldog Pass/Apex Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Old Highway 91 Road, 0093

        1705. The Old Highway 91 Road is designated as County Road Number 0093 and SGID

road identification number RD270093 and is more or less 23.50 miles long.

        1706. Exhibit 129 (attached hereto and incorporated herein) contains certain information

pertaining to the Old Highway 91 Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1707. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Old Highway 91 Road solely as it crosses United States public land as included

and specifically described in Exhibit 129. The Old Highway 91 Road includes the segment of

road specifically set forth in Exhibit 129 and as exists on the ground.

Acceptance of the Old Highway 91 Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        1708. The Old Highway 91 Road has long served as a public highway providing access

to and across public land. This road serves the public’s transportation needs.

        1709. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Old Highway 91 Road as a public highway located on the




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land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1710. The Old Highway 91 Road appears on the Jarvis Peak (1954) and Shivwits (1954)

USGS 7.5-minute quadrangle maps, which evidences the existence, use, and acceptance of the

right-of-way underlying this road. See Exhibit 12 for more detailed map information.

        1711. The County confirmed its acceptance of the Old Highway 91 Road by 1976, when

it designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Old Highway 91 Road using

public funds pursuant to the County’s governmental right and authority.

        1712. Witnesses with personal knowledge of the history of the Old Highway 91 Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1713. Currently known reputation in the community is that the Old Highway 91 Road

has been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1714. Public motor vehicle use of the Old Highway 91 Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

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        1715. The Old Highway 91 Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        1716. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Old Highway 91 Road.

        1717. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Old Highway 91 Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Pahcoon Flat Road, 0192

        1718. The Pahcoon Flat Road is designated as county road number 0192 and SGID road

identification number RD270192 and is more or less 5.58 miles long.

        1719. Exhibit 130 (attached hereto and incorporated herein) contains certain information

pertaining to the Pahcoon Flat Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1720. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Pahcoon Flat Road solely as it crosses United States public land as included and

specifically described in Exhibit 130. The Pahcoon Flat Road includes the segment of road

specifically set forth in Exhibit 130 and as exists on the ground.




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Acceptance of the Pahcoon Flat Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        1721. The Pahcoon Flat Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1722. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Pahcoon Flat Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1723. The Pahcoon Flat Road appears on the Shivwits (1954) USGS 7.5-minute

quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1724. The County confirmed its acceptance of the Pahcoon Flat Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Pahcoon Flat Road using

public funds pursuant to the County’s governmental right and authority.

        1725. Witnesses with personal knowledge of the history of the Pahcoon Flat Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1726. Currently known reputation in the community is that the Pahcoon Flat Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

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prior to October 21, 1976, and continuing to the present.

        1727. Public motor vehicle use of the Pahcoon Flat Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1728. The Pahcoon Flat Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1729. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Pahcoon Flat Road.

        1730. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Pahcoon Flat Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

School Section Road, 0096

        1731. The School Section Road is designated as county road number 0096 and SGID

road identification number RD270096 and is more or less 1.54 miles long.

        1732. Exhibit 131 (attached hereto and incorporated herein) contains certain information

pertaining to the School Section Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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        1733. In this action, the State and County seek to quiet title to the public highway right-

of-way for the School Section Road solely as it crosses United States public land as included and

specifically described in Exhibit 131. The School Section Road includes the segment of road

specifically set forth in Exhibit 131 and as exists on the ground.

Acceptance of the School Section Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        1734. The School Section Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1735. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the School Section Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1736. The County confirmed its acceptance of the School Section Road by 1976, when

it designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the School Section Road using

public funds pursuant to the County’s governmental right and authority.

        1737. Witnesses with personal knowledge of the history of the School Section Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1738. Currently known reputation in the community is that the School Section Road has

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been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1739. Public motor vehicle use of the School Section Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1740. The School Section Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        1741. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the School Section Road.

        1742. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the School Section Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

T.V. Tower Road, 0077

        1743. The T.V. Tower Road is designated as County Road Number 0077 and SGID

road identification number RD270077 and is more or less 6.77 miles long.

        1744. Exhibit 132 (attached hereto and incorporated herein) contains certain information

pertaining to the T.V. Tower Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

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complete centerline description of the road.

       1745. In this action, the State and County seek to quiet title to the public highway right-

of-way for the T.V. Tower Road solely as it crosses United States public land as included and

specifically described in Exhibit 132. The T.V. Tower Road includes the segment of road

specifically set forth in Exhibit 132 and as exists on the ground.

Acceptance of the T.V. Tower Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       1746. The T.V. Tower Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1747. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the T.V. Tower Road as a public highway located on the land

at issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1748. The T.V. Tower Road appears on the Jarvis Peak (1954) and West Mountain Peak

(1973) USGS 7.5-minute quadrangle maps, which evidences the existence, use, and acceptance

of the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

       1749. The County confirmed its acceptance of the T.V. Tower Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the T.V. Tower Road using

public funds pursuant to the County’s governmental right and authority.

       1750. Witnesses with personal knowledge of the history of the T.V. Tower Road

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confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1751. Currently known reputation in the community is that the T.V. Tower Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1752. Public motor vehicle use of the T.V. Tower Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1753. The T.V. Tower Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1754. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the T.V. Tower Road.

        1755. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the T.V. Tower Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Tower Road, 0163

        1756. The Tower Road is designated as County Road Number 0163 and SGID road

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identification number RD270163 and is more or less 18.89 miles long.

       1757. Exhibit 133 (attached hereto and incorporated herein) contains certain information

pertaining to the Tower Road including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1758. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Tower Road solely as it crosses United States public land as included and

specifically described in Exhibit 133. The Tower Road includes the segment of road specifically

set forth in Exhibit 133 and as exists on the ground.

Acceptance of the Tower Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       1759. The Tower Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1760. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Tower Road as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1761. The Tower Road appears on the Jarvis Peak (1954) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       1762. The County confirmed its acceptance of the Tower Road by 1976, when it

designated the majority of and accepted the road as a County highway on the County’s general

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highway map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its

acceptance of its R.S. 2477 right-of-way by managing, maintaining, or improving the Tower

Road using public funds pursuant to the County’s governmental right and authority.

       1763. Witnesses with personal knowledge of the history of the Tower Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1764. Currently known reputation in the community is that the Tower Road has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1765. Public motor vehicle use of the Tower Road as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       1766. The Tower Road traverses a valid and perfected R.S. 2477 public highway right-

of-way as described herein.

       1767. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Tower Road.

       1768. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Tower Road on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

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West Apex Road, 0167

       1769. The West Apex Road is designated as County Road Number 0167 and SGID road

identification number RD270167 and is more or less 2.56 miles long.

       1770. Exhibit 134 (attached hereto and incorporated herein) contains certain information

pertaining to the West Apex Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1771. In this action, the State and County seek to quiet title to the public highway right-

of-way for the West Apex Road solely as it crosses United States public land as included and

specifically described in Exhibit 134. The West Apex Road includes the segment of road

specifically set forth in Exhibit 134 and as exists on the ground.

Acceptance of the West Apex Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       1772. The West Apex Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1773. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the West Apex Road as a public highway located on the land

at issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1774. The West Apex Road appears on the Jarvis Peak (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

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       1775. The County confirmed its acceptance of the West Apex Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the West Apex Road using

public funds pursuant to the County’s governmental right and authority.

       1776. Witnesses with personal knowledge of the history of the West Apex Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1777. Currently known reputation in the community is that the West Apex Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

       1778. Public motor vehicle use of the West Apex Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

       1779. The West Apex Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

       1780. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the West Apex Road.

       1781. The State and County are entitled to an order quieting title to their R.S. 2477

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right-of-way for the West Apex Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0069

        1782. The Road Number 0069 is designated as county road number 0069 and SGID

road identification number RD270069 and is more or less 5.61 miles long.

        1783. Exhibit 135 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0069 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1784. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0069 solely as it crosses United States public land as included and

specifically described in Exhibit 135. The Road Number 0069 includes the segment of road

specifically set forth in Exhibit 135 and as exists on the ground.

Acceptance of the Road Number 0069 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1785. The Road Number 0069 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1786. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0069 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

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        1787. The Road Number 0069 appears on the West Mountain Peak (1973) and Shivwits

(1954) USGS 7.5-minute quadrangle maps, which evidences the existence, use, and acceptance

of the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

        1788. The 0069 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0069 pursuant to the County’s

governmental right and authority.

        1789. Witnesses with personal knowledge of the history of the Road Number 0069

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1790. Currently known reputation in the community is that the Road Number 0069 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1791. Public motor vehicle use of the Road Number 0069 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1792. The Road Number 0069 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1793. Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0069.

        1794. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0069 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0076

        1795. The Road Number 0076 is designated as county road number 0076 and SGID

road identification number RD270076 and is more or less 4.08 miles long.

        1796. Exhibit 136 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0076 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1797. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0076 solely as it crosses United States public land as included and

specifically described in Exhibit 136. The Road Number 0076 includes the segment of road

specifically set forth in Exhibit 136 and as exists on the ground.

Acceptance of the Road Number 0076 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1798. The Road Number 0076 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.




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        1799. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0076 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1800. The Road Number 0076 appears on the West Mountain Peak (1973) USGS 7.5-

minute quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1801. The 0076 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0076 pursuant to the County’s

governmental right and authority.

        1802. Witnesses with personal knowledge of the history of the Road Number 0076

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1803. Currently known reputation in the community is that the Road Number 0076 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1804. Public motor vehicle use of the Road Number 0076 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1805. The Road Number 0076 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1806. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0076.

        1807. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0076 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0085

        1808. The Road Number 0085 is designated as County Road Number 0085 and SGID

road identification number RD270085 and is more or less 2.50 miles long.

        1809. Exhibit 137 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0085 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1810. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0085 solely as it crosses United States public land as included and

specifically described in Exhibit 137. The Road Number 0085 includes the segment of road

specifically set forth in Exhibit 137 and as exists on the ground.

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Acceptance of the Road Number 0085 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1811. The Road Number 0085 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1812. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0085 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1813. The 0085 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0085 pursuant to the County’s

governmental right and authority.

        1814. Witnesses with personal knowledge of the history of the Road Number 0085

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1815. Currently known reputation in the community is that the Road Number 0085 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1816. Public motor vehicle use of the Road Number 0085 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1817. The Road Number 0085 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1818. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0085.

        1819. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0085 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0088

        1820. The Road Number 0088 is designated as county road number 0088 and SGID

road identification number RD270088 and is more or less 3.06 miles long.

        1821. Exhibit 138 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0088 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1822. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0088 solely as it crosses United States public land as included and

specifically described in Exhibit 138. The Road Number 0088 includes the segment of road

specifically set forth in Exhibit 138 and as exists on the ground.

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Acceptance of the Road Number 0088 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1823. The Road Number 0088 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1824. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0088 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1825. The 0088 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0088 pursuant to the County’s

governmental right and authority.

        1826. Witnesses with personal knowledge of the history of the Road Number 0088

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1827. Currently known reputation in the community is that the Road Number 0088 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1828. Public motor vehicle use of the Road Number 0088 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1829. The Road Number 0088 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1830. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0088.

        1831. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0088 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0090

        1832. The Road Number 0090 is designated as county road number 0090 and SGID

road identification number RD270090 and is more or less 0.52 miles long.

        1833. Exhibit 139 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0090 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1834. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0090 solely as it crosses United States public land as included and

specifically described in Exhibit 139. The Road Number 0090 includes the segment of road

specifically set forth in Exhibit 139 and as exists on the ground.

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Acceptance of the Road Number 0090 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1835. The Road Number 0090 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1836. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0090 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1837. The Road Number 0090 appears on the Jarvis Peak (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1838. The 0090 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0090 pursuant to the County’s

governmental right and authority.

        1839. Witnesses with personal knowledge of the history of the Road Number 0090

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1840. Currently known reputation in the community is that the Road Number 0090 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        1841. Public motor vehicle use of the Road Number 0090 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1842. The Road Number 0090 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1843. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0090.

        1844. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0090 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0097

        1845. The Road Number 0097 is designated as county road number 0097 and SGID

road identification number RD270097 and is more or less 1.32 miles long.

        1846. Exhibit 140 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0097 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1847. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road Number 0097 solely as it crosses United States public land as included and

specifically described in Exhibit 140. The Road Number 0097 includes the segment of road

specifically set forth in Exhibit 140 and as exists on the ground.

Acceptance of the Road Number 0097 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1848. The Road Number 0097 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1849. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0097 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1850. The 0097 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0097 pursuant to the County’s

governmental right and authority.

        1851. Witnesses with personal knowledge of the history of the Road Number 0097

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1852. Currently known reputation in the community is that the Road Number 0097 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        1853. Public motor vehicle use of the Road Number 0097 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1854. The Road Number 0097 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1855. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0097.

        1856. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0097 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0098

        1857. The Road Number 0098 is designated as county road number 0098 and SGID

road identification number RD270098 and is more or less 2.96 miles long.

        1858. Exhibit 141 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0098 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1859. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road Number 0098 solely as it crosses United States public land as included and

specifically described in Exhibit 141. The Road Number 0098 includes the segment of road

specifically set forth in Exhibit 141 and as exists on the ground.

Acceptance of the Road Number 0098 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1860. The Road Number 0098 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1861. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0098 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1862. The Road Number 0098 appears on the Jarvis Peak (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1863. The 0098 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0098 pursuant to the County’s

governmental right and authority.

        1864. Witnesses with personal knowledge of the history of the Road Number 0098

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

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        1865. Currently known reputation in the community is that the Road Number 0098 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1866. Public motor vehicle use of the Road Number 0098 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1867. The Road Number 0098 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1868. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0098.

        1869. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0098 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0100

        1870. The Road Number 0100 is designated as county road number 0100 and SGID

road identification number RD270100 and is more or less 0.43 miles long.

        1871. Exhibit 142 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0100 including: a map depicting the road; township, range and

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section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1872. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0100 solely as it crosses United States public land as included and

specifically described in Exhibit 142. The Road Number 0100 includes the segment of road

specifically set forth in Exhibit 142 and as exists on the ground.

Acceptance of the Road Number 0100 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1873. The Road Number 0100 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1874. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0100 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1875. The 0100 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0100 pursuant to the County’s

governmental right and authority.

        1876. Witnesses with personal knowledge of the history of the Road Number 0100

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

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        1877. Currently known reputation in the community is that the Road Number 0100 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1878. Public motor vehicle use of the Road Number 0100 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1879. The Road Number 0100 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1880. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0100.

        1881. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0100 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0147

        1882. The Road Number 0147 is designated as county road number 0147 and SGID

road identification number RD270147 and is more or less 2.13 miles long.

        1883. Exhibit 143 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0147 including: a map depicting the road; township, range and

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section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1884. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0147 solely as it crosses United States public land as included and

specifically described in Exhibit 143. The Road Number 0147 includes the segment of road

specifically set forth in Exhibit 143 and as exists on the ground.

Acceptance of the Road Number 0147 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1885. The Road Number 0147 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1886. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0147 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1887. The Road Number 0147 appears on the Shivwits (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       1888. The 0147 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0147 pursuant to the County’s

governmental right and authority.

       1889. Witnesses with personal knowledge of the history of the Road Number 0147

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confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1890. Currently known reputation in the community is that the Road Number 0147 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1891. Public motor vehicle use of the Road Number 0147 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1892. The Road Number 0147 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1893. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0147.

        1894. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0147 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0152

        1895. The Road Number 0152 is designated as county road number 0152 and SGID

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road identification number RD270152 and is more or less 0.02 miles long.

       1896. Exhibit 144 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0152 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1897. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0152 solely as it crosses United States public land as included and

specifically described in Exhibit 144. The Road Number 0152 includes the segment of road

specifically set forth in Exhibit 144 and as exists on the ground.

Acceptance of the Road Number 0152 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1898. The Road Number 0152 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1899. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0152 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1900. The 0152 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0152 pursuant to the County’s

governmental right and authority.

       1901. Witnesses with personal knowledge of the history of the Road Number 0152

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confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1902. Currently known reputation in the community is that the Road Number 0152 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1903. Public motor vehicle use of the Road Number 0152 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1904. The Road Number 0152 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1905. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0152.

        1906. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0152 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0153

        1907. The Road Number 0153 is designated as county road number 0153 and SGID

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road identification number RD270153 and is more or less 0.78 miles long.

       1908. Exhibit 145 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0153 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1909. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0153 solely as it crosses United States public land as included and

specifically described in Exhibit 145. The Road Number 0153 includes the segment of road

specifically set forth in Exhibit145 and as exists on the ground.

Acceptance of the Road Number 0153 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1910. The Road Number 0153 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1911. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0153 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1912. The Road Number 0153 appears on the Shivwits (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       1913. The 0153 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

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managing, maintaining, or improving the Road Number 0153 pursuant to the County’s

governmental right and authority.

        1914. Witnesses with personal knowledge of the history of the Road Number 0153

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1915. Currently known reputation in the community is that the Road Number 0153 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1916. Public motor vehicle use of the Road Number 0153 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1917. The Road Number 0153 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1918. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0153.

        1919. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0153 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

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road.

Road Number 0154

        1920. The Road Number 0154 is designated as county road number 0154 and SGID

road identification number RD270154 and is more or less 3.14 miles long.

        1921. Exhibit 146 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0154 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1922. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0154 solely as it crosses United States public land as included and

specifically described in Exhibit 146. The Road Number 0154 includes the segment of road

specifically set forth in Exhibit 146 and as exists on the ground.

Acceptance of the Road Number 0154 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1923. The Road Number 0154 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1924. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0154 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.




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        1925. The Road Number 0154 appears on the Shivwits (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1926. The 0154 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0154 pursuant to the County’s

governmental right and authority.

        1927. Witnesses with personal knowledge of the history of the Road Number 0154

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1928. Currently known reputation in the community is that the Road Number 0154 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1929. Public motor vehicle use of the Road Number 0154 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1930. The Road Number 0154 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1931. Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0154.

        1932. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0154 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0155

        1933. The Road Number 0155 is designated as county road number 0155 and SGID

road identification number RD270155 and is more or less 1.39 miles long.

        1934. Exhibit 147 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0155 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1935. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0155 solely as it crosses United States public land as included and

specifically described in Exhibit 147. The Road Number 0155 includes the segment of road

specifically set forth in Exhibit 147 and as exists on the ground.

Acceptance of the Road Number 0155 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1936. The Road Number 0155 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.




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        1937. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0155 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1938. The Road Number 0155 appears on the Shivwits (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1939. The 0155 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0155 pursuant to the County’s

governmental right and authority.

        1940. Witnesses with personal knowledge of the history of the Road Number 0155

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1941. Currently known reputation in the community is that the Road Number 0155 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1942. Public motor vehicle use of the Road Number 0155 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1943. The Road Number 0155 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1944. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0155.

        1945. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0155 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0159

        1946. The Road Number 0159 is designated as county road number 0159 and SGID

road identification number RD270159 and is more or less 0.32 miles long.

        1947. Exhibit 148 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0159 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1948. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0159 solely as it crosses United States public land as included and

specifically described in Exhibit 148. The Road Number 0159 includes the segment of road

specifically set forth in Exhibit 148 and as exists on the ground.

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Acceptance of the Road Number 0159 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1949. The Road Number 0159 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1950. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0159 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1951. The 0159 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0159 pursuant to the County’s

governmental right and authority.

        1952. Witnesses with personal knowledge of the history of the Road Number 0159

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1953. Currently known reputation in the community is that the Road Number 0159 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1954. Public motor vehicle use of the Road Number 0159 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1955. The Road Number 0159 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1956. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0159.

        1957. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0159 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0161

        1958. The Road Number 0161 is designated as county road number 0161 and SGID

road identification number RD270161 and is more or less 2.69 miles long.

        1959. Exhibit 149 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0161 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1960. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0161 solely as it crosses United States public land as included and

specifically described in Exhibit 149. The Road Number 0161 includes the segment of road

specifically set forth in Exhibit 149 and as exists on the ground.

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Acceptance of the Road Number 0161 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1961. The Road Number 0161 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1962. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0161 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1963. The 0161 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0161 pursuant to the County’s

governmental right and authority.

        1964. Witnesses with personal knowledge of the history of the Road Number 0161

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1965. Currently known reputation in the community is that the Road Number 0161 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1966. Public motor vehicle use of the Road Number 0161 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1967. The Road Number 0161 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1968. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0161.

        1969. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0161 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0162

        1970. The Road Number 0162 is designated as county road number 0162 and SGID

road identification number RD270162 and is more or less 1.80 miles long.

        1971. Exhibit 150 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0162 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1972. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0162 solely as it crosses United States public land as included and

specifically described in Exhibit 150. The Road Number 0162 includes the segment of road

specifically set forth in Exhibit 150 and as exists on the ground.

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Acceptance of the Road Number 0162 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1973. The Road Number 0162 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1974. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0162 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1975. The Road Number 0162 appears on the Jarvis Peak (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1976. The 0162 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0162 pursuant to the County’s

governmental right and authority.

        1977. Witnesses with personal knowledge of the history of the Road Number 0162

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1978. Currently known reputation in the community is that the Road Number 0162 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        1979. Public motor vehicle use of the Road Number 0162 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1980. The Road Number 0162 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1981. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0162.

        1982. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0162 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0169

        1983. The Road Number 0169 is designated as county road number 0169 and SGID

road identification number RD270169 and is more or less 0.36 miles long.

        1984. Exhibit 151 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0169 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1985. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road Number 0169 solely as it crosses United States public land as included and

specifically described in Exhibit 151. The Road Number 0169 includes the segment of road

specifically set forth in Exhibit 151 and as exists on the ground.

Acceptance of the Road Number 0169 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1986. The Road Number 0169 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1987. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0169 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1988. The Road Number 0169 appears on the Jarvis Peak (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1989. The 0169 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0169 pursuant to the County’s

governmental right and authority.

        1990. Witnesses with personal knowledge of the history of the Road Number 0169

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

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        1991. Currently known reputation in the community is that the Road Number 0169 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1992. Public motor vehicle use of the Road Number 0169 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1993. The Road Number 0169 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1994. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0169.

        1995. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0169 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0175

        1996. The Road Number 0175 is designated as county road number 0175 and SGID

road identification number RD270175 and is more or less 1.69 miles long.

        1997. Exhibit 152 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0175 including: a map depicting the road; township, range and

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section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1998. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0175 solely as it crosses United States public land as included and

specifically described in Exhibit 152. The Road Number 0175 includes the segment of road

specifically set forth in Exhibit 152 and as exists on the ground.

Acceptance of the Road Number 0175 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1999. The Road Number 0175 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       2000. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0175 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       2001. The Road Number 0175 appears on the Jarvis Peak (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       2002. The County confirmed its acceptance of the Road Number 0175 by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Road Number 0175

pursuant to the County’s governmental right and authority.

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        2003. Witnesses with personal knowledge of the history of the Road Number 0175

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2004. Currently known reputation in the community is that the Road Number 0175 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2005. Public motor vehicle use of the Road Number 0175 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2006. The Road Number 0175 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2007. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0175.

        2008. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0175 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.




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Road Number 0176

       2009. The Road Number 0176 is designated as county road number 0176 and SGID

road identification number RD270176 and is more or less 2.29 miles long.

       2010. Exhibit 153 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0176 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2011. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0176 solely as it crosses United States public land as included and

specifically described in Exhibit 153. The Road Number 0176 includes the segment of road

specifically set forth in Exhibit 153 and as exists on the ground.

Acceptance of the Road Number 0176 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2012. The Road Number 0176 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       2013. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0176 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       2014. The Road Number 0176 appears on the Jarvis Peak (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

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        2015. The County confirmed its acceptance of the Road Number 0176 by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Road Number 0176

pursuant to the County’s governmental right and authority.

        2016. Witnesses with personal knowledge of the history of the Road Number 0176

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2017. Currently known reputation in the community is that the Road Number 0176 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2018. Public motor vehicle use of the Road Number 0176 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2019. The Road Number 0176 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2020. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0176.

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        2021. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0176 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0177

        2022. The Road Number 0177 is designated as county road number 0177 and SGID

road identification number RD270177 and is more or less 0.32 miles long.

        2023. Exhibit 154 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0177 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2024. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0177 solely as it crosses United States public land as included and

specifically described in Exhibit 154. The Road Number 0177 includes the segment of road

specifically set forth in Exhibit 154 and as exists on the ground.

Acceptance of the Road Number 0177 R.S. 2477 Right-of-way Prior to October 21, 1976.

        2025. The Road Number 0177 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        2026. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0177 as a public highway located on the




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land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2027. The Road Number 0177 appears on the Jarvis Peak (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        2028. The 0177 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0177 pursuant to the County’s

governmental right and authority.

        2029. Witnesses with personal knowledge of the history of the Road Number 0177

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2030. Currently known reputation in the community is that the Road Number 0177 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2031. Public motor vehicle use of the Road Number 0177 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2032. The Road Number 0177 traverses a valid and perfected R.S. 2477 public highway

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right-of-way as described herein.

        2033. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0177.

        2034. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0177 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0181

        2035. The Road Number 0181 is designated as county road number 0181 and SGID

road identification number RD270181 and is more or less 1.41 miles long.

        2036. Exhibit 155 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0181 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2037. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0181 solely as it crosses United States public land as included and

specifically described in Exhibit 155. The Road Number 0181 includes the segment of road

specifically set forth in Exhibit 155 and as exists on the ground.




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Acceptance of the Road Number 0181 R.S. 2477 Right-of-way Prior to October 21, 1976.

        2038. The Road Number 0181 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        2039. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0181 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2040. The Road Number 0181 appears on the Jarvis Peak (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        2041. The 0181 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0181 pursuant to the County’s

governmental right and authority.

        2042. Witnesses with personal knowledge of the history of the Road Number 0181

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2043. Currently known reputation in the community is that the Road Number 0181 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        2044. Public motor vehicle use of the Road Number 0181 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2045. The Road Number 0181 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2046. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0181.

        2047. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0181 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0184

        2048. The Road Number 0184 is designated as county road number 0184 and SGID

road identification number RD270184 and is more or less 1.43 miles long.

        2049. Exhibit 156 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0184 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2050. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road Number 0184 solely as it crosses United States public land as included and

specifically described in Exhibit 156. The Road Number 0184 includes the segment of road

specifically set forth in Exhibit 156 and as exists on the ground.

Acceptance of the Road Number 0184 R.S. 2477 Right-of-way Prior to October 21, 1976.

        2051. The Road Number 0184 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        2052. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0184 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2053. The Road Number 0184 appears on the Jarvis Peak (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        2054. The 0184 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0184 pursuant to the County’s

governmental right and authority.

        2055. Witnesses with personal knowledge of the history of the Road Number 0184

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

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        2056. Currently known reputation in the community is that the Road Number 0184 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2057. Public motor vehicle use of the Road Number 0184 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2058. The Road Number 0184 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2059. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0184.

        2060. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0184 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0188

        2061. The Road Number 0188 is designated as county road number 0188 and SGID

road identification number RD270188 and is more or less 1.22 miles long.

        2062. Exhibit 157 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0188 including: a map depicting the road; township, range and

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section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2063. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0188 solely as it crosses United States public land as included and

specifically described in Exhibit 157. The Road Number 0188 includes the segment of road

specifically set forth in Exhibit 157 and as exists on the ground.

Acceptance of the Road Number 0188 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2064. The Road Number 0188 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       2065. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0188 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       2066. The Road Number 0188 appears on the Jarvis Peak (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       2067. The County confirmed its acceptance of the Road 0188 by 1976, when it

designated a portion of and accepted the road as a County highway on the County’s general

highway map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its

acceptance of its R.S. 2477 right-of-way by managing, maintaining, or improving the Road

Number 0188 pursuant to the County’s governmental right and authority.

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        2068. Witnesses with personal knowledge of the history of the Road Number 0188

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2069. Currently known reputation in the community is that the Road Number 0188 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2070. Public motor vehicle use of the Road Number 0188 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2071. The Road Number 0188 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2072. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0188.

        2073. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0188 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.




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Road Number 0189

       2074. The Road Number 0189 is designated as county road number 0189 and SGID

road identification number RD270189 and is more or less 0.66 miles long.

       2075. Exhibit 158 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0189 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2076. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0189 solely as it crosses United States public land as included and

specifically described in Exhibit 158. The Road Number 0189 includes the segment of road

specifically set forth in Exhibit 158 and as exists on the ground.

Acceptance of the Road Number 0189 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2077. The Road Number 0189 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       2078. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0189 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       2079. The Road Number 0189 appears on the Jarvis Peak (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

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        2080. The 0189 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0189 pursuant to the County’s

governmental right and authority.

        2081. Witnesses with personal knowledge of the history of the Road Number 0189

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2082. Currently known reputation in the community is that the Road Number 0189 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2083. Public motor vehicle use of the Road Number 0189 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2084. The Road Number 0189 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2085. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0189.

        2086. The State and County are entitled to an order quieting title to their R.S. 2477

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right-of-way for the Road Number 0189 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0831

        2087. The Road Number 0831 is designated as county road number 0831 and SGID

road identification number RD270831 and is more or less 1.49 miles long.

        2088. Exhibit 159 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0831 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2089. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0831 solely as it crosses United States public land as included and

specifically described in Exhibit 159. The Road Number 0831 includes the segment of road

specifically set forth in Exhibit 159 and as exists on the ground.

Acceptance of the Road Number 0831 R.S. 2477 Right-of-way Prior to October 21, 1976.

        2090. The Road Number 0831 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        2091. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0831 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

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        2092. The Road Number 0831 appears on the Jarvis Peak (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        2093. The County confirmed its acceptance of Road 0831 by 1976, when it designated a

portion of and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Road Number 0831

pursuant to the County’s governmental right and authority.

        2094. Witnesses with personal knowledge of the history of the Road Number 0831

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2095. Currently known reputation in the community is that the Road Number 0831 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2096. Public motor vehicle use of the Road Number 0831 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2097. The Road Number 0831 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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        2098. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0831.

        2099. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0831 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 7967

        2100. The Road Number 7967 is designated as county road number 7967 and SGID

road identification number RD277967 and is more or less 0.32 miles long.

        2101. Exhibit 160 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 7967 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2102. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 7967 solely as it crosses United States public land as included and

specifically described in Exhibit 160. The Road Number 7967 includes the segment of road

specifically set forth in Exhibit 160 and as exists on the ground.

Acceptance of the Road Number 7967 R.S. 2477 Right-of-way Prior to October 21, 1976.

        2103. The Road Number 7967 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

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        2104. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 7967 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2105. The Road Number 7967 appears on the Jarvis Peak (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        2106. The 7967 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 7967 pursuant to the County’s

governmental right and authority.

        2107. Witnesses with personal knowledge of the history of the Road Number 7967

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2108. Currently known reputation in the community is that the Road Number 7967 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2109. Public motor vehicle use of the Road Number 7967 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        2110. The Road Number 7967 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2111. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 7967.

        2112. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 7967 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 7995

        2113. The Road Number 7995 is designated as county road number 7995 and SGID

road identification number RD277995 and is more or less 0.03 miles long.

        2114. Exhibit 161 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 7995 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2115. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 7995 solely as it crosses United States public land as included and

specifically described in Exhibit 161. The Road Number 7995 includes the segment of road

specifically set forth in Exhibit 161 and as exists on the ground.

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Acceptance of the Road Number 7995 R.S. 2477 Right-of-way Prior to October 21, 1976.

        2116. The Road Number 7995 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        2117. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 7995 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976..

        2118. The 7995 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 7995 pursuant to the County’s

governmental right and authority.

        2119. Witnesses with personal knowledge of the history of the Road Number 7995

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2120. Currently known reputation in the community is that the Road Number 7995 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2121. Public motor vehicle use of the Road Number 7995 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        2122. The Road Number 7995 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2123. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 7995.

        2124. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 7995 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 7997

        2125. The Road Number 7997 is designated as county road number 7997 and SGID

road identification number RD277997 and is more or less 0.12 miles long.

        2126. Exhibit 162 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 7997 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2127. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 7997 solely as it crosses United States public land as included and

specifically described in Exhibit 162. The Road Number 7997 includes the segment of road

specifically set forth in Exhibit 162 and as exists on the ground.

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Acceptance of the Road Number 7997 R.S. 2477 Right-of-way Prior to October 21, 1976.

        2128. The Road Number 7997 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        2129. The 7997 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 7997 pursuant to the County’s

governmental right and authority.

        2130. Witnesses with personal knowledge of the history of the Road Number 7997

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2131. Currently known reputation in the community is that the Road Number 7997 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2132. Public motor vehicle use of the Road Number 7997 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2133. The Road Number 7997 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2134. Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 7997.

        2135. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 7997 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 9887

        2136. The Road Number 9887 is designated as county road number 9887 and SGID

road identification number RD279887 and is more or less 0.30 miles long.

        2137. Exhibit 163 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 9887 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2138. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 9887 solely as it crosses United States public land as included and

specifically described in Exhibit 163. The Road Number 9887 includes the segment of road

specifically set forth in Exhibit 163 and as exists on the ground.

Acceptance of the Road Number 9887 R.S. 2477 Right-of-way Prior to October 21, 1976.

        2139. The Road Number 9887 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.




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        2140. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 9887 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2141. The 9887 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 9887 pursuant to the County’s

governmental right and authority.

        2142. Witnesses with personal knowledge of the history of the Road Number 9887

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2143. Currently known reputation in the community is that the Road Number 9887 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2144. Public motor vehicle use of the Road Number 9887 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2145. The Road Number 9887 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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        2146. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 9887.

        2147. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 9887 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 9889

        2148. The Road Number 9889 is designated as county road number 9889 and SGID

road identification number RD279889 and is more or less 0.29 miles long.

        2149. Exhibit 164 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 9889 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2150. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 9889 solely as it crosses United States public land as included and

specifically described in Exhibit 164. The Road Number 9889 includes the segment of road

specifically set forth in Exhibit 164 and as exists on the ground.

Acceptance of the Road Number 9889 R.S. 2477 Right-of-way Prior to October 21, 1976.

        2151. The Road Number 9889 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

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        2152. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 9889 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2153. The 9889 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 9889 pursuant to the County’s

governmental right and authority.

        2154. Witnesses with personal knowledge of the history of the Road Number 9889

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2155. Currently known reputation in the community is that the Road Number 9889 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2156. Public motor vehicle use of the Road Number 9889 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2157. The Road Number 9889 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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        2158. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 9889.

        2159. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 9889 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 9890

        2160. The Road Number 9890 is designated as county road number 9890 and SGID

road identification number RD279890 and is more or less 0.13 miles long.

        2161. Exhibit 165 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 9890 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2162. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 9890 solely as it crosses United States public land as included and

specifically described in Exhibit 165. The Road Number 9890 includes the segment of road

specifically set forth in Exhibit 165 and as exists on the ground.

Acceptance of the Road Number 9890 R.S. 2477 Right-of-way Prior to October 21, 1976.

        2163. The Road Number 9890 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

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        2164. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 9890 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2165. The 9890 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 9890 pursuant to the County’s

governmental right and authority.

        2166. Witnesses with personal knowledge of the history of the Road Number 9890

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2167. Currently known reputation in the community is that the Road Number 9890 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2168. Public motor vehicle use of the Road Number 9890 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2169. The Road Number 9890 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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        2170. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 9890.

        2171. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 9890 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 9945

        2172. The Road Number 9945 is designated as county road number 9945 and SGID

road identification number RD279945 and is more or less 0.14 miles long.

        2173. Exhibit 166 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 9945 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2174. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 9945 solely as it crosses United States public land as included and

specifically described in Exhibit 166. The Road Number 9945 includes the segment of road

specifically set forth in Exhibit 166 and as exists on the ground.

Acceptance of the Road Number 9945 R.S. 2477 Right-of-way Prior to October 21, 1976.

        2175. The Road Number 9945 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

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        2176. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 9945 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2177. The 9945 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 9945 pursuant to the County’s

governmental right and authority.

        2178. Witnesses with personal knowledge of the history of the Road Number 9945

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2179. Currently known reputation in the community is that the Road Number 9945 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2180. Public motor vehicle use of the Road Number 9945 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2181. The Road Number 9945 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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        2182. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 9945.

        2183. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 9945 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 9949

        2184. The Road Number 9949 is designated as county road number 9949 and SGID

road identification number RD279949 and is more or less 0.21 miles long.

        2185. Exhibit 167 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 9949 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2186. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 9949 solely as it crosses United States public land as included and

specifically described in Exhibit 167. The Road Number 9949 includes the segment of road

specifically set forth in Exhibit 167 and as exists on the ground.

Acceptance of the Road Number 9949 R.S. 2477 Right-of-way Prior to October 21, 1976.

        2187. The Road Number 9949 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

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        2188. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 9949 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2189. The 9949 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 9949 pursuant to the County’s

governmental right and authority.

        2190. Witnesses with personal knowledge of the history of the Road Number 9949

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2191. Currently known reputation in the community is that the Road Number 9949 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2192. Public motor vehicle use of the Road Number 9949 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2193. The Road Number 9949 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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        2194. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 9949.

        2195. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 9949 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 098A

        2196. The Road Number 098A is designated as county road number 098A and SGID

road identification number RD271118 and is more or less 1.35 miles long.

        2197. Exhibit 168 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 098A including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2198. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 098A solely as it crosses United States public land as included and

specifically described in Exhibit 168. The Road Number 098A includes the segment of road

specifically set forth in Exhibit 168 and as exists on the ground.

Acceptance of the Road Number 098A R.S. 2477 Right-of-way Prior to October 21, 1976.

        2199. The Road Number 098A has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

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        2200. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 098A as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2201. The 098A Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 098A pursuant to the County’s

governmental right and authority.

        2202. Witnesses with personal knowledge of the history of the Road Number 098A

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2203. Currently known reputation in the community is that the Road Number 098A has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2204. Public motor vehicle use of the Road Number 098A as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2205. The Road Number 098A traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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        2206. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 098A.

        2207. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 098A on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

                        FIFTH CAUSE OF ACTION – QUIET TITLE
                               GUNLOCK/VEYO AREA

        2208. Plaintiffs re-allege and incorporate herein each of the foregoing paragraphs.

        2209. The Gunlock/Veyo Area is located in southwestern Washington County in the

southwestern region of Utah.

        2210. The Gunlock/Veyo Area includes the following roads—listed by Common Road

Name (if applicable) and County Unique Number: (1) Bigelow Ranch Road, 0222; (2) Blake

Lambing River Road, 0276; (3) Blake Lambing Road, 0182; (4) Blake Loop Road, 0180; (5)

Bloomington/Apex Road, 0173; (6) Bloomington Mine Cutoff Road, 178A; (7) Bloomington

Mine Valley Road, 0178; (8) Cinder Pit Road, 0225; (9) Cottams’s Ranch Road, 0224; (10)

Gunlock/Veyo Road, 0139; (11) Mine Valley to Blake Lambing Grounds Road, 0179; (12)

Rancho Veyo Road, 0213; (13) Upper and Lower Sand Cove aka Gunlock Highway, 0138; (14)

Virgin River Overlook Road, 0278; (15) Road Number 0143; (16) Road Number 0144; (17)

Road Number 0145; (18) Road Number 0146; (19) Road Number 0172; (20) Road Number

0174; (21) Road Number 0244; (22) Road Number 0247; (23) Road Number 0251; (24) Road
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Number 0274; (25) Road Number 0275; (26) Road Number 0560; (27) Road Number 0838; (28)

Road Number 0839; (29) Road Number 0842; (30) Road Number 0845; (31) Road Number

0848; (32) Road Number 7947; (33) Road Number 7980; (34) Road Number 7999; (34) Road

Number 9897; (35) Road Number 9898; (36) Road Number 9984; (37) Road Number 0143A;

(38) Road Number 0143B; (39) Red Mountain Road, 9911.

       2211. Each right-of-way claimed in the Gunlock/Veyo Area was used by the general

public who engaged in one or more of the following activities: cattle ranching, sheep herding,

prospecting for minerals, rock hounding, mining, oil and gas exploration, wood gathering,

cutting wood, collecting pine nuts or berries, recreation, hunting, trapping, government access,

traveling in and through the area, or any other legitimate purpose.

       2212. All rights-of-way claimed in the Gunlock/Veyo Area are sufficient in scope for

general motor vehicle travel and include that which is reasonable and necessary to meet the

exigencies of motor vehicle travel according to safe engineering practices that protect the public

and the road and also prevent undue degradation of the adjacent land.

       2213. All rights-of-way claimed in the Gunlock/Veyo Area include a minimum right-of-

way width of 66 feet or greater width as determined at trial, along with cuts, fills, slopes, water

bars, and such features and facilities as have historically been acknowledged by the DOI and

under law as being reasonable and necessary for the use, benefit, and enjoyment of public

highway rights-of-way. See, e.g., UTAH CODE ANN. § 72-5-302(4)(b) (2003).

Prior to October 21, 1976, the State of Utah, Washington County, and the public through

continuous use accepted the congressional grant of an R.S. 2477 right-of-way for the entire

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length and course of all roads as described herein, on public lands owned by the United States.

Bigelow Ranch Road, 0222

       2214. The Bigelow Ranch Road is designated as county road number 0222 and SGID

road identification number RD270222 and is more or less 3.21 miles long.

       2215. Exhibit 169 (attached hereto and incorporated herein) contains certain information

pertaining to the Bigelow Ranch Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2216. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Bigelow Ranch Road solely as it crosses United States public land as included and

specifically described in Exhibit 169. The Bigelow Ranch Road includes the segment of road

specifically set forth in Exhibit 169 and as exists on the ground.

Acceptance of the Bigelow Ranch Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       2217. The Bigelow Ranch Road has long served as a public highway providing access

to and across public land. This road serves the public’s transportation needs.

       2218. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Bigelow Ranch Road as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       2219. The Bigelow Ranch Road appears on the Veyo (1972) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

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underlying this road. See Exhibit 12 for more detailed map information.

        2220. The County confirmed its acceptance of the Bigelow Ranch Road by 1976, when

it designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Bigelow Ranch Road using

public funds pursuant to the County’s governmental right and authority.

        2221. Witnesses with personal knowledge of the history of the Bigelow Ranch Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2222. Currently known reputation in the community is that the Bigelow Ranch Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2223. Public motor vehicle use of the Bigelow Ranch Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2224. The Bigelow Ranch Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        2225. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

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action to establish clear title to the right-of-way underlying the Bigelow Ranch Road.

        2226. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Bigelow Ranch Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Blake Lambing River Road, 0276

        2227. The Blake Lambing River Road is designated as county road number 0276 and

SGID road identification number RD270276 and is more or less 3.35 miles long.

        2228. Exhibit 170 (attached hereto and incorporated herein) contains certain information

pertaining to the Blake Lambing River Road including: a map depicting the road; township,

range and section references describing the road’s physical location; a servient estate ownership

list; and a complete centerline description of the road.

        2229. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Blake Lambing River Road solely as it crosses United States public land as

included and specifically described in Exhibit 170. The Blake Lambing River Road includes the

segment of road specifically set forth in Exhibit 170 and as exists on the ground.

Acceptance of the Blake Lambing River Road R.S. 2477 Right-of-way Prior to October 21,
1976.

        2230. The Blake Lambing River Road has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

        2231. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Blake Lambing River Road as a public highway
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located on the land at issue in this case and following the course described herein. More recent

aerial photography continues to show the road as it existed prior to October 21, 1976.

        2232. The Blake Lambing River Road appears on the White Hills (1954) USGS 7.5-

minute quadrangle map and the St. George (1954) USGS 15-minute quadrangle map, which

evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

        2233. The Blake Lambing River Road was accepted as a County highway at least 10

years prior to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477

right-of-way by managing, maintaining, or improving the Blake Lambing River Road using

public funds pursuant to the County’s governmental right and authority.

        2234. Witnesses with personal knowledge of the history of the Blake Lambing River

Road confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2235. Currently known reputation in the community is that the Blake Lambing River

Road has been open for all to come and go, whenever convenient or necessary, for more than 10

years prior to October 21, 1976, and continuing to the present.

        2236. Public motor vehicle use of the Blake Lambing River Road as a public

thoroughfare traversing unreserved public lands on a continuous basis, whenever convenient or

necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of

an R.S. 2477 public highway right-of-way underlying this road.

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       2237. The Blake Lambing River Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

       2238. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Blake Lambing River Road.

       2239. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Blake Lambing River Road on lands owned by the United States as

described herein and including that which is reasonable and necessary for the use, benefit, and

enjoyment of this road.

Blake Lambing Road, 0182

       2240. The Blake Lambing Road is designated as county road number 0182 and SGID

road identification number RD270182 and is more or less 14.20 miles long.

       2241. Exhibit 171 (attached hereto and incorporated herein) contains certain information

pertaining to the Blake Lambing Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2242. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Blake Lambing Road solely as it crosses United States public land as included and

specifically described in Exhibit 171. The Blake Lambing Road includes the segment of road

specifically set forth in Exhibit 171 and as exists on the ground.




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Acceptance of the Blake Lambing Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        2243. The Blake Lambing Road has long served as a public highway providing access

to and across public land. This road serves the public’s transportation needs.

        2244. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Blake Lambing Road as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2245. The Blake Lambing Road appears on the White Hills (1954) and Jarvis Peak

(1954) USGS 7.5-minute quadrangle maps and on the St. George (1954) 15-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

        2246. The County confirmed its acceptance of the Blake Lambing Road by 1976, when

it designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Blake Lambing Road using

public funds pursuant to the County’s governmental right and authority.

        2247. Witnesses with personal knowledge of the history of the Blake Lambing Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2248. Currently known reputation in the community is that the Blake Lambing Road has

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been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2249. Public motor vehicle use of the Blake Lambing Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2250. The Blake Lambing Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        2251. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Blake Lambing Road.

        2252. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Blake Lambing Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Blake Loop Road, 0180

        2253. The Blake Loop Road is designated as county road number 0180 and SGID road

identification number RD270180 and is more or less 1.63 miles long.

        2254. Exhibit 172 (attached hereto and incorporated herein) contains certain information

pertaining to the Blake Loop Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

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complete centerline description of the road.

       2255. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Blake Loop Road solely as it crosses United States public land as included and

specifically described in Exhibit 172. The Blake Loop Road includes the segment of road

specifically set forth in Exhibit 172 and as exists on the ground.

Acceptance of the Blake Loop Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       2256. The Blake Loop Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       2257. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Blake Loop Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       2258. The Blake Loop Road appears on the Jarvis Peak (1954) and White Hills (1954)

USGS 7.5-minute quadrangle maps, which evidences the existence, use, and acceptance of the

right-of-way underlying this road. See Exhibit 12 for more detailed map information.

       2259. The Blake Loop Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Blake Loop Road using public funds pursuant to the

County’s governmental right and authority.

       2260. Witnesses with personal knowledge of the history of the Blake Loop Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

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continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2261. Currently known reputation in the community is that the Blake Loop Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2262. Public motor vehicle use of the Blake Loop Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2263. The Blake Loop Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2264. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Blake Loop Road.

        2265. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Blake Loop Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Bloomington/Apex Road, 0173

        2266. The Bloomington/Apex Road is designated as county road number 0173 and

SGID road identification number RD270173 and is more or less 8.49 miles long.

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       2267. Exhibit 173 (attached hereto and incorporated herein) contains certain information

pertaining to the Bloomington/Apex Road including: a map depicting the road; township, range

and section references describing the road’s physical location; a servient estate ownership list;

and a complete centerline description of the road.

       2268. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Bloomington/Apex Road solely as it crosses United States public land as included

and specifically described in Exhibit 173. The Bloomington/Apex Road includes the segment of

road specifically set forth in Exhibit 173 and as exists on the ground.

Acceptance of the Bloomington/Apex Road R.S. 2477 Right-of-way Prior to October 21,
1976.

       2269. The Bloomington/Apex Road has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

       2270. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Bloomington/Apex Road as a public highway located

on the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       2271. The Bloomington/Apex Road appears on the Jarvis Peak (1954) and White Hills

(1954) USGS 7.5-minute quadrangle maps and the St. George (1954) 15-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       2272. The County confirmed its acceptance of the Bloomington/Apex Road by 1976,

when it designated and accepted the road as a County highway on the County’s general highway
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map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance

of its R.S. 2477 right-of-way by managing, maintaining, or improving the Bloomington/Apex

Road using public funds pursuant to the County’s governmental right and authority.

        2273. Witnesses with personal knowledge of the history of the Bloomington/Apex Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2274. Currently known reputation in the community is that the Bloomington/Apex Road

has been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2275. Public motor vehicle use of the Bloomington/Apex Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2276. The Bloomington/Apex Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        2277. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Bloomington/Apex Road.

        2278. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Bloomington/Apex Road on lands owned by the United States as described

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herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Bloomington Mine Cutoff Road, 178A

        2279. The Bloomington Mine Cutoff Road is designated as county road number 0178A

and SGID road identification number RD270860 and is more or less 0.09 miles long.

        2280. Exhibit 174 (attached hereto and incorporated herein) contains certain information

pertaining to the Bloomington Mine Cutoff Road including: a map depicting the road; township,

range and section references describing the road’s physical location; a servient estate ownership

list; and a complete centerline description of the road.

        2281. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Bloomington Mine Cutoff Road solely as it crosses United States public land as

included and specifically described in Exhibit 174. The Bloomington Mine Cutoff Road

includes the segment of road specifically set forth in Exhibit 174 and as exists on the ground.

Acceptance of the Bloomington Mine Cutoff Road R.S. 2477 Right-of-way Prior to October
21, 1976.

        2282. The Bloomington Mine Cutoff Road has long served as a public highway

providing access to and across public land. This road serves the public’s transportation needs.

        2283. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Bloomington Mine Cutoff Road as a public highway

located on the land at issue in this case and following the course described herein. More recent

aerial photography continues to show the road as it existed prior to October 21, 1976.

        2284. The Bloomington Mine Cutoff Road appears on the Jarvis Peak (1954) USGS
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7.5-minute quadrangle map, which evidences the existence, use, and acceptance of the right-of-

way underlying this road. See Exhibit 12 for more detailed map information.

       2285. The County confirmed its acceptance of the Bloomington Mine Cutoff Road by

1976, when it designated and accepted the road as a County highway on the County’s general

highway map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its

acceptance of its R.S. 2477 right-of-way by managing, maintaining, or improving the

Bloomington Mine Cutoff Road using public funds pursuant to the County’s governmental right

and authority.

       2286. Witnesses with personal knowledge of the history of the Bloomington Mine

Cutoff Road confirm public use of this road as a public thoroughfare by means of motor vehicles

on a continuous basis, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976.

       2287. Currently known reputation in the community is that the Bloomington Mine

Cutoff Road has been open for all to come and go, whenever convenient or necessary, for more

than 10 years prior to October 21, 1976, and continuing to the present.

       2288. Public motor vehicle use of the Bloomington Mine Cutoff Road as a public

thoroughfare traversing unreserved public lands on a continuous basis, whenever convenient or

necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of

an R.S. 2477 public highway right-of-way underlying this road.

       2289. The Bloomington Mine Cutoff Road traverses a valid and perfected R.S. 2477

public highway right-of-way as described herein.

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       2290. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Bloomington Mine Cutoff Road.

       2291. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Bloomington Mine Cutoff Road on lands owned by the United States as

described herein and including that which is reasonable and necessary for the use, benefit, and

enjoyment of this road.

Bloomington Mine Valley Road, 0178

       2292. The Bloomington Mine Valley Road is designated as county road number 0178

and SGID road identification number RD270178 and is more or less 4.63 miles long.

       2293. Exhibit 175 (attached hereto and incorporated herein) contains certain information

pertaining to the Bloomington Mine Valley Road including: a map depicting the road; township,

range and section references describing the road’s physical location; a servient estate ownership

list; and a complete centerline description of the road.

       2294. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Bloomington Mine Valley Road solely as it crosses United States public land as

included and specifically described in Exhibit 175. The Bloomington Mine Valley Road

includes the segment of road specifically set forth in Exhibit 175 and as exists on the ground.

Acceptance of the Bloomington Mine Valley Road R.S. 2477 Right-of-way Prior to October
21, 1976.

       2295. The Bloomington Mine Valley Road has long served as a public highway

providing access to and across public land. This road serves the public’s transportation needs.
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       2296. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Bloomington Mine Valley Road as a public highway

located on the land at issue in this case and following the course described herein. More recent

aerial photography continues to show the road as it existed prior to October 21, 1976.

       2297. The Bloomington Mine Valley Road appears on the Jarvis Peak (1954) and White

Hills (1954) USGS 7.5-minute quadrangle maps, which evidences the existence, use, and

acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

information.

       2298. The Bloomington Mine Valley Road was accepted as a County highway at least

10 years prior to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477

right-of-way by managing, maintaining, or improving the Bloomington Mine Valley Road using

public funds pursuant to the County’s governmental right and authority.

       2299. Witnesses with personal knowledge of the history of the Bloomington Mine

Valley Road confirm public use of this road as a public thoroughfare by means of motor vehicles

on a continuous basis, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976.

       2300. Currently known reputation in the community is that the Bloomington Mine

Valley Road has been open for all to come and go, whenever convenient or necessary, for more

than 10 years prior to October 21, 1976, and continuing to the present.

       2301. Public motor vehicle use of the Bloomington Mine Valley Road as a public

thoroughfare traversing unreserved public lands on a continuous basis, whenever convenient or

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necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of

an R.S. 2477 public highway right-of-way underlying this road.

       2302. The Bloomington Mine Valley Road traverses a valid and perfected R.S. 2477

public highway right-of-way as described herein.

       2303. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Bloomington Mine Valley Road.

       2304. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Bloomington Mine Valley Road on lands owned by the United States as

described herein and including that which is reasonable and necessary for the use, benefit, and

enjoyment of this road.

Cinder Pit Road, 0225

       2305. The Cinder Pit Road is designated as county road number 0225 and SGID road

identification number RD270225 and is more or less 0.22 miles long.

       2306. Exhibit 176 (attached hereto and incorporated herein) contains certain information

pertaining to the Cinder Pit Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2307. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Cinder Pit Road solely as it crosses United States public land as included and

specifically described in Exhibit 176. The Cinder Pit Road includes the segment of road

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specifically set forth in Exhibit 176 and as exists on the ground.

Acceptance of the Cinder Pit Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       2308. The Cinder Pit Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2309. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Cinder Pit Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       2310. The Cinder Pit Road appears on the Veyo (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       2311. The Cinder Pit Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Cinder Pit Road using public funds pursuant to the

County’s governmental right and authority.

       2312. Witnesses with personal knowledge of the history of the Cinder Pit Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2313. Currently known reputation in the community is that the Cinder Pit Road has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

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        2314. Public motor vehicle use of the Cinder Pit Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2315. The Cinder Pit Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2316. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Cinder Pit Road.

        2317. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Cinder Pit Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Cottam’s Ranch Road, 0224

        2318. The Cottam’s Ranch Road is designated as county road number 0224 and SGID

road identification number RD270224 and is more or less 1.54 miles long.

        2319. Exhibit 177 (attached hereto and incorporated herein) contains certain information

pertaining to the Cottam’s Ranch Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2320. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Cottam’s Ranch Road solely as it crosses United States public land as included

and specifically described in Exhibit 177. The Cottam’s Ranch Road includes the segment of

road specifically set forth in Exhibit 177 and as exists on the ground.

Acceptance of the Cottam’s Ranch Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       2321. The Cottam’s Ranch Road has long served as a public highway providing access

to and across public land. This road serves the public’s transportation needs.

       2322. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Cottam’s Ranch Road as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       2323. The Cottam’s Ranch Road appears on the Veyo (1972) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       2324. The County confirmed its acceptance of the Cottam’s Ranch Road by 1976, when

it designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Cottam’s Ranch Road using

public funds pursuant to the County’s governmental right and authority.

       2325. Witnesses with personal knowledge of the history of the Cottam’s Ranch Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

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1976.

        2326. Currently known reputation in the community is that the Cottam’s Ranch Road

has been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2327. Public motor vehicle use of the Cottam’s Ranch Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2328. The Cottam’s Ranch Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        2329. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Cottam’s Ranch Road.

        2330. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Cottam’s Ranch Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Gunlock/Veyo Road, 0139

        2331. The Gunlock/Veyo Road is designated as county road number 0139 and SGID

road identification number RD279916 and is more or less 7.69 miles long.

        2332. Exhibit 178 (attached hereto and incorporated herein) contains certain information

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pertaining to the Gunlock/Veyo Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2333. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Gunlock/Veyo Road solely as it crosses United States public land as included and

specifically described in Exhibit 178. The Gunlock/Veyo Road includes the segment of road

specifically set forth in Exhibit 178 and as exists on the ground.

Acceptance of the Gunlock/Veyo Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       2334. The Gunlock/Veyo Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       2335. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Gunlock/Veyo Road as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       2336. The Gunlock/Veyo Road appears on the Veyo (1972) and Gunlock (1972) USGS

7.5-minute quadrangle maps, which evidences the existence, use, and acceptance of the right-of-

way underlying this road. See Exhibit 12 for more detailed map information.

       2337. The County confirmed its acceptance of the Gunlock/Veyo Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Gunlock/Veyo Road using

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public funds pursuant to the County’s governmental right and authority.

        2338. Witnesses with personal knowledge of the history of the Gunlock/Veyo Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2339. Currently known reputation in the community is that the Gunlock/Veyo Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2340. Public motor vehicle use of the Gunlock/Veyo Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2341. The Gunlock/Veyo Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        2342. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Gunlock/Veyo Road.

        2343. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Gunlock/Veyo Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

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Mine Valley to Blake Lambing Grounds Road, 0179

         2344. The Mine Valley to Blake Lambing Grounds Road is designated as county road

number 0179 and SGID road identification number RD270179 and is more or less 1.66 miles

long.

         2345. Exhibit 179 (attached hereto and incorporated herein) contains certain information

pertaining to the Mine Valley to Blake Lambing Grounds Road including: a map depicting the

road; township, range and section references describing the road’s physical location; a servient

estate ownership list; and a complete centerline description of the road.

         2346. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Mine Valley to Blake Lambing Grounds Road solely as it crosses United States

public land as included and specifically described in Exhibit 179. The Mine Valley to Blake

Lambing Grounds Road includes the segment of road specifically set forth in Exhibit 179 and as

exists on the ground.

Acceptance of the Mine Valley to Blake Lambing Grounds Road R.S. 2477 Right-of-way
Prior to October 21, 1976.

         2347. The Mine Valley to Blake Lambing Grounds Road has long served as a public

highway providing access to and across public land. This road serves the public’s transportation

needs.

         2348. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Mine Valley to Blake Lambing Grounds Road as a

public highway located on the land at issue in this case and following the course described



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herein. More recent aerial photography continues to show the road as it existed prior to October

21, 1976.

       2349. The Mine Valley to Blake Lambing Grounds Road appears on the Jarvis Peak

(1954) USGS 7.5-minute quadrangle map, which evidences the existence, use, and acceptance of

the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

       2350. The County confirmed its acceptance of the Mine Valley to Blake Lambing

Grounds Road by 1976, when it designated and accepted the road as a County highway on the

County’s general highway map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County

further evidenced its acceptance of its R.S. 2477 right-of-way by managing, maintaining, or

improving the Mine Valley to Blake Lambing Grounds Road using public funds pursuant to the

County’s governmental right and authority.

       2351. Witnesses with personal knowledge of the history of the Mine Valley to Blake

Lambing Grounds Road confirm public use of this road as a public thoroughfare by means of

motor vehicles on a continuous basis, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976.

       2352. Currently known reputation in the community is that the Mine Valley to Blake

Lambing Grounds Road has been open for all to come and go, whenever convenient or

necessary, for more than 10 years prior to October 21, 1976, and continuing to the present.

       2353. Public motor vehicle use of the Mine Valley to Blake Lambing Grounds Road as

a public thoroughfare traversing unreserved public lands on a continuous basis, whenever

convenient or necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance

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of the grant of an R.S. 2477 public highway right-of-way underlying this road.

       2354. The Mine Valley to Blake Lambing Grounds Road traverses a valid and perfected

R.S. 2477 public highway right-of-way as described herein.

       2355. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Mine Valley to Blake Lambing

Grounds Road.

       2356. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Mine Valley to Blake Lambing Grounds Road on lands owned by the United

States as described herein and including that which is reasonable and necessary for the use,

benefit, and enjoyment of this road.

Rancho Veyo Road, 0213

       2357. The Rancho Veyo Road is designated as county road number 0213 and SGID

road identification number RD270213 and is more or less 2.19 miles long.

       2358. Exhibit 180 (attached hereto and incorporated herein) contains certain information

pertaining to the Rancho Veyo Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2359. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Rancho Veyo Road solely as it crosses United States public land as included and

specifically described in Exhibit 180. The Rancho Veyo Road includes the segment of road

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specifically set forth in Exhibit 180 and as exists on the ground.

Acceptance of the Rancho Veyo Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        2360. The Rancho Veyo Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        2361. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Rancho Veyo Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2362. The Rancho Veyo Road appears on the Veyo (1972) and Central West (1972)

USGS 7.5-minute quadrangle maps, which evidences the existence, use, and acceptance of the

right-of-way underlying this road. See Exhibit 12 for more detailed map information.

        2363. The County confirmed its acceptance of the Rancho Veyo Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Rancho Veyo Road using

public funds pursuant to the County’s governmental right and authority.

        2364. Witnesses with personal knowledge of the history of the Rancho Veyo Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2365. Currently known reputation in the community is that the Rancho Veyo Road has

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been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2366. Public motor vehicle use of the Rancho Veyo Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2367. The Rancho Veyo Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2368. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Rancho Veyo Road.

        2369. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Rancho Veyo Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Upper and Lower Sand Cove Road aka Gunlock Highway, 0138

        2370. The Upper and Lower Sand Cove Road aka Gunlock Highway is designated as

county road number 0138 and SGID road identification number RD270228 and is more or less

15.93 miles long.

        2371. Exhibit 181 (attached hereto and incorporated herein) contains certain information

pertaining to the Upper and Lower Sand Cove Road aka Gunlock Highway including: a map

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depicting the road; township, range and section references describing the road’s physical

location; a servient estate ownership list; and a complete centerline description of the road.

       2372. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Upper and Lower Sand Cove Road aka Gunlock Highway solely as it crosses

United States public land as included and specifically described in Exhibit 181. The Upper and

Lower Sand Cove Road aka Gunlock Highway includes the segment of road specifically set forth

in Exhibit 181 and as exists on the ground.

Acceptance of the Upper and Lower Sand Cove Road aka Gunlock Highway R.S. 2477
Right-of-way Prior to October 21, 1976.

       2373. The Upper and Lower Sand Cove Road aka Gunlock Highway has long served as

a public highway providing access to and across public land. This road serves the public’s

transportation needs.

       2374. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Upper and Lower Sand Cove Road aka Gunlock

Highway as a public highway located on the land at issue in this case and following the course

described herein. More recent aerial photography continues to show the road as it existed prior

to October 21, 1976.

       2375. The Upper and Lower Sand Cove Road aka Gunlock Highway appears on the

Shivwits (1954), the Gunlock (1972) and the Veyo (1972) USGS 7.5-minute quadrangle maps,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       2376. The County confirmed its acceptance of the Upper and Lower Sand Cove Road
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aka Gunlock Highway by 1976, when it designated and accepted the road as a County highway

on the County’s general highway map. See UTAH CODE ANN. § 72-3-103(4) (2009). The

County further evidenced its acceptance of its R.S. 2477 right-of-way by managing, maintaining,

or improving the Upper and Lower Sand Cove Road aka Gunlock Highway using public funds

pursuant to the County’s governmental right and authority.

       2377. Witnesses with personal knowledge of the history of the Upper and Lower Sand

Cove Road aka Gunlock Highway confirm public use of this road as a public thoroughfare by

means of motor vehicles on a continuous basis, whenever convenient or necessary, for more than

10 years prior to October 21, 1976.

       2378. Currently known reputation in the community is that the Upper and Lower Sand

Cove Road aka Gunlock Highway has been open for all to come and go, whenever convenient or

necessary, for more than 10 years prior to October 21, 1976, and continuing to the present.

       2379. Public motor vehicle use of the Upper and Lower Sand Cove Road aka Gunlock

Highway as a public thoroughfare traversing unreserved public lands on a continuous basis,

whenever convenient or necessary, for a period of 10 years prior to October 21, 1976, confirms

acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this road.

       2380. The Upper and Lower Sand Cove Road aka Gunlock Highway traverses a valid

and perfected R.S. 2477 public highway right-of-way as described herein.

       2381. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Upper and Lower Sand Cove

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Road aka Gunlock Highway.

       2382. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Upper and Lower Sand Cove Road aka Gunlock Highway on lands owned

by the United States as described herein and including that which is reasonable and necessary for

the use, benefit, and enjoyment of this road.

Virgin River Overlook Road, 0278

       2383. The Virgin River Overlook Road is designated as county road number 0278 and

SGID road identification number RD270278 and is more or less 1.87 miles long.

       2384. Exhibit 182 (attached hereto and incorporated herein) contains certain information

pertaining to the Virgin River Overlook Road including: a map depicting the road; township,

range and section references describing the road’s physical location; a servient estate ownership

list; and a complete centerline description of the road.

       2385. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Virgin River Overlook Road solely as it crosses United States public land as

included and specifically described in Exhibit 182. The Virgin River Overlook Road includes

the segment of road specifically set forth in Exhibit 182 and as exists on the ground.

Acceptance of the Virgin River Overlook Road R.S. 2477 Right-of-way Prior to October 21,
1976.

       2386. The Virgin River Overlook Road has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

       2387. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Virgin River Overlook Road as a public highway
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located on the land at issue in this case and following the course described herein. More recent

aerial photography continues to show the road as it existed prior to October 21, 1976.

        2388. The County confirmed its acceptance of the Virgin River Overlook Road by 1976,

when it designated and accepted the road as a County highway on the County’s general highway

map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance

of its R.S. 2477 right-of-way by managing, maintaining, or improving the Virgin River Overlook

Road using public funds pursuant to the County’s governmental right and authority.

        2389. Witnesses with personal knowledge of the history of the Virgin River Overlook

Road confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2390. Currently known reputation in the community is that the Virgin River Overlook

Road has been open for all to come and go, whenever convenient or necessary, for more than 10

years prior to October 21, 1976, and continuing to the present.

        2391. Public motor vehicle use of the Virgin River Overlook Road as a public

thoroughfare traversing unreserved public lands on a continuous basis, whenever convenient or

necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of

an R.S. 2477 public highway right-of-way underlying this road.

        2392. The Virgin River Overlook Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        2393. Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Virgin River Overlook Road.

       2394. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Virgin River Overlook Road on lands owned by the United States as

described herein and including that which is reasonable and necessary for the use, benefit, and

enjoyment of this road.

Road Number 0143

       2395. The Road Number 0143 is designated as county road number 0143 and SGID

road identification number RD270143 and is more or less 0.86 miles long.

       2396. Exhibit 183 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0143 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2397. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0143 solely as it crosses United States public land as included and

specifically described in Exhibit 183. The Road Number 0143 includes the segment of road

specifically set forth in Exhibit 183 and as exists on the ground.

Acceptance of the Road Number 0143 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2398. The Road Number 0143 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.




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        2399. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0143 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2400. The 0143 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0143 pursuant to the County’s

governmental right and authority.

        2401. Witnesses with personal knowledge of the history of the Road Number 0143

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2402. Currently known reputation in the community is that the Road Number 0143 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2403. Public motor vehicle use of the Road Number 0143 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2404. The Road Number 0143 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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        2405. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0143.

        2406. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0143 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0144

        2407. The Road Number 0144 is designated as county road number 0144 and SGID

road identification number RD270144 and is more or less 0.11 miles long.

        2408. Exhibit 184 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0144 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2409. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0144 solely as it crosses United States public land as included and

specifically described in Exhibit 184. The Road Number 0144 includes the segment of road

specifically set forth in Exhibit 184 and as exists on the ground.

Acceptance of the Road Number 0144 R.S. 2477 Right-of-way Prior to October 21, 1976.

        2410. The Road Number 0144 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

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        2411. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0144 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2412. The 0144 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0144 pursuant to the County’s

governmental right and authority.

        2413. Witnesses with personal knowledge of the history of the Road Number 0144

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2414. Currently known reputation in the community is that the Road Number 0144 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2415. Public motor vehicle use of the Road Number 0144 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2416. The Road Number 0144 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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        2417. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0144.

        2418. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0144 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0145

        2419. The Road Number 0145 is designated as county road number 0145 and SGID

road identification number RD270145 and is more or less 0.16 miles long.

        2420. Exhibit 185 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0145 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2421. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0145 solely as it crosses United States public land as included and

specifically described in Exhibit 185. The Road Number 0145 includes the segment of road

specifically set forth in Exhibit 185 and as exists on the ground.

Acceptance of the Road Number 0145 R.S. 2477 Right-of-way Prior to October 21, 1976.

        2422. The Road Number 0145 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

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        2423. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0145 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2424. The 0145 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0145 pursuant to the County’s

governmental right and authority.

        2425. Witnesses with personal knowledge of the history of the Road Number 0145

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2426. Currently known reputation in the community is that the Road Number 0145 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2427. Public motor vehicle use of the Road Number 0145 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2428. The Road Number 0145 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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        2429. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0145.

        2430. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0145 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0146

        2431. Road 0146 is designated as county road number 0146 and SGID road

identification number RD270146 and is more or less 0.08 miles long.

        2432. Exhibit 186 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0146 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2433. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0146 solely as it crosses United States public land as included and

specifically described in Exhibit 186. The Road 0146 includes the segment of road specifically

set forth in Exhibit 186 and as exists on the ground.

Acceptance of the Road 0146 R.S. 2477 Right-of-way Prior to October 21, 1976.

        2434. The Road 0146 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

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       2435. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0146 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2436. The 0146 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0146 pursuant to the County’s governmental

right and authority.

       2437. Witnesses with personal knowledge of the history of the Road 0146 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2438. Currently known reputation in the community is that the Road 0146 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2439. Public motor vehicle use of the Road 0146 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2440. The Road 0146 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2441. Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0146.

       2442. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0146 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0172

       2443. Road 0172 is designated as county road number 0172 and SGID road

identification number RD270172 and is more or less 3.16 miles long.

       2444. Exhibit 187 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0172 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2445. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0172 solely as it crosses United States public land as included and

specifically described in Exhibit 187. The Road 0172 includes the segment of road specifically

set forth in Exhibit 187 and as exists on the ground.

Acceptance of the Road 0172 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2446. The Road 0172 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2447. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0172 as a public highway located on the land at

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issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2448. The 0172 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0172 pursuant to the County’s governmental

right and authority.

       2449. Witnesses with personal knowledge of the history of the Road 0172 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2450. Currently known reputation in the community is that the Road 0172 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2451. Public motor vehicle use of the Road 0172 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2452. The Road 0172 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2453. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0172.

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       2454. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0172 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0174

       2455. Road 0174 is designated as county road number 0174 and SGID road

identification number RD270174 and is more or less 1.94 miles long.

       2456. Exhibit 188 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0174 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2457. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0174 solely as it crosses United States public land as included and

specifically described in Exhibit 188. The Road 0174 includes the segment of road specifically

set forth in Exhibit 188 and as exists on the ground.

Acceptance of the Road 0174 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2458. The Road 0174 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2459. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0174 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

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       2460. The Road 0174 appears on the Jarvis Peak (1954) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       2461. The 0174 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0174 pursuant to the County’s governmental

right and authority.

       2462. Witnesses with personal knowledge of the history of the Road 0174 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2463. Currently known reputation in the community is that the Road 0174 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2464. Public motor vehicle use of the Road 0174 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2465. The Road 0174 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2466. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

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action to establish clear title to the right-of-way underlying the Road 0174.

       2467. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0174 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0244

       2468. Road 0244 is designated as county road number 0244 and SGID road

identification number RD270244 and is more or less 0.43 miles long.

       2469. Exhibit 189 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0244 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2470. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0244 solely as it crosses United States public land as included and

specifically described in Exhibit 189. The Road 0244 includes the segment of road specifically

set forth in Exhibit 189 and as exists on the ground.

Acceptance of the Road 0244 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2471. The Road 0244 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2472. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0244 as a public highway located on the land at




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issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2473. The Road 0244 appears on the Veyo (1972) USGS 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       2474. The 0244 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0244 pursuant to the County’s governmental

right and authority.

       2475. Witnesses with personal knowledge of the history of the Road 0244 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2476. Currently known reputation in the community is that the Road 0244 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2477. Public motor vehicle use of the Road 0244 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2478. The Road 0244 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

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       2479. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0244.

       2480. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0244 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0247

       2481. Road 0247 is designated as county road number 0247 and SGID road

identification number RD270247 and is more or less 1.54 miles long.

       2482. Exhibit 190 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0247 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2483. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0247 solely as it crosses United States public land as included and

specifically described in Exhibit 190. The Road 0247 includes the segment of road specifically

set forth in Exhibit 190 and as exists on the ground.

Acceptance of the Road 0247 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2484. The Road 0247 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.




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       2485. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0247 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2486. The Road 0247 appears on the Veyo (1972) USGS 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       2487. The 0247 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0247 pursuant to the County’s governmental

right and authority.

       2488. Witnesses with personal knowledge of the history of the Road 0247 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2489. Currently known reputation in the community is that the Road 0247 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2490. Public motor vehicle use of the Road 0247 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       2491. The Road 0247 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2492. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0247.

       2493. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0247 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0251

       2494. Road 0251 is designated as county road number 0251 and SGID road

identification number RD270251 and is more or less 2.14 miles long.

       2495. Exhibit 191 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0251 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2496. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0251 solely as it crosses United States public land as included and

specifically described in Exhibit 191. The Road 0251 includes the segment of road specifically

set forth in Exhibit 191 and as exists on the ground.




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Acceptance of the Road 0251 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2497. The Road 0251 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2498. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0251 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2499. The Road 0251 appears on the Veyo (1972) USGS 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       2500. The 0251 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0251 pursuant to the County’s governmental

right and authority.

       2501. Witnesses with personal knowledge of the history of the Road 0251 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2502. Currently known reputation in the community is that the Road 0251 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2503. Public motor vehicle use of the Road 0251 as a public thoroughfare traversing

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unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2504. The Road 0251 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2505. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0251.

       2506. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0251 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0274

       2507. Road 0274 is designated as county road number 0274 and SGID road

identification number RD270274 and is more or less 5.21 miles long.

       2508. Exhibit 192 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0274 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2509. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0274 solely as it crosses United States public land as included and

specifically described in Exhibit 192. The Road 0274 includes the segment of road specifically

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set forth in Exhibit 192 and as exists on the ground.

Acceptance of the Road 0274 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2510. The Road 0274 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2511. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0274 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2512. The Road 0274 appears on the White Hills (1954) USGS 7.5-minute quadrangle

map and the St. George (1954) USGS 15-minute quadrangle map, which evidences the existence,

use, and acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed

map information.

       2513. The 0274 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0274 pursuant to the County’s governmental

right and authority.

       2514. Witnesses with personal knowledge of the history of the Road 0274 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2515. Currently known reputation in the community is that the Road 0274 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

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October 21, 1976, and continuing to the present.

       2516. Public motor vehicle use of the Road 0274 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2517. The Road 0274 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2518. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0274.

       2519. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0274 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0275

       2520. Road 0275 is designated as county road number 0275 and SGID road

identification number RD270275 and is more or less 2.10 miles long.

       2521. Exhibit 193 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0275 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2522. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road 0275 solely as it crosses United States public land as included and

specifically described in Exhibit 193. The Road 0275 includes the segment of road specifically

set forth in Exhibit 193 and as exists on the ground.

Acceptance of the Road 0275 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2523. The Road 0275 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2524. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0275 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2525. The Road 0275 appears on the White Hills (1954) USGS 7.5-minute quadrangle

map, and the St. George (1954) USGS 15-minute quadrangle map, which evidences the

existence, use, and acceptance of the right-of-way underlying this road. See Exhibit 12 for more

detailed map information.

       2526. The 0275 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0275 pursuant to the County’s governmental

right and authority.

       2527. Witnesses with personal knowledge of the history of the Road 0275 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

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       2528. Currently known reputation in the community is that the Road 0275 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2529. Public motor vehicle use of the Road 0275 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2530. The Road 0275 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2531. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0275.

       2532. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0275 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0560

       2533. Road 0560 is designated as county road number 0560 and SGID road

identification number RD270560 and is more or less 3.49 miles long.

       2534. Exhibit 194 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0560 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

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complete centerline description of the road.

       2535. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0560 solely as it crosses United States public land as included and

specifically described in Exhibit 194. The Road 0560 includes the segment of road specifically

set forth in Exhibit 194 and as exists on the ground.

Acceptance of the Road 0560 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2536. The Road 0560 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2537. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0560 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2538. The 0560 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0560 pursuant to the County’s governmental

right and authority.

       2539. Witnesses with personal knowledge of the history of the Road 0560 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2540. Currently known reputation in the community is that the Road 0560 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

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October 21, 1976, and continuing to the present.

       2541. Public motor vehicle use of the Road 0560 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2542. The Road 0560 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2543. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0560.

       2544. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0560 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0838

       2545. Road 0838 is designated as county road number 0838 and SGID road

identification number RD270838 and is more or less 0.41 miles long.

       2546. Exhibit 195 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0838 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2547. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road 0838 solely as it crosses United States public land as included and

specifically described in Exhibit 195. The Road 0838 includes the segment of road specifically

set forth in Exhibit 195 and as exists on the ground.

Acceptance of the Road 0838 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2548. The Road 0838 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2549. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0838 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2550. The 0838 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0838 pursuant to the County’s governmental

right and authority.

       2551. Witnesses with personal knowledge of the history of the Road 0838 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2552. Currently known reputation in the community is that the Road 0838 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2553. Public motor vehicle use of the Road 0838 as a public thoroughfare traversing

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unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2554. The Road 0838 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2555. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0838.

       2556. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0838 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0839

       2557. Road 0839 is designated as county road number 0839 and SGID road

identification number RD270839 and is more or less 1.89 miles long.

       2558. Exhibit 196 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0839 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2559. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0839 solely as it crosses United States public land as included and

specifically described in Exhibit 196. The Road 0839 includes the segment of road specifically

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set forth in Exhibit 196 and as exists on the ground.

Acceptance of the Road 0839 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2560. The Road 0839 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2561. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0839 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2562. The 0839 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0839 pursuant to the County’s governmental

right and authority.

       2563. Witnesses with personal knowledge of the history of the Road 0839 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2564. Currently known reputation in the community is that the Road 0839 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2565. Public motor vehicle use of the Road 0839 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

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highway right-of-way underlying this road.

       2566. The Road 0839 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2567. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0839.

       2568. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0839 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0842

       2569. Road 0842 is designated as county road number 0842 and SGID road

identification number RD270842 and is more or less 0.66 miles long.

       2570. Exhibit 197 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0842 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2571. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0842 solely as it crosses United States public land as included and

specifically described in Exhibit 197. The Road 0842 includes the segment of road specifically

set forth in Exhibit 197 and as exists on the ground.




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Acceptance of the Road 0842 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2572. The Road 0842 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2573. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0842 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2574. The 0842 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0842 pursuant to the County’s governmental

right and authority.

       2575. Witnesses with personal knowledge of the history of the Road 0842 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2576. Currently known reputation in the community is that the Road 0842 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2577. Public motor vehicle use of the Road 0842 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       2578. The Road 0842 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2579. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0842.

       2580. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0842 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0845

       2581. Road 0845 is designated as county road number 0845 and SGID road

identification number RD270845 and is more or less 2.17 miles long.

       2582. Exhibit 198 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0845 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2583. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0845 solely as it crosses United States public land as included and

specifically described in Exhibit 198. The Road 0845 includes the segment of road specifically

set forth in Exhibit 198 and as exists on the ground.




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Acceptance of the Road 0845 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2584. The Road 0845 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2585. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0845 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2586. The 0845 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0845 pursuant to the County’s governmental

right and authority.

       2587. Witnesses with personal knowledge of the history of the Road 0845 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2588. Currently known reputation in the community is that the Road 0845 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2589. Public motor vehicle use of the Road 0845 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       2590. The Road 0845 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2591. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0845.

       2592. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0845 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0848

       2593. Road 0848 is designated as county road number 0848 and SGID road

identification number RD270848 and is more or less 2.94 miles long.

       2594. Exhibit 199 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0848 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2595. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0848 solely as it crosses United States public land as included and

specifically described in Exhibit 199. The Road 0848 includes the segment of road specifically

set forth in Exhibit 199 and as exists on the ground.




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Acceptance of the Road 0848 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2596. The Road 0848 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2597. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0848 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2598. The 0848 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0848 pursuant to the County’s governmental

right and authority.

       2599. Witnesses with personal knowledge of the history of the Road 0848 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2600. Currently known reputation in the community is that the Road 0848 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2601. Public motor vehicle use of the Road 0848 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       2602. The Road 0848 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2603. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0848.

       2604. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0848 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 7947

       2605. Road 7947 is designated as county road number 7947 and SGID road

identification number RD277947 and is more or less 0.03 miles long.

       2606. Exhibit 200 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 7947 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2607. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 7947 solely as it crosses United States public land as included and

specifically described in Exhibit 200. The Road 7947 includes the segment of road specifically

set forth in Exhibit 200 and as exists on the ground.




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Acceptance of the Road 7947 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2608. The Road 7947 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2609. The 7947 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 7947 pursuant to the County’s governmental

right and authority.

       2610. Witnesses with personal knowledge of the history of the Road 7947 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2611. Currently known reputation in the community is that the Road 7947 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2612. Public motor vehicle use of the Road 7947 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2613. The Road 7947 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2614. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

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action to establish clear title to the right-of-way underlying the Road 7947.

       2615. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 7947 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 7980

       2616. Road 7980 is designated as county road number 7980 and SGID road

identification number RD277980 and is more or less 0.53 miles long.

       2617. Exhibit 201 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 7980 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2618. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 7980 solely as it crosses United States public land as included and

specifically described in Exhibit 201. The Road 7980 includes the segment of road specifically

set forth in Exhibit 201 and as exists on the ground.

Acceptance of the Road 7980 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2619. The Road 7980 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2620. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 7980 as a public highway located on the land at




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issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2621. The 7980 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 7980 pursuant to the County’s governmental

right and authority.

       2622. Witnesses with personal knowledge of the history of the Road 7980 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2623. Currently known reputation in the community is that the Road 7980 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2624. Public motor vehicle use of the Road 7980 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2625. The Road 7980 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2626. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 7980.

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       2627. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 7980 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 7999

       2628. Road 7999 is designated as county road number 7999 and SGID road

identification number RD277999 and is more or less 1.60 miles long.

       2629. Exhibit 202 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 7999 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2630. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 7999 solely as it crosses United States public land as included and

specifically described in Exhibit 202. The Road 7999 includes the segment of road specifically

set forth in Exhibit 202 and as exists on the ground.

Acceptance of the Road 7999 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2631. The Road 7999 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2632. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 7999 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

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       2633. The 7999 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 7999 pursuant to the County’s governmental

right and authority.

       2634. Witnesses with personal knowledge of the history of the Road 7999 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2635. Currently known reputation in the community is that the Road 7999 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2636. Public motor vehicle use of the Road 7999 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2637. The Road 7999 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2638. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 7999.

       2639. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 7999 on lands owned by the United States as described herein and

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including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 9897

       2640. Road 9897 is designated as county road number 9897 and SGID road

identification number RD279897 and is more or less 0.02 miles long.

       2641. Exhibit 203 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 9897 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2642. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 9897 solely as it crosses United States public land as included and

specifically described in Exhibit 203. The Road 9897 includes the segment of road specifically

set forth in Exhibit 203 and as exists on the ground.

Acceptance of the Road 9897 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2643. The Road 9897 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2644. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 7999 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2645. The 9897 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

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managing, maintaining, or improving the Road 9897 pursuant to the County’s governmental

right and authority.

       2646. Witnesses with personal knowledge of the history of the Road 9897 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2647. Currently known reputation in the community is that the Road 9897 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2648. Public motor vehicle use of the Road 9897 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2649. The Road 9897 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2650. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 9897.

       2651. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 9897 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.




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Road Number 9898

       2652. Road 9898 is designated as county road number 9898 and SGID road

identification number RD279898 and is more or less 0.07 miles long.

       2653. Exhibit 204 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 9898 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2654. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 9898 solely as it crosses United States public land as included and

specifically described in Exhibit 204. The Road 9898 includes the segment of road specifically

set forth in Exhibit 204 and as exists on the ground.

Acceptance of the Road 9898 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2655. The Road 9898 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2656. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 9898 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2657. The 9898 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 9898 pursuant to the County’s governmental

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right and authority.

       2658. Witnesses with personal knowledge of the history of the Road 9898 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2659. Currently known reputation in the community is that the Road 9898 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2660. Public motor vehicle use of the Road 9898 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2661. The Road 9898 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2662. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 9898.

       2663. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 9898 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 9984

       2664. Road 9984 is designated as county road number 9984 and SGID road

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identification number RD279984 and is more or less 0.59 miles long.

       2665. Exhibit 205 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 9984 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2666. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 9984 solely as it crosses United States public land as included and

specifically described in Exhibit 205. The Road 9984 includes the segment of road specifically

set forth in Exhibit 205 and as exists on the ground.

Acceptance of the Road 9984 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2667. The Road 9984 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2668. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 9984 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2669. The 9984 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 9984 pursuant to the County’s governmental

right and authority.

       2670. Witnesses with personal knowledge of the history of the Road 9984 confirm

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public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2671. Currently known reputation in the community is that the Road 9984 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2672. Public motor vehicle use of the Road 9984 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2673. The Road 9984 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2674. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 9984.

       2675. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 9984 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0143A

       2676. Road 0143A is designated as county road number 0143A and SGID road

identification number RD277948 and is more or less 0.16 miles long.

       2677. Exhibit 206 (attached hereto and incorporated herein) contains certain information

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pertaining to the Road 0143A including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2678. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0143A solely as it crosses United States public land as included and

specifically described in Exhibit 206. The Road 0143A includes the segment of road specifically

set forth in Exhibit 206 and as exists on the ground.

Acceptance of the Road 0143A R.S. 2477 Right-of-way Prior to October 21, 1976.

       2679. The Road 0143A has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2680. The 0143A Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0143A pursuant to the County’s governmental

right and authority.

       2681. Witnesses with personal knowledge of the history of the Road 0143A confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2682. Currently known reputation in the community is that the Road 0143A has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2683. Public motor vehicle use of the Road 0143A as a public thoroughfare traversing

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unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2684. The Road 0143A traverses a valid and perfected R.S. 2477 public highway right-

of-way as described herein.

       2685. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0143A.

       2686. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0143A on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0143B

       2687. Road 0143B is designated as county road number 0143B and SGID road

identification number RD277949 and is more or less 0.25 miles long.

       2688. Exhibit 207 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0143B including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2689. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0143B solely as it crosses United States public land as included and

specifically described in Exhibit 207. The Road 0143B includes the segment of road specifically

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set forth in Exhibit 207 and as exists on the ground.

Acceptance of the Road 0143B R.S. 2477 Right-of-way Prior to October 21, 1976.

       2690. The Road 0143B has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2691. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0143B as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2692. The 0143B Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0143B pursuant to the County’s governmental

right and authority.

       2693. Witnesses with personal knowledge of the history of the Road 0143B confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2694. Currently known reputation in the community is that the Road 0143B has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2695. Public motor vehicle use of the Road 0143B as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

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highway right-of-way underlying this road.

       2696. The Road 0143B traverses a valid and perfected R.S. 2477 public highway right-

of-way as described herein.

       2697. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0143B.

       2698. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0143B on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Red Mountain Road, 9911

       2699. Red Mountain Road is designated as county road number 9911 and SGID road

identification number RD279911 and is more or less 5.83 miles long.

       2700. Exhibit 208 (attached hereto and incorporated herein) contains certain information

pertaining to the Red Mountain Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2701. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Red Mountain Road solely as it crosses United States public land as included and

specifically described in Exhibit 208. The Red Mountain Road includes the segment of road

specifically set forth in Exhibit 208 and as exists on the ground.




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Acceptance of the Red Mountain Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        2702. The Red Mountain Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        2703. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Red Mountain Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2704. The Red Mountain Road appears on the Veyo (1972) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        2705. The Red Mountain Road was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Red Mountain Road pursuant to the County’s

governmental right and authority.

        2706. Witnesses with personal knowledge of the history of the Red Mountain Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2707. Currently known reputation in the community is that the Red Mountain Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        2708. Public motor vehicle use of the Red Mountain Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2709. The Red Mountain Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2710. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Red Mountain Road.

        2711. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Red Mountain Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

                        SIXTH CAUSE OF ACTION – QUIET TITLE
                               WARNER VALLEY AREA

        2712. Plaintiffs re-allege and incorporate herein each of the foregoing paragraphs.

        2713. The Warner Valley Area is located in southern Washington County in the

southwestern region of Utah.

        2714. The Warner Valley Area includes the following roads—listed by Common Road

Name (if applicable) and County Unique Number: (1) Road Number 0415; (2) Fort Pierce Road,

0508; (3) Sky Ranch Road, 0399; (4) Stucki Road, 0417; (5) Warner Valley Road, 0418; (6)

Road Number 0420; (7) Washington Dome Road, 0293; (8) Road Number 0288; (9) Road
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Number 0402; (10) Road Number 0407; (11) Road Number 0409; (12) Road Number 0419; (13)

Road Number 0421; (14) Road Number 0475; (15) Road Number 0485; (16) Road Number

0486; (17) Road Number 0487; (18) Road Number 0496; (19) Road Number 0497; (20) Road

Number 0498; (21) Road Number 0501; (22) Road Number 0502; (23) Road Number 0503; (24)

Road Number 0504; (25) Road Number 0507; (26) Road Number 0514; (27) Road Number

0516; (28) Road Number 0519; (29) Road Number 0523; (30) Road Number 0524; (31) Road

Number 0527; (32) Road Number 0562; (33) Road Number 0564; (34) Road Number 0565; (35)

Road Number 0567; (36) Road Number 0568; (37) Road Number 0571; (38) Road Number

0577; (39) Road Number 0580; (40) Road Number 0586; (41) Road Number 7950; (42) Road

Number 7952; (43) Road Number 7969; (44) Dinosaur Tracks Road, 0476.

       2715. Each right-of-way claimed in the Warner Valley Area was used by the general

public who engaged in one or more of the following activities: cattle ranching, sheep herding,

prospecting for minerals, rock hounding, mining, oil and gas exploration, wood gathering,

cutting wood, collecting pine nuts or berries, recreation, hunting, trapping, government access,

traveling in and through the area, or any other legitimate purpose.

       2716. All rights-of-way claimed in the Warner Valley Area are sufficient in scope for

general motor vehicle travel and include that which is reasonable and necessary to meet the

exigencies of motor vehicle travel according to safe engineering practices that protect the public

and the road and also prevent undue degradation of the adjacent land.

       2717. All rights-of-way claimed in the Warner Valley Area include a minimum right-of-

way width of 66 feet or greater width as determined at trial, along with cuts, fills, slopes, water

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bars, and such features and facilities as have historically been acknowledged by the DOI and

under law as being reasonable and necessary for the use, benefit, and enjoyment of public

highway rights-of-way. See, e.g., UTAH CODE ANN. § 72-5-302(4)(b) (2003).

          2718. Prior to October 21, 1976, the State of Utah, Washington County, and the public

through continuous use accepted the congressional grant of an R.S. 2477 right-of-way for the

entire length and course of all roads as described herein, on public lands owned by the United

States.

Road Number 0415

          2719. The Road Number 0415 is designated as county road number 0415 and SGID

road identification number RD270415 and is more or less 1.06 miles long.

          2720. Exhibit 209 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0415 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

          2721. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0415 solely as it crosses United States public land as included and

specifically described in Exhibit 209. The Road Number 0415 includes the segment of road

specifically set forth in Exhibit 209 and as exists on the ground.

Acceptance of the Road Number 0415 R.S. 2477 Right-of-way Prior to October 21, 1976.

          2722. The Road Number 0415 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

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        2723. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0415 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2724. The Road Number 0415 appears on Washington Dome (1954) USGS 7.5-minute

quadrangle map and the Hurricane (1954) USGS 15-minute quadrangle map, which evidences

the existence, use, and acceptance of the right-of-way underlying this road. See Exhibit 12 for

more detailed map information.

        2725. The County confirmed its acceptance of the Road Number 0415 by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Road Number 0415 using

public funds pursuant to the County’s governmental right and authority.

        2726. Witnesses with personal knowledge of the history of the Road Number 0415

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2727. Currently known reputation in the community is that the Road Number 0415 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2728. Public motor vehicle use of the Road Number 0415 as a public thoroughfare

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traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2729. The Road Number 0415 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2730. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0415.

        2731. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0415 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Fort Pierce, 0508

        2732. The Fort Pierce Road is designated as county road number 0508 and SGID road

identification number RD270508 and is more or less 0.52 miles long.

        2733. Exhibit 210 (attached hereto and incorporated herein) contains certain information

pertaining to the Fort Pierce Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2734. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Fort Pierce Road solely as it crosses United States public land as included and

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specifically described in Exhibit 210. The Fort Pierce Road includes the segment of road

specifically set forth in Exhibit 210 and as exists on the ground.

Acceptance of the Fort Pierce Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       2735. The Fort Pierce Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2736. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Fort Pierce Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       2737. The County confirmed its acceptance of the Fort Pierce Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Fort Pierce Road using

public funds pursuant to the County’s governmental right and authority.

       2738. Witnesses with personal knowledge of the history of the Fort Pierce Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2739. Currently known reputation in the community is that the Fort Pierce Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

       2740. Public motor vehicle use of the Fort Pierce Road as a public thoroughfare

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traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2741. The Fort Pierce Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2742. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Fort Pierce Road.

        2743. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Fort Pierce Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Sky Ranch Road, 0399

        2744. The Sky Ranch Road is designated as county road number 0399 and SGID road

identification number RD270399 and is more or less 10.41 miles long.

        2745. Exhibit 211 (attached hereto and incorporated herein) contains certain information

pertaining to the Sky Ranch Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2746. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Sky Ranch Road solely as it crosses United States public land as included and

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specifically described in Exhibit 211. The Sky Ranch Road includes the segment of road

specifically set forth in Exhibit 211 and as exists on the ground.

Acceptance of the Sky Ranch Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       2747. The Sky Ranch Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2748. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Sky Ranch Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       2749. The Sky Ranch Road appears on The Divide (1954) and Hurricane (1954) USGS

7.5-minute quadrangle maps and on the Hurricane (1954) USGS 15-minute quadrangle map ,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       2750. The County confirmed its acceptance of the Sky Ranch Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Sky Ranch Road using

public funds pursuant to the County’s governmental right and authority.

       2751. Witnesses with personal knowledge of the history of the Sky Ranch Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

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        2752. Currently known reputation in the community is that the Sky Ranch Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2753. Public motor vehicle use of the Sky Ranch Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2754. The Sky Ranch Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2755. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Sky Ranch Road.

        2756. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Sky Ranch Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Stucki Road, 0417

        2757. The Stucki Road is designated as county road number 0417 and SGID road

identification number RD270417 and is more or less 4.76 miles long.

        2758. Exhibit 212 (attached hereto and incorporated herein) contains certain information

pertaining to the Stucki Road including: a map depicting the road; township, range and section

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references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2759. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Stucki Road solely as it crosses United States public land as included and

specifically described in Exhibit 212. The Stucki Road includes the segment of road specifically

set forth in Exhibit 212 and as exists on the ground.

Acceptance of the Stucki Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       2760. The Stucki Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2761. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Stucki Road as a public highway located on the land

at issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2762. The Stucki Road appears on Washington Dome (1954) USGS 7.5-minute

quadrangle map and on the Hurricane (1954) USGS 15-minute map, which evidences the

existence, use, and acceptance of the right-of-way underlying this road. See Exhibit 12 for more

detailed map information.

       2763. The County confirmed its acceptance of the Stucki Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Stucki Road using public

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funds pursuant to the County’s governmental right and authority.

       2764. Witnesses with personal knowledge of the history of the Stucki Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2765. Currently known reputation in the community is that the Stucki Road has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2766. Public motor vehicle use of the Stucki Road as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2767. The Stucki Road traverses a valid and perfected R.S. 2477 public highway right-

of-way as described herein.

       2768. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Stucki Road.

       2769. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Stucki Road on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Warner Valley Road, 0418

       2770. The Warner Valley Road is designated as county road number 0418 and SGID

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road identification number RD279907 and is more or less 14.06 miles long.

       2771. Exhibit 213 (attached hereto and incorporated herein) contains certain information

pertaining to the Warner Valley Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2772. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Warner Valley Road solely as it crosses United States public land as included and

specifically described in Exhibit 213. The Warner Valley Road includes the segment of road

specifically set forth in Exhibit 213 and as exists on the ground.

Acceptance of the Warner Valley Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       2773. The Warner Valley Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       2774. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Warner Valley Road as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       2775. The Warner Valley Road appears on Washington Dome (1954) and The Divide

(1954) USGS 7.5-minute quadrangle maps and on the Hurricane (1954) USGS 15-minute map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       2776. The County confirmed its acceptance of the Warner Valley Road by 1976, when it

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partially designated and accepted the road as a County highway on the County’s general highway

map. See UTAH CODE ANN. § 72-3-103(4) (2009). The Warner Valley Road was accepted as a

County highway at least 10 years prior to October 21, 1976. The County further evidenced its

acceptance of its R.S. 2477 right-of-way by managing, maintaining, or improving the Warner

Valley Road using public funds pursuant to the County’s governmental right and authority.

        2777. Witnesses with personal knowledge of the history of the Warner Valley Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2778. Currently known reputation in the community is that the Warner Valley Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2779. Public motor vehicle use of the Warner Valley Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2780. The Warner Valley Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        2781. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Warner Valley Road.

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        2782. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Warner Valley Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Road Number 0420

        2783. The Road Number 0420 is designated as county road number 0420 and SGID

road identification number RD278907 and is more or less 1.66 miles long.

        2784. Exhibit 214 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0420 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        2785. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0420 solely as it crosses United States public land as included and

specifically described in Exhibit 214. The Road Number 0420 includes the segment of road

specifically set forth in Exhibit 214 and as exists on the ground.

Acceptance of the Road Number 0420 R.S. 2477 Right-of-way Prior to October 21, 1976.

        2786. The Road Number 0420 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        2787. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0420 as a public highway located on




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the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2788. The Road Number 0420 appears on Washington Dome (1954) and The Divide

(1954) USGS 7.5-minute quadrangle maps and on the Hurricane (1954) USGS 15-minute map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

        2789. The Road Number 0420 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0420 using public funds pursuant to

the County’s governmental right and authority.

        2790. Witnesses with personal knowledge of the history of the Road Number 0420

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2791. Currently known reputation in the community is that the Road Number 0420 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        2792. Public motor vehicle use of the Road Number 0420 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

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        2793. The Road Number 0420 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        2794. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0420.

        2795. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0420 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Washington Dome Road, 0293

        2796. The Washington Dome Road is designated as county road number 0293 and

SGID road identification number RD270293 and is more or less 3.76 miles long.

        2797. Exhibit 215 (attached hereto and incorporated herein) contains certain information

pertaining to the Washington Dome Road including: a map depicting the road; township, range

and section references describing the road’s physical location; a servient estate ownership list;

and a complete centerline description of the road.

        2798. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Washington Dome Road solely as it crosses United States public land as included

and specifically described in Exhibit 215. The Washington Dome Road includes the segment of

road specifically set forth in Exhibit 215 and as exists on the ground.




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Acceptance of the Washington Dome Road R.S. 2477 Right-of-way Prior to October 21,
1976.

        2799. The Washington Dome Road has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

        2800. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Washington Dome Road as a public highway located

on the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        2801. The Washington Dome Road appears on Washington Dome (1954) USGS 7.5-

minute quadrangle map and on the Hurricane (1954) USGS 15-minute map, which evidences the

existence, use, and acceptance of the right-of-way underlying this road. See Exhibit 12 for more

detailed map information.

        2802. The Washington Dome Road was accepted as a County highway at least 10 years

prior to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-

way by managing, maintaining, or improving the Washington Dome Road using public funds

pursuant to the County’s governmental right and authority.

        2803. Witnesses with personal knowledge of the history of the Washington Dome Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        2804. Currently known reputation in the community is that the Washington Dome Road

has been open for all to come and go, whenever convenient or necessary, for more than 10 years
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prior to October 21, 1976, and continuing to the present.

        2805. Public motor vehicle use of the Washington Dome Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        2806. The Washington Dome Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        2807. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Washington Dome Road.

        2808. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Washington Dome Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Road Number 0288

        2809. Road 0288 is designated as county road number 0288 and SGID road

identification number RD270288 and is more or less 1.75 miles long.

        2810. Exhibit 216 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0288 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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       2811. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0288 solely as it crosses United States public land as included and

specifically described in Exhibit 216. The Road 0288 includes the segment of road specifically

set forth in Exhibit 216 and as exists on the ground.

Acceptance of the Road 0288 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2812. The Road 0288 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2813. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0288 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2814. The Road 0288 appears on the Washington Dome (1954) USGS 7.5-minute

quadrangle map and on the Hurricane (1954) USGS 15-minute quadrangle map, which evidences

the existence, use, and acceptance of the right-of-way underlying this road. See Exhibit 12 for

more detailed map information.

       2815. The County confirmed its acceptance of the Road 0288 by 1976, when it partially

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The Road 0288 was accepted as a County highway

at least 10 years prior to October 21, 1976. The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Road 0288 pursuant to the

County’s governmental right and authority.

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       2816. Witnesses with personal knowledge of the history of the Road 0288 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2817. Currently known reputation in the community is that the Road 0288 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2818. Public motor vehicle use of the Road 0288 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2819. The Road 0288 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2820. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0288.

       2821. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0288 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0402

       2822. Road 0402 is designated as county road number 0402 and SGID road

identification number RD270402 and is more or less 6.34 miles long.

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       2823. Exhibit 217 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0402 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2824. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0402 solely as it crosses United States public land as included and

specifically described in Exhibit 217. The Road 0402 includes the segment of road specifically

set forth in Exhibit 217 and as exists on the ground.

Acceptance of the Road 0402 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2825. The Road 0402 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2826. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0402 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2827. The Road 0402 appears on the Hurricane (1954) and The Divide USGS 7.5-

minute quadrangle maps and on the Hurricane (1954) USGS 15-minute quadrangle map, which

evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       2828. The County confirmed its acceptance of the Road 0402 by 1976, when it partially

designated and accepted the road as a County highway on the County’s general highway map.

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See UTAH CODE ANN. § 72-3-103(4) (2009). The Road 0402 was accepted as a County highway

at least 10 years prior to October 21, 1976. The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Road 0402 pursuant to the

County’s governmental right and authority.

       2829. Witnesses with personal knowledge of the history of the Road 0402 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2830. Currently known reputation in the community is that the Road 0402 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2831. Public motor vehicle use of the Road 0402 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2832. The Road 0402 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2833. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0402.

       2834. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0402 on lands owned by the United States as described herein and

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including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0407

       2835. Road 0407 is designated as county road number 0407 and SGID road

identification number RD270407 and is more or less 6.26 miles long.

       2836. Exhibit 218 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0407 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2837. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0407 solely as it crosses United States public land as included and

specifically described in Exhibit 218. The Road 0407 includes the segment of road specifically

set forth in Exhibit 218 and as exists on the ground.

Acceptance of the Road 0407 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2838. The Road 0407 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2839. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0407 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2840. The Road 0407 appears on the Washington Dome (1954) and Harrisburg Junction

(1954) USGS 7.5-minute quadrangle map and on the Hurricane (1954) USGS 15-minute

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quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       2841. The County confirmed its acceptance of the Road 0407 by 1976, when it partially

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The 0407 Road was accepted as a County highway

at least 10 years prior to October 21, 1976. The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Road 0407 pursuant to the

County’s governmental right and authority.

       2842. Witnesses with personal knowledge of the history of the Road 0407 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2843. Currently known reputation in the community is that the Road 0407 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2844. Public motor vehicle use of the Road 0407 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2845. The Road 0407 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2846. Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0407.

       2847. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0407 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0409

       2848. Road 0409 is designated as county road number 0409 and SGID road

identification number RD270409 and is more or less 2.28 miles long.

       2849. Exhibit 219 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0409 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2850. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0409 solely as it crosses United States public land as included and

specifically described in Exhibit 219. The Road 0409 includes the segment of road specifically

set forth in Exhibit 219 and as exists on the ground.

Acceptance of the Road 0409 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2851. The Road 0409 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2852. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0409 as a public highway located on the land at

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issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2853. The Road 0409 appears on the Harrisburg Junction (1954) USGS 7.5-minute

quadrangle map and on the Hurricane (1954) USGS 15-minute quadrangle map, which evidences

the existence, use, and acceptance of the right-of-way underlying this road. See Exhibit 12 for

more detailed map information.

       2854. The County confirmed its acceptance of the Road 0409 by 1976, when it partially

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The 0409 Road was accepted as a County highway

at least 10 years prior to October 21, 1976. The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Road 0409 pursuant to the

County’s governmental right and authority.

       2855. Witnesses with personal knowledge of the history of the Road 0409 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2856. Currently known reputation in the community is that the Road 0409 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2857. Public motor vehicle use of the Road 0409 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

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highway right-of-way underlying this road.

           2858. The Road 0409 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

           2859. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0409.

           2860. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0409 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0419

           2861. Road 0419 is designated as county road number 0419 and SGID road

identification number RD270419 and is more or less 1.40 miles long.

           2862. Exhibit 2212 (attached hereto and incorporated herein) contains certain

information pertaining to the Road 0419 including: a map depicting the road; township, range

and section references describing the road’s physical location; a servient estate ownership list;

and a complete centerline description of the road.

           2863. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0419 solely as it crosses United States public land as included and

specifically described in Exhibit 221. The Road 0419 includes the segment of road specifically

set forth in Exhibit 221 and as exists on the ground.


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    Exibit 220 was intentionally omitted.
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Acceptance of the Road 0419 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2864. The Road 0419 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2865. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0419 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2866. The Road 0419 appears on the Washington Dome (1954) USGS 7.5-minute

quadrangle map and on the Hurricane (1954) USGS 15-minute quadrangle map, which evidences

the existence, use, and acceptance of the right-of-way underlying this road. See Exhibit 12 for

more detailed map information.

       2867. The Road 0419 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0419 pursuant to the County’s governmental

right and authority.

       2868. Witnesses with personal knowledge of the history of the Road 0419 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2869. Currently known reputation in the community is that the Road 0419 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

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       2870. Public motor vehicle use of the Road 0419 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2871. The Road 0419 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2872. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0419.

       2873. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0419 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0421

       2874. Road 0421 is designated as county road number 0421 and SGID road

identification number RD270421 and is more or less 5.21 miles long.

       2875. Exhibit 222 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0421 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2876. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0421 solely as it crosses United States public land as included and

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specifically described in Exhibit 222. The Road 0421 includes the segment of road specifically

set forth in Exhibit 222 and as exists on the ground.

Acceptance of the Road 0421 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2877. The Road 0421 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2878. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0421 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2879. The Road 0421 appears on The Divide (1954) USGS 7.5-minute quadrangle map

and on the Hurricane (1954) USGS 15-minute quadrangle map, which evidences the existence,

use, and acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed

map information.

       2880. The Road 0421 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0421 pursuant to the County’s governmental

right and authority.

       2881. Witnesses with personal knowledge of the history of the Road 0421 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2882. Currently known reputation in the community is that the Road 0421 has been

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open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2883. Public motor vehicle use of the Road 0421 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2884. The Road 0421 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2885. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0421.

       2886. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0421 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0475

       2887. Road 0475 is designated as county road number 0475 and SGID road

identification number RD270475 and is more or less 3.68 miles long.

       2888. Exhibit 223 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0475 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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       2889. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0475 solely as it crosses United States public land as included and

specifically described in Exhibit 223. The Road 0475 includes the segment of road specifically

set forth in Exhibit 223 and as exists on the ground.

Acceptance of the Road 0475 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2890. The Road 0475 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2891. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0475 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2892. The Road 0475 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0475 pursuant to the County’s governmental

right and authority.

       2893. Witnesses with personal knowledge of the history of the Road 0475 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2894. Currently known reputation in the community is that the Road 0475 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

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       2895. Public motor vehicle use of the Road 0475 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2896. The Road 0475 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2897. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0475.

       2898. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0475 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0485

       2899. Road 0485 is designated as county road number 0485 and SGID road

identification number RD270485 and is more or less 0.42 miles long.

       2900. Exhibit 224 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0485 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2901. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0485 solely as it crosses United States public land as included and

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specifically described in Exhibit 224. The Road 0485 includes the segment of road specifically

set forth in Exhibit 224 and as exists on the ground.

Acceptance of the Road 0485 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2902. The Road 0485 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2903. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0485 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2904. The Road 0485 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0485 pursuant to the County’s governmental

right and authority.

       2905. Witnesses with personal knowledge of the history of the Road 0485 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2906. Currently known reputation in the community is that the Road 0485 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2907. Public motor vehicle use of the Road 0485 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

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10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2908. The Road 0485 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2909. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0485.

       2910. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0485 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0486

       2911. Road 0486 is designated as county road number 0486 and SGID road

identification number RD270486 and is more or less 0.25 miles long.

       2912. Exhibit 225 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0486 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2913. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0486 solely as it crosses United States public land as included and

specifically described in Exhibit 225. The Road 0486 includes the segment of road specifically

set forth in Exhibit 225 and as exists on the ground.

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Acceptance of the Road 0486 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2914. The Road 0486 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2915. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0486 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2916. The Road 0486 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0486 pursuant to the County’s governmental

right and authority.

       2917. Witnesses with personal knowledge of the history of the Road 0486 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2918. Currently known reputation in the community is that the Road 0486 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2919. Public motor vehicle use of the Road 0486 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       2920. The Road 0486 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2921. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0486.

       2922. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0486 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0487

       2923. Road 0487 is designated as county road number 0487 and SGID road

identification number RD270487 and is more or less 2.41 miles long.

       2924. Exhibit 226 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0487 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2925. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0487 solely as it crosses United States public land as included and

specifically described in Exhibit 226. The Road 0487 includes the segment of road specifically

set forth in Exhibit 226 and as exists on the ground.




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Acceptance of the Road 0487 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2926. The Road 0487 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2927. The Road 0487 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0487 pursuant to the County’s governmental

right and authority.

       2928. Witnesses with personal knowledge of the history of the Road 0487 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2929. Currently known reputation in the community is that the Road 0487 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2930. Public motor vehicle use of the Road 0487 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2931. The Road 0487 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2932. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

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action to establish clear title to the right-of-way underlying the Road 0487.

       2933. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0487 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0496

       2934. Road 0496 is designated as county road number 0496 and SGID road

identification number RD270496 and is more or less 0.67 miles long.

       2935. Exhibit 227 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0496 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2936. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0496 solely as it crosses United States public land as included and

specifically described in Exhibit 227. The Road 0496 includes the segment of road specifically

set forth in Exhibit 227 and as exists on the ground.

Acceptance of the Road 0496 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2937. The Road 0496 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2938. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0496 as a public highway located on the land at




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issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2939. The Road 0496 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0496 pursuant to the County’s governmental

right and authority.

       2940. Witnesses with personal knowledge of the history of the Road 0496 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2941. Currently known reputation in the community is that the Road 0496 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2942. Public motor vehicle use of the Road 0496 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2943. The Road 0496 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2944. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0496.

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       2945. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0496 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0497

       2946. Road 0497 is designated as county road number 0497 and SGID road

identification number RD270497 and is more or less 0.92 miles long.

       2947. Exhibit 228 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0497 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2948. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0497 solely as it crosses United States public land as included and

specifically described in Exhibit 228. The Road 0497 includes the segment of road specifically

set forth in Exhibit 228 and as exists on the ground.

Acceptance of the Road 0497 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2949. The Road 0497 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2950. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0497 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

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       2951. The Road 0497 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0497 pursuant to the County’s governmental

right and authority.

       2952. Witnesses with personal knowledge of the history of the Road 0497 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2953. Currently known reputation in the community is that the Road 0497 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2954. Public motor vehicle use of the Road 0497 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2955. The Road 0497 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2956. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0497.

       2957. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0497 on lands owned by the United States as described herein and

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including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0498

       2958. Road 0498 is designated as county road number 0498 and SGID road

identification number RD270498 and is more or less 0.55 miles long.

       2959. Exhibit 229 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0498 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2960. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0498 solely as it crosses United States public land as included and

specifically described in Exhibit 229. The Road 0498 includes the segment of road specifically

set forth in Exhibit 229 and as exists on the ground.

Acceptance of the Road 0498 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2961. The Road 0498 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2962. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0498 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2963. The Road 0498 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

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managing, maintaining, or improving the Road 0498 pursuant to the County’s governmental

right and authority.

       2964. Witnesses with personal knowledge of the history of the Road 0498 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2965. Currently known reputation in the community is that the Road 0498 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2966. Public motor vehicle use of the Road 0498 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2967. The Road 0498 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2968. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0498.

       2969. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0498 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.




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Road Number 0501

       2970. Road 0501 is designated as county road number 0501 and SGID road

identification number RD270501 and is more or less 1.83 miles long.

       2971. Exhibit 230 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0501 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2972. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0501 solely as it crosses United States public land as included and

specifically described in Exhibit 230. The Road 0501 includes the segment of road specifically

set forth in Exhibit 230 and as exists on the ground.

Acceptance of the Road 0501 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2973. The Road 0501 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2974. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0501 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2975. The Road 0501 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0501 pursuant to the County’s governmental

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right and authority.

       2976. Witnesses with personal knowledge of the history of the Road 0501 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2977. Currently known reputation in the community is that the Road 0501 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2978. Public motor vehicle use of the Road 0501 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2979. The Road 0501 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2980. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0501.

       2981. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0501 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0502

       2982. Road 0502 is designated as county road number 0502 and SGID road

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identification number RD270502 and is more or less 0.10 miles long.

       2983. Exhibit 231 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0502 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2984. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0502 solely as it crosses United States public land as included and

specifically described in Exhibit 231. The Road 0502 includes the segment of road specifically

set forth in Exhibit 231 and as exists on the ground.

Acceptance of the Road 0502 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2985. The Road 0502 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2986. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0502 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2987. The Road 0502 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0502 pursuant to the County’s governmental

right and authority.

       2988. Witnesses with personal knowledge of the history of the Road 0502 confirm

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public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       2989. Currently known reputation in the community is that the Road 0502 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       2990. Public motor vehicle use of the Road 0502 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       2991. The Road 0502 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       2992. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0502.

       2993. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0502 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0503

       2994. Road 0503 is designated as county road number 0503 and SGID road

identification number RD270503 and is more or less 1.03 miles long.

       2995. Exhibit 232 (attached hereto and incorporated herein) contains certain information

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pertaining to the Road 0503 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       2996. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0503 solely as it crosses United States public land as included and

specifically described in Exhibit 232. The Road 0503 includes the segment of road specifically

set forth in Exhibit 232 and as exists on the ground.

Acceptance of the Road 0503 R.S. 2477 Right-of-way Prior to October 21, 1976.

       2997. The Road 0503 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       2998. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0503 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       2999. The Road 0503 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0503 pursuant to the County’s governmental

right and authority.

       3000. Witnesses with personal knowledge of the history of the Road 0503 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

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       3001. Currently known reputation in the community is that the Road 0503 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3002. Public motor vehicle use of the Road 0503 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3003. The Road 0503 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3004. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0503.

       3005. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0503 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0504

       3006. Road 0504 is designated as county road number 0504 and SGID road

identification number RD270504 and is more or less 0.65 miles long.

       3007. Exhibit 233 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0504 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

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complete centerline description of the road.

       3008. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0504 solely as it crosses United States public land as included and

specifically described in Exhibit 233. The Road 0504 includes the segment of road specifically

set forth in Exhibit 233 and as exists on the ground.

Acceptance of the Road 0504 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3009. The Road 0504 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3010. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0504 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3011. The Road 0504 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0504 pursuant to the County’s governmental

right and authority.

       3012. Witnesses with personal knowledge of the history of the Road 0504 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3013. Currently known reputation in the community is that the Road 0504 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

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October 21, 1976, and continuing to the present.

       3014. Public motor vehicle use of the Road 0504 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3015. The Road 0504 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3016. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0504.

       3017. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0504 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0507

       3018. Road 0507 is designated as county road number 0507 and SGID road

identification number RD271112 and is more or less 0.91 miles long.

       3019. Exhibit 234 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0507 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3020. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road 0507 solely as it crosses United States public land as included and

specifically described in Exhibit 234. The Road 0507 includes the segment of road specifically

set forth in Exhibit 234 and as exists on the ground.

Acceptance of the Road 0507 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3021. The Road 0507 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3022. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0507 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3023. The Road 0507 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0507 pursuant to the County’s governmental

right and authority.

       3024. Witnesses with personal knowledge of the history of the Road 0507 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3025. Currently known reputation in the community is that the Road 0507 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3026. Public motor vehicle use of the Road 0507 as a public thoroughfare traversing

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unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3027. The Road 0507 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3028. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0507.

       3029. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0507 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0514

       3030. Road 0514 is designated as county road number 0514 and SGID road

identification number RD270514 and is more or less 0.24 miles long.

       3031. Exhibit 235 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0514 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3032. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0514 solely as it crosses United States public land as included and

specifically described in Exhibit 235. The Road 0514 includes the segment of road specifically

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set forth in Exhibit 235 and as exists on the ground.

Acceptance of the Road 0514 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3033. The Road 0514 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3034. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0514 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3035. The 0514 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0514 pursuant to the County’s governmental

right and authority.

       3036. Witnesses with personal knowledge of the history of the Road 0514 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3037. Currently known reputation in the community is that the Road 0514 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3038. Public motor vehicle use of the Road 0514 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

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highway right-of-way underlying this road.

       3039. The Road 0514 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3040. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0514.

       3041. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0514 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0516

       3042. Road 0516 is designated as county road number 0516 and SGID road

identification number RD270516 and is more or less 0.08 miles long.

       3043. Exhibit 236 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0516 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3044. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0516 solely as it crosses United States public land as included and

specifically described in Exhibit 236. The Road 0516 includes the segment of road specifically

set forth in Exhibit 236 and as exists on the ground.




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Acceptance of the Road 0516 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3045. The Road 0516 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3046. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0516 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3047. The 0516 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0516 pursuant to the County’s governmental

right and authority.

       3048. Witnesses with personal knowledge of the history of the Road 0516 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3049. Currently known reputation in the community is that the Road 0516 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3050. Public motor vehicle use of the Road 0516 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3051. The Road 0516 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3052. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0516.

       3053. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0516 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0519

       3054. Road 0519 is designated as county road number 0519 and SGID road

identification number RD270519 and is more or less 0.82 miles long.

       3055. Exhibit 237 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0519 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3056. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0519 solely as it crosses United States public land as included and

specifically described in Exhibit 237. The Road 0519 includes the segment of road specifically

set forth in Exhibit 237 and as exists on the ground.




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Acceptance of the Road 0519 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3057. The Road 0519 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3058. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0519 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3059. The 0519 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0519 pursuant to the County’s governmental

right and authority.

       3060. Witnesses with personal knowledge of the history of the Road 0519 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3061. Currently known reputation in the community is that the Road 0519 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3062. Public motor vehicle use of the Road 0519 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3063. The Road 0519 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3064. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0519.

       3065. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0519 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0523

       3066. Road 0523 is designated as county road number 0523 and SGID road

identification number RD270523 and is more or less 3.12 miles long.

       3067. Exhibit 238 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0523 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3068. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0523 solely as it crosses United States public land as included and

specifically described in Exhibit 238. The Road 0523 includes the segment of road specifically

set forth in Exhibit 238 and as exists on the ground.




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Acceptance of the Road 0523 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3069. The Road 0523 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3070. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0523 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3071. The Road 0523 appears on the Goldstrike (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       3072. The 0523 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0523 pursuant to the County’s governmental

right and authority.

       3073. Witnesses with personal knowledge of the history of the Road 0523 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3074. Currently known reputation in the community is that the Road 0523 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3075. Public motor vehicle use of the Road 0523 as a public thoroughfare traversing

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unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3076. The Road 0523 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3077. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0523.

       3078. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0523 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0524

       3079. Road 0524 is designated as county road number 0524 and SGID road

identification number RD270524 and is more or less 1.60 miles long.

       3080. Exhibit 239 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0524 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3081. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0524 solely as it crosses United States public land as included and

specifically described in Exhibit 239. The Road 0524 includes the segment of road specifically

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set forth in Exhibit 239 and as exists on the ground.

Acceptance of the Road 0524 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3082. The Road 0524 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3083. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0524 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3084. A portion of the Road 0524 appears on the Washington Dome (1954) USGS 7.5-

minute quadrangle map and on the Hurricane (1954) USGS 15-minute quadrangle map, which

evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       3085. The County confirmed its acceptance of the Road 0524 by 1976, when it partially

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The Road 0524 was accepted as a County highway

at least 10 years prior to October 21, 1976. The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Road 0524 pursuant to the

County’s governmental right and authority.

       3086. Witnesses with personal knowledge of the history of the Road 0524 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

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       3087. Currently known reputation in the community is that the Road 0524 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3088. Public motor vehicle use of the Road 0524 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3089. The Road 0524 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3090. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0524.

       3091. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0524 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0527

       3092. Road 0527 is designated as county road number 0527 and SGID road

identification number RD270527 and is more or less 0.08 miles long.

       3093. Exhibit 240 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0527 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

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complete centerline description of the road.

       3094. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0527 solely as it crosses United States public land as included and

specifically described in Exhibit 240. The Road 0527 includes the segment of road specifically

set forth in Exhibit 240 and as exists on the ground.

Acceptance of the Road 0527 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3095. The Road 0527 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3096. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0527 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3097. The Road 0527 appears on the Washington Dome (1954) USGS 7.5-minute

quadrangle map and on the Hurricane (1954) USGS 15-minute quadrangle map, which evidences

the existence, use, and acceptance of the right-of-way underlying this road. See Exhibit 12 for

more detailed map information.

       3098. The County confirmed its acceptance of the Road 0527 by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Road 0527 pursuant to the

County’s governmental right and authority.

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       3099. Witnesses with personal knowledge of the history of the Road 0527 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3100. Currently known reputation in the community is that the Road 0527 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3101. Public motor vehicle use of the Road 0527 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3102. The Road 0527 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3103. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0527.

       3104. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0527 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0562

       3105. Road 0562 is designated as county road number 0562 and SGID road

identification number RD270562 and is more or less 0.20 miles long.

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       3106. Exhibit 241 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0562 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3107. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0562 solely as it crosses United States public land as included and

specifically described in Exhibit 241. The Road 0562 includes the segment of road specifically

set forth in Exhibit 241 and as exists on the ground.

Acceptance of the Road 0562 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3108. The Road 0562 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3109. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0562 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3110. The 0562 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0562 pursuant to the County’s governmental

right and authority.

       3111. Witnesses with personal knowledge of the history of the Road 0562 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

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basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3112. Currently known reputation in the community is that the Road 0562 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3113. Public motor vehicle use of the Road 0562 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3114. The Road 0562 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3115. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0562.

       3116. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0562 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0564

       3117. Road 0564 is designated as county road number 0564 and SGID road

identification number RD270564 and is more or less 1.26 miles long.

       3118. Exhibit 242 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0564 including: a map depicting the road; township, range and section

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references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3119. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0564 solely as it crosses United States public land as included and

specifically described in Exhibit 242. The Road 0564 includes the segment of road specifically

set forth in Exhibit 242 and as exists on the ground.

Acceptance of the Road 0564 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3120. The Road 0564 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3121. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0564 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3122. The 0564 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0564 pursuant to the County’s governmental

right and authority.

       3123. Witnesses with personal knowledge of the history of the Road 0564 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3124. Currently known reputation in the community is that the Road 0564 has been

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open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3125. Public motor vehicle use of the Road 0564 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3126. The Road 0564 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3127. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0564.

       3128. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0564 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0565

       3129. Road 0565 is designated as county road number 0565 and SGID road

identification number RD270565 and is more or less 0.37 miles long.

       3130. Exhibit 243 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0565 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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       3131. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0565 solely as it crosses United States public land as included and

specifically described in Exhibit 243. The Road 0565 includes the segment of road specifically

set forth in Exhibit 243 and as exists on the ground.

Acceptance of the Road 0565 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3132. The Road 0565 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3133. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0565 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3134. The 0565 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0565 pursuant to the County’s governmental

right and authority.

       3135. Witnesses with personal knowledge of the history of the Road 0565 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3136. Currently known reputation in the community is that the Road 0565 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

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       3137. Public motor vehicle use of the Road 0565 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3138. The Road 0565 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3139. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0565.

       3140. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0565 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0567

       3141. Road 0567 is designated as county road number 0567 and SGID road

identification number RD270567 and is more or less 1.53 miles long.

       3142. Exhibit 244 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0567 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3143. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0567 solely as it crosses United States public land as included and

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specifically described in Exhibit 244. The Road 0567 includes the segment of road specifically

set forth in Exhibit 244 and as exists on the ground.

Acceptance of the Road 0567 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3144. The Road 0567 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3145. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0567 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3146. The 0567 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0567 pursuant to the County’s governmental

right and authority.

       3147. Witnesses with personal knowledge of the history of the Road 0567 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3148. Currently known reputation in the community is that the Road 0567 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3149. Public motor vehicle use of the Road 0567 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

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10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3150. The Road 0567 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3151. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0567.

       3152. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0567 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0568

       3153. Road 0568 is designated as county road number 0568 and SGID road

identification number RD270568 and is more or less 0.32 miles long.

       3154. Exhibit 245 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0568 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3155. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0568 solely as it crosses United States public land as included and

specifically described in Exhibit 245. The Road 0568 includes the segment of road specifically

set forth in Exhibit 245 and as exists on the ground.

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Acceptance of the Road 0568 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3156. The Road 0568 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3157. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0568 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3158. The 0568 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0568 pursuant to the County’s governmental

right and authority.

       3159. Witnesses with personal knowledge of the history of the Road 0568 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3160. Currently known reputation in the community is that the Road 0568 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3161. Public motor vehicle use of the Road 0568 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3162. The Road 0568 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3163. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0568.

       3164. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0568 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0571

       3165. Road 0571 is designated as county road number 0571 and SGID road

identification number RD270571 and is more or less 0.66 miles long.

       3166. Exhibit 246 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0571 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3167. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0571 solely as it crosses United States public land as included and

specifically described in Exhibit 246. The Road 0571 includes the segment of road specifically

set forth in Exhibit 246 and as exists on the ground.




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Acceptance of the Road 0571 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3168. The Road 0571 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3169. The 0571 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0571 pursuant to the County’s governmental

right and authority.

       3170. Witnesses with personal knowledge of the history of the Road 0571 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3171. Currently known reputation in the community is that the Road 0571 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3172. Public motor vehicle use of the Road 0571 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3173. The Road 0571 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3174. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

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action to establish clear title to the right-of-way underlying the Road 0571.

       3175. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0571 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0577

       3176. Road 0577 is designated as county road number 0577 and SGID road

identification number RD270577 and is more or less 1.63 miles long.

       3177. Exhibit 247 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0577 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3178. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0577 solely as it crosses United States public land as included and

specifically described in Exhibit 247. The Road 0577 includes the segment of road specifically

set forth in Exhibit 247 and as exists on the ground.

Acceptance of the Road 0577 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3179. The Road 0577 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3180. The 0577 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0577 pursuant to the County’s governmental

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right and authority.

       3181. Witnesses with personal knowledge of the history of the Road 0577 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3182. Currently known reputation in the community is that the Road 0577 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3183. Public motor vehicle use of the Road 0577 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3184. The Road 0577 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3185. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0577.

       3186. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0577 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0580

       3187. Road 0580 is designated as county road number 0580 and SGID road

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identification number RD270580 and is more or less 1.05 miles long.

       3188. Exhibit 248 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0580 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3189. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0580 solely as it crosses United States public land as included and

specifically described in Exhibit 248. The Road 0580 includes the segment of road specifically

set forth in Exhibit 248 and as exists on the ground.

Acceptance of the Road 0580 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3190. The Road 0580 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3191. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0580 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3192. The 0580 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0580 pursuant to the County’s governmental

right and authority.

       3193. Witnesses with personal knowledge of the history of the Road 0580 confirm

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public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3194. Currently known reputation in the community is that the Road 0580 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3195. Public motor vehicle use of the Road 0580 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3196. The Road 0580 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3197. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0580.

       3198. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0580 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0586

       3199. Road 0586 is designated as county road number 0586 and SGID road

identification number RD270586 and is more or less 3.30 miles long.

       3200. Exhibit 249 (attached hereto and incorporated herein) contains certain information

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pertaining to the Road 0586 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3201. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0586 solely as it crosses United States public land as included and

specifically described in Exhibit 249. The Road 0586 includes the segment of road specifically

set forth in Exhibit 249 and as exists on the ground.

Acceptance of the Road 0586 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3202. The Road 0586 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3203. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0586 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3204. The County confirmed its acceptance of the Road 0586 by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Road 0586 pursuant to the

County’s governmental right and authority.

       3205. Witnesses with personal knowledge of the history of the Road 0586 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

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basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3206. Currently known reputation in the community is that the Road 0586 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3207. Public motor vehicle use of the Road 0586 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3208. The Road 0586 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3209. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0586.

       3210. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0586 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 7950

       3211. Road 7950 is designated as county road number 7950 and SGID road

identification number RD270488 and is more or less 0.99 miles long.

       3212. Exhibit 250 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 7950 including: a map depicting the road; township, range and section

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references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3213. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 7950 solely as it crosses United States public land as included and

specifically described in Exhibit 250. The Road 7950 includes the segment of road specifically

set forth in Exhibit 250 and as exists on the ground.

Acceptance of the Road 7950 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3214. The Road 7950 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3215. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 7950 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3216. The Road 7950 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 7950 pursuant to the County’s governmental

right and authority.

       3217. Witnesses with personal knowledge of the history of the Road 7950 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3218. Currently known reputation in the community is that the Road 7950 has been

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open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3219. Public motor vehicle use of the Road 7950 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3220. The Road 7950 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3221. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 7950.

       3222. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 7950 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 7952

       3223. Road 7952 is designated as county road number 7952 and SGID road

identification number RD277952 and is more or less 0.47 miles long.

       3224. Exhibit 251 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 7952 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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       3225. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 7952 solely as it crosses United States public land as included and

specifically described in Exhibit 251. The Road 7952 includes the segment of road specifically

set forth in Exhibit 251 and as exists on the ground.

Acceptance of the Road 7952 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3226. The Road 7952 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3227. The 7952 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 7952 pursuant to the County’s governmental

right and authority.

       3228. Witnesses with personal knowledge of the history of the Road 7952 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3229. Currently known reputation in the community is that the Road 7952 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3230. Public motor vehicle use of the Road 7952 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3231. The Road 7952 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3232. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 7952.

       3233. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 7952 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 7969

       3234. Road 7969 is designated as county road number 7969 and SGID road

identification number RD277969 and is more or less 2.63 miles long.

       3235. Exhibit 252 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 7969 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3236. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 7969 solely as it crosses United States public land as included and

specifically described in Exhibit 252. The Road 7969 includes the segment of road specifically

set forth in Exhibit 252 and as exists on the ground.




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Acceptance of the Road 7969 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3237. The Road 7969 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3238. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 7969 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3239. The 7969 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 7969 pursuant to the County’s governmental

right and authority.

       3240. Witnesses with personal knowledge of the history of the Road 7969 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3241. Currently known reputation in the community is that the Road 7969 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3242. Public motor vehicle use of the Road 7969 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3243. The Road 7969 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3244. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 7969.

       3245. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 7969 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Dinosaur Tracks Road, 0476

       3246. The Dinosaur Tracks Road is designated as county road number 0476 and SGID

road identification number RD270476 and is more or less 0.99 miles long.

       3247. Exhibit 253 (attached hereto and incorporated herein) contains certain information

pertaining to the Dinosaur Tracks Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3248. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Dinosaur Tracks Road solely as it crosses United States public land as included

and specifically described in Exhibit 253. The Dinosaur Tracks Road includes the segment of

road specifically set forth in Exhibit 253 and as exists on the ground.




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Acceptance of the Dinosaur Tracks Road R.S. 2477 Right-of-way Prior to October 21,
1976.

        3249. The Dinosaur Tracks Road has long served as a public highway providing access

to and across public land. This road serves the public’s transportation needs.

        3250. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Dinosaur Tracks Road as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        3251. The Dinosaur Tracks Road appears on The Divide (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        3252. The County confirmed its acceptance of the Dinosaur Tracks Road by 1976, when

it designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Dinosaur Tracks Road

pursuant to the County’s governmental right and authority.

        3253. Witnesses with personal knowledge of the history of the Dinosaur Tracks Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        3254. Currently known reputation in the community is that the Dinosaur Tracks Road

has been open for all to come and go, whenever convenient or necessary, for more than 10 years
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prior to October 21, 1976, and continuing to the present.

        3255. Public motor vehicle use of the Dinosaur Tracks Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        3256. The Dinosaur Tracks Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        3257. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Dinosaur Tracks Road.

        3258. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Dinosaur Tracks Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

                      SEVENTH CAUSE OF ACTION – QUIET TITLE
                            HONEYMOON TRAIL AREA

        3259. Plaintiffs re-allege and incorporate herein each of the foregoing paragraphs.

        3260. The Honeymoon Trail Area is located in southwestern Washington County in the

southwestern region of Utah.

        3261. The Honeymoon Trail Area includes the following roads—listed by Common

Road Name (if applicable) and County Unique Number: (1) Antelope Road, 0423; (2) Gould

Wash Road, 0460; (3) Honeymoon Trail, 0425; (4) Little Creek Mountain Road, 0669; (5) Old
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Highway 59, 0776; (6) Road Number 0426; (7) Road Number 0427; (8) Road Number 0461; (9)

Road Number 0462; (10) Road Number 0463; (11) Road Number 0464; (12) Road Number

0479; (13) Road Number 0480; (14) Road Number 0481; (15) Road Number 0482; (16) Road

Number 0483; (17) Road Number 0490; (18) Road Number 0491; (19) Road Number 0492; (20)

Road Number 0493; (21) Road Number 0494; (22) Road Number 0499; (23) Road Number

0500; (24) Road Number 0660; (25) Road Number 0667; (26) Road Number 0668; (27) Road

Number 0671; (28) Road Number 0674; (29) Road Number 0675; (30) Road Number 0676; (31)

Road Number 0677; (32) Road Number 0678; (33) Road Number 0778; (34) Road Number

0779; (35) Road Number 0780; (36) Road Number 0783; (37) Road Number 7975; (38) Road

Number 7976; (39) Road Number 7977; (40) Road Number 9885; (41) Road Number 9919; (42)

Road Number 0425D; (43) Rockville 01 Road, 1024; (44) Rockville 02 Road, 1025; (45)

Rockville 03 Road, 1027.

       3262. Each right-of-way claimed in the Honeymoon Trail Area was used by the general

public who engaged in one or more of the following activities: cattle ranching, sheep herding,

prospecting for minerals, rock hounding, mining, oil and gas exploration, wood gathering,

cutting wood, collecting pine nuts or berries, recreation, hunting, trapping, government access,

traveling in and through the area, or any other legitimate purpose.

       3263. All rights-of-way claimed in the Honeymoon Trail Area are sufficient in scope for

general motor vehicle travel and include that which is reasonable and necessary to meet the

exigencies of motor vehicle travel according to safe engineering practices that protect the public

and the road and also prevent undue degradation of the adjacent land.

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          3264. All rights-of-way claimed in the Honeymoon Trail Area include a minimum right-

of-way width of 66 feet or greater width as determined at trial, along with cuts, fills, slopes,

water bars, and such features and facilities as have historically been acknowledged by the DOI

and under law as being reasonable and necessary for the use, benefit, and enjoyment of public

highway rights-of-way. See, e.g., UTAH CODE ANN. § 72-5-302(4)(b) (2003).

          3265. Prior to October 21, 1976, the State of Utah, Washington County, and the public

through continuous use accepted the congressional grant of an R.S. 2477 right-of-way for the

entire length and course of all roads as described herein, on public lands owned by the United

States.

Antelope Road, 0423

          3266. The Antelope Road is designated as county road number 0423 and SGID road

identification number RD270423 and is more or less 9.05 miles long. The Antelope Road has

also been known and referred to as the Branham Ranch Road.

          3267. Exhibit 254 (attached hereto and incorporated herein) contains certain information

pertaining to the Antelope Road including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

          3268. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Antelope Road solely as it crosses United States public land as included and

specifically described in Exhibit 254. The Antelope Road includes the segment of road

specifically set forth in Exhibit 254 and as exists on the ground.

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Acceptance of the Antelope Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       3269. The Antelope Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3270. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Antelope Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       3271. The Antelope Road appears on The Divide (1954) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       3272. The County confirmed its acceptance of the Antelope Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Antelope Road using public

funds pursuant to the County’s governmental right and authority.

       3273. Witnesses with personal knowledge of the history of the Antelope Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3274. Currently known reputation in the community is that the Antelope Road has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

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       3275. Public motor vehicle use of the Antelope Road as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3276. The Antelope Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

       3277. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Antelope Road.

       3278. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Antelope Road on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Gould Wash Road, 0460

       3279. The Gould Wash Road is designated as county road number 0460 and SGID road

identification number RD270460 and is more or less 10.8 miles long.

       3280. Exhibit 255 (attached hereto and incorporated herein) contains certain information

pertaining to the Gould Wash Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3281. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Gould Wash Road solely as it crosses United States public land as included and

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specifically described in Exhibit 255. The Gould Wash Road includes the segment of road

specifically set forth in Exhibit 255 and as exists on the ground.

Acceptance of the Gould Wash Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       3282. The Gould Wash Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       3283. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Gould Wash Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       3284. The Gould Wash Road appears on the Hurricane (1954) USGS 7.5-minute

quadrangle map and the Hurricane (1954) USGS 15-minute quadrangle map, which evidences

the existence, use, and acceptance of the right-of-way underlying this road. See Exhibit 12 for

more detailed map information.

       3285. The County confirmed its acceptance of the Gould Wash Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Gould Wash Road using

public funds pursuant to the County’s governmental right and authority.

       3286. Witnesses with personal knowledge of the history of the Gould Wash Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

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1976.

        3287. Currently known reputation in the community is that the Gould Wash Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        3288. Public motor vehicle use of the Gould Wash Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        3289. The Gould Wash Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        3290. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Gould Wash Road.

        3291. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Gould Wash Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Honeymoon Trail, 0425

        3292. The Honeymoon Trail is designated as county road number 0425 and SGID road

identification number RD270425 and is more or less 6.0 miles long.

        3293. Exhibit 256 (attached hereto and incorporated herein) contains certain information

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pertaining to the Honeymoon Trail including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3294. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Honeymoon Trail solely as it crosses United States public land as included and

specifically described in Exhibit 256. The Honeymoon Trail includes the segment of road

specifically set forth in Exhibit 256 and as exists on the ground.

Acceptance of the Honeymoon Trail R.S. 2477 Right-of-way Prior to October 21, 1976.

       3295. The Honeymoon Trail has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       3296. Aerial photography from 1976 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Honeymoon Trail as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       3297. The Honeymoon Trail appears on the Hurricane (1954) USGS 7.5-minute

quadrangle map and the Hurricane (1954) USGS 15-minute quadrangle map, which evidences

the existence, use, and acceptance of the right-of-way underlying this road. See Exhibit 12 for

more detailed map information.

       3298. The 0071 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Honeymoon Trail using public funds pursuant to the

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County’s governmental right and authority.

        3299. Witnesses with personal knowledge of the history of the Honeymoon Trail

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        3300. Currently known reputation in the community is that the Honeymoon Trail has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        3301. Public motor vehicle use of the Honeymoon Trail as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        3302. The Honeymoon Trail traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        3303. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Honeymoon Trail.

        3304. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Honeymoon Trail on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

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Little Creek Mountain Road, 0669

        3305. The Little Creek Mountain Road is designated as county road number 0669 and

SGID road identification number RD270669 and is more or less 13.3 miles long.

        3306. Exhibit 257 (attached hereto and incorporated herein) contains certain information

pertaining to the Little Creek Mountain Road, including: a map depicting the road; township,

range and section references describing the road’s physical location; a servient estate ownership

list; and a complete centerline description of the road.

        3307. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Little Creek Mountain Road solely as it crosses United States public land as

included and specifically described in Exhibit 257. The Little Creek Mountain Road 669

includes the segment of road specifically set forth in Exhibit 257 and as exists on the ground.

Acceptance of the Little Creek Mountain Road R.S. 2477 Right-of-way Prior to October 21,
1976.

        3308. The Little Creek Mountain Road has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

        3309. Aerial photography from 1978 and 1984, or earlier, confirms the historical use,

existence, and acceptance of the right-of-way for the Little Creek Mountain Road as a public

highway located on the land at issue in this case and following the course described herein.

More recent aerial photography continues to show the road as it existed prior to October 21,

1976.

        3310. The Little Creek Mountain Road appears on the Little Creek Mountain (1954) and

Smithsonian Butte (1954) USGS 7.5-minute quadrangle maps, which evidences the existence,
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use, and acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed

map information.

        3311. The Little Creek Mountain Road was accepted as a County highway at least 10

years prior to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477

right-of-way by managing, maintaining, or improving the Little Creek Mountain Road using

public funds pursuant to the County’s governmental right and authority.

        3312. Witnesses with personal knowledge of the history of the Little Creek Mountain

Road confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        3313. Currently known reputation in the community is that the Little Creek Mountain

Road has been open for all to come and go, whenever convenient or necessary, for more than 10

years prior to October 21, 1976, and continuing to the present.

        3314. Public motor vehicle use of the Little Creek Mountain Road as a public

thoroughfare traversing unreserved public lands on a continuous basis, whenever convenient or

necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of

an R.S. 2477 public highway right-of-way underlying this road.

        3315. The Little Creek Mountain Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        3316. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

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action to establish clear title to the right-of-way underlying the Little Creek Mountain Road.

       3317. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Little Creek Mountain Road on lands owned by the United States as

described herein and including that which is reasonable and necessary for the use, benefit, and

enjoyment of this road.

Old Highway 59, 0776

       3318. The Old Highway 59 is designated as county road number 0776 and SGID road

identification number RD270776 and is more or less 7.58 miles long.

       3319. Exhibit 258 (attached hereto and incorporated herein) contains certain information

pertaining to the Old Highway 59 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3320. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Old Highway 59 solely as it crosses United States public land as included and

specifically described in Exhibit 258. The Old Highway 59 includes the segment of road

specifically set forth in Exhibit 258 and as exists on the ground.

Acceptance of the Old Highway 59 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3321. The Old Highway 59 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3322. Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Old Highway 59 as a public highway located on the

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land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       3323. The Old Highway 59 appears on the Smithsonian Butte (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       3324. The County confirmed its acceptance of the Gould Wash Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County evidenced its acceptance of its R.S.

2477 right-of-way by managing, maintaining, or improving the Old Highway 59 using public

funds pursuant to the County’s governmental right and authority.

       3325. Witnesses with personal knowledge of the history of the Old Highway 59 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3326. Currently known reputation in the community is that the Old Highway 59 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

       3327. Public motor vehicle use of the Old Highway 59 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

       3328. The Old Highway 59 traverses a valid and perfected R.S. 2477 public highway

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right-of-way as described herein.

        3329. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Old Highway 59.

        3330. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Old Highway 59 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0426

        3331. Road 0426 is designated as county road number 0426 and SGID road

identification number RD270426 and is more or less 2.81 miles long.

        3332. Exhibit 259 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0426 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        3333. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0426 solely as it crosses United States public land as included and

specifically described in Exhibit 259. The Road 0426 includes the segment of road specifically

set forth in Exhibit 259 and as exists on the ground.




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Acceptance of the Road 0426 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3334. The Road 0426 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3335. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0426 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3336. The Road 0426 appears on the Divide (1954) USGS 7.5-minute quadrangle map

and the Divide (1954) USGS 15-minute quadrangle map, which evidences the existence, use, and

acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

information.

       3337. The 0426 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0426 pursuant to the County’s governmental

right and authority.

       3338. Witnesses with personal knowledge of the history of the Road 0426 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3339. Currently known reputation in the community is that the Road 0426 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

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       3340. Public motor vehicle use of the Road 0426 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3341. The Road 0426 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3342. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0426.

       3343. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0426 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0427

       3344. Road 0427 is designated as county road number 0427 and SGID road

identification number RD270427 and is more or less .67 miles long.

       3345. Exhibit 260 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0427 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3346. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0427 solely as it crosses United States public land as included and

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specifically described in Exhibit 260. The Road 0427 includes the segment of road specifically

set forth in Exhibit 260 and as exists on the ground.

Acceptance of the Road 0427 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3347. The Road 0427 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3348. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0427 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3349. The 0427 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0427 pursuant to the County’s governmental

right and authority.

       3350. Witnesses with personal knowledge of the history of the Road 0427 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3351. Currently known reputation in the community is that the Road 0427 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3352. Public motor vehicle use of the Road 0427 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

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10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3353. The Road 0427 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3354. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0427.

       3355. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0427 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0461

       3356. Road 0461 is designated as county road number 0461 and SGID road

identification number RD270461 and is more or less 2.87 miles long.

       3357. Exhibit 261 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0461 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3358. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0461 solely as it crosses United States public land as included and

specifically described in Exhibit 261. The Road 0461 includes the segment of road specifically

set forth in Exhibit 261 and as exists on the ground.

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Acceptance of the Road 0461 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3359. The Road 0461 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3360. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0461 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3361. The 0461 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0461 pursuant to the County’s governmental

right and authority.

       3362. Witnesses with personal knowledge of the history of the Road 0461 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3363. Currently known reputation in the community is that the Road 0461 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3364. Public motor vehicle use of the Road 0461 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3365. The Road 0461 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3366. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0461.

       3367. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0461 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0462

       3368. Road 0462 is designated as county road number 0462 and SGID road

identification number RD270462 and is more or less .84 miles long.

       3369. Exhibit 262 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0462 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3370. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0462 solely as it crosses United States public land as included and

specifically described in Exhibit 262. The Road 0462 includes the segment of road specifically

set forth in Exhibit 262 and as exists on the ground.




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Acceptance of the Road 0462 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3371. The Road 0462 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3372. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0462 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3373. The 0462 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0462 pursuant to the County’s governmental

right and authority.

       3374. Witnesses with personal knowledge of the history of the Road 0462 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3375. Currently known reputation in the community is that the Road 0462 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3376. Public motor vehicle use of the Road 0462 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3377. The Road 0462 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3378. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0462.

       3379. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0462 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0463

       3380. Road 0463 is designated as county road number 0463 and SGID road

identification number RD270463 and is more or less .53 miles long.

       3381. Exhibit 263 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0463 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3382. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0463 solely as it crosses United States public land as included and

specifically described in Exhibit 263. The Road 0463 includes the segment of road specifically

set forth in Exhibit 263 and as exists on the ground.




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Acceptance of the Road 0463 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3383. The Road 0463 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3384. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0463 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3385. The 0463 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0463 pursuant to the County’s governmental

right and authority.

       3386. Witnesses with personal knowledge of the history of the Road 0463 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3387. Currently known reputation in the community is that the Road 0463 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3388. Public motor vehicle use of the Road 0463 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3389. The Road 0463 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3390. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0463.

       3391. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0463 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0464

       3392. Road 0464 is designated as county road number 0464 and SGID road

identification number RD270464 and is more or less .42 miles long.

       3393. Exhibit 264 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0464 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3394. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0464 solely as it crosses United States public land as included and

specifically described in Exhibit 264. The Road 0464 includes the segment of road specifically

set forth in Exhibit 264 and as exists on the ground.




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Acceptance of the Road 0464 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3395. The Road 0464 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3396. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0464 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3397. The 0464 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0464 pursuant to the County’s governmental

right and authority.

       3398. Witnesses with personal knowledge of the history of the Road 0464 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3399. Currently known reputation in the community is that the Road 0464 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3400. Public motor vehicle use of the Road 0464 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3401. The Road 0464 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3402. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0464.

       3403. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0464 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0479

       3404. Road 0479 is designated as county road number 0479 and SGID road

identification number RD270479 and is more or less 6.45 miles long.

       3405. Exhibit 265 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0479 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3406. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0479 solely as it crosses United States public land as included and

specifically described in Exhibit 265. The Road 0479 includes the segment of road specifically

set forth in Exhibit 265 and as exists on the ground.




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Acceptance of the Road 0479 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3407. The Road 0479 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3408. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0479 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3409. The 0479 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0479 pursuant to the County’s governmental

right and authority.

       3410. Witnesses with personal knowledge of the history of the Road 0479 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3411. Currently known reputation in the community is that the Road 0479 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3412. Public motor vehicle use of the Road 0479 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3413. The Road 0479 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3414. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0479.

       3415. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0479 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0480

       3416. Road 0480 is designated as county road number 0480 and SGID road

identification number RD270480 and is more or less 2.77 miles long.

       3417. Exhibit 266 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0480 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3418. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0480 solely as it crosses United States public land as included and

specifically described in Exhibit 266. The Road 0480 includes the segment of road specifically

set forth in Exhibit 266 and as exists on the ground.




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Acceptance of the Road 0480 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3419. The Road 0480 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3420. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0480 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3421. The Road 0480 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0480 pursuant to the County’s governmental

right and authority.

       3422. Witnesses with personal knowledge of the history of the Road 0480 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3423. Currently known reputation in the community is that the Road 0480 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3424. Public motor vehicle use of the Road 0480 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3425. The Road 0480 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3426. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0480.

       3427. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0480 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0481

       3428. Road 0481 is designated as county road number 0481 and SGID road

identification number RD270481 and is more or less 1.87 miles long.

       3429. Exhibit 267 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0481 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3430. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0481 solely as it crosses United States public land as included and

specifically described in Exhibit 267. The Road 0481 includes the segment of road specifically

set forth in Exhibit 267 and as exists on the ground.




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Acceptance of the Road 0481 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3431. The Road 0481 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3432. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0481 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3433. The Road 0481was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0481 pursuant to the County’s governmental

right and authority.

       3434. Witnesses with personal knowledge of the history of the Road 0481 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3435. Currently known reputation in the community is that the Road 0481 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3436. Public motor vehicle use of the Road 0481 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3437. The Road 0481 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3438. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0481.

       3439. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0481 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0482

       3440. Road 0482 is designated as county road number 0482 and SGID road

identification number RD270482 and is more or less 1.68 miles long.

       3441. Exhibit 268 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0482 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3442. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0482 solely as it crosses United States public land as included and

specifically described in Exhibit 268. The Road 0482 includes the segment of road specifically

set forth in Exhibit 268 and as exists on the ground.




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Acceptance of the Road 0482 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3443. The Road 0482 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3444. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0482 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3445. The Road 0482was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0482 pursuant to the County’s governmental

right and authority.

       3446. Witnesses with personal knowledge of the history of the Road 0482 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3447. Currently known reputation in the community is that the Road 0482 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3448. Public motor vehicle use of the Road 0482 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3449. The Road 0482 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3450. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0482.

       3451. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0482 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0483

       3452. Road 0483 is designated as county road number 0483 and SGID road

identification number RD270483 and is more or less .32 miles long.

       3453. Exhibit 269 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0483 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3454. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0483 solely as it crosses United States public land as included and

specifically described in Exhibit 269. The Road 0483 includes the segment of road specifically

set forth in Exhibit 269 and as exists on the ground.




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Acceptance of the Road 0483 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3455. The Road 0483 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3456. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0483 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3457. The Road 0483 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0483 pursuant to the County’s governmental

right and authority.

       3458. Witnesses with personal knowledge of the history of the Road 0483 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3459. Currently known reputation in the community is that the Road 0483 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3460. Public motor vehicle use of the Road 0483 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3461. The Road 0483 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3462. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0483.

       3463. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0483 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0490

       3464. Road 0490 is designated as county road number 0490 and SGID road

identification number RD270490 and is more or less 1.71 miles long.

       3465. Exhibit 270 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0490 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3466. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0490 solely as it crosses United States public land as included and

specifically described in Exhibit 270. The Road 0490 includes the segment of road specifically

set forth in Exhibit 270 and as exists on the ground.




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Acceptance of the Road 0490 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3467. The Road 0490 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3468. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0490 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3469. The Road 0490 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0490 pursuant to the County’s governmental

right and authority.

       3470. Witnesses with personal knowledge of the history of the Road 0490 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3471. Currently known reputation in the community is that the Road 0490 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3472. Public motor vehicle use of the Road 0490 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3473. The Road 0490 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3474. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0490.

       3475. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0490 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0491

       3476. Road 0491 is designated as county road number 0491 and SGID road

identification number RD270491 and is more or less 1.92 miles long.

       3477. Exhibit 271 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0491 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3478. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0491 solely as it crosses United States public land as included and

specifically described in Exhibit 271. The Road 0491 includes the segment of road specifically

set forth in Exhibit 271 and as exists on the ground.




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Acceptance of the Road 0491 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3479. The Road 0491 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3480. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0491 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3481. The Road 0491 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0491 pursuant to the County’s governmental

right and authority.

       3482. Witnesses with personal knowledge of the history of the Road 0491 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3483. Currently known reputation in the community is that the Road 0491 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3484. Public motor vehicle use of the Road 0491 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3485. The Road 0491 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3486. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0491.

       3487. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0491 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0492

       3488. Road 0492 is designated as county road number 0492 and SGID road

identification number RD270492 and is more or less .13 miles long.

       3489. Exhibit 272 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0492 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3490. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0492 solely as it crosses United States public land as included and

specifically described in Exhibit 272. The Road 0492 includes the segment of road specifically

set forth in Exhibit 272 and as exists on the ground.




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Acceptance of the Road 0492 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3491. The Road 0492 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3492. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0492 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3493. The Road 0492 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0492 pursuant to the County’s governmental

right and authority.

       3494. Witnesses with personal knowledge of the history of the Road 0492 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3495. Currently known reputation in the community is that the Road 0492 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3496. Public motor vehicle use of the Road 0492 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3497. The Road 0492 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3498. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0492.

       3499. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0492 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0493

       3500. Road 0493 is designated as county road number 0493 and SGID road

identification number RD270493 and is more or less .86 miles long.

       3501. Exhibit 273 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0493 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3502. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0493 solely as it crosses United States public land as included and

specifically described in Exhibit 273. The Road 0493 includes the segment of road specifically

set forth in Exhibit 273 and as exists on the ground.




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Acceptance of the Road 0493 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3503. The Road 0493 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3504. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0493 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3505. The Road 0493 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0493 pursuant to the County’s governmental

right and authority.

       3506. Witnesses with personal knowledge of the history of the Road 0493 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3507. Currently known reputation in the community is that the Road 0493 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3508. Public motor vehicle use of the Road 0493 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3509. The Road 0493 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3510. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0493.

       3511. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0493 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0494

       3512. Road 0494 is designated as county road number 0494 and SGID road

identification number RD270494 and is more or less .22 miles long.

       3513. Exhibit 274 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0494 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3514. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0494 solely as it crosses United States public land as included and

specifically described in Exhibit 274. The Road 0494 includes the segment of road specifically

set forth in Exhibit 274 and as exists on the ground.




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Acceptance of the Road 0494 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3515. The Road 0494 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3516. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0494 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3517. The Road 0494 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0494 pursuant to the County’s governmental

right and authority.

       3518. Witnesses with personal knowledge of the history of the Road 0494 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3519. Currently known reputation in the community is that the Road 0494 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3520. Public motor vehicle use of the Road 0494 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3521. The Road 0494 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3522. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0494.

       3523. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0494 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0499

       3524. Road 0499 is designated as county road number 0499 and SGID road

identification number RD270499 and is more or less .15 miles long.

       3525. Exhibit 275 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0499 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3526. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0499 solely as it crosses United States public land as included and

specifically described in Exhibit 275. The Road 0499 includes the segment of road specifically

set forth in Exhibit 275 and as exists on the ground.




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Acceptance of the Road 0499 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3527. The Road 0499 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3528. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0499 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3529. The Road 0499 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0499 pursuant to the County’s governmental

right and authority.

       3530. Witnesses with personal knowledge of the history of the Road 0499 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3531. Currently known reputation in the community is that the Road 0499 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3532. Public motor vehicle use of the Road 0499 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3533. The Road 0499 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3534. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0499.

       3535. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0499 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0500

       3536. Road 0500 is designated as county road number 0500 and SGID road

identification number RD270500 and is more or less .32 miles long.

       3537. Exhibit 276 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0500 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3538. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0500 solely as it crosses United States public land as included and

specifically described in Exhibit 276. The Road 0500 includes the segment of road specifically

set forth in Exhibit 276 and as exists on the ground.




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Acceptance of the Road 0500 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3539. The Road 0500 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3540. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0500 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3541. The Road 0500 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0500 pursuant to the County’s governmental

right and authority.

       3542. Witnesses with personal knowledge of the history of the Road 0500 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3543. Currently known reputation in the community is that the Road 0500 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3544. Public motor vehicle use of the Road 0500 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3545. The Road 0500 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3546. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0500.

       3547. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0500 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 00660

       3548. Road 00660 is designated as county road number 00660 and SGID road

identification number RD2700660 and is more or less 2.27 miles long.

       3549. Exhibit 277 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 00660 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3550. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 00660 solely as it crosses United States public land as included and

specifically described in Exhibit 277. The Road 00660 includes the segment of road specifically

set forth in Exhibit 277 and as exists on the ground.




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Acceptance of the Road 00660 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3551. The Road 00660 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3552. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 00660 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3553. The Road 00660 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 00660 pursuant to the County’s governmental

right and authority.

       3554. Witnesses with personal knowledge of the history of the Road 00660 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3555. Currently known reputation in the community is that the Road 00660 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3556. Public motor vehicle use of the Road 00660 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       3557. The Road 00660 traverses a valid and perfected R.S. 2477 public highway right-

of-way as described herein.

       3558. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 00660.

       3559. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 00660 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0667

       3560. Road 0667 is designated as county road number 0667 and SGID road

identification number RD270667 and is more or less 12.82 miles long.

       3561. Exhibit 278 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0667 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3562. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0667 solely as it crosses United States public land as included and

specifically described in Exhibit 278. The Road 0667 includes the segment of road specifically

set forth in Exhibit 278 and as exists on the ground.




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Acceptance of the Road 0667 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3563. The Road 0667 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3564. Aerial photography from 1984 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 0667 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3565. The Road 0667 appears on the Little Creek Mountain (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       3566. The Road 0667 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0667 pursuant to the County’s governmental

right and authority.

       3567. Witnesses with personal knowledge of the history of the Road 0667 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3568. Currently known reputation in the community is that the Road 0667 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3569. Public motor vehicle use of the Road 0667 as a public thoroughfare traversing

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unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3570. The Road 0667 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3571. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0667.

       3572. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0667 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0668

       3573. Road 0668 is designated as county road number 0668 and SGID road

identification number RD270668 and is more or less 1.92 miles long.

       3574. Exhibit 279 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0668 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3575. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0668 solely as it crosses United States public land as included and

specifically described in Exhibit 279. The Road 0668 includes the segment of road specifically

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set forth in Exhibit 279 and as exists on the ground.

Acceptance of the Road 0668 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3576. The Road 0668 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3577. Aerial photography from 1984 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 0668 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3578. The Road 0668 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0668 pursuant to the County’s governmental

right and authority.

       3579. Witnesses with personal knowledge of the history of the Road 0668 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3580. Currently known reputation in the community is that the Road 0668 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3581. Public motor vehicle use of the Road 0668 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

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highway right-of-way underlying this road.

       3582. The Road 0668 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3583. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0668.

       3584. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0668 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0671

       3585. Road 0671 is designated as county road number 0671 and SGID road

identification number RD270671 and is more or less .21 miles long.

       3586. Exhibit 280 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0671 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3587. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0671 solely as it crosses United States public land as included and

specifically described in Exhibit 280. The Road 0671 includes the segment of road specifically

set forth in Exhibit 280 and as exists on the ground.




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Acceptance of the Road 0671 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3588. The Road 0671 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3589. Aerial photography from 1984 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 0671 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3590. The Road 0671 appears on the Little Creek Mountain (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       3591. The Road 0671 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0671 pursuant to the County’s governmental

right and authority.

       3592. Witnesses with personal knowledge of the history of the Road 0671 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3593. Currently known reputation in the community is that the Road 0671 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3594. Public motor vehicle use of the Road 0671 as a public thoroughfare traversing

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unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3595. The Road 0671 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3596. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0671.

       3597. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0671 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0674

       3598. Road 0674 is designated as county road number 0674 and SGID road

identification number RD270674 and is more or less 1.17 miles long.

       3599. Exhibit 281 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0674 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3600. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0674 solely as it crosses United States public land as included and

specifically described in Exhibit 281. The Road 0674 includes the segment of road specifically

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set forth in Exhibit 281 and as exists on the ground.

Acceptance of the Road 0674 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3601. The Road 0674 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3602. Aerial photography from 1984 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 0674 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3603. The Road 0674 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0674 pursuant to the County’s governmental

right and authority.

       3604. Witnesses with personal knowledge of the history of the Road 0674 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3605. Currently known reputation in the community is that the Road 0674 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3606. Public motor vehicle use of the Road 0674 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

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highway right-of-way underlying this road.

       3607. The Road 0674 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3608. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0674.

       3609. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0674 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0675

       3610. Road 0675 is designated as county road number 0675 and SGID road

identification number RD270675 and is more or less 1.95 miles long.

       3611. Exhibit 282 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0675 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3612. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0675 solely as it crosses United States public land as included and

specifically described in Exhibit 282. The Road 0675 includes the segment of road specifically

set forth in Exhibit 282 and as exists on the ground.




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Acceptance of the Road 0675 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3613. The Road 0675 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3614. Aerial photography from 1984 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 0675 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3615. The Road 0675 appears on the Little Mountain Creek (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       3616. The Road 0675 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0675 pursuant to the County’s governmental

right and authority.

       3617. Witnesses with personal knowledge of the history of the Road 0675 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3618. Currently known reputation in the community is that the Road 0675 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3619. Public motor vehicle use of the Road 0675 as a public thoroughfare traversing

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unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3620. The Road 0675 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3621. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0675.

       3622. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0675 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0676

       3623. Road 0676 is designated as county road number 0676 and SGID road

identification number RD270676 and is more or less .62 miles long.

       3624. Exhibit 283 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0676 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3625. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0676 solely as it crosses United States public land as included and

specifically described in Exhibit 283. The Road 0676 includes the segment of road specifically

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set forth in Exhibit 283 and as exists on the ground.

Acceptance of the Road 0676 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3626. The Road 0676 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3627. Aerial photography from 1984 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 0676 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3628. The Road 0676 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0676 pursuant to the County’s governmental

right and authority.

       3629. Witnesses with personal knowledge of the history of the Road 0676 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3630. Currently known reputation in the community is that the Road 0676 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3631. Public motor vehicle use of the Road 0676 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

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highway right-of-way underlying this road.

       3632. The Road 0676 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3633. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0676.

       3634. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0676 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0677

       3635. Road 0677 is designated as county road number 0677 and SGID road

identification number RD270677 and is more or less 1.69 miles long.

       3636. Exhibit 284 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0677 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3637. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0677 solely as it crosses United States public land as included and

specifically described in Exhibit 284. The Road 0677 includes the segment of road specifically

set forth in Exhibit 284 and as exists on the ground.




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Acceptance of the Road 0677 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3638. The Road 0677 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3639. Aerial photography from 1984 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 0677 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3640. The Road 0677 appears on the Little Creek Mountain (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       3641. The Road 0677 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0677 pursuant to the County’s governmental

right and authority.

       3642. Witnesses with personal knowledge of the history of the Road 0677 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3643. Currently known reputation in the community is that the Road 0677 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3644. Public motor vehicle use of the Road 0677 as a public thoroughfare traversing

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unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3645. The Road 0677 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3646. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0677.

       3647. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0677 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0678

       3648. Road 0678 is designated as county road number 0678 and SGID road

identification number RD270678 and is more or less .58 miles long.

       3649. Exhibit 285 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0678 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3650. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0678 solely as it crosses United States public land as included and

specifically described in Exhibit 285. The Road 0678 includes the segment of road specifically

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set forth in Exhibit 285 and as exists on the ground.

Acceptance of the Road 0678 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3651. The Road 0678 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3652. Aerial photography from 1984 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 0678 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3653. The Road 0678 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0678 pursuant to the County’s governmental

right and authority.

       3654. Witnesses with personal knowledge of the history of the Road 0678 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3655. Currently known reputation in the community is that the Road 0678 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3656. Public motor vehicle use of the Road 0678 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

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highway right-of-way underlying this road.

       3657. The Road 0678 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3658. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0678.

       3659. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0678 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0778

       3660. Road 0778 is designated as county road number 0778 and SGID road

identification number RD270778 and is more or less 3.5 miles long.

       3661. Exhibit 286 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0778 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3662. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0778 solely as it crosses United States public land as included and

specifically described in Exhibit 286. The Road 0778 includes the segment of road specifically

set forth in Exhibit 286 and as exists on the ground.




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Acceptance of the Road 0778 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3663. The Road 0778 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3664. Aerial photography from 1978 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0778 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3665. The Road 0778 appears on the Little Creek Mountain (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       3666. The Road 0778 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0778 pursuant to the County’s governmental

right and authority.

       3667. Witnesses with personal knowledge of the history of the Road 0778 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3668. Currently known reputation in the community is that the Road 0778 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3669. Public motor vehicle use of the Road 0778 as a public thoroughfare traversing

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unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3670. The Road 0778 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3671. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0778.

       3672. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0778 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0779

       3673. Road 0779 is designated as county road number 0779 and SGID road

identification number RD270779 and is more or less 1.2 miles long.

       3674. Exhibit 287 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0779 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3675. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0779 solely as it crosses United States public land as included and

specifically described in Exhibit 287. The Road 0779 includes the segment of road specifically

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set forth in Exhibit 287 and as exists on the ground.

Acceptance of the Road 0779 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3676. The Road 0779 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3677. The Road 0779 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0779 pursuant to the County’s governmental

right and authority.

       3678. Witnesses with personal knowledge of the history of the Road 0779 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous basis

for more than 10 years prior to October 21, 1976.

       3679. Currently known reputation in the community is that the Road 0779 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3680. Public motor vehicle use of the Road 0779 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3681. The Road 0779 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3682. Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0779.

       3683. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0779 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0780

       3684. Road 0780 is designated as county road number 0780 and SGID road

identification number RD270780 and is more or less 3.91 miles long.

       3685. Exhibit 288 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0780 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3686. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0780 solely as it crosses United States public land as included and

specifically described in Exhibit 288. The Road 0780 includes the segment of road specifically

set forth in Exhibit 288 and as exists on the ground.

Acceptance of the Road 0780 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3687. The Road 0780 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3688. Aerial photography from 1978 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0780 as a public highway located on the land at

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issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3689. The Road 0780 appears on the Smithsonian Butte (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       3690. The Road 0780 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0780 pursuant to the County’s governmental

right and authority.

       3691. Witnesses with personal knowledge of the history of the Road 0780 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3692. Currently known reputation in the community is that the Road 0780 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3693. Public motor vehicle use of the Road 0780 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3694. The Road 0780 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

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       3695. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0780.

       3696. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0780 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0783

       3697. Road 0783 is designated as county road number 0783 and SGID road

identification number RD270783 and is more or less 1.25 miles long.

       3698. Exhibit 289 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0783 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3699. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0783 solely as it crosses United States public land as included and

specifically described in Exhibit 289. The Road 0783 includes the segment of road specifically

set forth in Exhibit 289 and as exists on the ground.

Acceptance of the Road 0783 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3700. The Road 0783 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.




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       3701. Aerial photography from 1978 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0783 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3702. The Road 0783 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0783 pursuant to the County’s governmental

right and authority.

       3703. Witnesses with personal knowledge of the history of the Road 0783 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3704. Currently known reputation in the community is that the Road 0783 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3705. Public motor vehicle use of the Road 0783 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3706. The Road 0783 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3707. Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0783.

       3708. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0783 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 7975

       3709. Road 7975 is designated as county road number 7975 and SGID road

identification number RD277975 and is more or less .38 miles long.

       3710. Exhibit 290 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 7975 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3711. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 7975 solely as it crosses United States public land as included and

specifically described in Exhibit 290. The Road 7975 includes the segment of road specifically

set forth in Exhibit 290 and as exists on the ground.

Acceptance of the Road 7975 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3712. The Road 7975 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3713. Aerial photography from 1978 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 7975 as a public highway located on the land at

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issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3714. The Road 7975 appears on the Little Creek Mountain (1954) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       3715. The Road 7975 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 7975 pursuant to the County’s governmental

right and authority.

       3716. Witnesses with personal knowledge of the history of the Road 7975 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3717. Currently known reputation in the community is that the Road 7975 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3718. Public motor vehicle use of the Road 7975 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3719. The Road 7975 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

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       3720. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 7975.

       3721. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 7975 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 7976

       3722. Road 7976 is designated as county road number 7976 and SGID road

identification number RD277976 and is more or less .53 miles long.

       3723. Exhibit 291 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 7976 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3724. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 7976 solely as it crosses United States public land as included and

specifically described in Exhibit 291. The Road 7976 includes the segment of road specifically

set forth in Exhibit 291 and as exists on the ground.

Acceptance of the Road 7976 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3725. The Road 7976 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.




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       3726. Aerial photography from 1978 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 7976 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3727. The Road 7976 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 7976 pursuant to the County’s governmental

right and authority.

       3728. Witnesses with personal knowledge of the history of the Road 7976 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3729. Currently known reputation in the community is that the Road 7976 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3730. Public motor vehicle use of the Road 7976 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3731. The Road 7976 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3732. Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 7976.

       3733. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 7976 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 7977

       3734. Road 7977 is designated as county road number 7977 and SGID road

identification number RD277977 and is more or less .08 miles long.

       3735. Exhibit 292 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 7977 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3736. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 7977 solely as it crosses United States public land as included and

specifically described in Exhibit 292. The Road 7977 includes the segment of road specifically

set forth in Exhibit 292 and as exists on the ground.

Acceptance of the Road 7977 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3737. The Road 7977 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3738. Aerial photography from 1984 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 7977 as a public highway located on the land at

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issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3739. The Road 7977 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 7977 pursuant to the County’s governmental

right and authority.

       3740. Witnesses with personal knowledge of the history of the Road 7977 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3741. Currently known reputation in the community is that the Road 7977 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3742. Public motor vehicle use of the Road 7977 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3743. The Road 7977 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3744. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 7977.

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       3745. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 7977 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 9885

       3746. Road 9885 is designated as county road number 9885 and SGID road

identification number RD279885 and is more or less .09 miles long.

       3747. Exhibit 293 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 9885 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3748. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 9885 solely as it crosses United States public land as included and

specifically described in Exhibit 293. The Road 9885 includes the segment of road specifically

set forth in Exhibit 293 and as exists on the ground.

Acceptance of the Road 9885 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3749. The Road 9885 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3750. Aerial photography from 1984 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 9885 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

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       3751. The Road 9885 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 9885 pursuant to the County’s governmental

right and authority.

       3752. Witnesses with personal knowledge of the history of the Road 9885 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3753. Currently known reputation in the community is that the Road 9885 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3754. Public motor vehicle use of the Road 9885 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3755. The Road 9885 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3756. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 9885.

       3757. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 9885 on lands owned by the United States as described herein and

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including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 9919

       3758. Road 9919 is designated as county road number 9919 and SGID road

identification number RD279919 and is more or less .73 miles long.

       3759. Exhibit 294 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 9919 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3760. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 9919 solely as it crosses United States public land as included and

specifically described in Exhibit 294. The Road 9919 includes the segment of road specifically

set forth in Exhibit 294 and as exists on the ground.

Acceptance of the Road 9919 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3761. The Road 9919 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3762. Aerial photography from 1984 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 9919 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3763. The Road 9919 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

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managing, maintaining, or improving the Road 9919 pursuant to the County’s governmental

right and authority.

       3764. Witnesses with personal knowledge of the history of the Road 9919 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3765. Currently known reputation in the community is that the Road 9919 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3766. Public motor vehicle use of the Road 9919 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3767. The Road 9919 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3768. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 9919.

       3769. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 9919 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.




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Road Number 0425D

       3770. Road 0425D is designated as county road number 0425D and SGID road

identification number RD270425D and is more or less .42 miles long.

       3771. Exhibit 295 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0425D including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3772. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0425D solely as it crosses United States public land as included and

specifically described in Exhibit 295. The Road 0425D includes the segment of road specifically

set forth in Exhibit 295 and as exists on the ground.

Acceptance of the Road 0425D R.S. 2477 Right-of-way Prior to October 21, 1976.

       3773. The Road 0425D has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3774. Aerial photography from 1984 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Road 0425D as a public highway located on the land

at issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3775. The Road 0425D was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0425D pursuant to the County’s governmental

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right and authority.

       3776. Witnesses with personal knowledge of the history of the Road 0425D confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3777. Currently known reputation in the community is that the Road 0425D has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3778. Public motor vehicle use of the Road 0425D as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3779. The Road 0425D traverses a valid and perfected R.S. 2477 public highway right-

of-way as described herein.

       3780. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0425D.

       3781. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0425D on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Rockville 01 Road, 1024

       3782. The Rockville 01 Road is designated as county road number 1025 and SGID road

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identification number RD271024 and is more or less .89 miles long.

       3783. Exhibit 296 (attached hereto and incorporated herein) contains certain information

pertaining to the Rockville 01 Road, including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3784. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Rockville 01 Road solely as it crosses United States public land as included and

specifically described in Exhibit 296. The Rockville 01 Road includes the segment of road

specifically set forth in Exhibit 296 and as exists on the ground.

Acceptance of the Rockville 01 Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       3785. The Rockville 01 Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       3786. Aerial photography from 1984 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Rockville 01 Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       3787. The Rockville 01 Road was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Rockville 01 Road pursuant to the County’s

governmental right and authority.

       3788. Witnesses with personal knowledge of the history of the Rockville 01 Road

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confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        3789. Currently known reputation in the community is that the Rockville 01 Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        3790. Public motor vehicle use of the Rockville 01 Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        3791. The Rockville 01 Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        3792. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Rockville 01 Road.

        3793. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Rockville 01 Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Rockville 02 Road, 1025

        3794. The Rockville 02 Road is designated as county road number 1025 and SGID road

                                                639
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identification number RD271025 and is more or less .46 miles long.

       3795. Exhibit 297 (attached hereto and incorporated herein) contains certain information

pertaining to the Rockville 02 Road, including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3796. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Rockville 02 Road solely as it crosses United States public land as included and

specifically described in Exhibit 297. The Rockville 02 Road includes the segment of road

specifically set forth in Exhibit 297 and as exists on the ground.

Acceptance of the Rockville 02 Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       3797. The Rockville 02 Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       3798. Aerial photography from 1984 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Rockville 02 Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       3799. The Rockville 02 Road was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Rockville 02 Road pursuant to the County’s

governmental right and authority.

       3800. Witnesses with personal knowledge of the history of the Rockville 02 Road

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confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        3801. Currently known reputation in the community is that the Rockville 02 Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        3802. Public motor vehicle use of the Rockville 02 Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        3803. The Rockville 02 Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        3804. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Rockville 02 Road.

        3805. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Rockville 02 Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Rockville 03 Road, 1027

        3806. The Rockville 03 Road is designated as county road number 1027 and SGID road

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identification number RD271027 and is more or less .37 miles long.

       3807. Exhibit 298 (attached hereto and incorporated herein) contains certain information

pertaining to the Rockville 03 Road, including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3808. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Rockville 03 Road solely as it crosses United States public land as included and

specifically described in Exhibit 298. The Rockville 03 Road includes the segment of road

specifically set forth in Exhibit 298 and as exists on the ground.

Acceptance of the Rockville 03 Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       3809. The Rockville 03 Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       3810. Aerial photography from 1984 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Rockville 03 Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       3811. The Rockville 03 Road was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Rockville 03 Road pursuant to the County’s

governmental right and authority.

       3812. Witnesses with personal knowledge of the history of the Rockville 03 Road

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confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        3813. Currently known reputation in the community is that the Rockville 03 Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        3814. Public motor vehicle use of the Rockville 03 Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        3815. The Rockville 03 Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        3816. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Rockville 03 Road.

        3817. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Rockville 03 Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

                       EIGHTH CAUSE OF ACTION – QUIET TITLE
                               SHEEP BRIDGE AREA

        3818. Plaintiffs reallege and incorporate herein each of the foregoing paragraphs.
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       3819. The Sheep Bridge Area is located in southeastern Washington County and is

shown on Exhibit 9 attached hereto and incorporated herein.

       3820. The Sheep Bridge Area includes the following roads—listed by Common Road

Name (if applicable) and County Unique Number: (1) Babylon Road, 0389; (2) Gooseberry

Road, 0656; (3) Grafton Road, 0758; (4) Highway 9/Big Plains Road, 9915; (5) Old 91 North

Leeds Road, 0367; (6) Old Highway 91, 0410; (7) Sheep Bridge Road, 0397; (8) Road Number

0374; (9) Road Number 0376; (10) Road Number 0391; (11) Road Number 0394; (12) Road

Number 0395; (13) Road Number 0441; (14) Road Number 0443; (15) Road Number 0445; (16)

Road Number 0446; (17) Road Number 0449; (18) Road Number 0459; (19) Road Number

0602; (20) Road Number 0646; (21) Road Number 0648; (22) Road Number 0649; (23) Road

Number 0650; (24) Road Number 0651; (25) Road Number 0652; (26) Road Number 0659; (27)

Road Number 0661; (28) Road Number 0761; (29) Road Number 0764; (30) Road Number

0765; (31) Road Number 0766; (32) Road Number 0768; (33) Road Number 0769; (34) Road

Number 0770; (35) Road Number 0771; (36) Road Number 0772; (37) Road Number 0790, (38)

Road Number 0823; (39) Road Number 0824; (40) Road Number 0825; (41) Road Number

9934; (42) Road Number 9935; (43) Road Number 9960; (44) Road Number 0649B; (45) Road

Number 446B; (46) Canaan Mountain Road, 9920; (47) Falls Park Road, 0654; (48) Mail Drop

Road, 0822; (49) Wood Historical Trail, 0762.

       3821. Each right-of-way claimed in the Sheep Bridge Area was used by the general

public who engaged in one or more of the following activities: cattle ranching, sheep herding,

prospecting for minerals, rock hounding, mining, oil and gas exploration, wood gathering,

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cutting wood, collecting pine nuts or berries, recreation, hunting, trapping, government access,

traveling in and through the area, or any other legitimate purpose.

          3822. All rights-of-way claimed in the Sheep Bridge Area are sufficient in scope for

general motor vehicle travel and include that which is reasonable and necessary to meet the

exigencies of motor vehicle travel according to safe engineering practices that protect the public

and the road and also prevent undue degradation of the adjacent land.

          3823. All rights-of-way claimed in the Sheep Bridge Area include a minimum right-of-

way width of 66 feet or greater width as determined at trial, along with cuts, fills, slopes, water

bars, and such features and facilities as have historically been acknowledged by the DOI and

under law as being reasonable and necessary for the use, benefit, and enjoyment of public

highway rights-of-way. See, e.g., UTAH CODE ANN. § 72-5-302(4)(b) (2003).

          3824. Prior to October 21, 1976, the State of Utah, Washington County, and the public

through continuous use accepted the congressional grant of an R.S. 2477 right-of-way for the

entire length and course of all roads as described herein, on public lands owned by the United

States.

Babylon Road, 0389

          3825. The Babylon Road is designated as county road number 0389 and SGID road

identification number RD270389 and is more or less 4.67 miles long.

          3826. Exhibit 299 (attached hereto and incorporated herein) contains certain information

pertaining to the Babylon Road including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

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complete centerline description of the road.

       3827. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Babylon Road solely as it crosses United States public land as included and

specifically described in Exhibit 299. The Babylon Road includes the segment of road

specifically set forth in Exhibit 299 and as exists on the ground.

Acceptance of the Babylon Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       3828. The Babylon Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3829. Aerial photography from 1960 and 1976 confirms the historical use, existence,

and acceptance of the right-of-way for the Babylon Road as a public highway located on the land

at issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3830. The Babylon Road appears on the Hurricane (1954) 15-minute and 7.5-minute

quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       3831. The County confirmed its acceptance of the Babylon Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Babylon Road using public

funds pursuant to the County’s governmental right and authority.

       3832. Witnesses with personal knowledge of the history of the Babylon Road confirm

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public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3833. Currently known reputation in the community is that the Babylon Road has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3834. Public motor vehicle use of the Babylon Road as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3835. The Babylon Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

       3836. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Babylon Road.

       3837. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Babylon Road on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Gooseberry Road, 0656

       3838. Gooseberry Road is designated as county Road number 0656 and SGID road

identification number RD270656 and is more or less 5.68 miles long.

       3839. Exhibit 300 (attached hereto and incorporated herein) contains certain information

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pertaining to the Gooseberry Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3840. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Gooseberry Road solely as it crosses United States public land as included and

specifically described in Exhibit 300. The Gooseberry Road includes the segment of road

specifically set forth in Exhibit 300 and as exists on the ground.

Acceptance of the Gooseberry Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       3841. The Gooseberry Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       3842. Aerial photography from 1978 confirms the historical use, existence, and

acceptance of the right-of-way for the Gooseberry Road as a public highway located on the land

at issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3843. The Gooseberry Road appears on the Springdale West (1957) 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       3844. The Gooseberry Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0162 pursuant to the County’s

governmental right and authority.

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        3845. Witnesses with personal knowledge of the history of the Gooseberry Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        3846. Currently known reputation in the community is that the Gooseberry Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        3847. Public motor vehicle use of the Gooseberry Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        3848. The Gooseberry Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        3849. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Gooseberry Road.

        3850. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Gooseberry Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.




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Grafton Road, 0758

       3851. Grafton Road is designated as county Road number 0758 and SGID road

identification number RD270025 and is more or less 1.38 miles long.

       3852. Exhibit 301 (attached hereto and incorporated herein) contains certain information

pertaining to the Grafton Road including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3853. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Grafton Road solely as it crosses United States public land as included and

specifically described in Exhibit 301. The Grafton Road includes the segment of road

specifically set forth in Exhibit 301 and as exists on the ground.

Acceptance of the Grafton Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       3854. The Grafton Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3855. Aerial photography from 1978 confirms the historical use, existence, and

acceptance of the right-of-way for the Grafton Road as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3856. The Grafton Road appears on the Springdale West (1957) 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

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       3857. The County confirmed its acceptance of the Grafton Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Grafton Road using public

funds pursuant to the County’s governmental right and authority.

       3858. Witnesses with personal knowledge of the history of the Grafton Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3859. Currently known reputation in the community is that the Grafton Road has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3860. Public motor vehicle use of the Grafton Road as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3861. The Grafton Road traverses a valid and perfected R.S. 2477 public highway right-

of-way as described herein.

       3862. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Grafton Road.

       3863. The State and County are entitled to an order quieting title to their R.S. 2477

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right-of-way for the Grafton Road on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Hwy 9/Big Plains Road, 9915

       3864. Hwy 9/Big Plains Road is designated as county Road Number 9915 and SGID

road identification number RD279915 and is more or less 8.39 miles long.

       3865. Exhibit 302 (attached hereto and incorporated herein) contains certain information

pertaining to Hwy 9/Big Plains Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3866. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Hwy 9/Big Plains Road solely as it crosses United States public land as included

and specifically described in Exhibit 302. The Hwy 9/Big Plains Road includes the segment of

road specifically set forth in Exhibit 302 and as exists on the ground.

Acceptance of the Hwy 9/Big Plains Road R.S. 2477 Right-of-way Prior to October 21,
1976.

       3867. The Hwy 9/Big Plains Road has long served as a public highway providing access

to and across public land. This road serves the public’s transportation needs.

       3868. Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Hwy 9/Big Plains Road as a public highway located

on the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       3869. The Hwy 9/Big Plains Road appears on the Springdale West (1957) 7.5-minute
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quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        3870. The County confirmed its acceptance of the Hwy 9/Big Plains Road by 1976,

when it designated and accepted the road as a County highway on the County’s general highway

map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance

of its R.S. 2477 right-of-way by managing, maintaining, or improving the Hwy 9/Big Plains

Road using public funds pursuant to the County’s governmental right and authority.

        3871. Witnesses with personal knowledge of the history of the Hwy 9/Big Plains Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        3872. Currently known reputation in the community is that Hwy 9/Big Plains Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        3873. Public motor vehicle use of Road Hwy 9/Big Plains Road as a public

thoroughfare traversing unreserved public lands on a continuous basis, whenever convenient or

necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of

an R.S. 2477 public highway right-of-way underlying this road.

        3874. The Hwy 9/Big Plains Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        3875. Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Hwy 9/Big Plains Road .

        3876. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Hwy 9/Big Plains Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Old 91 North Leeds Road, 0367

        3877. Old 91 North Leeds Road is designated as county road number 0367 and SGID

road identification number RD270367 and is more or less 3.08 miles long.

        3878. Exhibit 303 (attached hereto and incorporated herein) contains certain information

pertaining to Old 91 North Leeds Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        3879. In this action, the State and County seek to quiet title to the public highway right-

of-way for Old 91 North Leeds Road solely as it crosses United States public land as included

and specifically described in Exhibit 303. Old 91 North Leeds Road includes the segment of

road specifically set forth in Exhibit 303 and as exists on the ground.

Acceptance of Old 91 North Leeds Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        3880. Old 91 North Leeds Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.




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        3881. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Old 91 North Leeds Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        3882. Old 91 North Leeds Road appears on the New Harmony (1957) and Hurricane

(1954) USGS 7.5minute and 15-minute quadrangle maps, which evidences the existence, use,

and acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

information.

        3883. The County confirmed its acceptance of Old 91 North Leeds Road by 1976, when

it designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Old 91 North Leeds Road

using public funds pursuant to the County’s governmental right and authority.

        3884. Witnesses with personal knowledge of the history of Old 91 North Leeds Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        3885. Currently known reputation in the community is that Old 91 North Leeds Road

has been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        3886. Public motor vehicle use of Old 91 North Leeds Road as a public thoroughfare

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traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        3887. Old 91 North Leeds Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        3888. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Old 91 North Leeds Road.

        3889. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Old 91 North Leeds Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Old Highway 91, 0410

        3890. Old Highway 91 is designated as county road number 0410 and SGID road

identification number RD270410 and is more or less 6.08 miles long.

        3891. Exhibit 304 (attached hereto and incorporated herein) contains certain information

pertaining to Old Highway 91 including: a map depicting road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        3892. In this action, the State and County seek to quiet title to the public highway right-

of-way for Old Highway 91 solely as it crosses United States public land as included and

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specifically described in Exhibit 304. Old Highway 91 includes the segment of road specifically

set forth in Exhibit 304 and as exists on the ground.

Acceptance of Old Highway 91 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3893. Old Highway 91 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3894. Aerial photography from 1967 and 1976 confirms the historical use, existence,

and acceptance of the right-of-way for Old Highway 91 as a public highway located on the land

at issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3895. Old Highway 91 appears on the Harrisburg Junction (1954), Hurricane (1954) and

Pintura (1954) 7.5-minute USGS quadrangle maps and New Harmony (1957) and Hurricane

(1954) USGS quadrangle maps, which evidences the existence, use, and acceptance of the right-

of-way underlying this road. See Exhibit 12 for more detailed map information.

       3896. The County confirmed its acceptance of Old Highway 91 by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, and improving Old Highway 91 using public

funds pursuant to the County’s governmental right and authority.

       3897. Witnesses with personal knowledge of the history of Old Highway 91 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

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       3898. Currently known reputation in the community is that Old Highway 91 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3899. Public motor vehicle use of Old Highway 91 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3900. Old Highway 91 traverses a valid and perfected R.S. 2477 public highway right-

of-way as described herein.

       3901. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Old Highway 91.

       3902. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Old Highway 91 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Sheep Bridge Road, 0397

       3903. Sheep Bridge Road is designated as county Road number 0397 and SGID road

identification number RD270397 and is more or less 6.02 miles long.

       3904. Exhibit 305 (attached hereto and incorporated herein) contains certain information

pertaining to the Sheep Bridge Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

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complete centerline description of the road.

       3905. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Sheep Bridge Road solely as it crosses United States public land as included and

specifically described in Exhibit 305. The Sheep Bridge Road includes the segment of road

specifically set forth in Exhibit 305 and as exists on the ground.

Acceptance of the Sheep Bridge Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       3906. The Sheep Bridge Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       3907. Aerial photography from 1976 and 1978 confirms the historical use, existence,

and acceptance of the right-of-way for the Sheep Bridge Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       3908. The Sheep Bridge Road appears on the Hurricane (1954) and Virgin (1954)

USGS 7.5-minute/15-minute quadrangle maps, which evidences the existence, use, and

acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

information.

       3909. The County confirmed its acceptance of the Sheep Bridge Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Sheep Bridge Road using

public funds pursuant to the County’s governmental right and authority.

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        3910. Witnesses with personal knowledge of the history of the Sheep Bridge Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        3911. Currently known reputation in the community is that the Sheep Bridge Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        3912. Public motor vehicle use of the Sheep Bridge Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        3913. The Sheep Bridge Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        3914. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Sheep Bridge Road.

        3915. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Sheep Bridge Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.




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Road Number 0374

       3916. Road 0374 is designated as county road number 0374 and SGID road

identification number RD270374 and is more or less 0.04 miles long.

       3917. Exhibit 306 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0374 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3918. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0374 solely as it crosses United States public land as included and

specifically described in Exhibit 306. The Road 0374 includes the segment of road specifically

set forth in Exhibit 306 and as exists on the ground.

Acceptance of the Road 0374 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3919. The Road 0374 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3920. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0374 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3921. The 0374 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0374 pursuant to the County’s governmental

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right and authority.

       3922. Witnesses with personal knowledge of the history of the Road 0374 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3923. Currently known reputation in the community is that the Road 0374 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3924. Public motor vehicle use of the Road 0374 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3925. The Road 0374 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3926. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0374.

       3927. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0374 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0376

       3928. Road 0376 is designated as county road number 0376 and SGID road

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identification number RD270376 and is more or less 3.10 miles long.

       3929. Exhibit 307 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0376 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3930. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0376 solely as it crosses United States public land as included and

specifically described in Exhibit 307. The Road 0376 includes the segment of road specifically

set forth in Exhibit 307 and as exists on the ground.

Acceptance of the Road 0376 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3931. The Road 0376 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3932. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0376 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3933. The 0376 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0376 pursuant to the County’s governmental

right and authority.

       3934. Witnesses with personal knowledge of the history of the Road 0376 confirm

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public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3935. Currently known reputation in the community is that the Road 0376 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3936. Public motor vehicle use of the Road 0376 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3937. The Road 0376 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3938. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0376.

       3939. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0376 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0391

       3940. Road 0391 is designated as county road number 0391 and SGID road

identification number RD270391 and is more or less 1.42 miles long.

       3941. Exhibit 308 (attached hereto and incorporated herein) contains certain information

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pertaining to the Road 0391 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3942. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0391 solely as it crosses United States public land as included and

specifically described in Exhibit 308. The Road 0391 includes the segment of road specifically

set forth in Exhibit 308 and as exists on the ground.

Acceptance of the Road 0391 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3943. The Road 0391 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3944. Aerial photography from 1910, 1952, and 1976 confirms the historical use,

existence, and acceptance of the right-of-way for the Road 0391 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       3945. Road 0391 appears on the Harrisburg Junction (1954) and Hurricane USGS 7.5-

minute and Hurricane (1954) 15-minute quadrangle map, which evidences the existence, use,

and acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

information.

       3946. The 0391 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0391 pursuant to the County’s governmental

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right and authority.

       3947. Witnesses with personal knowledge of the history of the Road 0391 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3948. Currently known reputation in the community is that the Road 0391 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3949. Public motor vehicle use of the Road 0391 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3950. The Road 0391 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3951. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0391.

       3952. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0391 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0394

       3953. Road 0394 is designated as county road number 0394 and SGID road

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identification number RD270394 and is more or less 1.04 miles long.

       3954. Exhibit 309 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0394 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3955. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0394 solely as it crosses United States public land as included and

specifically described in Exhibit 309. The Road 0394 includes the segment of road specifically

set forth in Exhibit 309 and as exists on the ground.

Acceptance of the Road 0394 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3956. The Road 0394 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3957. Aerial photography from and 1976 and 1978 confirms the historical use,

existence, and acceptance of the right-of-way for the Road 0394 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       3958. Road 0394 appears on the Hurricane USGS 7.5-minute and Hurricane (1954) 15-

minute quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       3959. The 0394 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

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managing, maintaining, or improving the Road 0394 pursuant to the County’s governmental

right and authority.

       3960. Witnesses with personal knowledge of the history of the Road 0394 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3961. Currently known reputation in the community is that the Road 0394 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3962. Public motor vehicle use of the Road 0394 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3963. The Road 0394 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3964. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0394.

       3965. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0394 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.




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Road Number 0395

       3966. Road 0395 is designated as county road number 0395 and SGID road

identification number RD270395 and is more or less 1.57 miles long.

       3967. Exhibit 310 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0395 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3968. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0395 solely as it crosses United States public land as included and

specifically described in Exhibit 310. The Road 0395 includes the segment of road specifically

set forth in Exhibit 310 and as exists on the ground.

Acceptance of the Road 0395 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3969. The Road 0395 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3970. Aerial photography from and 1976 and 1978 confirms the historical use,

existence, and acceptance of the right-of-way for the Road 0395 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       3971. Road 0395 appears on the Hurricane (1954) USGS 7.5-minute and Hurricane

(1954) 15-minute quadrangle maps, which evidences the existence, use, and acceptance of the

right-of-way underlying this road. See Exhibit 12 for more detailed map information.

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       3972. The 0395 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0395 pursuant to the County’s governmental

right and authority.

       3973. Witnesses with personal knowledge of the history of the Road 0395 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3974. Currently known reputation in the community is that the Road 0395 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3975. Public motor vehicle use of the Road 0395 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3976. The Road 0395 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3977. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0395.

       3978. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0395 on lands owned by the United States as described herein and

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including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0441

       3979. Road 0441 is designated as county road number 0441 and SGID road

identification number RD270441 and is more or less 0.84 miles long.

       3980. Exhibit 311 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0441 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3981. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0441 solely as it crosses United States public land as included and

specifically described in Exhibit 311. The Road 0441 includes the segment of road specifically

set forth in Exhibit 311 and as exists on the ground.

Acceptance of the Road 0441 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3982. The Road 0441 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3983. Aerial photography from and 1978 or earlier confirms the historical use,

existence, and acceptance of the right-of-way for the Road 0441 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       3984. The 0441 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

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managing, maintaining, or improving the Road 0441 pursuant to the County’s governmental

right and authority.

       3985. Witnesses with personal knowledge of the history of the Road 0441 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3986. Currently known reputation in the community is that the Road 0441 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3987. Public motor vehicle use of the Road 0441 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       3988. The Road 0441 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       3989. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0441.

       3990. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0441 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.




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Road Number 0443

       3991. Road 0443 is designated as county road number 0443 and SGID road

identification number RD270443 and is more or less 0.84 miles long.

       3992. Exhibit 312 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0443 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3993. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0443 solely as it crosses United States public land as included and

specifically described in Exhibit 312. The Road 0443 includes the segment of road specifically

set forth in Exhibit 312 and as exists on the ground.

Acceptance of the Road 0443 R.S. 2477 Right-of-way Prior to October 21, 1976.

       3994. The Road 0443 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       3995. Aerial photography from and 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0443 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       3996. The 0443 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0443 pursuant to the County’s governmental

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right and authority.

       3997. Witnesses with personal knowledge of the history of the Road 0443 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       3998. Currently known reputation in the community is that the Road 0443 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       3999. Public motor vehicle use of the Road 0443 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       4000. The Road 0443 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       4001. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0443.

       4002. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0443 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0445

       4003. Road 0445 is designated as county road number 0445 and SGID road

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identification number RD270445 and is more or less 0.04 miles long.

       4004. Exhibit 313 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0445 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       4005. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0445 solely as it crosses United States public land as included and

specifically described in Exhibit 313. The Road 0445 includes the segment of road specifically

set forth in Exhibit 313 and as exists on the ground.

Acceptance of the Road 0445 R.S. 2477 Right-of-way Prior to October 21, 1976.

       4006. The Road 0445 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       4007. Aerial photography from and 1960 and 1976 confirms the historical use,

existence, and acceptance of the right-of-way for the Road 0445 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       4008. The 0445 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0445 pursuant to the County’s governmental

right and authority.

       4009. Witnesses with personal knowledge of the history of the Road 0445 confirm

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public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       4010. Currently known reputation in the community is that the Road 0445 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       4011. Public motor vehicle use of the Road 0445 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       4012. The Road 0445 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       4013. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0445.

       4014. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0445 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0446

       4015. Road 0446 is designated as county road number 0446 and SGID road

identification number RD270446 and is more or less 0.56 miles long.

       4016. Exhibit 314 (attached hereto and incorporated herein) contains certain information

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pertaining to the Road 0446 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       4017. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0446 solely as it crosses United States public land as included and

specifically described in Exhibit 314. The Road 0446 includes the segment of road specifically

set forth in Exhibit 314 and as exists on the ground.

Acceptance of the Road 0446 R.S. 2477 Right-of-way Prior to October 21, 1976.

       4018. The Road 0446 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       4019. Aerial photography from and 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0446 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       4020. The 0446 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0446 pursuant to the County’s governmental

right and authority.

       4021. Witnesses with personal knowledge of the history of the Road 0446 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

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       4022. Currently known reputation in the community is that the Road 0446 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       4023. Public motor vehicle use of the Road 0446 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       4024. The Road 0446 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       4025. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0446.

       4026. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0446 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0449

       4027. Road 0449 is designated as county road number 0449 and SGID road

identification number RD270449 and is more or less 0.84 miles long.

       4028. Exhibit 315 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0449 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

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complete centerline description of the road.

       4029. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0449 solely as it crosses United States public land as included and

specifically described in Exhibit 315. The Road 0449 includes the segment of road specifically

set forth in Exhibit 315 and as exists on the ground.

Acceptance of the Road 0449 R.S. 2477 Right-of-way Prior to October 21, 1976.

       4030. The Road 0449 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       4031. Aerial photography from and 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0449 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       4032. The 0449 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0449 pursuant to the County’s governmental

right and authority.

       4033. Witnesses with personal knowledge of the history of the Road 0449 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       4034. Currently known reputation in the community is that the Road 0449 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

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October 21, 1976, and continuing to the present.

       4035. Public motor vehicle use of the Road 0449 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       4036. The Road 0449 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       4037. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0449.

       4038. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0449 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0459

       4039. Road 0459 is designated as county road number 0459 and SGID road

identification number RD270459 and is more or less 0.43 miles long.

       4040. Exhibit 316 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0459 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       4041. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road 0459 solely as it crosses United States public land as included and

specifically described in Exhibit 316. The Road 0459 includes the segment of road specifically

set forth in Exhibit 316 and as exists on the ground.

Acceptance of the Road 0459 R.S. 2477 Right-of-way Prior to October 21, 1976.

       4042. The Road 0459 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       4043. Aerial photography from and 1978 or earlier confirms the historical use,

existence, and acceptance of the right-of-way for the Road 0459 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       4044. Road 0459 appears on the Hurricane (1954) USGS 7.5-minute and Hurricane

(1954) 15-minute quadrangle maps, which evidences the existence, use, and acceptance of the

right-of-way underlying this road. See Exhibit 12 for more detailed map information.

       4045. The Road 0459 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0459 pursuant to the County’s governmental

right and authority.

       4046. Witnesses with personal knowledge of the history of the Road 0459 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       4047. Currently known reputation in the community is that the Road 0459 has been

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open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       4048. Public motor vehicle use of the Road 0459 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       4049. The Road 0459 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       4050. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0459.

       4051. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0459 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0602

       4052. Road 0602 is designated as county road number 0602 and SGID road

identification number RD270602 and is more or less 0.82 miles long.

       4053. Exhibit 317 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0602 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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       4054. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0602 solely as it crosses United States public land as included and

specifically described in Exhibit 317. The Road 0602 includes the segment of road specifically

set forth in Exhibit 317 and as exists on the ground.

Acceptance of the Road 0602 R.S. 2477 Right-of-way Prior to October 21, 1976.

       4055. The Road 0602 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       4056. Aerial photography from and 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0602 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       4057. The 0602 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0602 pursuant to the County’s governmental

right and authority.

       4058. Witnesses with personal knowledge of the history of the Road 0602 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       4059. Currently known reputation in the community is that the Road 0602 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

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       4060. Public motor vehicle use of the Road 0602 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       4061. The Road 0602 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       4062. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0602.

       4063. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road 0602 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0603

       1.      Road 0603 is designated as county road number 0603 and SGID road

identification number RD270603 and is more or less 0.33 miles long.

       2.      Exhibit 318 (attached hereto and incorporated herein) contains certain information

pertaining to the Road 0603 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       3.      In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road 0603 solely as it crosses United States public land as included and

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specifically described in Exhibit 318. The Road 0603 includes the segment of road specifically

set forth in Exhibit 318 and as exists on the ground.

Acceptance of the Road 0603 R.S. 2477 Right-of-way Prior to October 21, 1976.

       4.      The Road 0603 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       5.      Aerial photography from and 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road 0603 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       6.      The 0603 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving the Road 0603 pursuant to the County’s governmental

right and authority.

       7.      Witnesses with personal knowledge of the history of the Road 0603 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous basis

for more than 10 years prior to October 21, 1976.

       8.      Currently known reputation in the community is that the Road 0603 has been

open for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

       9.      Public motor vehicle use of the Road 0603 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

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confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

        10.    The Road 0603 traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

        11.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road 0603.

The State and County are entitled to an order quieting title to their R.S. 2477 right-of-way for the

Road 0603 on lands owned by the United States as described herein and including that which is

reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0646

        12.    Road 0646 is designated as county road number 0646 and SGID road

identification number RD270646 and is more or less 1.49 miles long.

        13.    Exhibit 319 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0646 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        14.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0646 solely as it crosses United States public land as included and specifically

described in Exhibit 319. Road 0646 includes the segment of road specifically set forth in

Exhibit 319 and as exists on the ground.

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Acceptance of Road 0646 R.S. 2477 Right-of-way Prior to October 21, 1976.

       15.       Road 0646 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       16.       Aerial photography from and 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0646 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

       17.       Road 0646 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0646 pursuant to the County’s governmental right

and authority.

       18.       Witnesses with personal knowledge of the history of Road 0646 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       19.       Currently known reputation in the community is that Road 0646 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       20.       Public motor vehicle use of Road 0646 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       21.     Road 0646 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       22.     Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0646.

       23.     The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0646 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0648

       24.     Road 0648 is designated as county road number 0648 and SGID road

identification number RD270648 and is more or less 6.24 miles long.

       25.     Exhibit 320 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0648 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       26.     In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0648 solely as it crosses United States public land as included and specifically

described in Exhibit 320. Road 0648 includes the segment of road specifically set forth in

Exhibit 320 and as exists on the ground.




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Acceptance of Road 0648 R.S. 2477 Right-of-way Prior to October 21, 1976.

       27.       Road 0648 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       28.       Aerial photography from and 1978 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0648 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

       29.       Road Number 0648 appears on the Virgin (1954) 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       30.       Road 0648 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0648 pursuant to the County’s governmental right

and authority.

       31.       Witnesses with personal knowledge of the history of Road 0648 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       32.       Currently known reputation in the community is that Road 0648 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       33.       Public motor vehicle use of Road 0648 as a public thoroughfare traversing

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unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       34.     Road 0648 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       35.     Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0648.

       36.     The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0648 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0649

       37.     Road 0649 is designated as county road number 0649 and SGID road

identification number RD270649 and is more or less 1.21 miles long.

       38.     Exhibit 321 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0649 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       39.     In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0649 solely as it crosses United States public land as included and specifically

described in Exhibit 321. Road 0649 includes the segment of road specifically set forth in

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Exhibit 321 and as exists on the ground.

Acceptance of Road 0649 R.S. 2477 Right-of-way Prior to October 21, 1976.

       40.       Road 0649 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       41.       Aerial photography from and 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0649 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

       42.       Road Number 0649 appears on the Virgin (1954) 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       43.       Road 0649 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0649 pursuant to the County’s governmental right

and authority.

       44.       Witnesses with personal knowledge of the history of Road 0649 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       45.       Currently known reputation in the community is that Road 0649 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

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       46.     Public motor vehicle use of Road 0649 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       47.     Road 0649 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       48.     Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0649.

       49.     The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0649 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0650

       50.     Road 0650 is designated as county road number 0650 and SGID road

identification number RD270650 and is more or less 2.10 miles long.

       51.     Exhibit 322 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0650 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       52.     In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0650 solely as it crosses United States public land as included and specifically

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described in Exhibit 322. Road 0650 includes the segment of road specifically set forth in

Exhibit 322 and as exists on the ground.

Acceptance of Road 0650 R.S. 2477 Right-of-way Prior to October 21, 1976.

       53.       Road 0650 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       54.       Aerial photography from and 1978 or earlier confirms the historical use,

existence, and acceptance of the right-of-way for Road 0650 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       55.       Road 0650 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0650 pursuant to the County’s governmental right

and authority.

       56.       Witnesses with personal knowledge of the history of Road 0650 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       57.       Currently known reputation in the community is that Road 0650 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       58.       Public motor vehicle use of Road 0650 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

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10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       59.     Road 0650 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       60.     Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0650.

       61.     The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0650 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0651

       62.     Road 0651 is designated as county road number 0651 and SGID road

identification number RD270651 and is more or less 0.96 miles long.

       63.     Exhibit 323 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0651 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       64.     In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0651 solely as it crosses United States public land as included and specifically

described in Exhibit 323. Road 0651 includes the segment of road specifically set forth in

Exhibit 323 and as exists on the ground.

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Acceptance of Road 0651 R.S. 2477 Right-of-way Prior to October 21, 1976.

       65.       Road 0651 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       66.       Aerial photography from and 1978 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0651 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

       67.       Road 0651 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0651 pursuant to the County’s governmental right

and authority.

       68.       Witnesses with personal knowledge of the history of Road 0651 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       69.       Currently known reputation in the community is that Road 0651 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       70.       Public motor vehicle use of Road 0651 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       71.     Road 0651 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       72.     Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0651.

       73.     The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0651 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0652

       74.     Road 0652 is designated as county road number 0652 and SGID road

identification number RD270652 and is more or less 1.59 miles long.

       75.     Exhibit 324 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0652 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       76.     In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0652 solely as it crosses United States public land as included and specifically

described in Exhibit 324. Road 0652 includes the segment of road specifically set forth in

Exhibit 324 and as exists on the ground.




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Acceptance of Road 0652 R.S. 2477 Right-of-way Prior to October 21, 1976.

       77.       Road 0652 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       78.       Aerial photography from and 1978 or earlier confirms the historical use,

existence, and acceptance of the right-of-way for Road 0652 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       79.       Road 0652 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0652 pursuant to the County’s governmental right

and authority.

       80.       Witnesses with personal knowledge of the history of Road 0652 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       81.       Currently known reputation in the community is that Road 0652 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       82.       Public motor vehicle use of Road 0652 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       83.     Road 0652 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       84.     Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0652.

       85.     The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0652 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0659

       86.     Road 0659 is designated as county road number 0659 and SGID road

identification number RD270659 and is more or less 1.10 miles long.

       87.     Exhibit 325 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0659 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       88.     In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0659 solely as it crosses United States public land as included and specifically

described in Exhibit 325. Road 0659 includes the segment of road specifically set forth in

Exhibit 325 and as exists on the ground.




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Acceptance of Road 0659 R.S. 2477 Right-of-way Prior to October 21, 1976.

       89.       Road 0659 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       90.       Aerial photography from and 1978 or earlier confirms the historical use,

existence, and acceptance of the right-of-way for Road 0659 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       91.       Road 0659 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0659 pursuant to the County’s governmental right

and authority.

       92.       Witnesses with personal knowledge of the history of Road 0659 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       93.       Currently known reputation in the community is that Road 0659 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       94.       Public motor vehicle use of Road 0659 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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       95.     Road 0659 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       96.     Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0659.

       97.     The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0659 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0661

       98.     Road 0661 is designated as county road number 0661 and SGID road

identification number RD270661 and is more or less 0.96 miles long.

       99.     Exhibit 326 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0661 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       100.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0661 solely as it crosses United States public land as included and specifically

described in Exhibit 326. Road 0661 includes the segment of road specifically set forth in

Exhibit 326 and as exists on the ground.




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Acceptance of Road 0661 R.S. 2477 Right-of-way Prior to October 21, 1976.

       101.    Road 0661 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       102.    Aerial photography from and 1978 or earlier confirms the historical use,

existence, and acceptance of the right-of-way for Road 0661 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       103.    Road 0661 appears on the Virgin (1954) 7.5-minute quadrangle map, which

evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       104.    The County confirmed its acceptance of the Road 0661 by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, and improving Road 0661 using public funds

pursuant to the County’s governmental right and authority.

       105.    Witnesses with personal knowledge of the history of Road 0661 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       106.    Currently known reputation in the community is that Road 0661 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

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       107.    Public motor vehicle use of Road 0661 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       108.    Road 0661 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       109.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0661.

       110.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0661 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0761

       111.    Road 0761 is designated as county road number 0761 and SGID road

identification number RD270761 and is more or less 0.59 miles long.

       112.    Exhibit 327 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0761 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       113.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0761 solely as it crosses United States public land as included and specifically

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described in Exhibit 327. Road 0761 includes the segment of road specifically set forth in

Exhibit 327 and as exists on the ground.

Acceptance of Road 0761 R.S. 2477 Right-of-way Prior to October 21, 1976.

       114.    Road 0761 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       115.    Aerial photography from and 1967 and 1978 confirms the historical use,

existence, and acceptance of the right-of-way for Road 0761 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       116.    Road 0761 appears on the Springdale West (1957) 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       117.    The County confirmed its acceptance of the Road 0761 by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, and improving Road 0761 using public funds

pursuant to the County’s governmental right and authority.

       118.    Witnesses with personal knowledge of the history of Road 0761 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       119.    Currently known reputation in the community is that Road 0761 has been open

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for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       120.    Public motor vehicle use of Road 0761 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       121.    Road 0761 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       122.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0761.

       123.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0761 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0764

       124.    Road 0764 is designated as county road number 0764 and SGID road

identification number RD270764 and is more or less 2.23 miles long.

       125.    Exhibit 328 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0764 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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       126.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0764 solely as it crosses United States public land as included and specifically

described in Exhibit 328. Road 0764 includes the segment of road specifically set forth in

Exhibit 328 and as exists on the ground.

Acceptance of Road 0764 R.S. 2477 Right-of-way Prior to October 21, 1976.

       127.    Road 0764 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       128.    Aerial photography from and 1967 and 1978 confirms the historical use,

existence, and acceptance of the right-of-way for Road 0764 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       129.    Road 0764 appears on the Springdale West (1957) 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       130.    The County confirmed its acceptance of the Road 0764 by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, and improving Road 0764 using public funds

pursuant to the County’s governmental right and authority.

       131.    Witnesses with personal knowledge of the history of Road 0764 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

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whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       132.    Currently known reputation in the community is that Road 0764 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       133.    Public motor vehicle use of Road 0764 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       134.    Road 0764 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       135.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0764.

       136.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0764 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0765

       137.    Road 0765 is designated as county road number 0765 and SGID road

identification number RD270765 and is more or less 1.29 miles long.

       138.    Exhibit 329 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0765 including: a map depicting the road; township, range and section

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references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       139.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0765 solely as it crosses United States public land as included and specifically

described in Exhibit 329. Road 0765 includes the segment of road specifically set forth in

Exhibit 329 and as exists on the ground.

Acceptance of Road 0765 R.S. 2477 Right-of-way Prior to October 21, 1976.

       140.    Road 0765 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       141.    Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for Road 0765 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       142.    Road 0765 appears on the Springdale West (1957) 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       143.    The County confirmed its acceptance of the Road 0765 by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, and improving Road 0765 using public funds

pursuant to the County’s governmental right and authority.

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       144.    Witnesses with personal knowledge of the history of Road 0765 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       145.    Currently known reputation in the community is that Road 0765 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       146.    Public motor vehicle use of Road 0765 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       147.    Road 0765 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       148.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0765.

       149.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0765 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0766

       150.    Road 0766 is designated as county road number 0766 and SGID road

identification number RD270766 and is more or less 0.71 miles long.

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       151.    Exhibit 330 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0766 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       152.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0766 solely as it crosses United States public land as included and specifically

described in Exhibit 330. Road 0766 includes the segment of road specifically set forth in

Exhibit 330 and as exists on the ground.

Acceptance of Road 0766 R.S. 2477 Right-of-way Prior to October 21, 1976.

       153.    Road 0766 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       154.    Aerial photography from and 1978 or earlier confirms the historical use,

existence, and acceptance of the right-of-way for Road 0766 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       155.    Road 0766 appears on the Springdale West (1957) 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       156.    Road 0766 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0659 pursuant to the County’s governmental right

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and authority.

       157.      Witnesses with personal knowledge of the history of Road 0766 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       158.      Currently known reputation in the community is that Road 0766 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       159.      Public motor vehicle use of Road 0766 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       160.      Road 0766 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       161.      Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0766.

       162.      The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0766 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0768

       163.      Road 0768 is designated as county road number 0768 and SGID road

                                                 710
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identification number RD270768 and is more or less 2.07 miles long.

       164.    Exhibit 331 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0768 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       165.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0768 solely as it crosses United States public land as included and specifically

described in Exhibit 331. Road 0768 includes the segment of road specifically set forth in

Exhibit 331 and as exists on the ground.

Acceptance of Road 0768 R.S. 2477 Right-of-way Prior to October 21, 1976.

       166.    Road 0768 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       167.    Aerial photography from and 1978 or earlier confirms the historical use,

existence, and acceptance of the right-of-way for Road 0768 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       168.    Road 0768 appears on the Springdale West (1957) 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       169.    Road 0768 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

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managing, maintaining, and improving Road 0659 pursuant to the County’s governmental right

and authority.

       170.      Witnesses with personal knowledge of the history of Road 0768 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       171.      Currently known reputation in the community is that Road 0768 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       172.      Public motor vehicle use of Road 0768 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       173.      Road 0768 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       174.      Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0768.

       175.      The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0768 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.




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Road Number 0769

       176.    Road 0769 is designated as county road number 0769 and SGID road

identification number RD270769 and is more or less 0.86 miles long.

       177.    Exhibit 332 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0769 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       178.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0769 solely as it crosses United States public land as included and specifically

described in Exhibit 332. Road 0769 includes the segment of road specifically set forth in

Exhibit 332 and as exists on the ground.

Acceptance of Road 0769 R.S. 2477 Right-of-way Prior to October 21, 1976.

       179.    Road 0769 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       180.    Aerial photography from and 1978 or earlier confirms the historical use,

existence, and acceptance of the right-of-way for Road 0769 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       181.    Road 0769 appears on the Springdale West (1957) 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

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       182.      Road 0769 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0659 pursuant to the County’s governmental right

and authority.

       183.      Witnesses with personal knowledge of the history of Road 0769 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       184.      Currently known reputation in the community is that Road 0769 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       185.      Public motor vehicle use of Road 0769 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       186.      Road 0769 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       187.      Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0769.

       188.      The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0769 on lands owned by the United States as described herein and

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including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0770

       189.    Road 0770 is designated as county road number 0770 and SGID road

identification number RD270770 and is more or less 1.31 miles long.

       190.    Exhibit 333 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0770 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       191.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0770 solely as it crosses United States public land as included and specifically

described in Exhibit 333. Road 0770 includes the segment of road specifically set forth in

Exhibit 333 and as exists on the ground.

Acceptance of Road 0770 R.S. 2477 Right-of-way Prior to October 21, 1976.

       192.    Road 0770 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       193.    Aerial photography from and 1967 and 1978 confirms the historical use,

existence, and acceptance of the right-of-way for Road 0770 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       194.    Road 0770 appears on the Springdale West (1957) 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

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Exhibit 12 for more detailed map information.

       195.      Road 0770 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0659 pursuant to the County’s governmental right

and authority.

       196.      Witnesses with personal knowledge of the history of Road 0770 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       197.      Currently known reputation in the community is that Road 0770 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       198.      Public motor vehicle use of Road 0770 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       199.      Road 0770 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       200.      Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0770.

       201.      The State and County are entitled to an order quieting title to their R.S. 2477

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right-of-way for Road 0770 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0771

       202.    Road 0771 is designated as county road number 0771 and SGID road

identification number RD270771 and is more or less 0.56 miles long.

       203.    Exhibit 334 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0771 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       204.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0771 solely as it crosses United States public land as included and specifically

described in Exhibit 334. Road 0771 includes the segment of road specifically set forth in

Exhibit 334 and as exists on the ground.

Acceptance of Road 0771 R.S. 2477 Right-of-way Prior to October 21, 1976.

       205.    Road 0771 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       206.    Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for Road 0771 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       207.    Road 0771 appears on the Springdale West (1957) 7.5-minute quadrangle map,

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which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       208.      Road 0771 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0659 pursuant to the County’s governmental right

and authority.

       209.      Witnesses with personal knowledge of the history of Road 0771 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       210.      Currently known reputation in the community is that Road 0771 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       211.      Public motor vehicle use of Road 0771 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       212.      Road 0771 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       213.      Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0771.

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       214.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0771 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0772

       215.    Road 0772 is designated as county road number 0772 and SGID road

identification number RD270772 and is more or less 0.80 miles long.

       216.    Exhibit 335 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0772 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       217.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0772 solely as it crosses United States public land as included and specifically

described in Exhibit 335. Road 0772 includes the segment of road specifically set forth in

Exhibit 335 and as exists on the ground.

Acceptance of Road 0772 R.S. 2477 Right-of-way Prior to October 21, 1976.

       218.    Road 0772 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       219.    Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for Road 0772 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

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       220.      Road 0772 appears on the Springdale West (1957) 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       221.      Road 0772 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0659 pursuant to the County’s governmental right

and authority.

       222.      Witnesses with personal knowledge of the history of Road 0772 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       223.      Currently known reputation in the community is that Road 0772 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       224.      Public motor vehicle use of Road 0772 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       225.      Road 0772 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       226.      Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

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action to establish clear title to the right-of-way underlying Road 0772.

       227.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0772 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0790

       228.    Road 0790 is designated as county road number 0790 and SGID road

identification number RD270790 and is more or less 3.12 miles long.

       229.    Exhibit 336 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0790 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       230.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0790 solely as it crosses United States public land as included and specifically

described in Exhibit 336. Road 0790 includes the segment of road specifically set forth in

Exhibit 336 and as exists on the ground.

Acceptance of Road 0790 R.S. 2477 Right-of-way Prior to October 21, 1976.

       231.    Road 0790 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       232.    Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for Road 0790 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

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continues to show the road as it existed prior to October 21, 1976.

       233.      Road 0790 appears on the Smithsonian Butte (1954) 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       234.      Road 0790 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0659 pursuant to the County’s governmental right

and authority.

       235.      Witnesses with personal knowledge of the history of Road 0790 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       236.      Currently known reputation in the community is that Road 0790 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       237.      Public motor vehicle use of Road 0790 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       238.      Road 0790 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       239.      Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0790.

       240.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0790 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0823

       241.    Road 0823 is designated as county road number 0823 and SGID road

identification number RD270823 and is more or less 1.35 miles long.

       242.    Exhibit 337 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0823 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       243.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0823 solely as it crosses United States public land as included and specifically

described in Exhibit 337. Road 0823 includes the segment of road specifically set forth in

Exhibit 337 and as exists on the ground.

Acceptance of Road 0823 R.S. 2477 Right-of-way Prior to October 21, 1976.

       244.    Road 0823 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       245.    Aerial photography from and 1978 or earlier confirms the historical use,

existence, and acceptance of the right-of-way for Road 0823 as a public highway located on the

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land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       246.      Road 0823 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0659 pursuant to the County’s governmental right

and authority.

       247.      Witnesses with personal knowledge of the history of Road 0823 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       248.      Currently known reputation in the community is that Road 0823 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       249.      Public motor vehicle use of Road 0823 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       250.      Road 0823 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       251.      Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0823.

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       252.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0823 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0824

       253.    Road 0824 is designated as county road number 0824 and SGID road

identification number RD270824 and is more or less 0.94 miles long.

       254.    Exhibit 338 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0824 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       255.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0824 solely as it crosses United States public land as included and specifically

described in Exhibit 338. Road 0824 includes the segment of road specifically set forth in

Exhibit 338 and as exists on the ground.

Acceptance of Road 0824 R.S. 2477 Right-of-way Prior to October 21, 1976.

       256.    Road 0824 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       257.    Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for Road 0824 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

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       258.      Road 0824 appears on the Hildale (1954) 7.5-minute quadrangle map, which

evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       259.      Road 0824 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0659 pursuant to the County’s governmental right

and authority.

       260.      Witnesses with personal knowledge of the history of Road 0824 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       261.      Currently known reputation in the community is that Road 0824 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       262.      Public motor vehicle use of Road 0824 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       263.      Road 0824 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       264.      Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

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action to establish clear title to the right-of-way underlying Road 0824.

       265.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0824 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0825

       266.    Road 0825 is designated as county road number 0825 and SGID road

identification number RD270825 and is more or less 0.81 miles long.

       267.    Exhibit 339 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0825 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       268.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0825 solely as it crosses United States public land as included and specifically

described in Exhibit 339. Road 0825 includes the segment of road specifically set forth in

Exhibit 339 and as exists on the ground.

Acceptance of Road 0825 R.S. 2477 Right-of-way Prior to October 21, 1976.

       269.    Road 0825 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       270.    Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for Road 0825 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

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continues to show the road as it existed prior to October 21, 1976.

       271.      Road 0825 appears on the Hildale (1954) 7.5-minute quadrangle map, which

evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       272.      Road 0825 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0659 pursuant to the County’s governmental right

and authority.

       273.      Witnesses with personal knowledge of the history of Road 0825 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       274.      Currently known reputation in the community is that Road 0825 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       275.      Public motor vehicle use of Road 0825 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       276.      Road 0825 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       277.      Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0825.

       278.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0825 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 9934

       279.    Road 9934 is designated as county road number 9934 and SGID road

identification number RD279934 and is more or less 0.81 miles long.

       280.    Exhibit 340 (attached hereto and incorporated herein) contains certain information

pertaining to Road 9934 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       281.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 9934 solely as it crosses United States public land as included and specifically

described in Exhibit 340. Road 9934 includes the segment of road specifically set forth in

Exhibit 340 and as exists on the ground.

Acceptance of Road 9934 R.S. 2477 Right-of-way Prior to October 21, 1976.

       282.    Road 9934 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       283.    Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for Road 9934 as a public highway located on the land at

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issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       284.      Road 0824 appears on the Smithsonian Butte (1954) 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       285.      Road 9934 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0659 pursuant to the County’s governmental right

and authority.

       286.      Witnesses with personal knowledge of the history of Road 9934 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       287.      Currently known reputation in the community is that Road 9934 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       288.      Public motor vehicle use of Road 9934 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       289.      Road 9934 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

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       290.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 9934.

       291.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 9934 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 9935

       292.    Road 9935 is designated as county road number 9935 and SGID road

identification number RD279935 and is more or less 0.40 miles long.

       293.    Exhibit 341 (attached hereto and incorporated herein) contains certain information

pertaining to Road 9935 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       294.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 9935 solely as it crosses United States public land as included and specifically

described in Exhibit 341. Road 9935 includes the segment of road specifically set forth in

Exhibit 341 and as exists on the ground.

Acceptance of Road 9935 R.S. 2477 Right-of-way Prior to October 21, 1976.

       295.    Road 9935 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       296.    Aerial photography from 1978 or earlier confirms the historical use, existence,

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and acceptance of the right-of-way for Road 9935 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       297.      Road 9935 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0659 pursuant to the County’s governmental right

and authority.

       298.      Witnesses with personal knowledge of the history of Road 9935 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       299.      Currently known reputation in the community is that Road 9935 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       300.      Public motor vehicle use of Road 9935 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       301.      Road 9935 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       302.      Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

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action to establish clear title to the right-of-way underlying Road 9935.

       303.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 9935 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 9960

       304.    Road 9960 is designated as county road number 9960 and SGID road

identification number RD279960 and is more or less 0.11 miles long.

       305.    Exhibit 342 (attached hereto and incorporated herein) contains certain information

pertaining to Road 9960 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       306.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 9960 solely as it crosses United States public land as included and specifically

described in Exhibit 342. Road 9960 includes the segment of road specifically set forth in

Exhibit 342 and as exists on the ground.

Acceptance of Road 9960 R.S. 2477 Right-of-way Prior to October 21, 1976.

       307.    Road 9960 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       308.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 9960 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

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show the road as it existed prior to October 21, 1976.

       309.      Road 9960 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0659 pursuant to the County’s governmental right

and authority.

       310.      Witnesses with personal knowledge of the history of Road 9960 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       311.      Currently known reputation in the community is that Road 9960 has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       312.      Public motor vehicle use of Road 9960 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       313.      Road 9960 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       314.      Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 9960.

       315.      The State and County are entitled to an order quieting title to their R.S. 2477

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right-of-way for Road 9960 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0649B

       316.    Road 0649B is designated as county road number 0649B and SGID road

identification number RD271116 and is more or less 2.49 miles long.

       317.    Exhibit 343 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0649B including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       318.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0649B solely as it crosses United States public land as included and specifically

described in Exhibit 343. Road 0649B includes the segment of road specifically set forth in

Exhibit 343 and as exists on the ground.

Acceptance of Road 0649B R.S. 2477 Right-of-way Prior to October 21, 1976.

       319.    Road 0649B has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       320.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0649B as a public highway located on the land at issue

in this case and following the course described herein. More recent aerial photography continues

to show the road as it existed prior to October 21, 1976.

       321.    Road 0649B was accepted as a County highway at least 10 years prior to October

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21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0659 pursuant to the County’s governmental right

and authority.

       322.      Witnesses with personal knowledge of the history of Road 0649B confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       323.      Currently known reputation in the community is that Road 0649B has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       324.      Public motor vehicle use of Road 0649B as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       325.      Road 0649B traverses a valid and perfected R.S. 2477 public highway right-of-

way as described herein.

       326.      Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0649B.

       327.      The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0649B on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

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Road Number 446B

       328.    Road 446B is designated as county road number 446B and SGID road

identification number RD271022 and is more or less 0.13 miles long.

       329.    Exhibit 344 (attached hereto and incorporated herein) contains certain information

pertaining to Road 446B including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       330.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 446B solely as it crosses United States public land as included and specifically

described in Exhibit 344. Road 446B includes the segment of road specifically set forth in

Exhibit 344 and as exists on the ground.

Acceptance of Road 446B R.S. 2477 Right-of-way Prior to October 21, 1976.

       331.    Road 446B has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       332.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 446B as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

       333.    Road 446B was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0659 pursuant to the County’s governmental right

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and authority.

       334.      Witnesses with personal knowledge of the history of Road 446B confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       335.      Currently known reputation in the community is that Road 446B has been open

for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       336.      Public motor vehicle use of Road 446B as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       337.      Road 446B traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       338.      Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 446B.

       339.      The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 446B on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Canaan Mountain Road, 9920

       340.      The Canaan Mountain Road is designated as county road number 9920 and SGID

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road identification number RD279920 and is more or less 13.24 miles long.

       341.    Exhibit 345 (attached hereto and incorporated herein) contains certain information

pertaining to the Canaan Mountain Road including: a map depicting the road; township, range

and section references describing the road’s physical location; a servient estate ownership list;

and a complete centerline description of the road.

       342.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Canaan Mountain Road solely as it crosses United States public land as included

and specifically described in Exhibit 345. The Canaan Mountain Road includes the segment of

road specifically set forth in Exhibit 345 and as exists on the ground.

Acceptance of the Canaan Mountain Road R.S. 2477 Right-of-way Prior to October 21,
1976.

       343.    The Canaan Mountain Road has long served as a public highway providing access

to and across public land. This road serves the public’s transportation needs.

       344.    Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Canaan Mountain Road as a public highway located

on the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       345.    The Canaan Mountain Road appears on the Springdale East (1957) and Hildale

(1954) 7.5-minute quadrangle maps, which evidences the existence, use, and acceptance of the

right-of-way underlying this road. See Exhibit 12 for more detailed map information.

       346.    Canaan Mountain Road was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way
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by managing, maintaining, and improving Road 9920 pursuant to the County’s governmental

right and authority.

        347.   Witnesses with personal knowledge of the history of the Canaan Mountain Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        348.   Currently known reputation in the community is that the Canaan Mountain Road

has been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976.

        349.   Public motor vehicle use of the Canaan Mountain Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        350.   The Canaan Mountain Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        351.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Canaan Mountain Road.

        352.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Canaan Mountain Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

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of this road.

Falls Park Road, 0654

        353.    The Falls Park Road is designated as county road number 0654 and SGID road

identification number RD270654 and is more or less 0.42 miles long.

        354.    Exhibit 346 (attached hereto and incorporated herein) contains certain information

pertaining to the Falls Park Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        355.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Falls Park Road solely as it crosses United States public land as included and

specifically described in Exhibit 346. The Falls Park Road includes the segment of road

specifically set forth in Exhibit 346 and as exists on the ground.

Acceptance of the Falls Park Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        356.    The Falls Park Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

        357.    Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Falls Park Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        358.    The Falls Park Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

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managing, maintaining, or improving the Falls Park Road pursuant to the County’s governmental

right and authority.

        359.   Witnesses with personal knowledge of the history of the Falls Park Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

        360.   Currently known reputation in the community is that the Falls Park Road has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

        361.   Public motor vehicle use of the Falls Park Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        362.   The Falls Park Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        363.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Falls Park Road.

        364.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Falls Park Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

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Mail Drop Road, 0822

       365.    The Mail Drop Road is designated as county road number 0822 and SGID road

identification number RD270822 and is more or less 1.55 miles long.

       366.    Exhibit 347 (attached hereto and incorporated herein) contains certain information

pertaining to the Mail Drop Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       367.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Mail Drop Road solely as it crosses United States public land as included and

specifically described in Exhibit 347. The Mail Drop Road includes the segment of road

specifically set forth in Exhibit 347 and as exists on the ground.

Acceptance of the Mail Drop Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       368.    The Mail Drop Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       369.    Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Mail Drop Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       370.    The Mail Drop Road appears on the Springdale East (1957) 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

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       371.    The Mail Drop Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Mail Drop Road pursuant to the County’s

governmental right and authority.

       372.    Witnesses with personal knowledge of the history of the Mail Drop Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       373.    Currently known reputation in the community is that the Mail Drop Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976.

       374.    Public motor vehicle use of the Mail Drop Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

       375.    The Mail Drop Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

       376.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Mail Drop Road.

       377.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Mail Drop Road on lands owned by the United States as described herein

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and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Wood Historical Trail Road, 0762

        378.   The Wood Historical Trail Road is designated as county road number 0762 and

SGID road identification number RD270762 and is more or less 2.85 miles long.

        379.   Exhibit 348 (attached hereto and incorporated herein) contains certain information

pertaining to the Wood Historical Trail Road including: a map depicting the road; township,

range and section references describing the road’s physical location; a servient estate ownership

list; and a complete centerline description of the road.

        380.   In this action, the State and County seek to quiet title to the public highway right-

of-way for the Wood Historical Trail Road solely as it crosses United States public land as

included and specifically described in Exhibit 348. The Wood Historical Trail Road includes the

segment of road specifically set forth in Exhibit 348 and as exists on the ground.

Acceptance of the Wood Historical Trail Road R.S. 2477 Right-of-way Prior to October 21,
1976.

        381.   The Wood Historical Trail Road has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

        382.   Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Wood Historical Trail Road as a public highway

located on the land at issue in this case and following the course described herein. More recent

aerial photography continues to show the road as it existed prior to October 21, 1976.

        383.   The Wood Historical Trail Road appears on the Springdale West (1957) 7.5-
                                                745
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minute quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        384.   The Wood Historical Trail Road was accepted as a County highway at least 10

years prior to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477

right-of-way by managing, maintaining, or improving the Wood Historical Trail Road pursuant

to the County’s governmental right and authority.

        385.   Witnesses with personal knowledge of the history of the Wood Historical Trail

Road confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        386.   Currently known reputation in the community is that the Wood Historical Trail

Road has been open for all to come and go, whenever convenient or necessary, for more than 10

years prior to October 21, 1976, and continuing to the present.

        387.   Public motor vehicle use of the Wood Historical Trail Road as a public

thoroughfare traversing unreserved public lands on a continuous basis, whenever convenient or

necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of

an R.S. 2477 public highway right-of-way underlying this road.

        388.   The Wood Historical Trail Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        389.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

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action to establish clear title to the right-of-way underlying the Wood Historical Trail Road.

       390.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Wood Historical Trail Road on lands owned by the United States as

described herein and including that which is reasonable and necessary for the use, benefit, and

enjoyment of this road.

                          NINTH CAUSE OF ACTION – QUIET TITLE
                                   SMITH MESA AREA

       391.    Plaintiffs reallege and incorporate herein each of the foregoing paragraphs.

       392.    The Smith Mesa Area is located in northeastern Washington County and is shown

on Exhibit 10 attached hereto and incorporated herein.

       393.    The Smith Mesa Area includes the following roads—listed by Common Road

Name (if applicable) and County Unique Number: (1) Anderson Junction Road, 0342; (2) Coal

Pits Road, 0639; (3) Lower Pits Road, 0642; (4) Lower Toquerville Falls Road, 0347; (5) Old 91

Brouse Road, 0336; (6) Smith Mesa Road, 0622; (7) Toquerville Towers Road, 0368; (8) Upper

Toquerville Falls Spur Road, 9883; (9) Upper Toquerville Road, 0346; (10) Zion-Kolob

Mountain Road, 0632; (11) Road Number 0357; (12) Road Number 0359; (13) Road Number

0363; (14) Road Number 0369; (15) Road Number 0370; (16) Road Number 0371; (17) Road

Number 0372; (18) Road Number 0373; (19) Road Number 0452; (20) Road Number 0626; (21)

Road Number 0629; (22) Road Number 0637; (23) Road Number 0638; (24) Road Number

0640; (25) Road Number 0751; (26) Road Number 0752; (27) Road Number 0753; (28) Road

Number 0754; (29) Road Number 7962; (30) Road Number 7978; (31) Road Number 7979; (32)

Road Number 9991; (33) Road Number 9992; (34) Road Number 9994.
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          394.   Each right-of-way claimed in the Smith Mesa Area was used by the general

public who engaged in one or more of the following activities: cattle ranching, sheep herding,

prospecting for minerals, rock hounding, mining, oil and gas exploration, wood gathering,

cutting wood, collecting pine nuts or berries, recreation, hunting, trapping, government access,

traveling in and through the area, or any other legitimate purpose.

          395.   All rights-of-way claimed in the Smith Mesa Area are sufficient in scope for

general motor vehicle travel and include that which is reasonable and necessary to meet the

exigencies of motor vehicle travel according to safe engineering practices that protect the public

and the road and also prevent undue degradation of the adjacent land.

          396.   All rights-of-way claimed in the Smith Mesa Area include a minimum right-of-

way width of 66 feet or greater width as determined at trial, along with cuts, fills, slopes, water

bars, and such features and facilities as have historically been acknowledged by the DOI and

under law as being reasonable and necessary for the use, benefit, and enjoyment of public

highway rights-of-way. See, e.g., UTAH CODE ANN. § 72-5-302(4)(b) (2003).

          397.   Prior to October 21, 1976, the State of Utah, Washington County, and the public

accepted through continuous use the congressional grant of an R.S. 2477 right-of-way for the

entire length and course of all roads as described herein, on public lands owned by the United

States.

Anderson Junction Road, 0342

          398.   The Anderson Junction Road is designated as county road number 0342 and

SGID road identification number RD270342 and is more or less 2.02 miles long.

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       399.    Exhibit 3449 (attached hereto and incorporated herein) contains certain

information pertaining to the Anderson Junction Road including: a map depicting the road;

township, range and section references describing the road’s physical location; a servient estate

ownership list; and a complete centerline description of the road.

       400.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Anderson Junction Road solely as it crosses United States public land as included

and specifically described in Exhibit 349. The Anderson Junction Road includes the segment of

road specifically set forth in Exhibit 349 and as exists on the ground.

Acceptance of the Anderson Junction Road R.S. 2477 Right-of-way Prior to October 21,
1976.

       401.    The Anderson Junction Road has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

       402.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Anderson Junction Road as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       403.    The Anderson Junction Road appears on the Pintura (1954) USGS 7.5-minute and

New Harmony (1957) quadrangle maps, which evidences the existence, use, and acceptance of

the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

       404.    The County confirmed its acceptance of the Anderson Junction Road by 1976,

when it designated and accepted the road as a County highway on the County’s general highway

map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance
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of its R.S. 2477 right-of-way by managing, maintaining, or improving the Anderson Junction

Road using public funds pursuant to the County’s governmental right and authority.

        405.    Witnesses with personal knowledge of the history of the Anderson Junction Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis for more than 10 years prior to October 21, 1976.

        406.    Currently known reputation in the community is that the Anderson Junction Road

has been open for all to come and go as they please for more than 10 years prior to October 21,

1976, and continuing to the present.

        407.    Public motor vehicle use of the Anderson Junction Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        408.    The Anderson Junction Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        409.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Anderson Junction Road.

        410.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Anderson Junction Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

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Coal Pits Road, 0639

       411.    The Coal Pits Road is designated as county road number 0639 and SGID road

identification number RD270639 and is more or less 4.25 miles long.

       412.    Exhibit 350 (attached hereto and incorporated herein) contains certain information

pertaining to the Coal Pits Road including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       413.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Coal Pits Road solely as it crosses United States public land as included and

specifically described in Exhibit 350. The Coal Pits Road includes the segment of road

specifically set forth in Exhibit 350 and as exists on the ground.

Acceptance of the Coal Pits Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       414.    The Coal Pits Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       415.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Coal Pits Road as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       416.    The Coal Pits Road appears on the Virgin (1954) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

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       417.    The County confirmed its acceptance of the Coal Pits Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Coal Pits Road using public

funds pursuant to the County’s governmental right and authority.

       418.    Witnesses with personal knowledge of the history of the Coal Pits Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous basis

for more than 10 years prior to October 21, 1976.

       419.    Currently known reputation in the community is that the Coal Pits Road has been

open for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

       420.    Public motor vehicle use of the Coal Pits Road as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       421.    The Coal Pits Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

       422.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Coal Pits Road.

       423.    The State and County are entitled to an order quieting title to their R.S. 2477

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right-of-way for the Coal Pits Road on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Lower Pits Road, 0642

       424.    The Lower Pits Road is designated as county road number 0642 and SGID road

identification number RD270642 and is more or less 0.92 miles long.

       425.    Exhibit 351 (attached hereto and incorporated herein) contains certain information

pertaining to the Lower Pits Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       426.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Lower Pits Road solely as it crosses United States public land as included and

specifically described in Exhibit 351. The Lower Pits Road includes the segment of road

specifically set forth in Exhibit 351 and as exists on the ground.

Acceptance of the Lower Pits Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       427.    The Lower Pits Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       428.    Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Lower Pits Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       429.    The Lower Pits Road appears on the Virgin (1954) USGS 7.5-minute quadrangle

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map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       430.    The County confirmed its acceptance of the Lower Pits Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Lower Pits Road using

public funds pursuant to the County’s governmental right and authority.

       431.    Witnesses with personal knowledge of the history of the Lower Pits Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous basis

for more than 10 years prior to October 21, 1976.

       432.    Currently known reputation in the community is that the Lower Pits Road has

been open for all to come and go as they please for more than 10 years prior to October 21, 1976,

and continuing to the present.

       433.    Public motor vehicle use of the Lower Pits Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

       434.    The Lower Pits Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

       435.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

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action to establish clear title to the right-of-way underlying the Lower Pits Road.

        436.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Lower Pits Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Lower Toquerville Falls Road, 0347

        437.   The Lower Toquerville Falls Road is designated as county road number 0347 and

SGID road identification number RD270347 and is more or less 0.59 miles long.

        438.   Exhibit 352 (attached hereto and incorporated herein) contains certain information

pertaining to the Lower Toquerville Falls Road including: a map depicting the road; township,

range and section references describing the road’s physical location; a servient estate ownership

list; and a complete centerline description of the road.

        439.   In this action, the State and County seek to quiet title to the public highway right-

of-way for the Lower Toquerville Falls Road solely as it crosses United States public land as

included and specifically described in Exhibit 352. The Lower Toquerville Falls Road includes

the segment of road specifically set forth in Exhibit 352 and as exists on the ground.

Acceptance of the Lower Toquerville Falls Road R.S. 2477 Right-of-way Prior to October
21, 1976.

        440.   The Lower Toquerville Falls Road has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

        441.   Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Lower Toquerville Falls Road as a public highway located
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on the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       442.    The Lower Toquerville Falls Road appears on the Pintura (1954) USGS 15-

minute and Hurricane (1954) 7.5-minute quadrangle maps, which evidences the existence, use,

and acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

information.

       443.    The Lower Toquerville Falls Road was accepted as a County highway at least 10

years prior to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477

right-of-way by managing, maintaining, or improving the Lower Toquerville Falls Road using

public funds pursuant to the County’s governmental right and authority.

       444.    Witnesses with personal knowledge of the history of the Lower Toquerville Falls

Road confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis for more than 10 years prior to October 21, 1976.

       445.    Currently known reputation in the community is that the Lower Toquerville Falls

Road has been open for all to come and go as they please for more than 10 years prior to October

21, 1976, and continuing to the present.

       446.    Public motor vehicle use of the Lower Toquerville Falls Road as a public

thoroughfare traversing unreserved public lands on a continuous basis, whenever convenient or

necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of

an R.S. 2477 public highway right-of-way underlying this road.

       447.    The Lower Toquerville Falls Road traverses a valid and perfected R.S. 2477

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public highway right-of-way as described herein.

       448.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Lower Toquerville Falls Road.

       449.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Lower Toquerville Falls Road on lands owned by the United States as

described herein and including that which is reasonable and necessary for the use, benefit, and

enjoyment of this road.

Old 91 Brouse Road, 0336

       450.    The Old 91 Brouse Road is designated as county road number 0336 and SGID

road identification number RD270336 and is more or less 3.16 miles long.

       451.    Exhibit 353 (attached hereto and incorporated herein) contains certain information

pertaining to the Old 91 Brouse Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       452.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Old 91 Brouse Road solely as it crosses United States public land as included and

specifically described in Exhibit 353. The Old 91 Brouse Road includes the segment of road

specifically set forth in Exhibit 353 and as exists on the ground.

Acceptance of the Old 91 Brouse Road R.S. 2477 Right-of-way Prior to October 21, 1976.




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       453.    The Old 91 Brouse Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       454.    Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Old 91 Brouse Road as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       455.    The Old 91 Brouse Road appears on the Pintura (1954) USGS 15-minute and

New Harmony (1957) 7.5-minute quadrangle maps, which evidences the existence, use, and

acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

information.

       456.    The County confirmed its acceptance of the Old 91 Brouse Road by 1976, when

it designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Old 91 Brouse Road using

public funds pursuant to the County’s governmental right and authority.

       457.    Witnesses with personal knowledge of the history of the Old 91 Brouse Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis for more than 10 years prior to October 21, 1976.

       458.    Currently known reputation in the community is that the Old 91 Brouse Road has

been open for all to come and go as they please for more than 10 years prior to October 21, 1976,

and continuing to the present.

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        459.    Public motor vehicle use of the Old 91 Brouse Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        460.    The Old 91 Brouse Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        461.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Old 91 Brouse Road.

        462.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Old 91 Brouse Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Smith Mesa Road, 0622

        463.    The Smith Mesa Road is designated as county road number 0622 and SGID road

identification number RD270622 and is more or less 22.36 miles long.

        464.    Exhibit 354 (attached hereto and incorporated herein) contains certain information

pertaining to the Smith Mesa Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        465.    In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Smith Mesa Road solely as it crosses United States public land as included and

specifically described in Exhibit 354. The Smith Mesa Road includes the segment of road

specifically set forth in Exhibit 354 and as exists on the ground.

Acceptance of the Smith Mesa Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       466.    The Smith Mesa Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       467.    Aerial photography from 1976 and 1978 confirms the historical use, existence,

and acceptance of the right-of-way for the Smith Mesa Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       468.    The Smith Mesa Road appears on the The Guardian Angels (1957) USGS 7.5-

minute quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       469.    The County confirmed its acceptance of the Smith Mesa Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Smith Mesa Road using

public funds pursuant to the County’s governmental right and authority.

       470.    Witnesses with personal knowledge of the history of the Smith Mesa Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis for more than 10 years prior to October 21, 1976.

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        471.   Currently known reputation in the community is that the Smith Mesa Road has

been open for all to come and go as they please for more than 10 years prior to October 21, 1976,

and continuing to the present.

        472.   Public motor vehicle use of the Smith Mesa Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        473.   The Smith Mesa Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        474.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Smith Mesa Road.

        475.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Smith Mesa Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Toquerville Towers Road, 0368

        476.   The Toquerville Towers Road is designated as county road number 0368 and

SGID road identification number RD270368 and is more or less 1.70 miles long.

        477.   Exhibit 355 (attached hereto and incorporated herein) contains certain information

pertaining to the Toquerville Towers Road including: a map depicting the road; township, range

                                               761
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and section references describing the road’s physical location; a servient estate ownership list;

and a complete centerline description of the road.

       478.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Toquerville Towers Road solely as it crosses United States public land as

included and specifically described in Exhibit 355. The Toquerville Towers Road includes the

segment of road specifically set forth in Exhibit 355 and as exists on the ground.

Acceptance of the Toquerville Towers Road R.S. 2477 Right-of-way Prior to October 21,
1976.

       479.    The Toquerville Towers Road has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

       480.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Toquerville Towers Road as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       481.    The Toquerville Towers Road was accepted as a County highway at least 10 years

prior to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-

way by managing, maintaining, or improving the Toquerville Towers Road using public funds

pursuant to the County’s governmental right and authority.

       482.    Public motor vehicle use of the Toquerville Towers Road as a public thoroughfare

traversing unreserved public lands on a continuous basis for a period of 10 years prior to October

21, 1976, confirms acceptance of the grant of an R.S. 2477 public highway right-of-way

underlying this road.
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        483.    Witnesses with personal knowledge of the history of the Toquerville Towers

Road confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis for more than 10 years prior to October 21, 1976.

        484.    Currently known reputation in the community is that the Toquerville Towers

Road has been open for all to come and go as they please for more than 10 years prior to October

21, 1976, and continuing to the present.

        485.    Public motor vehicle use of the Toquerville Towers Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        486.    The Toquerville Towers Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        487.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Toquerville Towers Road.

        488.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Toquerville Towers Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Upper Toquerville Falls Spur Road, 9883

            489.       The Upper Toquerville Falls Spur Road is designated as county road

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   number 9883 and SGID road identification number RD279883 and is more or less 0.40 miles

   long.

           490.       Exhibit 356 (attached hereto and incorporated herein) contains certain

   information pertaining to the Upper Toquerville Falls Spur Road including: a map depicting

   the road; township, range and section references describing the road’s physical location; a

   servient estate ownership list; and a complete centerline description of the road.

           491.       In this action, the State and County seek to quiet title to the public

   highway right-of-way for the Upper Toquerville Falls Spur Road solely as it crosses United

   States public land as included and specifically described in Exhibit 356. The Upper

   Toquerville Falls Spur Road includes the segment of road specifically set forth in Exhibit 356

   and as exists on the ground.

Acceptance of the Upper Toquerville Falls Spur Road R.S. 2477 Right-of-way Prior to
October 21, 1976.

        492.   The Upper Toquerville Falls Spur Road has long served as a public highway

providing access to and across public land. This road serves the public’s transportation needs.

        493.   Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for the Upper Toquerville Falls Spur Road as a public

highway located on the land at issue in this case and following the course described herein.

More recent aerial photography continues to show the road as it existed prior to October 21,

1976.

        494.   The Upper Toquerville Falls Spur Road was accepted as a County highway at

least 10 years prior to October 21, 1976. The County further evidenced its acceptance of its R.S.
                                               764
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2477 right-of-way by managing, maintaining, or improving the Upper Toquerville Falls Spur

Road using public funds pursuant to the County’s governmental right and authority.

        495.   Witnesses with personal knowledge of the history of the Upper Toquerville Falls

Spur Road confirm public use of this road as a public thoroughfare by means of motor vehicles

on a continuous basis for more than 10 years prior to October 21, 1976.

        496.   Currently known reputation in the community is that the Upper Toquerville Falls

Spur Road has been open for all to come and go as they please for more than 10 years prior to

October 21, 1976, and continuing to the present.

        497.   Public motor vehicle use of the Upper Toquerville Falls Spur Road as a public

thoroughfare traversing unreserved public lands on a continuous basis, whenever convenient or

necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of

an R.S. 2477 public highway right-of-way underlying this road.

        498.   The Upper Toquerville Falls Spur Road traverses a valid and perfected R.S. 2477

public highway right-of-way as described herein.

        499.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Upper Toquerville Falls Spur

Road.

        500.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Upper Toquerville Falls Spur Road on lands owned by the United States as

described herein and including that which is reasonable and necessary for the use, benefit, and

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enjoyment of this road.

Upper Toquerville Road, 0346

        501.   The Upper Toquerville Road is designated as county road number 0346 and SGID

road identification number RD270346 and is more or less 5.40 miles long.

        502.   Exhibit 357 (attached hereto and incorporated herein) contains certain information

pertaining to the Upper Toquerville Road including: a map depicting the road; township, range

and section references describing the road’s physical location; a servient estate ownership list;

and a complete centerline description of the road.

        503.   In this action, the State and County seek to quiet title to the public highway right-

of-way for the Upper Toquerville Road solely as it crosses United States public land as included

and specifically described in Exhibit 357. The Upper Toquerville Road includes the segment of

road specifically set forth in Exhibit 357 and as exists on the ground.

Acceptance of the Upper Toquerville Road R.S. 2477 Right-of-way Prior to October 21,
1976.

        504.   The Upper Toquerville Road has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

        505.   Aerial photography from 1972, 1976, and 1978 confirms the historical use,

existence, and acceptance of the right-of-way for the Upper Toquerville Road as a public

highway located on the land at issue in this case and following the course described herein.

More recent aerial photography continues to show the road as it existed prior to October 21,

1976.

        506.   The Upper Toquerville Road appears on the New Harmony (1957) USGS 15-
                                                766
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minute and the Puntura (1954) 7.5-minute quadrangle maps, which evidences the existence, use,

and acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

information.

       507.    The Upper Toquerville Road was accepted as a County highway at least 10 years

prior to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-

way by managing, maintaining, or improving the Upper Toquerville Road using public funds

pursuant to the County’s governmental right and authority.

       508.    Witnesses with personal knowledge of the history of the Upper Toquerville Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis for more than 10 years prior to October 21, 1976.

       509.    Currently known reputation in the community is that the Upper Toquerville Road

has been open for all to come and go as they please for more than 10 years prior to October 21,

1976, and continuing to the present.

       510.    Public motor vehicle use of the Upper Toquerville Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

       511.    The Upper Toquerville Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

       512.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

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action to establish clear title to the right-of-way underlying the Upper Toquerville Road.

        513.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Upper Toquerville Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Zion - Kolob Mountain Road, 0632

        514.    The Zion - Kolob Mountain Road is designated as county road number 0632 and

SGID road identification number RD279910 and is more or less 29.65 miles long.

        515.    Exhibit 358 (attached hereto and incorporated herein) contains certain information

pertaining to the Zion - Kolob Mountain Road including: a map depicting the road; township,

range and section references describing the road’s physical location; a servient estate ownership

list; and a complete centerline description of the road.

        516.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Zion - Kolob Mountain Road solely as it crosses United States public land as

included and specifically described in Exhibit 358. The Zion - Kolob Mountain Road includes

the segment of road specifically set forth in Exhibit 358 and as exists on the ground.

Acceptance of the Zion - Kolob Mountain Road R.S. 2477 Right-of-way Prior to October
21, 1976.

        517.    The Zion - Kolob Mountain Road has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

        518.    Aerial photography from 1976 and 1978 confirms the historical use, existence,

and acceptance of the right-of-way for the Zion - Kolob Mountain Road as a public highway
                                                 768
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located on the land at issue in this case and following the course described herein. More recent

aerial photography continues to show the road as it existed prior to October 21, 1976.

       519.    The Zion - Kolob Mountain Road appears on the Hurricane (1954), Virgin (1954)

Smith Mesa (1954), and Kolob Reservoir (1957) USGS 7.5-minute quadrangle maps, which

evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       520.    The County confirmed its acceptance of the Zion – Kolob Mountain Road by

1976, when it designated and accepted the road as a County highway on the County’s general

highway map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its

acceptance of its R.S. 2477 right-of-way by managing, maintaining, or improving the Zion –

Kolob Mountain Road using public funds pursuant to the County’s governmental right and

authority.

       521.    Witnesses with personal knowledge of the history of the Zion - Kolob Mountain

Road confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis for more than 10 years prior to October 21, 1976.

       522.    Currently known reputation in the community is that the Zion - Kolob Mountain

Road has been open for all to come and go as they please for more than 10 years prior to October

21, 1976, and continuing to the present.

       523.    Public motor vehicle use of the Zion - Kolob Mountain Road as a public

thoroughfare traversing unreserved public lands on a continuous basis for a period of 10 years

prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public highway

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right-of-way underlying this road.

       524.    The Zion - Kolob Mountain Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

       525.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Zion - Kolob Mountain Road.

       526.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Zion - Kolob Mountain Road on lands owned by the United States as

described herein and including that which is reasonable and necessary for the use, benefit, and

enjoyment of this road.

Road Number 0357

       527.    Road 0357 is designated as county road number 0357 and SGID road

identification number RD270357 and is more or less 1.09 miles long.

       528.    Exhibit 359 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0357 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       529.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0357 solely as it crosses United States public land as included and specifically

described in Exhibit 359. Road 0357 includes the segment of road specifically set forth in

Exhibit 359 and as exists on the ground.

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Acceptance of Road 0357 R.S. 2477 Right-of-way Prior to October 21, 1976.

        530.     Road 0357 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

        531.     Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0357 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

        532.     Road 0357 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0357 pursuant to the County’s governmental right

and authority.

        533.     Witnesses with personal knowledge of the history of Road 0357 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

        534.     Currently known reputation in the community is that Road 0357 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        535.     Public motor vehicle use of Road 0357 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

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       536.    Road 0357 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       537.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0357.

       538.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0357 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0359

       539.    Road 0359 is designated as county road number 0359 and SGID road

identification number RD270359 and is more or less 0.72 miles long.

       540.    Exhibit 360 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0359 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       541.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0359 solely as it crosses United States public land as included and specifically

described in Exhibit 360. Road 0359 includes the segment of road specifically set forth in

Exhibit 360 and as exists on the ground.




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Acceptance of Road 0359 R.S. 2477 Right-of-way Prior to October 21, 1976.

        542.     Road 0359 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

        543.     Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0359 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

        544.     Road 0359 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0359 pursuant to the County’s governmental right

and authority.

        545.     Witnesses with personal knowledge of the history of Road 0359 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

        546.     Currently known reputation in the community is that Road 0359 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        547.     Public motor vehicle use of Road 0359 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

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       548.    Road 0359 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       549.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0359.

       550.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0359 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0363

       551.    Road 0363 is designated as county road number 0363 and SGID road

identification number RD270363 and is more or less 1.47 miles long.

       552.    Exhibit 361 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0363 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       553.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0363 solely as it crosses United States public land as included and specifically

described in Exhibit 361. Road 0363 includes the segment of road specifically set forth in

Exhibit 361 and as exists on the ground.




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Acceptance of Road 0363 R.S. 2477 Right-of-way Prior to October 21, 1976.

        554.     Road 0363 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

        555.     Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0363 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

        556.     Road 0363 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0363 pursuant to the County’s governmental right

and authority.

        557.     Witnesses with personal knowledge of the history of Road 0363 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

        558.     Currently known reputation in the community is that Road 0363 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        559.     Public motor vehicle use of Road 0363 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

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       560.    Road 0363 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       561.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0363.

       562.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0363 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0369

       563.    Road 0369 is designated as county road number 0369 and SGID road

identification number RD270369 and is more or less 1.47 miles long.

       564.    Exhibit 362 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0369 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       565.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0369 solely as it crosses United States public land as included and specifically

described in Exhibit 362. Road 0369 includes the segment of road specifically set forth in

Exhibit 362 and as exists on the ground.




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Acceptance of Road 0369 R.S. 2477 Right-of-way Prior to October 21, 1976.

        566.     Road 0369 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

        567.     Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0369 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

        568.     Road 0369 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0369 pursuant to the County’s governmental right

and authority.

        569.     Witnesses with personal knowledge of the history of Road 0369 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

        570.     Currently known reputation in the community is that Road 0369 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        571.     Public motor vehicle use of Road 0369 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

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       572.    Road 0369 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       573.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0369.

       574.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0369 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0370

       575.    Road 0370 is designated as county road number 0370 and SGID road

identification number RD270370 and is more or less 0.40 miles long.

       576.    Exhibit 363 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0370 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       577.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0370 solely as it crosses United States public land as included and specifically

described in Exhibit 363. Road 0370 includes the segment of road specifically set forth in

Exhibit 363 and as exists on the ground.




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Acceptance of Road 0370 R.S. 2477 Right-of-way Prior to October 21, 1976.

        578.     Road 0370 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

        579.     Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0370 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

        580.     Road 0370 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0370 pursuant to the County’s governmental right

and authority.

        581.     Witnesses with personal knowledge of the history of Road 0370 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

        582.     Currently known reputation in the community is that Road 0370 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        583.     Public motor vehicle use of Road 0370 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

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       584.    Road 0370 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       585.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0370.

       586.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0370 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0371

       587.    Road 0371 is designated as county road number 0371 and SGID road

identification number RD270371 and is more or less 0.40 miles long.

       588.    Exhibit 364 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0371 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       589.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0371 solely as it crosses United States public land as included and specifically

described in Exhibit 364. Road 0371 includes the segment of road specifically set forth in

Exhibit 364 and as exists on the ground.




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Acceptance of Road 0371 R.S. 2477 Right-of-way Prior to October 21, 1976.

        590.     Road 0371 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

        591.     Aerial photography from 1972 and 1976 confirms the historical use, existence,

and acceptance of the right-of-way for Road 0371 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

        592.     Road 0371 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0371 pursuant to the County’s governmental right

and authority.

        593.     Witnesses with personal knowledge of the history of Road 0371 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

        594.     Currently known reputation in the community is that Road 0371 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        595.     Public motor vehicle use of Road 0371 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

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       596.    Road 0371 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       597.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0371.

       598.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0371 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0372

       599.    Road 0372 is designated as county road number 0372 and SGID road

identification number RD270372 and is more or less 0.23 miles long.

       600.    Exhibit 365 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0372 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       601.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0372 solely as it crosses United States public land as included and specifically

described in Exhibit 365. Road 0372 includes the segment of road specifically set forth in

Exhibit 365 and as exists on the ground.




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Acceptance of Road 0372 R.S. 2477 Right-of-way Prior to October 21, 1976.

        602.     Road 0372 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

        603.     Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0372 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

        604.     Road 0372 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0372 pursuant to the County’s governmental right

and authority.

        605.     Witnesses with personal knowledge of the history of Road 0372 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

        606.     Currently known reputation in the community is that Road 0372 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        607.     Public motor vehicle use of Road 0372 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

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       608.    Road 0372 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       609.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0372.

       610.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0372 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0373

       611.    Road 0373 is designated as county road number 0373 and SGID road

identification number RD270373 and is more or less 0.05 miles long.

       612.    Exhibit 366 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0373 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       613.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0373 solely as it crosses United States public land as included and specifically

described in Exhibit 366. Road 0373 includes the segment of road specifically set forth in

Exhibit 366 and as exists on the ground.




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Acceptance of Road 0373 R.S. 2477 Right-of-way Prior to October 21, 1976.

        614.     Road 0373 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

        615.     Aerial photography from 1972 and 1976 confirms the historical use, existence,

and acceptance of the right-of-way for Road 0373 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

        616.     Road 0373 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0373 pursuant to the County’s governmental right

and authority.

        617.     Witnesses with personal knowledge of the history of Road 0373 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

        618.     Currently known reputation in the community is that Road 0373 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        619.     Public motor vehicle use of Road 0373 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

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       620.    Road 0373 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       621.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0373.

       622.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0373 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0452

       623.    Road 0452 is designated as county road number 0452 and SGID road

identification number RD270452 and is more or less 1.45 miles long.

       624.    Exhibit 367 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0452 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       625.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0452 solely as it crosses United States public land as included and specifically

described in Exhibit 367. Road 0452 includes the segment of road specifically set forth in

Exhibit 367 and as exists on the ground.




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Acceptance of Road 0452 R.S. 2477 Right-of-way Prior to October 21, 1976.

        626.     Road 0452 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

        627.     Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0452 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

        628.     Road 0452 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0452 pursuant to the County’s governmental right

and authority.

        629.     Witnesses with personal knowledge of the history of Road 0452 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

        630.     Currently known reputation in the community is that Road 0452 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        631.     Public motor vehicle use of Road 0452 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

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       632.    Road 0452 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       633.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0452.

       634.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0452 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0626

       635.    Road 0626 is designated as county road number 0626 and SGID road

identification number RD279975 and is more or less 6.62 miles long.

       636.    Road 0626 is also known as Dry Creek Road.

       637.    Exhibit 368 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0626 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       638.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0626 solely as it crosses United States public land as included and specifically

described in Exhibit 368. Road 0626 includes the segment of road specifically set forth in

Exhibit 368 and as exists on the ground.




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Acceptance of Road 0626 R.S. 2477 Right-of-way Prior to October 21, 1976.

        639.     Road 0626 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

        640.     Aerial photography from 1976 and 1978 confirms the historical use, existence,

and acceptance of the right-of-way for Road 0626 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

        641.     Road 0626 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0626 pursuant to the County’s governmental right

and authority.

        642.     Witnesses with personal knowledge of the history of Road 0626 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

        643.     Currently known reputation in the community is that Road 0626 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        644.     Public motor vehicle use of Road 0626 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

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       645.    Road 0626 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       646.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0626.

       647.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0626 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0629

       648.    Road 0629 is designated as county road number 0629 and SGID road

identification number RD270629 and is more or less 0.56 miles long.

       649.    Exhibit 369 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0629 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       650.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0629 solely as it crosses United States public land as included and specifically

described in Exhibit 369. Road 0629 includes the segment of road specifically set forth in

Exhibit 369 and as exists on the ground.




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Acceptance of Road 0629 R.S. 2477 Right-of-way Prior to October 21, 1976.

        651.     Road 0629 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

        652.     Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for Road 0629 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

        653.     Road 0629 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0629 pursuant to the County’s governmental right

and authority.

        654.     Witnesses with personal knowledge of the history of Road 0629 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

        655.     Currently known reputation in the community is that Road 0629 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        656.     Public motor vehicle use of Road 0629 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

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       657.    Road 0629 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       658.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0629.

       659.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0629 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0637

       660.    Road 0637 is designated as county road number 0637 and SGID road

identification number RD270637 and is more or less 1.04 miles long.

       661.    Exhibit 370 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0637 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       662.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0637 solely as it crosses United States public land as included and specifically

described in Exhibit 370. Road 0637 includes the segment of road specifically set forth in

Exhibit 370 and as exists on the ground.




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Acceptance of Road 0637 R.S. 2477 Right-of-way Prior to October 21, 1976.

        663.     Road 0637 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

        664.     Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for Road 0637 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

        665.     Road 0637 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0637 pursuant to the County’s governmental right

and authority.

        666.     Witnesses with personal knowledge of the history of Road 0637 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

        667.     Currently known reputation in the community is that Road 0637 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        668.     Public motor vehicle use of Road 0637 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

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       669.    Road 0637 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       670.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0637.

       671.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0637 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0638

       672.    Road 0638 is designated as county road number 0638 and SGID road

identification number RD271113 and is more or less 2.09 miles long.

       673.    Exhibit 371 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0638 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       674.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0638 solely as it crosses United States public land as included and specifically

described in Exhibit 371. Road 0638 includes the segment of road specifically set forth in

Exhibit 371 and as exists on the ground.




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Acceptance of Road 0638 R.S. 2477 Right-of-way Prior to October 21, 1976.

       675.      Road 0638 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       676.      Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for Road 0638 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       677.      Road 0638 appears on the Virgin (1954) USGS 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       678.      Road 0638 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0638 pursuant to the County’s governmental right

and authority.

       679.      Witnesses with personal knowledge of the history of Road 0638 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

       680.      Currently known reputation in the community is that Road 0638 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

       681.      Public motor vehicle use of Road 0638 as a public thoroughfare traversing

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unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

        682.   Road 0638 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

        683.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0638.

        684.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0638 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0640

        1.     Road 0640 is designated as county road number 0640 and SGID road

identification number RD270640 and is more or less 0.55 miles long.

        2.     Exhibit 372 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0640 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        3.     In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0640 solely as it crosses United States public land as included and specifically

described in Exhibit 372. Road 0640 includes the segment of road specifically set forth in

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Exhibit 372 and as exists on the ground.

Acceptance of Road 0640 R.S. 2477 Right-of-way Prior to October 21, 1976.

       4.        Road 0640 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       5.        Aerial photography from 1978 or earlier confirms the historical use, existence,

and acceptance of the right-of-way for Road 0640 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       6.        Road 0640 appears on the Virgin (1954) USGS 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

       7.        Road 0640 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0640 pursuant to the County’s governmental right

and authority.

       8.        Witnesses with personal knowledge of the history of Road 0640 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

       9.        Currently known reputation in the community is that Road 0640 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

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        10.    Public motor vehicle use of Road 0640 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

        11.    Road 0640 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

        12.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0640.

        13.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0640 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0751

        685.   Road 0751 is designated as county road number 0751 and SGID road

identification number RD270751 and is more or less 0.40 miles long.

        686.   Exhibit 373 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0751 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        687.   In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0751 solely as it crosses United States public land as included and specifically

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described in Exhibit 373. Road 0751 includes the segment of road specifically set forth in

Exhibit 373 and as exists on the ground.

Acceptance of Road 0751 R.S. 2477 Right-of-way Prior to October 21, 1976.

       688.      Road 0751 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       689.      Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0751 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

       690.      Road 0751 appears on the Smiths Mesa (1954) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       691.      Road 0751 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0751 pursuant to the County’s governmental right

and authority.

       692.      Witnesses with personal knowledge of the history of Road 0751 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

       693.      Currently known reputation in the community is that Road 0751 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

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continuing to the present.

        694.   Public motor vehicle use of Road 0751 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

        695.   Road 0751 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

        696.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0751.

        697.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0751 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0752

        698.   Road 0752 is designated as county road number 0752 and SGID road

identification number RD270752 and is more or less 0.59 miles long.

        699.   Exhibit 374 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0752 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        700.   In this action, the State and County seek to quiet title to the public highway right-

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of-way for Road 0752 solely as it crosses United States public land as included and specifically

described in Exhibit 374. Road 0752 includes the segment of road specifically set forth in

Exhibit 374 and as exists on the ground.

Acceptance of Road 0752 R.S. 2477 Right-of-way Prior to October 21, 1976.

       701.      Road 0752 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       702.      Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0752 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

       703.      Road 0752 appears on the Guardian Angels (1980) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       704.      Road 0752 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0752 pursuant to the County’s governmental right

and authority.

       705.      Witnesses with personal knowledge of the history of Road 0752 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

       706.      Currently known reputation in the community is that Road 0752 has been open

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for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        707.   Public motor vehicle use of Road 0752 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

        708.   Road 0752 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

        709.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0752.

        710.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0752 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0753

        711.   Road 0753 is designated as county road number 0753 and SGID road

identification number RD270753 and is more or less 0.34 miles long.

        712.   Exhibit 375 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0753 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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       713.      In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0753 solely as it crosses United States public land as included and specifically

described in Exhibit 375. Road 0753 includes the segment of road specifically set forth in

Exhibit 375 and as exists on the ground.

Acceptance of Road 0753 R.S. 2477 Right-of-way Prior to October 21, 1976.

       714.      Road 0753 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       715.      Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0753 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

       716.      Road 0753 appears on the Guardian Angels (1957) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       717.      Road 0753 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0753 pursuant to the County’s governmental right

and authority.

       718.      Witnesses with personal knowledge of the history of Road 0753 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

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        719.   Currently known reputation in the community is that Road 0753 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        720.   Public motor vehicle use of Road 0753 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

        721.   Road 0753 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

        722.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0753.

        723.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0753 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0754

        724.   Road 0754 is designated as county road number 0754 and SGID road

identification number RD270754 and is more or less 0.52 miles long.

        725.   Exhibit 376 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0754 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

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complete centerline description of the road.

       726.      In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0754 solely as it crosses United States public land as included and specifically

described in Exhibit 376. Road 0754 includes the segment of road specifically set forth in

Exhibit 376 and as exists on the ground.

Acceptance of Road 0754 R.S. 2477 Right-of-way Prior to October 21, 1976.

       727.      Road 0754 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       728.      Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0754 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

       729.      Road 0754 appears on the Guardian Angels (1957) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       730.      Road 0754 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 0754 pursuant to the County’s governmental right

and authority.

       731.      Witnesses with personal knowledge of the history of Road 0754 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

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more than 10 years prior to October 21, 1976.

        732.   Currently known reputation in the community is that Road 0754 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        733.   Public motor vehicle use of Road 0754 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

        734.   Road 0754 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

        735.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0754.

        736.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 0754 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 7962

        737.   Road 7962 is designated as county road number 7962 and SGID road

identification number RD277962 and is more or less 0.04 miles long.

        738.   Exhibit 377 (attached hereto and incorporated herein) contains certain information

pertaining to Road 7962 including: a map depicting the road; township, range and section

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references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       739.      In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 7962 solely as it crosses United States public land as included and specifically

described in Exhibit 377. Road 7962 includes the segment of road specifically set forth in

Exhibit 377 and as exists on the ground.

Acceptance of Road 7962 R.S. 2477 Right-of-way Prior to October 21, 1976.

       740.      Road 7962 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       741.      Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 7962 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

       742.      Road 7962 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 7962 pursuant to the County’s governmental right

and authority.

       743.      Witnesses with personal knowledge of the history of Road 7962 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

       744.      Currently known reputation in the community is that Road 7962 has been open

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for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        745.   Public motor vehicle use of Road 7962 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

        746.   Road 7962 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

        747.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 7962.

        748.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 7962 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 7978

        749.   Road 7978 is designated as county road number 7978 and SGID road

identification number RD277978 and is more or less 0.06 miles long.

        750.   Exhibit 378 (attached hereto and incorporated herein) contains certain information

pertaining to Road 7978 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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       751.      In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 7978 solely as it crosses United States public land as included and specifically

described in Exhibit 378. Road 7978 includes the segment of road specifically set forth in

Exhibit 378 and as exists on the ground.

Acceptance of Road 7978 R.S. 2477 Right-of-way Prior to October 21, 1976.

       752.      Road 7978 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       753.      Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 7978 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

       754.      Road 7978 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 7978 pursuant to the County’s governmental right

and authority.

       755.      Witnesses with personal knowledge of the history of Road 7978 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

       756.      Currently known reputation in the community is that Road 7978 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

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        757.   Public motor vehicle use of Road 7978 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

        758.   Road 7978 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

        759.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 7978.

        760.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 7978 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 7979

        761.   Road 7979 is designated as county road number 7979 and SGID road

identification number RD277979 and is more or less 0.08 miles long.

        762.   Exhibit 379 (attached hereto and incorporated herein) contains certain information

pertaining to Road 7979 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        763.   In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 7979 solely as it crosses United States public land as included and specifically

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described in Exhibit 379. Road 7979 includes the segment of road specifically set forth in

Exhibit 379 and as exists on the ground.

Acceptance of Road 7979 R.S. 2477 Right-of-way Prior to October 21, 1976.

       764.      Road 7979 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

       765.      Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 7979 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

       766.      Road 7979 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 7979 pursuant to the County’s governmental right

and authority.

       767.      Witnesses with personal knowledge of the history of Road 7979 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

       768.      Currently known reputation in the community is that Road 7979 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

       769.      Public motor vehicle use of Road 7979 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

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confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

        770.   Road 7979 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

        771.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 7979.

        772.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 7979 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 9991

        773.   Road 9991 is designated as county road number 9991 and SGID road

identification number RD279991 and is more or less 0.07 miles long.

        774.   Exhibit 380 (attached hereto and incorporated herein) contains certain information

pertaining to Road 9991 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        775.   In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 9991 solely as it crosses United States public land as included and specifically

described in Exhibit 380. Road 9991 includes the segment of road specifically set forth in

Exhibit 380 and as exists on the ground.

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Acceptance of Road 9991 R.S. 2477 Right-of-way Prior to October 21, 1976.

        776.     Road 9991 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

        777.     Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 9991 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

        778.     Road 9991 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 9991 pursuant to the County’s governmental right

and authority.

        779.     Witnesses with personal knowledge of the history of Road 9991 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

        780.     Currently known reputation in the community is that Road 9991 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        781.     Public motor vehicle use of Road 9991 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

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       782.    Road 9991 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       783.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 9991.

       784.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 9991 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 9992

       785.    Road 9992 is designated as county road number 9992 and SGID road

identification number RD279992 and is more or less 0.62 miles long.

       786.    Exhibit 381 (attached hereto and incorporated herein) contains certain information

pertaining to Road 9992 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       787.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 9992 solely as it crosses United States public land as included and specifically

described in Exhibit 381. Road 9992 includes the segment of road specifically set forth in

Exhibit 381 and as exists on the ground.




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Acceptance of Road 9992 R.S. 2477 Right-of-way Prior to October 21, 1976.

        788.     Road 9992 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

        789.     Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 9992 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

        790.     Road 9992 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 9992 pursuant to the County’s governmental right

and authority.

        791.     Witnesses with personal knowledge of the history of Road 9992 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

        792.     Currently known reputation in the community is that Road 9992 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        793.     Public motor vehicle use of Road 9992 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

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       794.    Road 9992 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       795.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 9992.

       796.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 9992 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 9994

       797.    Road 9994 is designated as county road number 9994 and SGID road

identification number RD279994 and is more or less 1.89 miles long.

       798.    Exhibit 382 (attached hereto and incorporated herein) contains certain information

pertaining to Road 9994 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       799.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 9994 solely as it crosses United States public land as included and specifically

described in Exhibit 382. Road 9994 includes the segment of road specifically set forth in

Exhibit 382 and as exists on the ground.




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Acceptance of Road 9994 R.S. 2477 Right-of-way Prior to October 21, 1976.

        800.     Road 9994 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

        801.     Aerial photography from 1978 confirms the historical use, existence, and

acceptance of the right-of-way for Road 9994 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

        802.     Road 9994 was accepted as a County highway at least 10 years prior to October

21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, and improving Road 9994 pursuant to the County’s governmental right

and authority.

        803.     Witnesses with personal knowledge of the history of Road 9994 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis for

more than 10 years prior to October 21, 1976.

        804.     Currently known reputation in the community is that Road 9994 has been open

for all to come and go as they please for more than 10 years prior to October 21, 1976, and

continuing to the present.

        805.     Public motor vehicle use of Road 9994 as a public thoroughfare traversing

unreserved public lands on a continuous basis for a period of 10 years prior to October 21, 1976,

confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying this

road.

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       806.    Road 9994 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

       807.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 9994.

       808.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road 9994 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

                       TENTH CAUSE OF ACTION – QUIET TITLE
                               COTTONWOOD AREA

       809.    Plaintiffs reallege and incorporate herein each of the foregoing paragraphs.

       810.    The Cottonwood Area is located in north central Washington County in the south-

east region of Utah. The Cottonwood Area includes the following roads—listed by Common

Road Name (if applicable) and County Unique Number: (1) Baker Dam Road, 214; (2)

Brookside Road, 0230; (3) Cottonwood / Turkey Farm Road, 9917; (4) Diamond Valley-Blake

& Gubler Road, 0254; (5) Frontage Road North of Leeds, 0341; (6) Gardner Ranch Road, 0217;

(7) Old 91 Black Ridge Road, 0614; (8) Saphire Well Road, 0259; (9) Spanish Trail Road, 0232;

(10) Road Number 0211; (11) Road Number 0215; (12) Road Number 0216; (13) Road Number

0219; (14) Road Number 0220; (15) Road Number 0235; (16) Road Number 0236; (17) Road

Number 0237; (18) Road Number 0238; (19) Road Number 0239; (20) Road Number 0240; (21)

Road Number 0241; (22) Road Number 0255; (23) Road Number 0256; (24) Road Number

0260; (25) Road Number 0263; (26) Road Number 0265; (27) Road Number 0266; (28) Road
                                                818
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Number 0295; (29) Road Number 0303; (30) Road Number 0305; (31) Road Number 0310; (32)

Road Number 0311; (33) Road Number 0312; (34) Road Number 0314; (35) Road Number

0343; (36) Road Number 0348; (37) Road Number 0349; (38) Road Number 0354; (39) Road

Number 0365; (40) Road Number 0366; (41) Road Number 0382; (42) Road Number 0383; (43)

Road Number 0386; (44) Road Number 0412; (45)Road Number 0428; (46) Road Number 0605;

(47) Road Number 0606; (48) Road Number 0608; (49) Road Number 0610; (50) Road Number

0849; (51) Road Number 0850; (52) Road Number 0851; (53) Road Number 7985; (54) Road

Number 9894; (55) Road Number 9928; (56)Road Number 9990; (57) Road Number 9995; (58)

Road Number 0238A; (59) Road Number 236A.

       811.    Each right-of-way claimed in the Cottonwood Area was used by the general

public who engaged in one or more of the following activities: cattle ranching, sheep herding,

prospecting for minerals, rock hounding, mining, oil and gas exploration, wood gathering,

cutting wood, collecting pine nuts or berries, recreation, hunting, trapping, government access,

traveling in and through the area, or any other legitimate purpose.

       812.    All rights-of-way claimed in the Cottonwood Area are sufficient in scope for

general motor vehicle travel and include that which is reasonable and necessary to meet the

exigencies of motor vehicle travel according to safe engineering practices that protect the public

and the road and also prevent undue degradation of the adjacent land.

       813.    All rights-of-way claimed in the Cottonwood Area include a minimum right-of-

way width of 66 feet or greater width as determined at trial, along with cuts, fills, slopes, water

bars, and such features and facilities as have historically been acknowledged by the DOI and

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under law as being reasonable and necessary for the use, benefit, and enjoyment of public

highway rights-of-way. See, e.g., UTAH CODE ANN. § 72-5-302(4)(b) (2003).

Baker Dam Road, 0214

       814.    The Baker Dam Road is designated as county road number 0214 and SGID road

identification number RD270214 and is more or less 3.43 miles long.

       815.    Exhibit 383 (attached hereto and incorporated herein) contains certain information

pertaining to the Baker Dam Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       816.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Baker Dam Road solely as it crosses United States public land as included and

specifically described in Exhibit 383. The Baker Dam Road includes the segment of road

specifically set forth in Exhibit 383 and as exists on the ground.

Acceptance of the Baker Dam Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       817.    The Baker Dam Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       818.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Baker Dam Road as a public highway located on the land

at issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       819.    The Baker Dam Road appears on the Central West (1972) and Central East (1972)

                                                820
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USGS 7.5-minute quadrangle maps, which evidences the existence, use, and acceptance of the

right-of-way underlying this road. See Exhibit 12 for more detailed map information.

        820.   The County confirmed its acceptance of the Baker Dam Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Baker Dam Road using

public funds pursuant to the County’s governmental right and authority.

        821.   Witnesses with personal knowledge of the history of the Baker Dam Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        822.   Currently known reputation in the community is that the Baker Dam Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        823.   Public motor vehicle use of the Baker Dam Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        824.   The Baker Dam Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        825.   Without confirmation from the United States, a cloud remains on the State and

                                               821
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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Baker Dam Road.

        826.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Baker Dam Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Brookside Road, 0230

        827.   The Brookside Road is designated as county road number 0230 and SGID road

identification number RD270230 and is more or less 1.61 miles long.

        828.   Exhibit 384 (attached hereto and incorporated herein) contains certain information

pertaining to the Brookside Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        829.   In this action, the State and County seek to quiet title to the public highway right-

of-way for the Brookside Road solely as it crosses United States public land as included and

specifically described in Exhibit 384. The Brookside Road includes the segment of road

specifically set forth in Exhibit 384 and as exists on the ground.

Acceptance of the Brookside Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        830.   The Brookside Road has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.




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       831.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Brookside Road as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       832.    The Brookside Road appears on the Veyo (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       833.    The County confirmed its acceptance of the Brookside Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its R.S.

2477 right-of-way by managing, maintaining, or improving the Brookside Road using public

funds pursuant to the County’s governmental right and authority.

       834.    Witnesses with personal knowledge of the history of the Brookside Road confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       835.    Currently known reputation in the community is that the Brookside Road has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       836.    Public motor vehicle use of the Brookside Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        837.   The Brookside Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        838.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Brookside Road.

        839.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Brookside Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Cottonwood / Turkey Farm Road, 9917

        840.   The Cottonwood / Turkey Farm Road is designated as county road number 9917

and SGID road identification number RD279917 and is more or less 23.76 miles long.

        841.   Exhibit 385 (attached hereto and incorporated herein) contains certain information

pertaining to the Cottonwood / Turkey Farm Road including: a map depicting the road;

township, range and section references describing the road’s physical location; a servient estate

ownership list; and a complete centerline description of the road.

        842.   In this action, the State and County seek to quiet title to the public highway right-

of-way for the Cottonwood / Turkey Farm Road solely as it crosses United States public land as

included and specifically described in Exhibit 385. The Cottonwood / Turkey Farm Road

includes the segment of road specifically set forth in Exhibit 385 and as exists on the ground.

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Acceptance of the Cottonwood / Turkey Farm Road R.S. 2477 Right-of-way Prior to
October 21, 1976.

       843.      The Cottonwood / Turkey Farm Road has long served as a public highway

providing access to and across public land. This road serves the public’s transportation needs.

       844.      Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Cottonwood / Turkey Farm Road as a public highway

located on the land at issue in this case and following the course described herein. More recent

aerial photography continues to show the road as it existed prior to October 21, 1976.

       845.      The Cottonwood / Turkey Farm Road appears on the Washington (1954),

Harrisburg Junction (1954), Signal Peak (1954), Pintura (1954) and Saddle Mountain (1972)

USGS 7.5-minute quadrangle maps, and the New Harmony (1957), Hurricane (1954) and St.

George (1954)15-minute quadrangle maps, which evidences the existence, use, and acceptance

of the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

       846.      The County confirmed its acceptance of the Cottonwood / Turkey Farm Road by

1976, when it designated and accepted the road as a County highway on the County’s general

highway map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its

acceptance of its R.S. 2477 right-of-way by managing, maintaining, or improving the

Cottonwood / Turkey Farm Road using public funds pursuant to the County’s governmental right

and authority.

       847.      Witnesses with personal knowledge of the history of the Cottonwood / Turkey

Farm Road confirm public use of this road as a public thoroughfare by means of motor vehicles

on a continuous basis, whenever convenient or necessary, for more than 10 years prior to
                                                825
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October 21, 1976.

       848.    Currently known reputation in the community is that the Cottonwood / Turkey

Farm Road has been open for all to come and go, whenever convenient or necessary, for more

than 10 years prior to October 21, 1976, and continuing to the present.

       849.    Public motor vehicle use of the Cottonwood / Turkey Farm Road as a public

thoroughfare traversing unreserved public lands on a continuous basis, whenever convenient or

necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of

an R.S. 2477 public highway right-of-way underlying this road.

       850.    The Cottonwood / Turkey Farm Road traverses a valid and perfected R.S. 2477

public highway right-of-way as described herein.

       851.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Cottonwood / Turkey Farm Road.

       852.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Cottonwood / Turkey Farm Road on lands owned by the United States as

described herein and including that which is reasonable and necessary for the use, benefit, and

enjoyment of this road.

Diamond Valley-Blake & Gubler, 0254

       853.    The Diamond Valley-Blake & Gubler Road is designated as county road number

0254 and SGID road identification number RD270254 and is more or less 4.31 miles long.

       854.    Exhibit 386 (attached hereto and incorporated herein) contains certain information

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pertaining to the Diamond Valley-Blake & Gubler Road including: a map depicting the road;

township, range and section references describing the road’s physical location; a servient estate

ownership list; and a complete centerline description of the road.

        855.   In this action, the State and County seek to quiet title to the public highway right-

of-way for the Diamond Valley-Blake & Gubler Road solely as it crosses United States public

land as included and specifically described in Exhibit 386. The Diamond Valley-Blake &

Gubler Road includes the segment of road specifically set forth in Exhibit 386 and as exists on

the ground.

Acceptance of the Diamond Valley-Blake & Gubler Road R.S. 2477 Right-of-way Prior to
October 21, 1976.

        856.   The Diamond Valley-Blake & Gubler Road has long served as a public highway

providing access to and across public land. This road serves the public’s transportation needs.

        857.   Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Diamond Valley-Blake & Gubler Road as a public

highway located on the land at issue in this case and following the course described herein.

More recent aerial photography continues to show the road as it existed prior to October 21,

1976.

        858.   The Diamond Valley-Blake & Gubler Road appears on the Washington (1954),

and Saddle Mountain (1972) USGS 7.5-minute quadrangle maps, which evidences the existence,

use, and acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed

map information.

        859.   The County confirmed its acceptance of the Diamond Valley-Blake & Gubler
                                                827
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Road by 1976, when it designated and accepted the road as a County highway on the County’s

general highway map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further

evidenced its acceptance of its R.S. 2477 right-of-way by managing, maintaining, or improving

the Diamond Valley-Blake & Gubler Road using public funds pursuant to the County’s

governmental right and authority.

       860.    Witnesses with personal knowledge of the history of the Diamond Valley-Blake

& Gubler Road confirm public use of this road as a public thoroughfare by means of motor

vehicles on a continuous basis, whenever convenient or necessary, for more than 10 years prior

to October 21, 1976.

       861.    Currently known reputation in the community is that the Diamond Valley-Blake

& Gubler Road has been open for all to come and go, whenever convenient or necessary, for

more than 10 years prior to October 21, 1976, and continuing to the present.

       862.    Public motor vehicle use of the Diamond Valley-Blake & Gubler Road as a public

thoroughfare traversing unreserved public lands on a continuous basis, whenever convenient or

necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of

an R.S. 2477 public highway right-of-way underlying this road.

       863.    The Diamond Valley-Blake & Gubler Road traverses a valid and perfected R.S.

2477 public highway right-of-way as described herein.

       864.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Diamond Valley-Blake & Gubler

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Road.

        865.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Diamond Valley-Blake & Gubler Road on lands owned by the United States

as described herein and including that which is reasonable and necessary for the use, benefit, and

enjoyment of this road.

Frontage Road North of Leeds, 0341

        866.   The Frontage Road North of Leeds is designated as county road number 0341 and

SGID road identification number RD270341 and is more or less 2.83 miles long.

        867.   Exhibit 387 attached hereto and incorporated herein) contains certain information

pertaining to the Frontage Road North of Leeds including: a map depicting the road; township,

range and section references describing the road’s physical location; a servient estate ownership

list; and a complete centerline description of the road.

        868.   In this action, the State and County seek to quiet title to the public highway right-

of-way for the Frontage Road North of Leeds solely as it crosses United States public land as

included and specifically described in Exhibit 387. The Frontage Road North of Leeds includes

the segment of road specifically set forth in Exhibit 387 and as exists on the ground.

Acceptance of the Frontage Road North of Leeds R.S. 2477 Right-of-way Prior to October
21, 1976.

        869.   The Frontage Road North of Leeds has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

        870.   Aerial photography from 1952 confirms the historical use, existence, and

acceptance of the right-of-way for the Frontage Road North of Leeds as a public highway located
                                                829
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on the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        871.   The Frontage Road North of Leeds appears on the New Harmony (1956) 15-

minute quadrangle map and Pintura (1954) USGS 7.5-minute quadrangle map, which evidences

the existence, use, and acceptance of the right-of-way underlying this road. See Exhibit 12 for

more detailed map information

        872.   The County confirmed its acceptance of the Frontage Road North of Leeds by

1976, when it designated and accepted the road as a County highway on the County’s general

highway map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its

acceptance of its R.S. 2477 right-of-way by managing, maintaining, or improving the Frontage

Road North of Leeds using public funds pursuant to the County’s governmental right and

authority.

        873.   Witnesses with personal knowledge of the history of the Frontage Road North of

Leeds confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        874.   Currently known reputation in the community is that the Frontage Road North of

Leeds has been open for all to come and go, whenever convenient or necessary, for more than 10

years prior to October 21, 1976, and continuing to the present.

        875.   Public motor vehicle use of the Frontage Road North of Leeds as a public

thoroughfare traversing unreserved public lands on a continuous basis, whenever convenient or

                                               830
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necessary, for a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of

an R.S. 2477 public highway right-of-way underlying this road.

       876.    The Frontage Road North of Leeds traverses a valid and perfected R.S. 2477

public highway right-of-way as described herein.

       877.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Frontage Road North of Leeds.

       878.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Frontage Road North of Leeds on lands owned by the United States as

described herein and including that which is reasonable and necessary for the use, benefit, and

enjoyment of this road.

Gardner Ranch Road, 0217

       879.    The Gardner Ranch Road is designated as county road number 0217 and SGID

road identification number RD270217 and is more or less 3.03 miles long.

       880.    Exhibit 388 (attached hereto and incorporated herein) contains certain information

pertaining to the Gardner Ranch Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       881.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Gardner Ranch Road solely as it crosses United States public land as included and

specifically described in Exhibit 388. The Gardner Ranch Road includes the segment of road

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specifically set forth in Exhibit 388 and as exists on the ground.

Acceptance of the Gardner Ranch Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        882.   The Gardner Ranch Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        883.   Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Gardner Ranch Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        884.   The Gardner Ranch Road appears on the Central West (1972) and Central East

(1972) USGS 7.5-minute quadrangle maps, which evidences the existence, use, and acceptance

of the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

        885.   The County confirmed its acceptance of the Gardner Ranch Road by 1976, when

it designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Gardner Ranch Road using

public funds pursuant to the County’s governmental right and authority.

        886.   Witnesses with personal knowledge of the history of the Gardner Ranch Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        887.   Currently known reputation in the community is that the Gardner Ranch Road has

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been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        888.    Public motor vehicle use of the Gardner Ranch Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        889.    The Gardner Ranch Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        890.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Gardner Ranch Road.

        891.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Gardner Ranch Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Old 91 Black Ridge Road, 0614

        892.    The Old 91 Black Ridge Road is designated as county road number 0614 and

SGID road identification number RD270614 and is more or less 4.08 miles long.

        893.    Exhibit 389 (attached hereto and incorporated herein) contains certain information

pertaining to the Old 91 Black Ridge Road including: a map depicting the road; township, range

and section references describing the road’s physical location; a servient estate ownership list;

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and a complete centerline description of the road.

       894.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Old 91 Black Ridge Road solely as it crosses United States public land as

included and specifically described in Exhibit 389. The Old 91 Black Ridge Road includes the

segment of road specifically set forth in Exhibit 389 and as exists on the ground.

Acceptance of the Old 91 Black Ridge Road R.S. 2477 Right-of-way Prior to October 21,
1976.

       895.    The Old 91 Black Ridge Road has long served as a public highway providing

access to and across public land. This road serves the public’s transportation needs.

       896.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Old 91 Black Ridge Road as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       897.    The Old 91 Black Ridge Road appears on the Kolob Arch (1957) USGS 7.5-

minute quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       898.    The County confirmed its acceptance of the Old 91 Black Ridge Road by 1976,

when it designated and accepted the road as a County highway on the County’s general highway

map. See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance

of its R.S. 2477 right-of-way by managing, maintaining, or improving the Old 91 Black Ridge

Road using public funds pursuant to the County’s governmental right and authority.

       899.    Witnesses with personal knowledge of the history of the Old 91 Black Ridge
                                                834
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Road confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        900.    Currently known reputation in the community is that the Old 91 Black Ridge

Road has been open for all to come and go, whenever convenient or necessary, for more than 10

years prior to October 21, 1976, and continuing to the present.

        901.    Public motor vehicle use of the Old 91 Black Ridge Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        902.    The Old 91 Black Ridge Road traverses a valid and perfected R.S. 2477 public

highway right-of-way as described herein.

        903.    Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Old 91 Black Ridge Road.

        904.    The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Old 91 Black Ridge Road on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Saphire Well Road, 0259

        905.    The Saphire Well Road, also known as the Saphire/Sapphire Well Road, is

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designated as county road number 0259 and SGID road identification number RD270259 and is

more or less 0.81 miles long.

       906.    Exhibit 390 (attached hereto and incorporated herein) contains certain information

pertaining to the Saphire Well Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       907.    In this action, the State and County seek to quiet title to the public highway right-

of-way for the Saphire Well Road solely as it crosses United States public land as included and

specifically described in Exhibit 390. The Saphire Well Road includes the segment of road

specifically set forth in Exhibit 390 and as exists on the ground.

Acceptance of the Saphire Well Road R.S. 2477 Right-of-way Prior to October 21, 1976.

       908.    The Saphire Well Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       909.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Saphire Well Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       910.    The Saphire Well Road appears on the Saddle Mountain (1972) USGS 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       911.    The County confirmed its acceptance of the Saphire Well Road by 1976, when it

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designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Saphire Well Road using

public funds pursuant to the County’s governmental right and authority.

        912.   Witnesses with personal knowledge of the history of the Saphire Well Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        913.   Currently known reputation in the community is that the Saphire Well Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        914.   Public motor vehicle use of the Saphire Well Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        915.   The Saphire Well Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        916.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Saphire Well Road.

        917.   The State and County are entitled to an order quieting title to their R.S. 2477

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right-of-way for the Saphire Well Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Spanish Trail Road, 0232

        918.   The Spanish Trail Road is designated as county road number 0232 and SGID road

identification number RD270861 and is more or less 0.90 miles long.

        919.   Exhibit 391 (attached hereto and incorporated herein) contains certain information

pertaining to the Spanish Trail Road including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        920.   In this action, the State and County seek to quiet title to the public highway right-

of-way for the Spanish Trail Road solely as it crosses United States public land as included and

specifically described in Exhibit 391. The Spanish Trail Road includes the segment of road

specifically set forth in Exhibit 391 and as exists on the ground.

Acceptance of the Spanish Trail Road R.S. 2477 Right-of-way Prior to October 21, 1976.

        921.   The Spanish Trail Road has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        922.   Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Spanish Trail Road as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

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        923.   The Spanish Trail Road appears on the Veyo (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

        924.   The County confirmed its acceptance of the Spanish Trail Road by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Spanish Trail Road using

public funds pursuant to the County’s governmental right and authority.

        925.   Witnesses with personal knowledge of the history of the Spanish Trail Road

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        926.   Currently known reputation in the community is that the Spanish Trail Road has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        927.   Public motor vehicle use of the Spanish Trail Road as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        928.   The Spanish Trail Road traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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        929.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Spanish Trail Road.

        930.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Spanish Trail Road on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0211

        931.   Road 0211 is designated as county road number 0211 and SGID road

identification number RD270211 and is more or less 0.63 miles long.

        932.   Exhibit 392 (attached hereto and incorporated herein) contains certain information

pertaining to Road 0211 including: a map depicting the road; township, range and section

references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        933.   In this action, the State and County seek to quiet title to the public highway right-

of-way for Road 0211 solely as it crosses United States public land as included and specifically

described in Exhibit 392. Road 0211 includes the segment of road specifically set forth in

Exhibit 392 and as exists on the ground.

Acceptance of the Road Number 0211 R.S. 2477 Right-of-way Prior to October 21, 1976.

        934.   Road 0211 has long served as a public highway providing access to and across

public land. This road serves the public’s transportation needs.

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       935.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road 0211 as a public highway located on the land at issue in

this case and following the course described herein. More recent aerial photography continues to

show the road as it existed prior to October 21, 1976.

       936.    Road 0211 appears on the Central West (1972) USGS 7.5-minute/15-minute

quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       937.    The Road 0211 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0211 pursuant to the County’s governmental

right and authority.

       938.    Witnesses with personal knowledge of the history of Road 0211 confirm public

use of this road as a public thoroughfare by means of motor vehicles on a continuous basis,

whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       939.    Currently known reputation in the community is that the Road Number 0211 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

       940.    Public motor vehicle use of Road 0211 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

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        941.   Road 0211 traverses a valid and perfected R.S. 2477 public highway right-of-way

as described herein.

        942.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road 0211.

        943.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road Number 0211 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0215

        944.   Road 0215 is designated as county road number 0215 and SGID road

identification number RD270215 and is more or less 0.76 miles long.

        945.   Exhibit 393 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0215 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        946.   In this action, the State and County seek to quiet title to the public highway right-

of-way for Road Number 0215 solely as it crosses United States public land as included and

specifically described in Exhibit 393. Road Number 0215 includes the segment of road

specifically set forth in Exhibit 393 and as exists on the ground.




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Acceptance of the Road Number 0215 R.S. 2477 Right-of-way Prior to October 21, 1976.

       947.    Road Number 0215 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       948.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0215 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       949.    Road Number 0215 appears on the Central West (1972) USGS 7.5-minute

quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       950.    Public motor vehicle use of Road 0215 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       951.    Witnesses with personal knowledge of the history of Road Number 0215 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       952.    Currently known reputation in the community is that Road Number 0215 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       953.    Public motor vehicle use of Road Number 0215 as a public thoroughfare

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traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        954.   Road Number 0215 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        955.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road Number 0215.

        956.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road Number 0215 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0216

        957.   Road 0216 is designated as county road number 0216 and SGID road

identification number RD270216 and is more or less 0.14 miles long.

        958.   Exhibit 394 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0216 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        959.   In this action, the State and County seek to quiet title to the public highway right-

of-way for Road Number 0216 solely as it crosses United States public land as included and

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specifically described in Exhibit 394. Road Number 0216 includes the segment of road

specifically set forth in Exhibit 394 and as exists on the ground.

Acceptance of the Road Number 0216 R.S. 2477 Right-of-way Prior to October 21, 1976.

       960.    Road Number 0216 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       961.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0216 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       962.    Road Number 0216 appears on the Central West (1972) USGS 7.5-minute

quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       963.    Public motor vehicle use of Road 0216 as a public thoroughfare traversing

unreserved public lands on a continuous basis, whenever convenient or necessary, for a period of

10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477 public

highway right-of-way underlying this road.

       964.    Witnesses with personal knowledge of the history of Road Number 0216 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       965.    Currently known reputation in the community is that Road Number 0216 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

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October 21, 1976, and continuing to the present.

        966.   Public motor vehicle use of Road Number 0216 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        967.   Road Number 0216 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        968.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road Number 0216.

        969.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road Number 0216 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0219

        970.   Road 0219 is designated as county road number 0219 and SGID road

identification number RD270219 and is more or less 6.68 miles long.

        971.   Exhibit 395 (attached hereto and incorporated herein) contains certain information

pertaining to Road Number 0219 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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       972.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road Number 0219 solely as it crosses United States public land as included and

specifically described in Exhibit 395. Road Number 0219 includes the segment of road

specifically set forth in Exhibit 395 and as exists on the ground.

Acceptance of Road Number 0219 R.S. 2477 Right-of-way Prior to October 21, 1976.

       973.    Road Number 0219 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       974.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road Number 0219 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       975.    Road Number 0219 appears on the Central West (1972) and Veyo (1972) USGS

7.5-minute/15-minute quadrangle maps, which evidences the existence, use, and acceptance of

the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

       976.    Road Number 0219 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0219 pursuant to the County’s

governmental right and authority.

       977.    Witnesses with personal knowledge of the history of Road Number 0219 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

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        978.   Currently known reputation in the community is that Road Number 0219 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

        979.   Public motor vehicle use of Road Number 0219 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        980.   Road Number 0219 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        981.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road Number 0219.

        982.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road Number 0219 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0220

        983.   Road 0220 is designated as county road number 0220 and SGID road

identification number RD270220 and is more or less 4.05 miles long.

        984.   Exhibit 396 (attached hereto and incorporated herein) contains certain information

pertaining to Road Number 0220 including: a map depicting the road; township, range and

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section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       985.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road Number 0220 solely as it crosses United States public land as included and

specifically described in Exhibit 396. Road Number 0220 includes the segment of road

specifically set forth in Exhibit 396 and as exists on the ground.

Acceptance of Road Number 0220 R.S. 2477 Right-of-way Prior to October 21, 1976.

       986.    Road Number 0220 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       987.    Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road Number 0220 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       988.    Road Number 0220 appears on the Central West (1972), Veyo (1972) and Saddle

Mountain (1972) USGS 7.5-minute quadrangle maps, which evidences the existence, use, and

acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

information.

       989.    Road Number 0220 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0220 pursuant to the County’s

governmental right and authority.

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        990.   Witnesses with personal knowledge of the history of Road Number 0220 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

        991.   Currently known reputation in the community is that Road Number 0220 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

        992.   Public motor vehicle use of Road Number 0220 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        993.   Road Number 0220 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        994.   Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road Number 0220.

        995.   The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road Number 0220 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0235

        996.   Road 0235 is designated as county road number 0235 and SGID road

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identification number RD270235 and is more or less 0.64 miles long.

       997.    Exhibit 397 (attached hereto and incorporated herein) contains certain information

pertaining to Road Number 0235 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       998.    In this action, the State and County seek to quiet title to the public highway right-

of-way for Road Number 0235 solely as it crosses United States public land as included and

specifically described in Exhibit 397. Road Number 0235 includes the segment of road

specifically set forth in Exhibit 397 and as exists on the ground.

Acceptance of Road Number 0235 R.S. 2477 Right-of-way Prior to October 21, 1976.

       999.    Road Number 0235 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1000. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road Number 0235 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1001. Road Number 0235 appears on the Veyo (1972) USGS 7.5-minute quadrangle

map, which evidences the existence, use, and acceptance of the right-of-way underlying this

road. See Exhibit 12 for more detailed map information.

       1002. Road Number 0235 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

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managing, maintaining, or improving the Road Number 0235 pursuant to the County’s

governmental right and authority.

        1003. Witnesses with personal knowledge of the history of Road Number 0235 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

        1004. Currently known reputation in community is that Road Number 0235 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

        1005. Public motor vehicle use of Road Number 0235 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1006. Road Number 0235 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1007. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road Number 0235.

        1008. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road Number 0235 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

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Road Number 0236

       1009. Road 0236 is designated as county road number 0236 and SGID road

identification number RD270236 and is more or less 1.51 miles long.

       1010. Exhibit 398 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0236 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1011. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0236 solely as it crosses United States public land as included and

specifically described in Exhibit 398. The Road Number 0236 includes the segment of road

specifically set forth in Exhibit 398 and as exists on the ground.

Acceptance of the Road Number 0236 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1012. The Road Number 0236 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1013. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road Number 0236 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1014. Road Number 0236 appears on the Veyo (1972) 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

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       1015. Road Number 0236 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0236 pursuant to the County’s

governmental right and authority.

       1016. Witnesses with personal knowledge of the history of Road Number 0236 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1017. Currently known reputation in the community is that Road Number 0236 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1018. Public motor vehicle use of Road Number 0236 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

       1019. Road Number 0236 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

       1020. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road Number 0236.

       1021. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road Number 0236 on lands owned by the United States as described herein

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and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0237

        1022. Road 0237 is designated as county road number 0237 and SGID road

identification number RD270237 and is more or less 2.77 miles long.

        1023. Exhibit 399 (attached hereto and incorporated herein) contains certain information

pertaining to Road Number 0237 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1024. In this action, the State and County seek to quiet title to the public highway right-

of-way for Road Number 0237 solely as it crosses United States public land as included and

specifically described in Exhibit 399. Road Number 0237 includes the segment of road

specifically set forth in Exhibit 399 and as exists on the ground.

Acceptance of Road Number 0237 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1025. Road Number 0237 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

        1026. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road Number 0237 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

        1027. Road Number 0237 appears on the Veyo (1972) 7.5-minute quadrangle map,

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which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

        1028. Road Number 0237 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0237 pursuant to the County’s

governmental right and authority.

        1029. Witnesses with personal knowledge of the history of the Road Number 0237

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1030. Currently known reputation in the community is that the Road Number 0237 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1031. Public motor vehicle use of the Road Number 0237 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1032. The Road Number 0237 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1033. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

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action to establish clear title to the right-of-way underlying the Road Number 0237.

        1034. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0237 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0238

        1035. Road 0238 is designated as county road number 0238 and SGID road

identification number RD270238 and is more or less 4.70 miles long.

        1036. Exhibit 400 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0238 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1037. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0238 solely as it crosses United States public land as included and

specifically described in Exhibit 400. The Road Number 0238 includes the segment of road

specifically set forth in Exhibit 400 and as exists on the ground.

Acceptance of the Road Number 0238 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1038. The Road Number 0238 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1039. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0238 as a public highway located on the

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land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1040. The Road Number 0238 appears on the Veyo (1972) 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

        1041. The Road Number 0238 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0238 pursuant to the County’s

governmental right and authority.

        1042. Witnesses with personal knowledge of the history of the Road Number 0238

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1043. Currently known reputation in the community is that the Road Number 0238 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1044. Public motor vehicle use of the Road Number 0238 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1045. The Road Number 0238 traverses a valid and perfected R.S. 2477 public highway

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right-of-way as described herein.

        1046. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0238.

        1047. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0238 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0239

        1048. Road 0239 is designated as county road number 0239 and SGID road

identification number RD270239 and is more or less 0.94 miles long.

        1049. Exhibit 401 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0239 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1050. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0239 solely as it crosses United States public land as included and

specifically described in Exhibit 401. The Road Number 0239 includes the segment of road

specifically set forth in Exhibit 401 and as exists on the ground.




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Acceptance of the Road Number 0239 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1051. The Road Number 0239 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1052. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0239 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1053. The Road Number 0239 appears on the Veyo (1972) 7.5-minute quadrangle map,

which evidences the existence, use, and acceptance of the right-of-way underlying this road. See

Exhibit 12 for more detailed map information.

        1054. The Road Number 0239 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0239 pursuant to the County’s

governmental right and authority.

        1055. Witnesses with personal knowledge of the history of the Road Number 0239

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1056. Currently known reputation in the community is that the Road Number 0239 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        1057. Public motor vehicle use of the Road Number 0239 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1058. The Road Number 0239 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1059. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0239.

        1060. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0239 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0240

        1061. Road 0240 is designated as county road number 0240 and SGID road

identification number RD270240 and is more or less 5.03 miles long.

        1062. Exhibit 402 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0240 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1063. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road Number 0240 solely as it crosses United States public land as included and

specifically described in Exhibit 402. The Road Number 0240 includes the segment of road

specifically set forth in Exhibit 402 and as exists on the ground.

Acceptance of the Road Number 0240 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1064. The Road Number 0240 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1065. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0240 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1066. The Road Number 0240 appears on the Veyo (1972) and Saddle Mountain (1972)

7.5-minute/15-minute quadrangle maps, which evidences the existence, use, and acceptance of

the right-of-way underlying this road. See Exhibit 12 for more detailed map information.Public

motor vehicle use of Road 0240 as a public thoroughfare traversing unreserved public lands on a

continuous basis, whenever convenient or necessary, for a period of 10 years prior to October 21,

1976, confirms acceptance of the grant of an R.S. 2477 public highway right-of-way underlying

this road.

        1067. The Road 0240 was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road 0240 pursuant to the County’s governmental

right and authority.

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        1068. Witnesses with personal knowledge of the history of the Road Number 0240

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1069. Currently known reputation in the community is that the Road Number 0240 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1070. Public motor vehicle use of the Road Number 0240 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1071. The Road Number 0240 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1072. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0240.

        1073. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0240 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.




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Road Number 0241

       1074. Road 0241 is designated as county road number 0241 and SGID road

identification number RD270241 and is more or less 2.58 miles long.

       1075. Exhibit 403 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0241 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1076. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0241 solely as it crosses United States public land as included and

specifically described in Exhibit 403. The Road Number 0241 includes the segment of road

specifically set forth in Exhibit 403 and as exists on the ground.

Acceptance of the Road Number 0241 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1077. The Road Number 0241 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1078. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0241 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1079. The Road Number 0241 appears on the Veyo (1972) and Saddle Mountain (1972)

7.5-minute/15-minute quadrangle maps, which evidences the existence, use, and acceptance of

the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

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        1080. The Road Number 0241 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0241 pursuant to the County’s

governmental right and authority.

        1081. Witnesses with personal knowledge of the history of the Road Number 0241

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1082. Currently known reputation in the community is that the Road Number 0241 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1083. Public motor vehicle use of the Road Number 0241 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1084. The Road Number 0241 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1085. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0241.

        1086. The State and County are entitled to an order quieting title to their R.S. 2477

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right-of-way for the Road Number 0241 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0255

        1087. Road 0255 is designated as county road number 0255 and SGID road

identification number RD270255 and is more or less 1.69 miles long.

        1088. Exhibit 404 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0255 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1089. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0255 solely as it crosses United States public land as included and

specifically described in Exhibit 404. The Road Number 0255 includes the segment of road

specifically set forth in Exhibit 404 and as exists on the ground.

Acceptance of the Road Number 0255 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1090. The Road Number 0255 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1091. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0255 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

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        1092. The Road Number 0255 appears on the Veyo (1972) and Saddle Mountain (1972)

7.5-minute/15-minute quadrangle maps, which evidences the existence, use, and acceptance of

the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

        1093. The Road Number 0255 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0255 pursuant to the County’s

governmental right and authority.

        1094. Witnesses with personal knowledge of the history of the Road Number 0255

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1095. Currently known reputation in the community is that the Road Number 0255 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1096. Public motor vehicle use of the Road Number 0255 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1097. The Road Number 0255 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1098. Without confirmation from the United States, a cloud remains on the State and

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County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0255.

        1099. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0255 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0256

        1100. Road 0256 is designated as county road number 0256 and SGID road

identification number RD270256 and is more or less 0.10 miles long.

        1101. Exhibit 405 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0256 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1102. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0256 solely as it crosses United States public land as included and

specifically described in Exhibit 405. The Road Number 0256 includes the segment of road

specifically set forth in Exhibit 405 and as exists on the ground.

Acceptance of the Road Number 0256 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1103. The Road Number 0256 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.




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        1104. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0256 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1105. The Road Number 0256 appears on the Saddle Mountain (1972) 7.5-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1106. The Road Number 0256 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0256 pursuant to the County’s

governmental right and authority.

        1107. Witnesses with personal knowledge of the history of the Road Number 0256

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1108. Currently known reputation in the community is that the Road Number 0256 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1109. Public motor vehicle use of the Road Number 0256 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1110. The Road Number 0256 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1111. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0256.

        1112. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0256 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0260

        1113. Road 0260 is designated as county road number 0260 and SGID road

identification number RD270260 and is more or less 3.07 miles long.

        1114. Exhibit 406 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0260 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1115. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0260 solely as it crosses United States public land as included and

specifically described in Exhibit 406. The Road Number 0260 includes the segment of road

specifically set forth in Exhibit 406 and as exists on the ground.

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Acceptance of the Road Number 0260 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1116. The Road Number 0260 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1117. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0260 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1118. The Road Number 0260 appears on the Washington (1954) 7.5-minute/15-minute

quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1119. The Road Number 0260 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0260 pursuant to the County’s

governmental right and authority.

        1120. Witnesses with personal knowledge of the history of the Road Number 0260

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1121. Currently known reputation in the community is that the Road Number 0260 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        1122. Public motor vehicle use of the Road Number 0260 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1123. The Road Number 0260 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1124. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0260.

        1125. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0260 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0263

        1126. Road 0263 is designated as county road number 0263 and SGID road

identification number RD271111 and is more or less 4.79 miles long.

        1127. Exhibit 407 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0263 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1128. In this action, the State and County seek to quiet title to the public highway right-

                                                872
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of-way for the Road Number 0263 solely as it crosses United States public land as included and

specifically described in Exhibit 407. The Road Number 0263 includes the segment of road

specifically set forth in Exhibit 407 and as exists on the ground.

Acceptance of the Road Number 0263 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1129. The Road Number 0263 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1130. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0263 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1131. The Road Number 0263 appears on the Santa Clara (1954) and Washington

(1954) 7.5-minute/15-minute quadrangle maps, which evidences the existence, use, and

acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

information.

       1132. The Road Number 0263 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0263 pursuant to the County’s

governmental right and authority.

       1133. Witnesses with personal knowledge of the history of the Road Number 0263

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

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1976.

        1134. Currently known reputation in the community is that the Road Number 0263 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1135. Public motor vehicle use of the Road Number 0263 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1136. The Road Number 0263 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1137. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0263.

        1138. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0263 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0265

        1139. Road 0265 is designated as county road number 0265 and SGID road

identification number RD270265 and is more or less 0.98 miles long.

        1140. Exhibit 408 (attached hereto and incorporated herein) contains certain information

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pertaining to the Road Number 0265 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1141. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0265 solely as it crosses United States public land as included and

specifically described in Exhibit 408. The Road Number 0265 includes the segment of road

specifically set forth in Exhibit 408 and as exists on the ground.

Acceptance of the Road Number 0265 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1142. The Road Number 0265 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1143. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0265 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1144. The Road Number 0265 appears on the Washington (1954) 7.5-minute/15-minute

quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       1145. The Road Number 0265 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0265 pursuant to the County’s

governmental right and authority.

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        1146. Witnesses with personal knowledge of the history of the Road Number 0265

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1147. Currently known reputation in the community is that the Road Number 0265 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1148. Public motor vehicle use of the Road Number 0265 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1149. The Road Number 0265 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1150. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0265.

        1151. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0265 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.




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Road Number 0266

       1152. Road 0266 is designated as county road number 0266 and SGID road

identification number RD270266 and is more or less 0.29 miles long.

       1153. Exhibit 409 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0266 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1154. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0266 solely as it crosses United States public land as included and

specifically described in Exhibit 409. The Road Number 0266 includes the segment of road

specifically set forth in Exhibit 409 and as exists on the ground.

Acceptance of the Road Number 0266 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1155. The Road Number 0266 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1156. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0266 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1157. The Road Number 0266 appears on the Washington (1954) 7.5-minute/15-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

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        1158. The 0161 Road was accepted as a County highway at least 10 years prior to

October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way by

managing, maintaining, or improving the Road Number 0161 pursuant to the County’s

governmental right and authority.

        1159. Witnesses with personal knowledge of the history of the Road Number 0266

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1160. Currently known reputation in the community is that the Road Number 0266 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1161. Public motor vehicle use of the Road Number 0266 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1162. The Road Number 0266 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1163. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0266.

        1164. The State and County are entitled to an order quieting title to their R.S. 2477

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right-of-way for the Road Number 0266 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0295

        1165. Road 0295 is designated as county road number 0295 and SGID road

identification number RD270295 and is more or less 3.13 miles long.

        1166. Exhibit 410 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0295 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1167. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0295 solely as it crosses United States public land as included and

specifically described in Exhibit 410. The Road Number 0295 includes the segment of road

specifically set forth in Exhibit 410 and as exists on the ground.

Acceptance of the Road Number 0295 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1168. The Road Number 0295 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1169. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0295 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

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        1170. The Road Number 0295 appears on the Stoddard Mountain (1950) and New

Harmony (1957) 7.5-minute/15-minute quadrangle maps, which evidences the existence, use,

and acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

information.

        1171. The Road Number 0295 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0295 pursuant to the County’s

governmental right and authority.

        1172. Witnesses with personal knowledge of the history of the Road Number 0295

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1173. Currently known reputation in the community is that the Road Number 0295 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1174. Public motor vehicle use of the Road Number 0295 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1175. The Road Number 0295 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

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        1176. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0295.

        1177. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0295 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0303

        1178. Road 0303 is designated as county road number 0303 and SGID road

identification number RD270303 and is more or less 1.21 miles long.

        1179. Exhibit 411 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0303 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1180. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0303 solely as it crosses United States public land as included and

specifically described in Exhibit 411. The Road Number 0303 includes the segment of road

specifically set forth in Exhibit 411 and as exists on the ground.

Acceptance of the Road Number 0303 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1181. The Road Number 0303 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

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        1182. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0303 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1183. The Road Number 0303 appears on the Stoddard Mountain (1950) and New

Harmony (1957) 7.5-minute/15-minute quadrangle maps, which evidences the existence, use,

and acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

information.

        1184. The Road Number 0303 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0303 pursuant to the County’s

governmental right and authority.

        1185. Witnesses with personal knowledge of the history of the Road Number 0303

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1186. Currently known reputation in the community is that the Road Number 0303 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1187. Public motor vehicle use of the Road Number 0303 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

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a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1188. The Road Number 0303 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1189. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0303.

        1190. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0303 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0305

        1191. Road 0305 is designated as county road number 0305 and SGID road

identification number RD270305 and is more or less 0.77 miles long.

        1192. Exhibit 412 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0305 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1193. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0305 solely as it crosses United States public land as included and

specifically described in Exhibit 412. The Road Number 0305 includes the segment of road

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specifically set forth in Exhibit 412 and as exists on the ground.

Acceptance of the Road Number 0305 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1194. The Road Number 0305 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1195. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0305 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1196. The Road Number 0305 appears on the New Harmony 7.5-minute/15-minute

quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1197. The Road Number 0305 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0305 pursuant to the County’s

governmental right and authority.

        1198. Witnesses with personal knowledge of the history of the Road Number 0305

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1199. Currently known reputation in the community is that the Road Number 0305 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

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prior to October 21, 1976, and continuing to the present.

        1200. Public motor vehicle use of the Road Number 0305 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1201. The Road Number 0305 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1202. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0305.

        1203. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0305 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0310

        1204. Road 0310 is designated as county road number 0310 and SGID road

identification number RD270310 and is more or less 4.50 miles long.

        1205. Exhibit 413 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0310 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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       1206. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0310 solely as it crosses United States public land as included and

specifically described in Exhibit 413. The Road Number 0310 includes the segment of road

specifically set forth in Exhibit 413 and as exists on the ground.

Acceptance of the Road Number 0310 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1207. The Road Number 0310 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1208. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0310 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1209. The Road Number 0310 appears on the Santa Clara (1954) and Washington

(1954) 7.5-minute/15-minute quadrangle maps, which evidences the existence, use, and

acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

information.

       1210. The Road Number 0310 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0310 pursuant to the County’s

governmental right and authority.

       1211. Witnesses with personal knowledge of the history of the Road Number 0310

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

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continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1212. Currently known reputation in the community is that the Road Number 0310 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1213. Public motor vehicle use of the Road Number 0310 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1214. The Road Number 0310 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1215. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0310.

        1216. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0310 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0311

        1217. Road 0311 is designated as county road number 0311 and SGID road

identification number RD270311 and is more or less 2.69 miles long.

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       1218. Exhibit 414 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0311 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1219. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0311 solely as it crosses United States public land as included and

specifically described in Exhibit 414. The Road Number 0311 includes the segment of road

specifically set forth in Exhibit 414 and as exists on the ground.

Acceptance of the Road Number 0311 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1220. The Road Number 0311 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1221. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0311 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1222. The Road Number 0311 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0311 pursuant to the County’s

governmental right and authority.

       1223. Witnesses with personal knowledge of the history of the Road Number 0311

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

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continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1224. Currently known reputation in the community is that the Road Number 0311 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1225. Public motor vehicle use of the Road Number 0311 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1226. The Road Number 0311 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1227. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0311.

        1228. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0311 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0312

        1229. Road 0312 is designated as county road number 0312 and SGID road

identification number RD270312 and is more or less 1.69 miles long.

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       1230. Exhibit 415 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0312 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1231. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0312 solely as it crosses United States public land as included and

specifically described in Exhibit 415. The Road Number 0312 includes the segment of road

specifically set forth in Exhibit 415 and as exists on the ground.

Acceptance of the Road Number 0312 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1232. The Road Number 0312 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1233. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0312 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1234. The Road Number 0312 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0312 pursuant to the County’s

governmental right and authority.

       1235. Witnesses with personal knowledge of the history of the Road Number 0312

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

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continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1236. Currently known reputation in the community is that the Road Number 0312 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1237. Public motor vehicle use of the Road Number 0312 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1238. The Road Number 0312 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1239. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0312.

        1240. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0312 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0314

        1241. Road 0314 is designated as county road number 0314 and SGID road

identification number RD270314 and is more or less 2.51 miles long.

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       1242. Exhibit 416 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0314 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1243. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0314 solely as it crosses United States public land as included and

specifically described in Exhibit 416. The Road Number 0314 includes the segment of road

specifically set forth in Exhibit 416 and as exists on the ground.

Acceptance of the Road Number 0314 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1244. The Road Number 0314 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1245. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0314 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1246. The Road Number 0314 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0314 pursuant to the County’s

governmental right and authority.

       1247. Witnesses with personal knowledge of the history of the Road Number 0314

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

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continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1248. Currently known reputation in the community is that the Road Number 0314 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1249. Public motor vehicle use of the Road Number 0314 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1250. The Road Number 0314 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1251. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0314.

        1252. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0314 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0343

        1253. Road 0343 is designated as county road number 0343 and SGID road

identification number RD270343 and is more or less 1.05 miles long.

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       1254. Exhibit 417 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0343 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1255. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0343 solely as it crosses United States public land as included and

specifically described in Exhibit 417. The Road Number 0343 includes the segment of road

specifically set forth in Exhibit 417 and as exists on the ground.

Acceptance of the Road Number 0343 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1256. The Road Number 0343 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1257. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0343 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1258. The Road Number 0343 appears on the Pintura (1954) 7.5-minute/15-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       1259. The Road Number 0343 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0343 pursuant to the County’s

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governmental right and authority.

        1260. Witnesses with personal knowledge of the history of the Road Number 0343

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1261. Currently known reputation in the community is that the Road Number 0343 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1262. Public motor vehicle use of the Road Number 0343 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1263. The Road Number 0343 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1264. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0343.

        1265. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0343 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

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Road Number 0348

       1266. Road 0348 is designated as county road number 0348 and SGID road

identification number RD270348 and is more or less 1.46 miles long.

       1267. Exhibit 418 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0348 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1268. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0348 solely as it crosses United States public land as included and

specifically described in Exhibit 418. The Road Number 0348 includes the segment of road

specifically set forth in Exhibit 418 and as exists on the ground.

Acceptance of the Road Number 0348 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1269. The Road Number 0348 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1270. Aerial photography from 1960 and 1976 confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0348 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1271. The Road Number 0348 appears on the Pintura (1954) and Hurricane (1954) 7.5-

minute/15-minute quadrangle maps, which evidences the existence, use, and acceptance of the

right-of-way underlying this road. See Exhibit 12 for more detailed map information.

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        1272. The County confirmed its acceptance of the Road Number 0348 by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Road Number 0348

pursuant to the County’s governmental right and authority.

        1273. Witnesses with personal knowledge of the history of the Road Number 0348

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1274. Currently known reputation in the community is that the Road Number 0348 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1275. Public motor vehicle use of the Road Number 0348 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1276. The Road Number 0348 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1277. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0348.

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        1278. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0348 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0349

        1279. Road 0349 is designated as county road number 0349 and SGID road

identification number RD270349 and is more or less 1.60 miles long.

        1280. Exhibit 419 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0349 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1281. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0349 solely as it crosses United States public land as included and

specifically described in Exhibit 419. The Road Number 0349 includes the segment of road

specifically set forth in Exhibit 419 and as exists on the ground.

Acceptance of the Road Number 0349 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1282. The Road Number 0349 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1283. Aerial photography from 1939, 1952, 1960, and 1976 confirms the historical use,

existence, and acceptance of the right-of-way for the Road Number 0349 as a public highway




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located on the land at issue in this case and following the course described herein. More recent

aerial photography continues to show the road as it existed prior to October 21, 1976.

        1284. The Road Number 0349 appears on the Pintura (1954) and Washington (1954)

7.5-minute/15-minute quadrangle maps, which evidences the existence, use, and acceptance of

the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

        1285. The County confirmed its acceptance of the Road Number 0349 by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Road Number 0349

pursuant to the County’s governmental right and authority.

        1286. Witnesses with personal knowledge of the history of the Road Number 0349

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1287. Currently known reputation in the community is that the Road Number 0349 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1288. Public motor vehicle use of the Road Number 0349 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

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        1289. The Road Number 0349 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1290. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0349.

        1291. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0349 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0354

        1292. Road 0354 is designated as county road number 0354 and SGID road

identification number RD270354 and is more or less 1.10 miles long.

        1293. Exhibit 420 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0354 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1294. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0354 solely as it crosses United States public land as included and

specifically described in Exhibit 420. The Road Number 0354 includes the segment of road

specifically set forth in Exhibit 420 and as exists on the ground.




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Acceptance of the Road Number 0354 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1295. The Road Number 0354 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1296. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0354 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1297. The Road Number 0354 appears on the New Harmony (1957) and Pintura (1954)

7.5-minute/15-minute quadrangle maps, which evidences the existence, use, and acceptance of

the right-of-way underlying this road. See Exhibit 12 for more detailed map information.

        1298. The Road Number 0354 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0354 pursuant to the County’s

governmental right and authority.

        1299. Witnesses with personal knowledge of the history of the Road Number 0354

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1300. Currently known reputation in the community is that the Road Number 0354 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        1301. Public motor vehicle use of the Road Number 0354 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1302. The Road Number 0354 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1303. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0354.

        1304. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0349 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0365

        1305. Road 0365 is designated as county road number 0365 and SGID road

identification number RD270365 and is more or less 0.58 miles long.

        1306. Exhibit 421 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0365 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1307. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road Number 0365 solely as it crosses United States public land as included and

specifically described in Exhibit 421. The Road Number 0365 includes the segment of road

specifically set forth in Exhibit 421 and as exists on the ground.

Acceptance of the Road Number 0365 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1308. The Road Number 0365 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1309. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0365 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1310. The Road Number 0365 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0365 pursuant to the County’s

governmental right and authority.

        1311. Witnesses with personal knowledge of the history of the Road Number 0365

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1312. Currently known reputation in the community is that the Road Number 0365 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        1313. Public motor vehicle use of the Road Number 0365 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1314. The Road Number 0365 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1315. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0365.

        1316. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0365 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0366

        1317. Road 0366 is designated as county road number 0366 and SGID road

identification number RD270366 and is more or less 0.41 miles long.

        1318. Exhibit 422 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0366 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1319. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road Number 0366 solely as it crosses United States public land as included and

specifically described in Exhibit 422. The Road Number 0366 includes the segment of road

specifically set forth in Exhibit 422 and as exists on the ground.

Acceptance of the Road Number 0366 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1320. The Road Number 0366 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1321. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0366 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1322. The Road Number 0366 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0366 pursuant to the County’s

governmental right and authority.

        1323. Witnesses with personal knowledge of the history of the Road Number 0366

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1324. Currently known reputation in the community is that the Road Number 0366 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        1325. Public motor vehicle use of the Road Number 0366 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1326. The Road Number 0366 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1327. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0366.

        1328. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0366 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0382

        1329. Road 0382 is designated as county road number 0382 and SGID road

identification number RD270382 and is more or less 3.09 miles long.

        1330. Exhibit 423 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0382 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1331. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road Number 0382 solely as it crosses United States public land as included and

specifically described in Exhibit 423. The Road Number 0382 includes the segment of road

specifically set forth in Exhibit 423 and as exists on the ground.

Acceptance of the Road Number 0382 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1332. The Road Number 0382 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1333. Aerial photography from 1952, 1954, 1960 and 1976 confirms the historical use,

existence, and acceptance of the right-of-way for the Road Number 0382 as a public highway

located on the land at issue in this case and following the course described herein. More recent

aerial photography continues to show the road as it existed prior to October 21, 1976.

        1334. The Road Number 0382 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0382 pursuant to the County’s

governmental right and authority.

        1335. Witnesses with personal knowledge of the history of the Road Number 0382

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1336. Currently known reputation in the community is that the Road Number 0382 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        1337. Public motor vehicle use of the Road Number 0382 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1338. The Road Number 0382 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1339. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0382.

        1340. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0382 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0383

        1341. Road 0383 is designated as county road number 0383 and SGID road

identification number RD270383 and is more or less 0.14 miles long.

        1342. Exhibit 424 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0383 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1343. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road Number 0383 solely as it crosses United States public land as included and

specifically described in Exhibit 424. The Road Number 0383 includes the segment of road

specifically set forth in Exhibit 424 and as exists on the ground.

Acceptance of the Road Number 0383 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1344. The Road Number 0383 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1345. Aerial photography from 1960 and 1976 confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0383 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1346. The Road Number 0383 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0383 pursuant to the County’s

governmental right and authority.

        1347. Witnesses with personal knowledge of the history of the Road Number 0383

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1348. Currently known reputation in the community is that the Road Number 0383 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        1349. Public motor vehicle use of the Road Number 0383 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1350. The Road Number 0383 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1351. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0383.

        1352. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0383 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0386

        1353. Road 0386 is designated as county road number 0386 and SGID road

identification number RD270386 and is more or less 0.34 miles long.

        1354. Exhibit 425 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0386 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1355. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road Number 0386 solely as it crosses United States public land as included and

specifically described in Exhibit 425. The Road Number 0386 includes the segment of road

specifically set forth in Exhibit 425 and as exists on the ground.

Acceptance of the Road Number 0386 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1356. The Road Number 0386 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1357. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0386 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1358. The Road Number 0386 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0386 pursuant to the County’s

governmental right and authority.

        1359. Witnesses with personal knowledge of the history of the Road Number 0386

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1360. Currently known reputation in the community is that the Road Number 0386 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

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        1361. Public motor vehicle use of the Road Number 0386 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1362. The Road Number 0386 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1363. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0386.

        1364. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0386 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0412

        1365. Road 0412 is designated as county road number 0412 and SGID road

identification number RD270412 and is more or less 2.00 miles long.

        1366. Exhibit 426 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0412 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1367. In this action, the State and County seek to quiet title to the public highway right-

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of-way for the Road Number 0412 solely as it crosses United States public land as included and

specifically described in Exhibit 426. The Road Number 0412 includes the segment of road

specifically set forth in Exhibit 426 and as exists on the ground.

Acceptance of the Road Number 0412 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1368. The Road Number 0412 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1369. Aerial photography from 1939 and 1976 confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0412 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1370. The County confirmed its acceptance of the Road Number 0412 by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

R.S. 2477 right-of-way by managing, maintaining, or improving the Road Number 0412

pursuant to the County’s governmental right and authority.

        1371. Witnesses with personal knowledge of the history of the Road Number 0412

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1372. Currently known reputation in the community is that the Road Number 0412 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

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prior to October 21, 1976, and continuing to the present.

        1373. Public motor vehicle use of the Road Number 0412 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1374. The Road Number 0412 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1375. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0412.

        1376. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0412 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0428

        1377. Road 0428 is designated as county road number 0428 and SGID road

identification number RD270428 and is more or less 0.96 miles long.

        1378. Exhibit 427 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0428 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

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       1379. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0428 solely as it crosses United States public land as included and

specifically described in Exhibit 427. The Road Number 0428 includes the segment of road

specifically set forth in Exhibit 427 and as exists on the ground.

Acceptance of the Road Number 0428 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1380. The Road Number 0428 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1381. Aerial photography from 1939, 1952, and 1960 confirms the historical use,

existence, and acceptance of the right-of-way for the Road Number 0428 as a public highway

located on the land at issue in this case and following the course described herein. More recent

aerial photography continues to show the road as it existed prior to October 21, 1976.

       1382. The Road Number 0428 appears on the Hurricane (1954) 7.5-minute/15-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       1383. The Road Number 0428 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0428 pursuant to the County’s

governmental right and authority.

       1384. Witnesses with personal knowledge of the history of the Road Number 0428

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

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1976.

        1385. Currently known reputation in the community is that the Road Number 0428 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1386. Public motor vehicle use of the Road Number 0428 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1387. The Road Number 0428 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1388. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0428.

        1389. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0428 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0605

        1390. Road 0605 is designated as county road number 0605 and SGID road

identification number RD270605 and is more or less 2.68 miles long.

        1391. Exhibit 428 (attached hereto and incorporated herein) contains certain information

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pertaining to the Road Number 0605 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1392. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0605 solely as it crosses United States public land as included and

specifically described in Exhibit 428. The Road Number 0605 includes the segment of road

specifically set forth in Exhibit 428 and as exists on the ground.

Acceptance of the Road Number 0605 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1393. The Road Number 0605 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1394. Aerial photography from 1952 and 1976 confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0605 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1395. The Road Number 0605 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0605 pursuant to the County’s

governmental right and authority.

       1396. Witnesses with personal knowledge of the history of the Road Number 0605

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

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1976.

        1397. Currently known reputation in the community is that the Road Number 0605 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1398. Public motor vehicle use of the Road Number 0605 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1399. The Road Number 0605 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1400. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0605.

        1401. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0605 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0606

        1402. Road 0606 is designated as county road number 0606 and SGID road

identification number RD270606 and is more or less 0.49 miles long.

        1403. Exhibit 429 (attached hereto and incorporated herein) contains certain information

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pertaining to the Road Number 0606 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1404. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0606 solely as it crosses United States public land as included and

specifically described in Exhibit 429. The Road Number 0606 includes the segment of road

specifically set forth in Exhibit 429 and as exists on the ground.

Acceptance of the Road Number 0606 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1405. The Road Number 0606 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

       1406. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0606 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1407. The Road Number 0606 appears on the Harrisburg Junction (1954) and

Washington (1954) 7.5-minute/15-minute quadrangle maps, which evidences the existence, use,

and acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

information.

       1408. The County confirmed its acceptance of the Road Number 0606 by 1976, when it

designated and accepted the road as a County highway on the County’s general highway map.

See UTAH CODE ANN. § 72-3-103(4) (2009). The County further evidenced its acceptance of its

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R.S. 2477 right-of-way by managing, maintaining, or improving the Road Number 0606

pursuant to the County’s governmental right and authority.

        1409. Witnesses with personal knowledge of the history of the Road Number 0606

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1410. Currently known reputation in the community is that the Road Number 0606 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1411. Public motor vehicle use of the Road Number 0606 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1412. The Road Number 0606 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1413. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0606.

        1414. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0606 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

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road.

Road Number 0608

        1415. Road 0608 is designated as county road number 0608 and SGID road

identification number RD270608 and is more or less 1.51 miles long.

        1416. Exhibit 430 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0608 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1417. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0608 solely as it crosses United States public land as included and

specifically described in Exhibit 430. The Road Number 0608 includes the segment of road

specifically set forth in Exhibit 430 and as exists on the ground.

Acceptance of the Road Number 0608 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1418. The Road Number 0608 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1419. Aerial photography from 1960 and 1976 confirms the historical use, existence,

and acceptance of the right-of-way for the Road Number 0608 as a public highway located on

the land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1420. The Road Number 0608 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

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by managing, maintaining, or improving the Road Number 0608 pursuant to the County’s

governmental right and authority.

        1421. Witnesses with personal knowledge of the history of the Road Number 0608

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1422. Currently known reputation in the community is that the Road Number 0608 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1423. Public motor vehicle use of the Road Number 0608 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1424. The Road Number 0608 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1425. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0608.

        1426. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0608 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

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road.

Road Number 0610

        1427. Road 0610 is designated as county road number 0610 and SGID road

identification number RD270350 and is more or less 1.14 miles long.

        1428. Exhibit 431 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0610 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1429. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0610 solely as it crosses United States public land as included and

specifically described in Exhibit 431. The Road Number 0610 includes the segment of road

specifically set forth in Exhibit 431 and as exists on the ground.

Acceptance of the Road Number 0610 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1430. The Road Number 0610 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1431. Aerial photography from 1952, 1960 and 1976 confirms the historical use,

existence, and acceptance of the right-of-way for the Road Number 0610 as a public highway

located on the land at issue in this case and following the course described herein. More recent

aerial photography continues to show the road as it existed prior to October 21, 1976.

        1432. The Road Number 0610 appears on the Harrisburg (1954) Hurricane (1954) and

Pintura 7.5-minute/15-minute quadrangle maps, which evidences the existence, use, and

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acceptance of the right-of-way underlying this road. See Exhibit 12 for more detailed map

information.

        1433. The Road Number 0610 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0610 pursuant to the County’s

governmental right and authority.

        1434. Witnesses with personal knowledge of the history of the Road Number 0610

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1435. Currently known reputation in the community is that the Road Number 0610 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1436. Public motor vehicle use of the Road Number 0610 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1437. The Road Number 0610 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1438. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

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action to establish clear title to the right-of-way underlying the Road Number 0610.

        1439. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0610 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0849

        1440. Road 0849 is designated as county road number 0849 and SGID road

identification number RD270849 and is more or less 1.61 miles long.

        1441. Exhibit 432 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0849 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1442. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0849 solely as it crosses United States public land as included and

specifically described in Exhibit 432. The Road Number 0849 includes the segment of road

specifically set forth in Exhibit 432 and as exists on the ground.

Acceptance of the Road Number 0849 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1443. The Road Number 0849 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1444. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0849 as a public highway located on the

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land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1445. The Road Number 0849 appears on the Washington (1954) 7.5-minute/15-minute

quadrangle map, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

        1446. The Road Number 0849 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0849 pursuant to the County’s

governmental right and authority.

        1447. Witnesses with personal knowledge of the history of the Road Number 0849

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1448. Currently known reputation in the community is that the Road Number 0849 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1449. Public motor vehicle use of the Road Number 0849 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1450. The Road Number 0849 traverses a valid and perfected R.S. 2477 public highway

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right-of-way as described herein.

        1451. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0849.

        1452. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0849 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0850

        1453. Road 0850 is designated as county road number 0850 and SGID road

identification number RD270850 and is more or less 0.97 miles long.

        1454. Exhibit 433 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 0850 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1455. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 0850 solely as it crosses United States public land as included and

specifically described in Exhibit 433. The Road Number 0850 includes the segment of road

specifically set forth in Exhibit 433 and as exists on the ground.




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Acceptance of the Road Number 0850 R.S. 2477 Right-of-way Prior to October 21, 1976.

        1456. The Road Number 0850 has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1457. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0850 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1458. The Road Number 0850 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0850 pursuant to the County’s

governmental right and authority.

        1459. Witnesses with personal knowledge of the history of the Road Number 0850

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1460. Currently known reputation in the community is that the Road Number 0850 has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1461. Public motor vehicle use of the Road Number 0850 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

                                               928
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public highway right-of-way underlying this road.

        1462. The Road Number 0850 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1463. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 0850.

        1464. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0850 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 0851

        1465. Road 0851 is designated as county road number 0851 and SGID road

identification number RD270851 and is more or less 0.92 miles long.

        1466. Exhibit 434 (attached hereto and incorporated herein) contains certain information

pertaining to Road Number 0851 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1467. In this action, the State and County seek to quiet title to the public highway right-

of-way for Road Number 0851 solely as it crosses United States public land as included and

specifically described in Exhibit 434. Road Number 0851 includes the segment of road

specifically set forth in Exhibit 434 and as exists on the ground.

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Acceptance of the Road Number 0851 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1468. Road Number 0851 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1469. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 0851 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1470. Road Number 0851 appears on the Washington (1954) and St. George (1954) 7.5-

minute/15-minute quadrangle maps, which evidences the existence, use, and acceptance of the

right-of-way underlying this road. See Exhibit 12 for more detailed map information.

       1471. The Road Number 851 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 0851 pursuant to the County’s

governmental right and authority.

       1472. Witnesses with personal knowledge of the history of Road Number 0851 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1473. Currently known reputation in the community is that Road Number 0851 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1474. Public motor vehicle use of Road Number 0851 as a public thoroughfare

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traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1475. Road Number 0851 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1476. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road Number 0851.

        1477. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road Number 0851 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 7985

        1478. Road 7985 is designated as county road number 7985 and SGID road

identification number RD277985 and is more or less 0.7 miles long.

        1479. Exhibit 435 (attached hereto and incorporated herein) contains certain information

pertaining to Road Number 7985 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1480. In this action, the State and County seek to quiet title to the public highway right-

of-way for Road Number 7985 solely as it crosses United States public land as included and

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specifically described in Exhibit 435. Road Number 7985 includes the segment of road

specifically set forth in Exhibit 435 and as exists on the ground.

Acceptance of Road Number 7985 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1481. Road Number 7985 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1482. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road Number 7985 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1483. The Road Number 7985 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 7985 pursuant to the County’s

governmental right and authority.

       1484. Witnesses with personal knowledge of the history of Road Number 7985 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1485. Currently known reputation in community is that Road Number 7985 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1486. Public motor vehicle use of Road Number 7985 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

                                                932
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a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1487. Road Number 7985 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1488. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road Number 7985.

        1489. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road Number 7985 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 9894

        1490. Road 9894 is designated as county road number 9894 and SGID road

identification number RD279894 and is more or less 0.11 miles long.

        1491. Exhibit 436 (attached hereto and incorporated herein) contains certain information

pertaining to Road Number 9894 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1492. In this action, the State and County seek to quiet title to the public highway right-

of-way for Road Number 9894 solely as it crosses United States public land as included and

specifically described in Exhibit 436. Road Number 9894 includes the segment of road

                                                933
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specifically set forth in Exhibit 436 and as exists on the ground.

Acceptance of Road Number 9894 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1493. Road Number 9894 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1494. Aerial photography from 1952, 1960 and 1976 confirms the historical use,

existence, and acceptance of the right-of-way for Road Number 9894 as a public highway

located on the land at issue in this case and following the course described herein. More recent

aerial photography continues to show the road as it existed prior to October 21, 1976.

       1495. The Road Number 9894 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 9894 pursuant to the County’s

governmental right and authority.

       1496. Witnesses with personal knowledge of the history of Road Number 9894 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1497. Currently known reputation in community is that Road Number 9894 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1498. Public motor vehicle use of Road Number 9894 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1499. Road Number 9894 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1500. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road Number 9894.

        1501. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road Number 9894 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 9928

        1502. Road 9928 is designated as county road number 9928 and SGID road

identification number RD279928 and is more or less 0.63 miles long.

        1503. Exhibit 437 (attached hereto and incorporated herein) contains certain information

pertaining to Road Number 9928 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1504. In this action, the State and County seek to quiet title to the public highway right-

of-way for Road Number 9928 solely as it crosses United States public land as included and

specifically described in Exhibit 437. Road Number 9928 includes the segment of road

specifically set forth in Exhibit 437 and as exists on the ground.

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Acceptance of Road Number 9928 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1505. Road Number 9928 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1506. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 9928 as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

       1507. Road Number 9928 appears on the New Harmony (1954) 7.5-minute and 15-

minute quadrangle maps, which evidences the existence, use, and acceptance of the right-of-way

underlying this road. See Exhibit 12 for more detailed map information.

       1508. The Road Number 9928 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 9928 pursuant to the County’s

governmental right and authority.

       1509. Witnesses with personal knowledge of the history of Road Number 9928 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1510. Currently known reputation in the community is that Road Number 9928 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1511. Public motor vehicle use of Road Number 9928 as a public thoroughfare

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traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1512. Road Number 9928 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1513. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road Number 9928.

        1514. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road Number 9928 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 9990

        1515. Road 9990 is designated as county road number 9990 and SGID road

identification number RD279990 and is more or less 0.09 miles long.

        1516. Exhibit 438 (attached hereto and incorporated herein) contains certain information

pertaining to Road Number 9990 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1517. In this action, the State and County seek to quiet title to the public highway right-

of-way for Road Number 9990 solely as it crosses United States public land as included and

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specifically described in Exhibit 438. Road Number 9990 includes the segment of road

specifically set forth in Exhibit 438 and as exists on the ground.

Acceptance of the Road Number 9990 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1518. Road Number 9990 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1519. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road Number 9990 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1520. The Road Number 9990 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 9990 pursuant to the County’s

governmental right and authority.

       1521. Witnesses with personal knowledge of the history of Road Number 9990 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1522. Currently known reputation in the community is that Road Number 9990 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1523. Public motor vehicle use of Road Number 9990 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

                                                938
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a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

public highway right-of-way underlying this road.

        1524. Road Number 9990 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1525. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road Number 9990.

        1526. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Road Number 9990 on lands owned by the United States as described herein

and including that which is reasonable and necessary for the use, benefit, and enjoyment of this

road.

Road Number 9995

        1527. Road 9995 is designated as county road number 9995 and SGID road

identification number RD279995 and is more or less 0.37 miles long.

        1528. Exhibit 439 (attached hereto and incorporated herein) contains certain information

pertaining to Road Number 9995 including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1529. In this action, the State and County seek to quiet title to the public highway right-

of-way for Road Number 9995 solely as it crosses United States public land as included and

specifically described in Exhibit 439. Road Number 9995 includes the segment of road

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specifically set forth in Exhibit 439 and as exists on the ground.

Acceptance of Road Number 9995 R.S. 2477 Right-of-way Prior to October 21, 1976.

       1530. Road Number 9995 has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

       1531. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road Number 9995 as a public highway located on the land at

issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

       1532. The Road Number 9995 was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 9995 pursuant to the County’s

governmental right and authority.

       1533. Witnesses with personal knowledge of the history of Road Number 9995 confirm

public use of this road as a public thoroughfare by means of motor vehicles on a continuous

basis, whenever convenient or necessary, for more than 10 years prior to October 21, 1976.

       1534. Currently known reputation in the community is that Road Number 9995 has been

open for all to come and go, whenever convenient or necessary, for more than 10 years prior to

October 21, 1976, and continuing to the present.

       1535. Public motor vehicle use of Road Number 9995 as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

       1536. Road Number 9995 traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

       1537. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road Number 9995.

       1538. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for Number 9995 on lands owned by the United States as described herein and

including that which is reasonable and necessary for the use, benefit, and enjoyment of this road.

Road Number 0238A

       1539. Road 0238A is designated as county road number 0238A and SGID road

identification number RD271029 and is more or less 0.62 miles long.

       1540. Exhibit 440 (attached hereto and incorporated herein) contains certain information

pertaining to Road Number 0238A including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

       1541. In this action, State and County seek to quiet title to the public highway right-of-

way for Road Number 0238A solely as it crosses United States public land as included and

specifically described in Exhibit 440. Road Number 0238A includes the segment of road

specifically set forth in Exhibit 440 and as exists on the ground.




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Acceptance of Road Number 0238A R.S. 2477 Right-of-way Prior to October 21, 1976.

        1542. Road Number 0238A has long served as a public highway providing access to and

across public land. This road serves the public’s transportation needs.

        1543. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for Road Number 0238A as a public highway located on the land

at issue in this case and following the course described herein. More recent aerial photography

continues to show the road as it existed prior to October 21, 1976.

        1544. The Road Number 0238A was accepted as a County highway at least 10 years

prior to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-

way by managing, maintaining, or improving the Road Number 0238A pursuant to the County’s

governmental right and authority.

        1545. Witnesses with personal knowledge of the history of Road Number 0238A

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1546. Currently known reputation in the community is that Road Number 0238A has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1547. Public motor vehicle use of Road Number 0238A as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1548. Road Number 0238A traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1549. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying Road Number 0238A.

        1550. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 0238A on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

Road Number 236A

        1551. Road 236A is designated as county road number 236A and SGID road

identification number RD271019 and is more or less 0.09 miles long.

        1552. Exhibit 441 (attached hereto and incorporated herein) contains certain information

pertaining to the Road Number 236A including: a map depicting the road; township, range and

section references describing the road’s physical location; a servient estate ownership list; and a

complete centerline description of the road.

        1553. In this action, the State and County seek to quiet title to the public highway right-

of-way for the Road Number 236A solely as it crosses United States public land as included and

specifically described in Exhibit 441. The Road Number 236A includes the segment of road

specifically set forth in Exhibit 441 and as exists on the ground.

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Acceptance of the Road Number 236A R.S. 2477 Right-of-way Prior to October 21, 1976.

        1554. The Road Number 236A has long served as a public highway providing access to

and across public land. This road serves the public’s transportation needs.

        1555. Aerial photography from 1976 confirms the historical use, existence, and

acceptance of the right-of-way for the Road Number 236A as a public highway located on the

land at issue in this case and following the course described herein. More recent aerial

photography continues to show the road as it existed prior to October 21, 1976.

        1556. The Road Number 236A was accepted as a County highway at least 10 years prior

to October 21, 1976. The County further evidenced its acceptance of its R.S. 2477 right-of-way

by managing, maintaining, or improving the Road Number 236A pursuant to the County’s

governmental right and authority.

        1557. Witnesses with personal knowledge of the history of the Road Number 236A

confirm public use of this road as a public thoroughfare by means of motor vehicles on a

continuous basis, whenever convenient or necessary, for more than 10 years prior to October 21,

1976.

        1558. Currently known reputation in the community is that the Road Number 236A has

been open for all to come and go, whenever convenient or necessary, for more than 10 years

prior to October 21, 1976, and continuing to the present.

        1559. Public motor vehicle use of the Road Number 236A as a public thoroughfare

traversing unreserved public lands on a continuous basis, whenever convenient or necessary, for

a period of 10 years prior to October 21, 1976, confirms acceptance of the grant of an R.S. 2477

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public highway right-of-way underlying this road.

        1560. The Road Number 236A traverses a valid and perfected R.S. 2477 public highway

right-of-way as described herein.

        1561. Without confirmation from the United States, a cloud remains on the State and

County’s title to the right-of-way. Therefore, the State and County have brought this quiet title

action to establish clear title to the right-of-way underlying the Road Number 236A.

        1562. The State and County are entitled to an order quieting title to their R.S. 2477

right-of-way for the Road Number 236A on lands owned by the United States as described

herein and including that which is reasonable and necessary for the use, benefit, and enjoyment

of this road.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs request relief against Defendants as follows:

        1.      On its First Cause of Action – Cougar Pass Area, an order quieting title in and to

the R.S. 2477 public highway rights-of-way for the following roads: (1) Beaver Dam Wash

Road, 0006; (2) Cougar Pass Road, 0005; (3) Cougar Pass Road to Gold Strike Shortcut, 005A;

(4) County Line Road, 0203; (5) Enterprise Reservoir / Gunlock Road, 9925; (6) Enterprise T.V.

Tower Road, 0190; (7) Enterprise to County Line Road, 0202; (8) Mathews Ranch Road, 0004;

(9) Road Number 0034; (10) Road Number 0035; (11) Road Number 0036; (12) Road Number

0037; (13) Road Number 0038; (14) Road Number 0040; (15) Road Number 0041; (16) Road

Number 0042; (17) Road Number 0043; (18) Road Number 0105; (18) Road Number 7986; (20)

Road Number 0036A; and (21) Road Number 0036B;

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       2.     On its Second Cause of Action – Gold Strike Area, an order quieting title in and

to the R.S. 2477 public highway rights-of-way for the following roads: (1) DI Turnoff Road,

0054; (2) Dodge Springs, 0013; (3) Gold Strike, 0044; (4) Jackson Road, 0011; (5) Manganese

Road, 0063; (6) Rod’s Camp Road, 0124; (7) Tobin Wash Road, 0117; (8) Road Number 0012;

(9) Road Number 0014; (10) Road Number 0015; (11) Road Number 0016; (12) Road Number

0017; (13) Road Number 0018; (14) Road Number 0045; (15) Road Number 0046; (16) Road

Number 0047; (17) Road Number 0051; (18) Road Number 0052; (19) Road Number 0053; (20)

Road Number 0055; (21) Bently Wash Road, 0057; (22) Road Number 0059; (23) Road Number

0060; (24) Road Number 0061; (25) Road Number 0062; (26) Road Number 0109; (27) Road

Number 0111; (28) Road Number 0113; (29) Road Number 0114; Road Number 0116; (30)

Road Number 0118; (31) Road Number 0119; (32) Road Number 0120; (33) Road Number

0121; (34) Road Number 0122; (35) Road Number 0123; (36) Road Number 0125; (37) Road

Number 0126; (38) Road Number 0128; (39) Road Number 0129; (40) Road Number 0130; (41)

Road Number 0131; (42) Road Number 0132; (43) Road Number 0133; (44) Road Number

0135; (45) Road Number 0136; (46) Road Number 0148; (47) Road Number 0828; (48) Road

Number 7955; (49) Road Number 7956; (50) Road Number 7957; (51) Road Number 7982; (52)

Road Number 0113 North; (53) Dodge Springs 2, 9996; (54) North Gunlock Road, 0127;

       3.     On its Third Cause of Action – Lytle Ranch Area, an order quieting title in and to

the R.S. 2477 public highway rights-of-way for the following roads: (1) Bird Ranch Road, 0031;

(2) Dodge Springs to Jackson Well Road, 0020; (3) Frei’s Road, 0094; (4) Indian Springs Road,

0066; (5) Jackson Well Road, 0058; (6) Lytle Ranch Road, 0026; (7) Powerline Road, 0065; (8)

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Telephone Road, 0064; (9) Waterline Road, 0095; (10) Road Number 0021; (11) Road Number

0023; (12) Road Number 0024; (13) Road Number 0025; (14) Road Number 0029; (15) Road

Number 0030; (16) Road Number 0032; (17) Road Number 0067; (18) Road Number 0071; (19)

Road Number 0073; (20) Road Number 0074; (21) Road Number 0075; (22) Road Number

0078; (23) Road Number 0080; (24) Road Number 0081; (25) Road Number 0082; (26) Road

Number 0083; (27) Road Number 0087; (28) Road Number 0089; (29) Road Number 0091; (30)

Road Number 0092; (31) Road Number 7992; (32) Road Number 9997; (33) Road Number

9998; (34) Road Number 0032A; (35) Powerline “D” Road, 0070;

       4.     On its Fourth Cause of Action – Old Highway 91Area, an order quieting title in

and to the R.S. 2477 public highway rights-of-way for the following roads: (1) Road Number,

0158; (2) Road Number 0180D; (3) Bulldog Pass/Apex Road, 0086; (4) Bulldog Pass/Apex

Road, 9921; (5) Old Highway 91, 0093; (6) Pahcoon Flat Road, 0192; (7) School Section Road,

0096; (8) T.V. Tower Road, 0077; (9) Tower Road, 0163; (10) West Apex Road, 0167; (11)

Road Number 0069; (12) Road Number 0076; (13) Road Number 0085; (14) Road Number

0088; (15) Road Number 0090; (16) Road Number 0097; (17) Road 0098; (18) Road Number

0100; (19) Road Number 0147; (20) Road Number 0152; (21) Road Number 0153; (22) Road

Number 0154; (23) Road number 0155; (24) Road Number 0159; (25) Road Number 0161; (26)

Road Number 0162; (27) Road Number 0169; (28) Road Number 0175; (29) Road Number

0176; (30) Road Number 0177; (31) Road Number 0181; (32) Road Number 0184; (33) Road

Number 0188; (34) Road Number 0189; (35) Road Number 0831; (36) Road Number 7967; (37)

Road Number 7995; (38) Road Number 7997; (39) Road Number 9887; (40) Road Number

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9889; (41) Road Number 9890; (42) Road Number 9945; (43) Road Number 9949; (44) Road

Number 098A;

       5.     On its Fifth Cause of Action – Gunlock/Veyo Area, an order quieting title in and

to the R.S. 2477 public highway rights-of-way for the following roads: (1) Bigelow Ranch Road,

0222; (2) Blake Lambing River Road, 0276; (3) Blake Lambing Road, 0182; (4) Blake Loop

Road, 0180; (5) Bloomington/Apex Road, 0173; (6) Bloomington Mine Cutoff Road, 178A; (7)

Bloomington Mine Valley Road, 0178; (8) Cinder Pit Road, 0225; (9) Cottams’s Ranch Road,

0224; (10) Gunlock/Veyo Road, 0139; (11) Mine Valley to Blake Lambing Grounds Road, 0179;

(12) Rancho Veyo Road, 0213; (13) Upper and Lower Sand Cove aka Gunlock Highway, 0138;

(14) Virgin River Overlook Road, 0278; (15) Road Number 0143; (16) Road Number 0144; (17)

Road Number 0145; (18) Road Number 0146; (19) Road Number 0172; (20) Road Number

0174; (21) Road Number 0244; (22) Road Number 0247; (23) Road Number 0251; (24) Road

Number 0274; (25) Road Number 0275; (26) Road Number 0560; (27) Road Number 0838; (28)

Road Number 0839; (29) Road Number 0842; (30) Road Number 0845; (31) Road Number

0848; (32) Road Number 7947; (33) Road Number 7980; (34) Road Number 7999; (34) Road

Number 9897; (35) Road Number 9898; (36) Road Number 9984; (37) Road Number 0143A;

(38) Road Number 0143B; (39) Red Mountain Road, 9911;

       6.     On its Sixth Cause of Action – Warner Valley Area, an order quieting title in and

to the R.S. 2477 public highway rights-of-way for the following roads: The Warner Valley Area

includes the following roads—listed by Common Road Name (if applicable) and County Unique

Number: (1) Road Number 0415; (2) Fort Pierce Road, 0508; (3) Sky Ranch Road, 0399; (4)

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Stucki Road, 0417; (5) Warner Valley Road, 0418; (6) Road Number 0420; (7) Washington

Dome Road, 0293; (8) Road Number 0288; (9) Road Number 0402; (10) Road Number 0407;

(11) Road Number 0409; (12) Road Number 0419; (13) Road Number 0421; (14) Road Number

0475; (15) Road Number 0485; (16) Road Number 0486; (17) Road Number 0487; (18) Road

Number 0496; (19) Road Number 0497; (20) Road Number 0498; (21) Road Number 0501; (22)

Road Number 0502; (23) Road Number 0503; (24) Road Number 0504; (25) Road Number

0507; (26) Road Number 0514; (27) Road Number 0516; (28) Road Number 0519; (29) Road

Number 0523; (30) Road Number 0524; (31) Road Number 0527; (32) Road Number 0562; (33)

Road Number 0564; (34) Road Number 0565; (35) Road Number 0567; (36) Road Number

0568; (37) Road Number 0571; (38) Road Number 0577; (39) Road Number 0580; (40) Road

Number 0586; (41) Road Number 7950; (42) Road Number 7952; (43) Road Number 7969; (44)

Dinosaur Tracks Road, 0476;

       7.     On its Seventh Cause of Action – Honeymoon Trail Area, an order quieting title

in and to the R.S. 2477 public highway rights-of-way for the following roads: (1) Antelope Road,

0423; (2) Gould Wash Road, 0460; (3) Honeymoon Trail, 0425; (4) Little Creek Mountain Road,

0669; (5) Old Highway 59, 0776; (6) Road Number 0426; (7) Road Number 0427; (8) Road

Number 0461; (9) Road Number 0462; (10) Road Number 0463; (11) Road Number 0464; (12)

Road Number 0479; (13) Road Number 0480; (14) Road Number 0481; (15) Road Number

0482; (16) Road Number 0483; (17) Road Number 0490; (18) Road Number 0491; (19) Road

Number 0492; (20) Road Number 0493; (21) Road Number 0494; (22) Road Number 0499; (23)

Road Number 0500; (24) Road Number 0660; (25) Road Number 0667; (26) Road Number

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0668; (27) Road Number 0671; (28) Road Number 0674; (29) Road Number 0675; (30) Road

Number 0676; (31) Road Number 0677; (32) Road Number 0678; (33) Road Number 0778; (34)

Road Number 0779; (35) Road Number 0780; (36) Road Number 0783; (37) Road Number

7975; (38) Road Number 7976; (39) Road Number 7977; (40) Road Number 9885; (41) Road

Number 9919; (42) Road Number 0425D; (43) Rockville 01 Road, 1024; (44) Rockville 02

Road, 1025; (45) Rockville 03 Road, 1027;

       8.     On its Eighth Cause of Action – Sheep Bridge Area, an order quieting title in and

to the R.S. 2477 public highway rights-of-way for the following roads: (1) Babylon Road, 0389;

(2) Gooseberry Road, 0656; (3) Grafton Road, 0758; (4) Highway 9/Big Plains Road, 9915; (5)

Old 91 North Leeds Road, 0367; (6) Old Highway 91, 0410; (7) Sheep Bridge Road, 0397; (8)

Road Number 0374; (9) Road Number 0376; (10) Road Number 0391; (11) Road Number 0394;

(12) Road Number 0395; (13) Road Number 0441; (14) Road Number 0443; (15) Road Number

0445; (16) Road Number 0446; (17) Road Number 0449; (18) Road Number 0459; (19) Road

Number 0602; (20) Road Number 0646; (21) Road Number 0648; (22) Road Number 0649; (23)

Road Number 0650; (24) Road Number 0651; (25) Road Number 0652; (26) Road Number

0659; (27) Road Number 0661; (28) Road Number 0761; (29) Road Number 0764; (30) Road

Number 0765; (31) Road Number 0766; (32) Road Number 0768; (33) Road Number 0769; (34)

Road Number 0770; (35) Road Number 0771; (36) Road Number 0772; (37) Road Number

0790, (38) Road Number 0823; (39) Road Number 0824; (40) Road Number 0825; (41) Road

Number 9934; (42) Road Number 9935; (43) Road Number 9960; (44) Road Number 0649B;




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(45) Road Number 446B; (46) Canaan Mountain Road, 9920; (47) Falls Park Road, 0654; (48)

Mail Drop Road, 0822; (49) Wood Historical Trail, 0762;

       9.     On its Ninth Cause of Action – Smith Mesa Area, an order quieting title in and to

the R.S. 2477 public highway rights-of-way for the following roads: (1) Anderson Junction

Road, 0342; (2) Coal Pits Road, 0639; (3) Lower Pits Road, 0642; (4) Lower Toquerville Falls

Road, 0347; (5) Old 91 Brouse Road, 0336; (6) Smith Mesa Road, 0622; (7) Toquerville Towers

Road, 0368; (8) Upper Toquerville Falls Spur Road, 9883; (9) Upper Toquerville Road, 0346;

(10) Zion-Kolob Mountain Road, 0632; (11) Road Number 0357; (12) Road Number 0359; (13)

Road Number 0363; (14) Road Number 0369; (15) Road Number 0370; (16) Road Number

0371; (17) Road Number 0372; (18) Road Number 0373; (19) Road Number 0452; (20) Road

Number 0626; (21) Road Number 0629; (22) Road Number 0637; (23) Road Number 0638; (24)

Road Number 0640; (25) Road Number 0751; (26) Road Number 0752; (27) Road Number

0753; (28) Road Number 0754; (29) Road Number 7962; (30) Road Number 7978; (31) Road

Number 7979; (32) Road Number 9991; (33) Road Number 9992; (34) Road Number 9994;

       10.    On its Tenth Cause of Action – Cottonwood Area, an order quieting title in and to

the R.S. 2477 public highway rights-of-way for the following roads: (1) Baker Dam Road, 214;

(2) Brookside Road, 0230; (3) Cottonwood / Turkey Farm Road, 9917; (4) Diamond Valley-

Blake & Gubler Road, 0254; (5) Frontage Road North of Leeds, 0341; (6) Gardner Ranch Road,

0217; (7) Old 91 Black Ridge Road, 0614; (8) Saphire Well Road, 0259; (9) Spanish Trail Road,

0232; (10) Road Number 0211; (11) Road Number 0215; (12) Road Number 0216; (13) Road

Number 0219; (14) Road Number 0220; (15) Road Number 0235; (16) Road Number 0236; (17)

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Road Number 0237; (18) Road Number 0238; (19) Road Number 0239; (20) Road Number

0240; (21) Road Number 0241; (22) Road Number 0255; (23) Road Number 0256; (24) Road

Number 0260; (25) Road Number 0263; (26) Road Number 0265; (27) Road Number 0266; (28)

Road Number 0295; (29) Road Number 0303; (30) Road Number 0305; (31) Road Number

0310; (32) Road Number 0311; (33) Road Number 0312; (34) Road Number 0314; (35) Road

Number 0343; (36) Road Number 0348; (37) Road Number 0349; (38) Road Number 0354; (39)

Road Number 0365; (40) Road Number 0366; (41) Road Number 0382; (42) Road Number

0383; (43) Road Number 0386; (44) Road Number 0412; (45)Road Number 0428; (46) Road

Number 0605; (47) Road Number 0606; (48) Road Number 0608; (49) Road Number 0610; (50)

Road Number 0849; (51) Road Number 0850; (52) Road Number 0851; (53) Road Number

7985; (54) Road Number 9894; (55) Road Number 9928; (56)Road Number 9990; (57) Road

Number 9995; (58) Road Number 0238A; (59) Road Number 236A.

       11.     An order awarding costs and fees, specifically including, but not limited to,

reasonable attorney fees to the extent permitted by law; and

       12.     An order granting such further and other relief as may be appropriate.

                                     Respectfully submitted this 14th day of May, 2012.


                                     /s/ Harry H. Souvall
                                     Assistant Attorney General




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